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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                                          www.flsb.uscourts.gov

    In re:
                                                                Chapter 11 Cases
    BIRD GLOBAL, INC., el al.,1
                                                                Case No. 23-20514-LMI
              Debtors.
                                                                (Jointly Administered)


                  DEBTORS’ EMERGENCY MOTION FOR INTERIM
          AND FINAL ORDERS (I) APPROVING POSTPETITION FINANCING, (II)
       AUTHORIZING USE OF CASH COLLATERAL, (III) GRANTING LIENS AND
       PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS, (IV)
      GRANTING ADEQUATE PROTECTION, (V) MODIFYING AUTOMATIC STAY,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF
                          (Emergency Hearing Requested)

                                      Statement of Exigent Circumstances

             The Debtors respectfully request the Court to conduct an emergency hearing on this
             Motion within two business days of the Petition Date (as defined herein), consistent
             with Local Rule 9013-1(F).       The Debtors must have immediate access to
             postpetition financing to continue operating their business for the benefit of all
             stakeholders, while simultaneously preventing direct, immediate, and substantial
             harm to the Debtors’ estates. The Debtors respectfully request that the Court waive
             the provisions of Local Rule 9075-l(B), which requires an affirmative statement
             that a bona fide effort was made to resolve the issues raised in this Motion, as the
             relief requested herein is urgent in nature and does not lend itself to advance
             resolution.

             In support of this motion (this “Motion”), the above-captioned debtors and debtors-in-

possession (collectively, the “Debtors”) rely on the Declaration of Christopher Rankin in Support

of Chapter 11 Petitions and First Day Pleadings (the “First Dav Declaration”) filed concurrently

herewith and respectfully state as follows:




1     The address of the Debtors is 392 Northeast 191st Street. #20388, Miami, FL 33179. The last four digits of the
      Debtors’ federal tax identification numbers are: (i) Bird Global, Inc. (3155); (ii) Bird Rides, Inc. (9939); (iii) Bird
      US Holdco, LLC (8390); (iv) Bird US Opco, LLC (6873); and (v) Skinny Labs, Inc. (8176).


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                                           RELIEF REQUESTED

         1.      By this Motion, the Debtors seek entry of interim and final orders, substantially in

the form attached hereto as Exhibit A (the “Interim Order” 2 and “Final Order”3 and, collectively,

the “DIP Orders”):

                  (a)      authorizing debtor, Bird Rides, Inc., in its capacity as borrower (the
                           "Borrower"), to obtain postpetition financing, and for each of the other
                           Debtors, and certain of their non Debtor affiliates, to borrow or guarantee,
                           as applicable, unconditionally (in their capacities as guarantors, the
                           "Guarantors" and together with the Borrower and any other obligors, the
                           "DIP Obligors"), on a joint and several basis, the Borrower's obligations in
                           connection with debtor in possession financing (the "DIP Facilities")4, to be
                           funded by certain Prepetition Secured Lenders (as defined herein) pursuant
                           to the DIP Credit Agreements and other DIP Documents (each as defined
                           herein), comprising:

                                i. a postpetition senior secured priming and super-priority debtor-in-
                                   possession loan facility (the "DIP Credit Facility") provided by the
                                   lenders (the "Prepetition First Lien Lenders") party to the Prepetition
                                   Credit Agreement (as defined herein) pursuant to the terms and
                                   conditions of the DIP Orders and the DIP Credit Agreement,
                                   consisting of new money loans up to $19,500,000 (the "New Money
                                   Senior DIP Loans") of which up to $11,500,000 shall be available
                                   upon the entry of the Interim Order after exhaustion of the DIP New
                                   Money Notes (as defined herein);

                               ii. a postpetition senior secured note purchase agreement (the "DIP
                                   Junior Notes Facility" and together with the DIP Credit Agreement,
                                   the "DIP Facilities") junior only to the DIP Credit Facility, the First
                                   Lien Adequate Protection Obligations (as defined herein), and the
                                   Prepetition First Lien Obligations, provided by certain lenders (the
                                   "Participating Second Lien Lenders") party to the Prepetition Note
                                   Purchase Agreement pursuant to the terms and conditions of the DIP
                                   Orders and the DIP Note Purchase Agreement (as defined below)
                                   consisting of (a) up to $5,600,000 in new money notes (the "New
                                   Money Junior DIP Notes") of which $5,600,000 shall be available



2 Capitalized terms used but not defined herein have the meanings given to them in the Interim Order.
3 The Debtors will file a proposed Final Order prior to a final hearing on the Motion.
4 The terms of the DIP Facilities will be memorialized in the (i) Senior Secured Priming And Super-Priority Debtor­
  In-Possession Loan Agreement, and (ii) Senior Secured Priming And Super-Priority Debtor-In-Possession Note
  Purchase Agreement, substantially in the form attached as Exhibit 3 and Exhibit 4, respectively, to the Interim
   Order.

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                           upon the entry of the DIP Orders pursuant to the terms and
                           conditions of the DIP Orders and the DIP Credit Agreement;

              (b)   authorizing the Debtors to obtain from the DIP Term Lenders, upon entry
                    of the Final Order, total advances in an amount not to exceed a maximum
                    outstanding principal amount of $19,500,000 (inclusive of amounts
                    advanced pursuant to this Interim Order) in accordance with the DIP
                    Documents and the Final Order;

              (c)   authorizing the Debtors, upon entry of the Final Order, to convert to DIP
                    Obligations (the “Roll Up”): (i) loans under the Prepetition Credit
                    Agreement, held by the Prepetition First Lien Lenders and rolled up into the
                    DIP Credit Facility, in an aggregate principal amount of $41,455,322.40,
                    plus accrued and unpaid interest of not less than $2,833,148.50 and all other
                    Prepetition First Lien Obligations (as defined herein) (such rolled-up debt,
                    the "Roll-Up Loans" and together with the New Money DIP Loans, the
                    "Senior DIP Loans"); and (ii) notes issued under the Prepetition Note
                    Purchase Agreement, held by the Participating Second Lien Lenders and
                    rolled up into the DIP Junior Notes Facility, in an aggregate principal
                    amount of $4,000,000 (such rolled-up debt, the "Roll-Up Notes" and
                    together with the New Money DIP Notes, the "Junior DIP Notes" and
                    together with the Senior DIP Loans, the "DIP Loans");

              (d)   authorizing the Debtors to execute and deliver the DIP Documents, and to
                    perform such other acts as may be necessary or desirable in connection with
                    the DIP Documents and the transactions contemplated thereby;

              (e)   subject to the Carve-Out, granting to the Senior DIP Agent and the Junior
                    DIP Agent, on account of the DIP Facilities and all obligations owing
                    thereunder and under the DIP Documents, including the Roll Up
                    (collectively, and including all “Obligations” as described in the Interim
                    Order, the “DIP Obligations”), allowed super-priority administrative
                    expense claim pursuant to section 364(c)(1) of the Bankruptcy Code having
                    priority over any and all expenses and claims specified in any other section
                    of the Bankruptcy Code, including, without limitation, sections 503(b),
                    507(a)(2), 507(b), and 507(d) of the Bankruptcy Code, in each of the Cases
                    and any Successor Cases;

              (I)   subject to the Carve-Out, granting to the Senior DIP Agent and the Junior
                    DIP Agent automatically perfected security interests in and liens on all of
                    the DIP Collateral, including, without limitation, all property constituting
                    “Cash Collateral” as defined in section 363(a) of the Bankruptcy Code,
                    which liens shall be subject to the priorities set forth herein;

              (g)   authorizing and directing the Debtors to pay the principal, interest, fees,
                    expenses and other amounts payable under the DIP Documents including,
                    without limitation, the reasonable fees and disbursements of the DIP

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                      Agent’s and the Junior DIP Agent’s attorneys, advisors, accountants and
                      other consultants, all to the extent provided in, and in accordance with, the
                      DIP Documents;

               (h)    (i) authorizing the use of Cash Collateral of the Prepetition Secured Parties
                      pursuant to section 363 of the Bankruptcy Code and subject to the Approved
                      Budget, the initial form of which is attached to the Interim Order as Exhibit
                      1, and (ii) subject to the Carve-Out, providing adequate protection to the
                      Prepetition Secured Parties for any Diminution in Value (as defined in the
                      Interim Order) of their respective interests in the Prepetition Collateral (as
                      defined herein), including the Cash Collateral, as a result of the relief
                      granted herein;

               (i)    waiving, subject to entry of a Final Order approving such waiver, certain
                      rights of the Debtors to surcharge collateral pursuant to section 506(c) of
                      the Bankruptcy Code;

               (j)    waiving, subject to entry of a Final Order approving such waiver, the
                      application of the “equities of the case” exception under section 552(b) of
                      the Bankruptcy Code as to the Prepetition Secured Parties with respect to
                      proceeds, product, offspring or profits of any of the Prepetition Collateral;

               (k)    vacating and modifying the automatic stay imposed by section 362 of the
                      Bankruptcy Code to the extent necessary to implement and effectuate the
                      terms and provisions of the DIP Documents and the Interim Order; and

               (l)    granting related relief.

                                        JURISDICTION

         2.    This Court has jurisdiction overthis matterunder 28 U.S.C. §§ 157 and 1334. This

is a core proceeding under 28 U.S.C. § 157(b).

         3.    Venue is proper under 28 U.S.C. §§ 1408 and 1409.

         4.    The statutory bases for the relief sought in this Motion are sections 105, 361, 362,

363(c), 363(e), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503, 506, 507, and 552 of title

11 of the United States Code (the “Bankruptcy Code”), rules 2002, 4001, 6003, 6004, 9013, and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rules 2002-1,

4001-1, 4001-2, 4001-3, and 9013-1 of the Local Bankruptcy Rules for the Southern District of

Florida (the “Local Rules”).


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                                STATEMENT OF MATERIAL TERMS

         5.      The following chart contains a summary of the material terms5 of the proposed DIP

Facilities and Interim Order in accordance with Bankruptcy Rules 4001(b)(1)(B) and

4001(c)(1)(B), Local Rules 4001-2 and 4001-3, and the Guidelinesfor Motions Seeking Authority

to Use Cash Collateral and Motions Seeking Approval of Postpetition Financing (the

“Guidelines”):

      Bankruptcy Rule                                     Summary of Material Terms


  Parties to the DIP          Borrower: Bird Rides, Inc., as debtor-in-possession in these chapter 11 cases (the
  Credit Agreement            “Borrower” or “Rides”).

  Bankruptcy Rule             Guarantor(s): The subsidiaries and affiliates of the Borrower identified in the DIP
  4001(c)(1)(B)               Credit Agreement (collectively, the “Guarantors”), which are comprised of the Debtors
                              and certain non-Debtor affiliates.

                              DIP Agent: MidCao Financial Trust (“Administrative Agent” or “Preoetition Agent”)

                              DIP Lenders: The lenders from time-to-time party to the DIP Credit Agreement.

                              See DIP Credit Agreement, Preamble.


  Parties to the DIP          Borrower: Rides.
  Junior Notes
  Facility                    Guarantor(s): The subsidiaries and affiliates of the Borrower identified in the DIP
                              Note Purchase Agreement (collectivelv, the “Guarantors”), which are comorised of the
  Bankruptcy Rule             Debtors and certain non-Debtor affiliates.
  4001(c)(1)(B)
                              Junior DIP Agent: US Bank, National Association

                              Junior DIP Lenders: The Participating Second Lien Lenders.

                              DIP Note Purchase Agreement, Preamble.


  Term                        The DIP Loans would be due in full, and the DIP Loan Commitment would tenninate
                              on, the earliest to occur of the following:




5 The summaries contained in this Motion are qualified in their entirety by the provisions of the documents referenced
  including, without limitation, the DIP Documents and the Interim Order. To the extent anytiring in this Motion is
  inconsistent with such documents, the terms of the applicable documents shall control. Capitalized terms used in
  tlris summary chart but not otherwise defined have the meanings ascribed to them in the DIP Documents or the
  Interim Order, as applicable.

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      Bankruptcy Rule                                  Summary of Material Terms

  Bankruptcy Rules        (a)    unless the Final Order shall have been entered on or before the date that is thirty
  4001(b)(l)(B)(iii),     (30) days after the entry of the Interim Order;
  4001(c)(1)(B)
                          (b)     the date upon which the Sale Transaction is consummated;

                          (c)     March 18, 2024; and

                          (d)    acceleration by the Senior DIP Agent or Junior DIP Agent following an Event
                          of Default.

                          See DIP Credit Agreement, pg. 8; DIP Note Purchase Agreement, §___ .


  Commitments             With respect to the Senior DIP Loans, extensions of credit in the maximum principal
                          amount of $63,855,322.40, which amount is composed of the sum of (a) $19,500,000
  Bankruptcy Rule         of new money that the Debtors require for the continued operation of their business
  4001(c)(1)(B)           during the pendency of the Chapter 11 Cases plus (b) $44,355,322.40 of additional
                          “Roll Up” commitments.

                          With respect to the Junior DIP Notes, extensions of credit in the maximum principal
                          amount of $9,600,000, which amount is composed of the sum of (a) $5,600,000 of new
                          money that the Debtors require for the continued operation of their business during the
                          pendency of the Chapter 11 Cases plus (b) $4,000,000 of additional “Roll Up”
                          commitments.

                          Interim Order, T| 7.


  Conditions of           The DIP Documents include standard and customary conditions of borrowing, the
  Borrowing               satisfaction of which is a condition precedent to the obligations of each DIP Lender to
                          make DIP Loans under the DIP Facilities.
  Bankruptcy Rule
  4001(c)(1)(B)           See DIP Credit Agreement, Art. VI; DIP Note Purchase Agreement, Art. 3.


  Interest Rates          The DIP Loans will bear the following interest:

  Bankruptcy Rule         Senior DIP Loans: 6% Cash pay; 9% PIK.
  4001(c)(1)(B)
                          New Money DIP Notes: 18% PIK.

                          See DIP Credit Agreement, §2.04; DIP Note Purchase Agreement, 2.2.


  Use of DIP Facilities   As set forth more fully in the DIP Documents, the proceeds of the DIP Loans will be
  and Cash Collateral     used:

  Bankruptcy Rule         (i) for working capital and other general purposes of the Debtors, including the payment
  4001(b)(l)(B)(ii)       of professional fees and expenses and other administrative expenses in the Chapter 11
                          Cases, (ii) to pay the reasonable fees and expenses of the Senior DIP Agent and the
                          Junior DIP Agent as set forth in the Interim Order; and (iii) to pay claims in respect of
                          certain Prepetition creditors, which may include, without limitation, employees, taxing
                          authorities and trade vendors in the ordinary course, in each case to the extent



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      Bankruptcy Rule                                  Summary of Material Terms

                          authorized by orders of the Bankruptcy Court; and

                          (ii) contemporaneously with the entry of the Final DIP Order, to finance the Roll-Up.

                          See DIP Credit Agreement. §8.01(g); DIP Note Purchase Agreement, §7.5.


  Limitations on Use of   None of the DIP Facilities, the DIP Collateral, the Prepetition Collateral or the proceeds
  DIP Facilities and      thereof, including Cash Collateral, or the Carve Out may be used: (a) to investigate
  Cash Collateral         (except as expressly provided below), initiate, prosecute, join or finance the initiation
                          or prosecution of any claim, counterclaim, action, suit, arbitration, proceeding,
                          application, motion, objection, defense or other litigation of any type (i) against any of
                          the DIP Agents, the DIP Lenders or the Prepetition Secured Parties (in each case, in
                          their capacities as such) or seeking relief that would impair the rights and remedies of
                          the DIP Agents, the DIP Lenders or the Prepetition Secured Parties (in each case, in
                          their capacities as such) under the DIP Documents, this Interim Order or the Prepetition
                          Credit Documents to the extent permitted or provided hereunder, including, without
                          limitation, for the payment of any services rendered by the professionals retained by
                          the Debtors or any Creditors’ Committee (if appointed) in connection with the assertion
                          of or joinder in any claim, counterclaim, action, proceeding, application, motion,
                          objection, defense or other contested matter, the purpose of which is to seek, or the
                          result of which would be to obtain, any order, judgment, determination, declaration or
                          similar relief that would impair the ability of any of the DIP Agents, the DIP Lenders,
                          or the Prepetition Secured Parties to recover on the DIP Collateral or the Prepetition
                          Collateral, as provided for herein, or seeking affirmative relief against any of the DIP
                          Agents, the DIP Lenders, or the Prepetition Secured Parties related to the DIP
                          Obligations, or the Prepetition Secured Obligations, (ii) seeking to invalidate, set aside,
                          avoid, recharacterize or subordinate, in whole or in part, the DIP Obligations, the DIP
                          Superpriority Claims, or the DIP Agents’ and the DIP Lenders’ liens or security
                          interests in the DIP Collateral or the Prepetition Collateral, or the Prepetition Secured
                          Obligations, or the Prepetition Secured Parties’ liens or security interests in the
                          Prepetition Collateral.

                          Notwithstanding the foregoing, no more than $75,000.00 of the proceeds of the DIP
                          Facilities, the DIP Collateral or the Prepetition Collateral, including the Cash
                          Collateral, in the aggregate, may be used by the Creditors’ Committee, if appointed, to
                          investigate the foregoing matters with respect to the Prepetition Liens or the Prepetition
                          Secured Obligations within the Challenge Period

                          See Interim Order,     31, 32.


  Entities with           The Prepetition Secured Parties have an interest in Cash Collateral.
  Interests in Cash
  Collateral              See Interim Order, T| 4(a) - (d).

  Bankruptcy Rule
  4001(b)(l)(B)(i)


  Fees                    The DIP Facilities include an Agency Fee of $75,000 payable on April 27, 2024 and
                          on each anniversary of such thereafter and an Upfront Fee in amount equal to 3% of




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      Bankruptcy Rule                                 Summary of Material Terms

  Bankruptcy Rule        the aggregate principle amount of the DIP Term Loan Commitments, capitalized to the
  4001(c)(1)(B)          principal balance of the DIP Facilities.

                         See DIP Credit Agreement. §2.04.


  Budget                 The use of cash and proceeds from the DIP Facilities is subject to the Approved Budget,
                         the initial form of which is attached to the Interim Order as Exhibit 1.
  Bankruptcy Rule
  4001 (c)(1)(B)         See Interim Order, T| 18.


  Reporting              The DIP Credit Agreement requires customary financial and other informational
  Information            reporting by the Borrower to the DIP Agents.

  Bankruptcy Rule        See Interim Order, T| 9; DIP Credit Agreement. § 8.01(b); DIP Note Purchase
  4001(c)(1)(B)          Agreement. §7.1.


  Bn dget/Variance       The Debtors are required to comply with the Approved Budget, subject to the following
  Covenant               “Permitted Variances”: a negative variance in the aggregate amount of unrestricted
                         cash and Cash Equivalents of the Credit Parties and their Subsidiaries set forth in each
  Bankruptcy Rule        Approved Budget for any Budget Testing Period (calculated as of the close of business
  4001(c)(1)(B)          of the Borrower on the last Business Day of each Budget Testing Period) of the greater
                         of (x) $500,000 and (y) 10% of such budgeted amount..

                         See DIP Credit Agreement. § 8.01(w).


  Chapter 11             It shall be a Termination Event if the Debtors fail to adhere to the milestones set forth
  Milestones             in Exhibit 2 to the Interim Order, including the Permit Reoorting Covenant and the
                         Permit Continuance Covenant.
  Bankruptcy Rule
  4001(c)(1)(B)          See Interim Order, ^[25.


  Liens and Priorities   The DIP Liens securing the DIP Obligations are valid, automatically perfected, non-
                         avoidable. senior in priority and superior to any security, mortgage, collateral interest,
  Bankruptcy Rule        lien, claim or interest to or on any of the DIP Collateral, except that the DIP Liens shall
  4001(c)(l)(B)(i)       be junior only to: (a) the Prepetition Prior Liens, (b) any permitted senior liens, if any,
                         under the DIP Documents and (c) the Carve-Out. “Preoetition Prior Liens” means anv
                         liens that are valid, properly perfected (before the Petition Date or in accordance with
                         section 546 of the Bankruptcy Code), non-avoidable. and senior in priority as a matter
                         of law to the liens securing the Prepetition Loans (including without limitation the liens
                         and rights of setoff of banks and other financial institutions providing treasury services
                         comprising the Debtors’ cash management system).

                         See Interim Order, T| 6.




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      Bankruptcy Rule                                Summary of Material Terms


  Carve Out             The Interim Order provides a “Carve Out” of certain statutory fees and allowed
                        professional fees of the Debtors and any official committee of unsecured creditors
  Bankruptcy Rule       appointed in the Chapter 11 Cases pursuant to section 328 or 1103 of the Bankruptcy
  4001(c)(1)(B).        Code.
  Guidelines
  §II(B)(6)             See Interim Order, T| 13.


  Challenge Period      The Interim Order provides for a challenge period as follows: (a) with respect to the
                        Creditors’ Coimnittee (if appointed), the earlier of (i) sixty (60) calendar days from the
  Bankruptcy Rule       formation of the Creditors’ Coimnittee and (ii) seventy-five (75) calendar days from
  4001(c)(1)(B)         the entry of the Interim Order, and (b) with respect to any other party-in-interest (other
                        than the Debtors) with requisite standing, sixty (60) calendar days from the entry of the
                        Interim Order (the “Challenge Period”); provided, that any trustee that is appointed in
                        any Case or in any Successor Case prior to the expiration of the Challenge Period shall
                        have sixty (60) days from the earlier of (A) the date the Chapter 11 Cases are converted
                        to chapter 7, or (b) a chapter 11 trustee is appointed in the Chapter 11 Cases.

                        See Interim Order, T| 32.


  Adequate Protection   Subject to the challenge rights set forth in the Interim Order and pursuant to sections
                        361, 363(e). 364(d) and 507 of the Bankruptcy Code, the Prepetition Secured Parties
  Bankruptcy Rules      are entitled to adequate protection of their respective interests in all Prepetition
  4001(b)(l)(B)(iv).    Collateral against any Diminution in Value of such respective interests in the
  4001(c)(l)(B)(ii)     Prepetition Collateral:

                        Adequate Protection Liens. As adequate protection of: (a) the interests of the
                        Prepetition Secured Parties in the Prepetition Collateral against any Diminution in
                        Value of such interests in the Prepetition Collateral, the Debtors grant to the Prepetition
                        First Lien Lenders and the Prepetition Second Lien Lenders, continuing valid, binding,
                        enforceable and perfected postpetition security interests in and liens on all of the
                        Debtors’ assets, including, without limitation, the DIP Collateral (such liens, the
                        “Preoetition Secured Parties Adequate Protection Liens”). The Preoetition Secured
                        Parties Adequate Protection Liens shall be junior and subordinate to the DIP Liens.

                        Adequate Protection Superpriority Claims. As further adequate protection of the
                        interests of: (a) the Prepetition Secured Parties in the Prepetition Collateral against any
                        Diminution in Value of such interests in the Prepetition Collateral, the Prepetition
                        Agent, on behalf of itself and the other Prepetition Secured Parties, is to be granted, as
                        and to the extent provided by section 507(b) of the Bankruptcy Code, an allowed super­
                        priority administrative expense claim in each of the Cases and any Successor Cases
                        (collectively, the “Preoetition Secured Parties Adequate Protection Suoerorioritv
                        Claim”).

                        Except as set forth in the Interim Order, the Adequate Protection Superpriority Claims
                        shall have priority over all administrative expense claims and unsecured claims against
                        the Debtors or their estates, now existing or hereafter arising, of any kind or nature
                        whatsoever, including, without limitation, administrative expenses of the kinds
                        specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 365, 503(a).
                        503(b). 507(a). 507(b). 546(c) (subject to entry of a Final Order), 546(d). 726, 1113




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      Bankruptcy Rule                                   Summary of Material Terms

                           and 1114 of the Bankruptcy Code; provided, however, that the Adequate Protection
                           Superpriority Claims shall be junior to the Carve-Out and the DIP Superpriority Claim.

                           Adequate Protection Payments and Other Consideration'. As additional adequate
                           protection to the Prepetition Secured Parties, the Debtors shall (i) make monthly
                           payments to the Prepetition First Lien Lenders on the last business day of each month
                           in an amount equal to the interest accrued on or after the Petition Date on the First Lien
                           Prepetition Secured Obligations; and (ii) pay the fees and expenses of Prepetition
                           Second Lien Agent and the Prepetition Second Lien Lenders. See Interim Order,           19
                           and 20.


  Events of Default        The DIP Credit Agreement and Interim Order contain events of default that are usual
                           and customary for debtor-in-possession financings and the use of cash collateral,
  Bankruptcy Rule          including without limitation, failure to satisfy the Transaction Milestone.
  4001(c)(1)(B)
                           See Interim Order, T| 46; DIP Credit Agreement, Art. VIII.


  Remedies Notice          Any automatic stay otherwise applicable to the Senior DIP Agent, Junior DIP Agent,
  Period                   DIP Lenders, and the Prepetition Secured Parties will be modified so that four (4)
                           business days after the Termination Declaration Date (such five (5) business day
                           period, the “Remedies Notice Period”) the Senior DIP Agent and the Prepetition Agent
                           shall be entitled to immediately exercise its rights and remedies in accordance with the
                           DIP Documents, the Prepetition Credit Documents and/or the Interim Order, as the case
                           may be, and shall be permitted to satisfy the DIP Obligations, the DIP Superpriority
                           Claim, the DIP Liens, the Prepetition First Lien Lenders Adequate Protection Liens,
                           and the Prepetition First Lien Lenders Adequate Protection Superpriority Claim, as
                           applicable, in each case subject to the Carve-Out. During the Remedies Notice Period
                           (A) the Debtors may use Cash Collateral solely to pay payroll and other expenses
                           critical to keep the business of the Debtors operating in accordance with the Approved
                           Budget, and (B) the Debtors and/or the Creditors’ Coimnittee shall be entitled to seek
                           an emergency hearing before the Court, within the Remedies Notice Period, for the
                           purpose of contesting whether a Termination Event has occurred and/or is not
                           continuing and such other matters as the parties may raise or the Court may wish to
                           consider.

                           See Interim Order, T| 26.


  Waiver/Modification of   The Interim Order provides for a customary waiver/modification of applicability of
  Applicability of         nonbankruptcy law to the perfection or enforcement of liens.
  Nonbankruptcy Law
  Relating to Perfection   See Interim Order, T| 20.
  or Enforceability of
  Liens

  Bankruptcy Rule
  4001(c)(l)(B)(vii)


  Indemnification          The Debtors shall indemnify and hold harmless the DIP Agents and the DIP Lenders
                           in accordance with the terms and conditions of the DIP Credit Agreement.



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      Bankruptcy Rule                                    Summary of Material Terms

  Bankruptcy Rule         See Interim Order,   32.
  4001(c)(l)(B)(ix)


  Limitations of          Subject to entry of a Final Order granting the waiver set forth in paragraph 15 of the
  Rights of Parties       Interim Order, no costs or expenses of administration which have been or may be
  Under                   incurred in the Cases or any Successor Case at any time shall be charged against or
  Section 506(c) of       recovered from the DIP Collateral or the Prepetition Collateral, the DIP Agents, the
  the Bankruptcy          DIP Lenders or the Prepetition Secured Parties pursuant to Bankruptcy Code sections
  Code                    506(c) or 105(a), or any similar principle of law or equity, without the prior written
                          consent of the DIP Agents, the DIP Lenders and the Prepetition Secured Parties, as
                          applicable, and no such consent shall be implied from any other action, inaction or
                          acquiescence by the DIP Agents, the DIP Lenders or the Prepetition Secured Parties.
                          See Interim Order, T| 15.


  Granting of Lien        Subject to entry of the Final Order, the DIP Liens shall attach to and encumber proceeds
  on Claims/Causes        of claims and causes of action available to the Debtors or their estates through the
  of Action               exercise of the powers granted by Sections 544, 545, 547, 548, 550 (other than with
                          respect to any applicability to section 549) and 553 of the Bankruptcy Code
                          (“Avoidance Actions”) or proceeds thereof.

                          See Interim Order, T|11(a).



                                           BACKGROUND

         6.     On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.

         7.     The Debtors are operating their businesses and managing their affairs as debtors-

in-possession under sections 1107(a) and 1108 of the Bankruptcy Code.

         8.     For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the First Day Declaration.

                  THE DEBTORS’ PREPETITION CAPITAL STRUCTURE

         A.     First Lien Obligations - First Lien Credit Facility

         9.     On April 27, 2021, Bird Opco, Bird Holdco, MidCap Financial Trust, as

administrative agent (the "First Lien Agent"), and certain other lenders thereto (the "First Lien

Lenders") entered into that certain Loan and Security Agreement (as amended, restated,



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supplemented or otherwise modified from time to time, the "First Lien Credit Agreement")

pursuant to which Bird could finance its future vehicle capital expenditures (the "First Lien Credit

Facility"). The First Lien Credit Facility included a repayment mechanism tied directly to revenue

generation by vehicles on lease by Bird Opco to Bird Rides under an intercompany leasing

arrangement (the "Scooter Lease").

         10.    The First Lien Credit Agreement was amended a number of times between 2021

and 2023. The amendments that the Company negotiated to the First Lien Credit Agreement have

allowed Bird to reduce cash outlays that are variable based on revenue in favor of more predictable

payment streams and to reduce the amount of reserved cash the Company is required to hold so

that it could improve its liquidity position.

         11.    The First Lien Credit Facility is secured by first priority, duly perfected and

enforceable lien on substantially all assets of the Debtors, including the Debtors' equity interests

in certain non-Debtor affiliates.

         12.    As of the Petition Date, the outstanding principal balance under the First Lien

Credit Facility, inclusive of the First Lien Bridge Loan (as defined in the First Day Declaration),

is not less than $41,455,322.40, plus accrued and unpaid interest of not less than $2,833,148.50

and all other Prepetition First Lien Obligations.

         B.     Second Lien Obligations - Note Purchase Agreement

         13.    In connection with the Bird Canada Acquisition (as defined in First Day

Declaration), Bird Global, as issuer, the Second Lien Agent and the Second Lien Noteholders from

time-to-time party thereto, entered into the Note Purchase Agreement dated December 30, 2022

(as amended thereafter). Pursuant to the Note Purchase Agreement, Bird Global issued and sold

an aggregate principal amount of $30.1 million of its Second Lien Notes. The Second Lien Notes

were issued and sold in a private placement to certain "accredited investors" conducted pursuant

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to Section 4(a)(2) of the Securities Act of 1933, as amended. The terms of the Second Lien Notes

are governed by the Note Purchase Agreement.

         14.    The Second Lien Notes are secured by liens on substantially all assets of the

Debtors, including the Debtors' equity in certain non-Debtor affiliates, which liens are junior and

subordinate to the liens of the First Lien Agent.

         15.    The First Lien Agent, the Second Lien Agent, and the Second Lien Noteholders are

parties to that certain Subordination and Intercreditor Agreement, dated, December 30, 2022 (as

amended, restated, supplemented or otherwise modified from time to time, the “Intercreditor

Agreement”). The Intercreditor Agreement sets forth the relative rights and priorities between the

First Lien Lenders, the First Lien Agent, the Second Lien Lenders, and the Second Lien Agent.

         16.    As of the Petition Date, the outstanding principal balance under the Note Purchase

Agreement is not less than $63,850,000, plus approximately $7,180,000.00 in accrued and unpaid

interest thereon (including PIK interest), attorneys’ fees and costs.

         C.     Unsecured Debt

         17.    The Debtors have no funded unsecured debt. In the ordinary course, the Debtors

incur trade debt with certain vendors and suppliers in connection with the operation of their

business. In addition, the Debtors have other potential and contingent liabilities related to, among

other things, ongoing litigation, certain of which is described in the First Day Declaration.

                               THE DEBTORS’ NEED FOR
                        DIP FINANCING AND CASH COLLATERAL

         18.    The Debtors require immediate access to the DIP Facilities in addition to continued

use of the Cash Collateral in order to satisfy near-term and long-term expenses critical to the

business and their chapter 11 efforts, which, in turn, will preserve and maximize the Debtors’

enterprise value. The Debtors are unable to generate sufficient levels of operating cash flow in the


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ordinary course of business to cover their operating and capital costs and the projected costs of

these Chapter 11 Cases absent immediate funding.

         19.    The Debtors require the funding available from the DIP Facilities in order to,

among other things, fund working capital, meet payroll obligations, pay suppliers, cover overhead

costs, and make any other payments that are essential for the continued management, operation,

and preservation of the Debtors’ business.    The ability to make these payments when due is

essential to the continued operation of the Debtors’ business during the pendency of these Chapter

11 Cases. If the Debtors cannot quickly access the DIP Facilities, based on the Debtors’ financial

forecasts and the Approved Budget, the Debtors will not be able to operate their business in the

ordinary course until the hearing on the Final Order. In turn, this would negatively impact the

Debtors’ revenue, jeopardize the Debtors’ stakeholders’ confidence in the Debtors’ business, and

harm the value of the Debtors’ estates to the detriment of all stakeholders. Based on the Debtors’

financial forecasts and the Approved Budget, the liquidity provided by the DIP Facilities should

allow the Debtors to implement their business plan while they focus on a value maximizing sale

process.

         20.    Therefore, absent immediate access to the DIP Facilities and Cash Collateral, the

Debtors could (a) face a severe interruption of their businesses; (b) lose the support of key

constituencies, including the Debtors’ workforce, key marketing partners, and customers; and (c)

be forced to significantly modify, or shut down entirely, their operations.       To avoid those

outcomes, it is imperative that the Debtors have access to the DIP Facilities from the outset of

these cases in order to signal to the Debtors’ stakeholders, including their employees, marketing

partners, vendors, and customers, that despite the filing the outlook for the Debtors and their




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stakeholders is strong, and that they have the liquidity necessary to meet their obligations in the

ordinary course until the business is able to emerge from the chapter 11 process.

         21.    The Debtors require the DIP Facilities in order to obtain an essential infusion of

liquidity to help stabilize the Debtors’ operations and pursue a transaction that will maximize value

for all stakeholders.

         22.    Absent funds available from the DIP Facilities, access to Cash Collateral, and the

cooperation of key business partners at this critical early stage, the Debtors could face a value­

destructive interruption to their business and, simultaneously, eliminate their best chance for

consummating an orderly sale process, to the detriment of the Debtors, their estates, and their

creditors. For all these reasons, access to the proposed DIP Facilities is a necessity.

                              BASIS FOR RELIEF REQUESTED

I.       The Debtors Should Be Authorized to Obtain Postpetition Financing through the DIP
         Documents

         A.     Standards for Approval Under Sections 364(c) and 364(d)(1) of the
                Bankruptcy Code

         23.    Section 364(c) of the Bankruptcy Code requires a finding, made after notice and a

hearing, that a debtor seeking postpetition financing on a secured basis cannot “obtain unsecured

credit allowable under section 503(b)(1) of [the Bankruptcy Code] as an administrative expense.”

11 U.S.C. § 364(c).

         24.    In addition, under section 364(d)(1) of the Bankruptcy Code, courts may, after

notice and a hearing, authorize a debtor to obtain postpetition credit secured by a “priming” lien

from affected secured parties if (i) the debtor obtains the consent of such parties or (ii) the debtor

cannot obtain credit elsewhere and the interests of existing lienholders are adequately protected.

11 U.S.C. § 364(d)(1). Specifically, section 364(d)(1) provides, in relevant part, that a court may,

after notice and a hearing:

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                authorize the obtaining of credit or the incurring of debt secured by
                a senior or equal lien on property of the estate that is subject to a lien
                only if-

                         (A)    the [debtor] is unable to obtain credit otherwise; and

                         (B)    there is adequate protection of the interest of the
                                holder of the lien on the property of the estate on
                                which such senior or equal lien is proposed to be
                                granted.

11 U.S.C. § 364(d)(1).

         25.    In evaluating proposed postpetition financing under sections 364(c) and 364(d)(1)

of the Bankruptcy Code, courts perform a qualitative analysis and generally consider factors

including whether:

                (a)      unencumbered credit or alternative financing without superpriority status is
                         available to the debtor;

                (b)      the credit transactions are necessary to preserve assets of the estate;

                (c)      the terms of the credit agreement are fair, reasonable, and adequate;

                (d)    the proposed financing agreement was negotiated in good faith and at arm’s-
                       length and entry thereto is an exercise of sound and reasonable business
                       judgment and in the best interest of the debtors’ estate and their creditors;
                       and

                (e)      the proposed financing agreement adequately protects prepetition secured
                         creditors.

See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors

in making a determination under section 364(c)); In re Crouse Group, Inc., 71 B.R. 544 (Bankr.

E.D. Pa. 1987) (same); Bland v. Farmworker Creditors, 308 B.R. 109, 113-14 (S.D. Ga. 2003)

(applying all factors in making a determination under section 364(d)).

         26.    For the reasons discussed below, the Debtors satisfy the standards required to

access postpetition financing on a superpriority claim and priming lien basis under sections 364(c)

and 364(d) of the Bankruptcy Code.


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          B.     The Terms of the DIP Facilities Are the Best Available Under the
                 Circumstances, and DIP Financing on a Junior Secured or Unsecured Basis is
                 Not Available

          27.    In demonstrating that credit was not available without the protections afforded by

section 364(c) or 364(d) of the Bankruptcy Code, a debtor need only make a good faith effort. See,

e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (approving financing

facility and holding that debtor made reasonable efforts to satisfy the standards of section 364(c)

to obtain less onerous terms where debtor approached four lending institutions, was rejected by

two and selected the least onerous financing option from the remaining two lenders); see also In

re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986) (“[t]he statute imposes no duty to seek

credit from every possible lender before concluding that such credit is unavailable”); In re Phoenix

Steel Corp., 39 B.R. 218, 222 (D. Del. 1984) (holding the debtor satisfied its burden to show an

inability to obtain credit on other terms through its time and effort spent trying to obtain credit on

alternative terms and conditions); In re Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa

1987) .

          28.    Moreover, where few lenders likely can or will extend the necessary credit to a

debtor, “it would be unrealistic and unnecessary to require [the debtor] to conduct such an

exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga.

1988) , aff’d sub nom., Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga.

1989) ; see also In re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s

finding that two national banks refused to grant unsecured loans was sufficient to support

conclusion that section 364 requirement was met).

          C.     The DIP Facilities Are Necessary to Preserve the Value of the Debtors’ Estates

          29.    As debtors in possession, the Debtors have a fiduciary duty to protect and maximize

their estates’ assets. See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir. 2004). The DIP

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Facilities, if approved, will provide working capital critical to fund the Debtors’ day-to-day

operations and administration of the Chapter 11 Cases while the Debtors attempt to maximize the

value of their estates through a recapitalization or sale process.

         30.    The Debtors’ preexisting cash balances and cash generated from operations are not

sufficient to fund business operations and the administration of these Chapter 11 Cases.            A

significant cash infusion is a critical necessity to the continued operation of the Debtors’

businesses, the preservation of going concern value, and the maintenance of the Debtors’ valuable

business relationships. The Debtors’ ability to maintain business relationships with their vendors,

suppliers, operators and managers, to make capital expenditures and to satisfy other working

capital and operational needs and otherwise finance their operations is essential to the Debtors’

continued viability.

         31.    In short, the ability of the Debtors to sustain their operations and emerge from these

Chapter 11 Cases with a viable business intact is dependent upon obtaining adequate postpetition

financing immediately and, absent the relief sought in the Interim Order, the Debtors and their

estates will be immediately and irreparably harmed. Further, if the Debtors do not receive the

funds available pursuant to the DIP Facilities and access to Cash Collateral, it will destroy the

possibility of conducting a robust marketing process that would benefit the Debtors and all parties

in interest in these Chapter 11 Cases. Accordingly, the DIP Facilities is necessary to preserve the

Debtors’ estates.

         D.     The Terms of the DIP Facilities are Fair, Reasonable and Appropriate Under
                the Circumstances

         32.    In considering whether the terms of postpetition financing are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the proposed

lender. In re L.A. Dodgers LLC, 457 B.R. 308, 312 (Bankr. D. Del. 2011) (stating that approval


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of the DIP facility transaction requires terms that are “fair, reasonable and adequate, given the

circumstances of the debtor-borrower and the proposed lender”); In re Farmland Indus., Inc., 294

B.R. 855, 886 (Bankr. W.D. Mo. 2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp.

v. FirstNat’lBank & Trust Co. (In re EllingsenMacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich.

1986) (a debtor may have to enter into hard bargains to acquire funds). The appropriateness of a

proposed financing facility should also be considered in light of current market conditions. See

Transcript ofRecord at 740:4-6, In re Lyondell Chem. Co.,No. 09-10023 (REG) (Bankr. S.D.N.Y.

Feb. 27, 2009) (“[B]y reason of present market conditions, as disappointing as the [DIP] pricing

terms are, I find the provisions [of a DIP that included a roll-up of prepetition secured debt]

reasonable here and now.”).

         33.    The material terms of the DIP Facilities are fair, reasonable, and appropriate under

the circumstances.     Additionally, the Roll Up—a common feature in debtor-in-possession

financing arrangements—was a necessary inducement for the Prepetition Secured Lenders to

provide the DIP Facilities with this tenor, and in a sufficient amount, and consent to use of Cash

Collateral, both of which are necessary to the viability of the Debtors’ Chapter 11 Cases and the

success of the sale process. The Prepetition Secured Lenders’ willingness to extend the Debtors’

runway prior to the filing of the Chapter 11 Cases via their agreement to provide bridge financing

to the Debtors enabled the Debtors to continue operations and engage in contingency planning

around a potential filing. As to the Prepetition Second Lien Lenders, this portion of the Roll Up

was, in effect, a “pre-DIP” facility and the Roll Up ensures that the Prepetition Secured Lenders

will not be penalized for advancing funds they had no obligation to provide outside of bankruptcy

instead of forcing the Debtors into prematurely filing for chapter 11.




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         34.    Ultimately, the reorganization will permit the Debtors to emerge as a stronger, more

productive business, and will maximize recoveries for all stakeholders.         Given the facts and

circumstances of these cases and the enormous benefit to the Debtors (and their stakeholders), the

Roll Up and the other terms and conditions of the DIP Facilities are fair, reasonable, and

appropriate, and should be approved.

         E.     Entry into the DIP Documents Reflects the Debtors’ Reasonable Business
                Judgment

         35.    A debtor’s decision to enter into a postpetition lending facility under section 364 of

the Bankruptcy Code is governed by the business judgment standard. See In re Trans World

Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (noting that the interim loan, receivable

facility and asset based facility were approved because they “reflect[ed] sound and prudent

business judgment [were] reasonable under the circumstances and in the best interests of TWA

and its creditors”); Ames Dep’t Stores, Inc., 115 B.R. at 40 (“cases consistently reflect that the

court’s discretion under section 364 is to be utilized on grounds that permit reasonable business

judgment to be exercised so long as the financing agreement does not contain terms that leverage

the bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to

benefit parties in interest”); Grp. ofInstitutional Holdings v. Chicago Mil. St. P. & Pac. Ry., 318

U.S. 523, 550 (1943); In re Simasko Prod. Co., 47 B.R. 444, 449 (Bankr.              D. Colo. 1985)

(“Business judgments should be left to the board room and not to this Court.”); In re Lifeguard

Indus., Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio 1983) (same).

         36.    Bankruptcy courts typically defer to a debtor’s business judgment on the decision

to borrow money unless such decision is arbitrary and capricious. See In re Trans World Airlines,

Inc., 163 B.R. at 974. In fact, “[m]ore exacting scrutiny would slow the administration of the

debtor’s estate and increase its cost, interfere with the Bankruptcy Code’s provision for private


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control of administration of the estate and threaten the court’s ability to control a case impartially.”

Richmond Leasing Co. v. Capital Bank, N.A., 76e2X3e 1311 (5th Cir. 1985).

         37.    The Debtors’ determination to move forward with the DIP Facilities is a sound

exercise of their sound business judgment. Specifically, the Debtors and their advisors determined

that the Debtors would require significant postpetition financing to support the administration of

their Chapter 11 Cases and their ongoing operations. The Debtors negotiated the DIP Documents

with the DIP Lenders in good faith, at arm’s length, and with the assistance of their advisors, and

the Debtors believe that they have obtained the best financing available. Accordingly, the Court

should authorize the Debtors’ entry into the DIP Documents as a reasonable exercise of the

Debtors’ business judgment.

         F.     The Proposed Adequate Protection Is Appropriate

         38.    To the extent a secured creditor’s interests in collateral constitute valid and

perfected security interests and liens as of the Petition Date, section 364(d)(1)(B) of the

Bankruptcy Code requires that the Debtors provide adequate protection to such creditor where a

debtor-in-possession financing facility primes the liens of such secured creditor.               While

section 361 of the Bankruptcy Code provides a non-exclusive list of possible forms of adequate

protection—including periodic cash payments, additional liens, replacement liens and other forms

of relief—the Court must determine what constitutes adequate protection on a case-by-case basis.

See In re Columbia Gas Sys., Inc., 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992); In re

                                                  )

focus of the adequate-protection requirement is to protect a secured creditor from the diminution

in the value of its interest in the collateral during the period of use. See Resolution Trust Corp. v.

Swedeland Dev. Group, Inc. (In re Swedeland Dev. Group, Inc.), 16 F.3d 552, 564 (3d Cir. 1994)

(“The whole purpose of adequate protection for a creditor is to insure that the creditor receives the

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value for which he bargained prebankruptcy.”) (internal citations omitted); In re Beker Indus.

Corp.., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (the applicationof adequateprotection “is left to

the vagaries of each case, but its focus is protection of the secured creditor from diminution in the

value of its collateral during the reorganization process”) (citation omitted).

         39.      Here, Prepetition Secured Parties have consented to the proposed adequate

protection, which consists of Adequate Protection Liens, Adequate Protection Superpriority

Claims, Adequate Protection Payments, and other consideration.              The proposed adequate

protection was bargained for at arm’s length, and includes terms that are commonplace in

consensual DIP financing and cash collateral arrangements. Accordingly, the Debtors submit that

their provision of adequate protection to the Prepetition Secured Parties is (a) fair and reasonable

and (b) in the best interests of the Debtors and their estates.

         G.       The Debtors Should Be Authorized to Pay the Interest and Fees Required by
                  the DIP Agents and the DIP Lenders under the DIP Documents.

         40.      Under the DIP Documents, the Debtors have agreed, subject to Court approval, to

pay certain interest and fees to the DIP Agents and the DIP Lenders. In particular, the Debtors

have agreed to pay:

               (a) Interest Rate. 6% pay and 9% PIK as to the Senior DIP Loan; 18% PIK as to the
                   Junior DIP Notes.

               (b) Agency Fee. As to the Senior DIP Loans, $75,000 per year while any Loans and/or
                   Commitments remain outstanding, earned and due and payable on April 27, 2024
                   and on each anniversary of such date hereafter until the Senior DIP Loans are paid
                   in full or otherwise terminated.

               (c) Upfront Fee. An upfront fee (the “Upfront Fee”) in an amount equal to 3.00% of
                   the aggregate principal amount of the DIP Term Loan Commitments under the DIP
                   Credit Agreement as of the Effective Date (after giving effect to the DIP Credit
                   Agreement), which such fee shall be paid in kind upon the funding of each DIP
                   Term Loan in respect thereof by adding such amount to the principal balance of
                   such DIP Term Loan.



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         41.      The Debtors believe that the interest and fees to be paid under the DIP Facilities

are consistent with the market and are reasonable and appropriate, particularly in light of the credit

profile of the Debtors, the nature and extent of the collateral securing the facility, the state of the

Debtors’ industry, and the relevant risks associated with lending in the postpetition financing

context.      The Debtors considered the fees described above when determining, in their sound

business judgment, that the DIP Facilities constituted the best, and only, actionable terms on which

the Debtors could obtain the postpetition financing necessary to continue their operations,

prosecute their cases, and benefit the Debtors’ estates. Accordingly, the Court should authorize

the Debtors to pay the interest and fees provided under the DIP Loan Documents in connection

with the DIP Facilities.

         H.       The Debtors Should Be Authorized to Use Cash Collateral

         42.      Section 363(c)(2) of the Bankruptcy Code provides that a debtor may not use, sell

or lease cash collateral unless “(a) each entity that has an interest in such cash collateral consents;

or (b) the court, after notice and hearing, authorizes such use, sale, or lease in accordance with the

provisions of this section.” 11 U.S.C. § 363(c)(2).

         43.      The Debtors have an urgent need for the immediate use of the Prepetition

Collateral, including Cash Collateral, and seek to use all Cash Collateral existing on or after the

Petition Date pursuant to the terms of the DIP Documents. The Debtors need Cash Collateral to

pay operating expenses, including essential vendors and employees, in order to ensure a continued

supply of goods and services essential to the Debtors’ business. Indeed, absent such relief, the

Debtors’ business will be brought to a halt, with damaging consequences for the Debtors and their

estates and creditors.

         44.      The Debtors believe that the terms and conditions of their use of Cash Collateral

(including the provision of adequate protection described above and provided in the DIP Orders)

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are appropriate and reasonable and, as described above, that such adequate protection is sufficient

to secure any adequate protection obligations under the circumstances. As described above, the

Debtors propose to use Cash Collateral to fund the orderly administration of the Chapter 11 Cases

and a sale process designed to maximize the value of the Debtors’ estates. The Prepetition Secured

Parties consent to the use of Cash Collateral in light of the adequate protection provided, which,

as noted above, the Debtors believe is necessary and sufficient. For the reasons set forth herein,

the Debtors submit that they should be authorized to use Cash Collateral on the terms set forth in

the DIP Documents.

         I.     Approval of Interim Relief is Appropriate

         45.    Bankruptcy Rules 4001(b)(2) and 4001(c)(2) provide that a final hearing on a

motion to use cash collateral or obtain credit, respectively, may not be commenced earlier than

fourteen (14) days after the service of such motion. Upon request, however, the Court may conduct

a preliminary expedited hearing on the motion and authorize the use of cash collateral and the

obtaining of credit on an interim basis “to the extent necessary to avoid immediate and irreparable

harm to the estate pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2), (c)(2).

         46.    The Debtors have an urgent and immediate need for access to the DIP Facilities

and Cash Collateral on an interim basis. The Debtors require immediate access to $16,378,000 of

cash in the form of DIP financing, in addition to the use of Cash Collateral, to meet sustain their

and the Company’s operations through the week ending January 12, 2024, and avoid irreparable

harm pending a final hearing. Absent immediate access to the DIP Facilities and Cash Collateral

at this pivotal stage, among other things, the Debtors could (a) face a detrimental interruption of

their business; (b) lose the support of key constituencies, including the Debtors’ workforce,

vendors, and customers on which the success of the chapter 11 cases depend; and (c) be forced to



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significantly modify, or shut down entirely, their operations, each of which could detrimentally

affect the Debtors’ ability to maximize the value of the estates.

         47.     Moreover, immediate access to both the DIP Facilities and Cash Collateral is the

stabilizing assumption upon which the Approved Budget, attached as Exhibit 1 to the Interim

Order, is based. Without such access, the Debtors could lose the confidence and cooperation of

employees and key business partners, including creditors, vendors, and customers.            In short,

without immediate access to both the DIP Facilities and Cash Collateral, the Debtors’ liquidity

situation will be bleaker than the Approved Budget in that the Debtors would in all likelihood face

a liquidity crisis and run out of cash more quickly than the Approved Budget projects and the

erosion of confidence concerning the Debtors’ ongoing operations would be significant and

irreparably harm the Debtors’ estates.

         48.     The Debtors’ ability to preserve and maximize the value of their estates and the

business’s continuing viability depend heavily upon the interim relief sought in this Motion.

         J.      Request for a Final Hearing

         49.     The DIP Documents include a maturity date that will occur within 30 days after

entry of the Interim Order unless a Final Order approving the Motion has been entered. As such,

pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that the Court set a

date for the Final Hearing that is as soon as practicable, but in no event later than 30 days following

the Petition Date, and fix the time and date prior to the Final Hearing for parties to file objections

to the Motion.

                              REQUEST FOR WAIVER OF STAY

         50.     To implement the foregoing immediately, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay of an order authorizing the

use, sale, or lease of property under Bankruptcy Rule 6004(h). As explained above and in the First

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Day Declaration, the relief requested herein is necessary to avoid immediate and irreparable harm

to the Debtors, because the DIP Facilities in order to pay critical expenses during the interim period

that, if unpaid, would result in the erosion of the Debtors’ business and enterprise value.

Accordingly, ample cause exists to justify the finding that the notice requirements under

Bankruptcy Rule 6004(a) have been satisfied and to grant a waiver of the fourteen-day stay

imposed by Bankruptcy Rule 6004(h), to the extent such notice requirements and stay apply.

                                  RESERVATION OF RIGHTS

         51.    Nothing contained herein is intended or shall be construed as: (a) an admission as

to the amount of, basis for, or validity of any claim against any of the Debtors under the Bankruptcy

Code or other applicable nonbankruptcy law; (b) an impairment or waiver of any Debtor’s or any

other party in interest’s right to dispute any claim against, or interest in, any Debtor, its property,

or its estate on any grounds; (c) a promise or requirement to pay any claim; (d) an assumption,

adoption, or rejection of any agreement, contract, or lease under section 365 of the Bankruptcy

Code; (e) an implication or admission that any particular claim is of a type specified or defined in

the Motion, or any order granting the relief requested by the Motion; (f) an implication, admission,

or finding as to the validity, enforceability, or perfection of any interest or encumbrance on the

property of any Debtor or its estate; (g) an impairment or waiver of any claims or causes of action

which may exist against any entity; or (h) a waiver of any Debtor’s or any other party in interest’s

rights under the Bankruptcy Code or any other applicable law.

                                              NOTICE

         52.    The Debtors have provided notice of this Motion to (a) the Office of the United

States Trustee for the Southern District of Florida; (b) the holders of the 30 largest unsecured

claims against the Debtors (on a consolidated basis); (c) the Prepetition Secured Parties; (d) the

United States Attorney’s Office for the Southern District of Florida; (e) the Internal Revenue

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Service; (f) the United States Securities and Exchange Commission; (g) the state attorneys general

for states in which the Debtors conduct business; and (h) all parties that have requested or that are

required to receive notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, under the

circumstances, no other or further notice is required.

         WHEREFORE, the Debtors respectfully request that the Court (i) enter the proposed

Interim Order, substantially in the form attached hereto as Exhibit A and, following a noticed

hearing on the relief sough, enter the Final Order granting the relief requested in this Motion, and

(ii) grant such other and further relief as may be just and proper.

Dated: December 20, 2023                                 Respectfully submitted,

                                                         BERGER SINGERMAN LLP
                                                         Proposed Counselfor the Debtors and
                                                         Debtors-in-Possession
                                                         1450 Brickell Avenue, Ste. 1900
                                                         Miami, FL 33131
                                                         Telephone: (305) 755-9500
                                                         Facsimile: (305) 714-4340

                                                         By:    /s/ Jordi Guso
                                                                Paul Steven Singerman
                                                                Florida Bar No. 378860
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                                     Exhibit A

                            Interim Order With Exhibits




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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov

    In re:
                                                                 Chapter 11 Cases
    BIRD GLOBAL, INC., el al.,1
                                                                 Case No. 23-20514-LMI
             Debtors.
                                                                 (Jointly Administered)


           INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
         POSTPETITION FINANCING, (B) GRANT SENIOR SECURED LIENS AND
    SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, AND (C) UTILIZE CASH
            COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO THE
     PREPETITION SECURED PARTIES; (III) MODIFYING THE AUTOMATIC STAY;
      (IV) SCHEDULING FINAL HEARING; AND (V) GRANTING RELATED RELIEF

             THIS MATTER came before this Court on December 22, 2023, at 9:30 a.m. in Miami,

Florida (“Hearing”), upon the motion [ECF No.                        ] (the “DIP Motion”) filed by the debtors and

debtors-in-possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the




1      The address of the Debtors is 392 Northeast 191st Street. #20388, Miami, FL 33179. The last four digits of the
       Debtors’ federal tax identification numbers are: (i) Bird Global, Inc. (3155); (ii) Bird Rides, Inc. (9939); (iii) Bird
       US Holdco, LLC (8390); (iv) Bird US Opco, LLC (6873); and (v) Skinny Labs, Inc. (8176).



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“Chapter 11 Cases”) commenced on December 19, 2023 (the “Petition Date”) for entry of an

interim order (this “Interim Order”) and a final order under sections 105, 361, 362, 363, 364, 503,

506(c) and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

“Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy

Procedure (as amended, the “Bankruptcy Rules”), and Rules 2002-1, 4001-1, 4001-2, 4001-3, and

9013-1 of the Local Rules of the United States Bankruptcy Court for the Southern District of

Florida (the “Local Rules”) seeking, among other things:

        (a)      authorization for Bird Global, Inc., in its capacity as borrower (the “Borrower”), to
                 obtain postpetition financing, and for each of the other Debtors, and certain of their
                 non-Debtor affiliates, to borrow or guarantee, as applicable, unconditionally (in
                 their capacities as guarantors, the “Guarantors” and together with the Borrower and
                 any other obligors, the “DIP Obligors”),2 on a joint and several basis, the
                 Borrower’s obligations in connection with debtor in possession financing (the “DIP
                 Facilities”), to be funded by certain Prepetition Secured Lenders (as defined herein)
                 pursuant to the DIP Credit Agreements and other DIP Documents (each as defined
                 herein), comprising:

                      i. a postpetition senior secured priming and super-priority debtor-in-
                         possession loan facility (the “DIP Credit Facility”) provided by the lenders
                         (the “Prepetition First Lien Lenders”) party to the Prepetition Credit
                         Agreement (as defined herein) pursuant to the terms and conditions of this
                         Interim Order and the DIP Credit Agreement (as defined below), consisting
                         of (a) new money loans up to $19,500,000 (the “New Money Senior DIP
                         Loans”) of which up to $11,500,000 shall be available upon the entry of this
                         Interim Order after exhaustion of the New Money Junior DIP Notes (as
                         defined herein); and (b) subject to entry of the Final Order, loans under the
                         Prepetition Credit Agreement, held by the Prepetition First Lien Lenders
                         and rolled up into the DIP Credit Facility, in an aggregate principal amount
                         of not less than $41,455,322.40, plus accrued and unpaid interest of not less
                         than $2,833,148.50 and all other Prepetition First Lien Obligations (as
                         defined herein) (such rolled-up debt, the “Roll-Up Loans” and together with
                         the New Senior Money DIP Loans, the “Senior DIP Loans”);

                      ii. a postpetition senior secured and super priority priming note purchase
                          agreement (the “DIP Junior Notes Facility” and together with the DIP Credit


2   The DIP Obligors are: (i) Debtors (a) Bird Global, Inc.; (b) Bird Rides, Inc.; (c) Bird U.S. Holdco, LLC; (d) Bird
    US Opco, LLC; and (e) Skinny Labs, Inc.; and (ii) non-Debtors: (a) Bird Canada Scooters, Inc; (b) Bird Treasury
    Holdco, LLC; (c) Scoot Rides, Inc; (d) Bird Rides International Holdings, Inc.; (e) Bird Rides Holdings (US),
    LLC; (f) Bird Rides Europe B.V.


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                         Agreement, the “DIP Facilities”) junior only to the DIP Credit Facility, the
                         First Lien Adequate Protection Obligations (as defined herein), and the
                         Prepetition First Lien Obligations, provided by certain note purchasers (the
                         “Participating Second Lien Lenders”) party to the Prepetition Note
                         Purchase Agreement (as defined herein) pursuant to the terms and
                         conditions of this Interim Order and the DIP Note Purchase Agreement (as
                         defined below) consisting of (a) up to $5,600,000 in new money notes
                         (the “New Money Junior DIP Notes”) of which $5,600,000 shall be
                         available upon the entry of this Interim Order pursuant to the terms and
                         conditions of this Interim Order and the DIP Note Purchase Agreement (as
                         defined herein); and (b) certain bridge notes issued under the Prepetition
                         Note Purchase Agreement, held by the Participating Second Lien Lenders
                         and rolled up into the DIP Junior Notes Facility, in an aggregate principal
                         amount of $4,000,000 plus accrued interest and fees payable with respect
                         thereto (such rolled-up debt, the “Roll-Up Notes” and together with the New
                         Money Junior DIP Notes, the “Junior DIP Notes” and together with the First
                         Lien DIP Loans, the “DIP Loans”); and

        (b)      authorization for the Debtors to enter into and perform under:

                      i. the Senior Secured Priming and Superpriority Debtor-In-Possession Credit
                         Agreement (as amended, restated or otherwise modified from time to time
                         in accordance with the terms thereof, the “DIP Credit Agreement” together
                         with all agreements, documents and instruments delivered or executed in
                         connection therewith, the “Senior DIP Documents”) among the DIP
                         Obligors, the Prepetition First Lien Lenders as lenders under DIP Credit
                         Facility (collectively, in their capacities as lenders under the DIP Credit
                         Facility, the “Senior DIP Lenders”) and MidCap Financial Trust, as
                         administrative agent (in such capacity, the “Senior DIP Agent” and together
                         with the Senior DIP Lenders, the “Senior DIP Parties”), which credit
                         agreement shall be in substantially the same form attached hereto as Exhibit
                         3, and all obligations arising thereunder including all “Borrower
                         Obligations” as defined therein being “Senior DIP Obligations”; and

                      ii. the Senior Secured Priming and Superpriority Debtor-In-Possession Note
                          Purchase Agreement (as amended, restated or otherwise modified from time
                          to time in accordance with the terms thereof, the “DIP Note Purchase
                          Agreement” together with all agreements, documents and instruments
                          delivered or executed in connection therewith, the “Junior DIP
                          Documents,” and together with the Senior DIP Documents, the “DIP
                          Documents”) among the DIP Obligors, the Participating Second Lien
                          Lenders (collectively, in their capacities as note purchasers under the DIP
                          Note Purchase Agreement, the “Junior DIP Lenders” and together with the
                          Senior DIP Lenders, the “DIP Lenders”) and U.S. Bank Trust Company,
                          National Association as collateral agent for the Junior DIP Lenders (in such
                          capacity herein, the “Junior DIP Agent,” and together with (i) the Senior
                          DIP Agent, the “DIP Agents,” and (ii) the Junior DIP Lenders, the “Junior


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                        DIP Parties”; and the Junior DIP Parties together with the Senior DIP
                        Parties, the “DIP Parties”), which agreement shall be in substantially the
                        same form attached hereto as Exhibit 4, and all obligations arising
                        thereunder including all “Obligations” as defined therein being “Junior DIP
                        Obligations” and together with the Senior DIP Obligations, the “DIP
                        Obligations”); and;

        (c)      authorization for the Debtors to use the proceeds of the DIP Loans and the
                 Prepetition Collateral (as defined herein), including Cash Collateral (as defined
                 herein), in accordance with the terms hereof, including pursuant to the DIP Budget
                 (as defined herein) as further described herein, to (i) pay principal, fees, interest,
                 and other obligations under the DIP Facilities, (ii) upon entry of the Final Order, to
                 roll up and grant Senior DIP Loan status to all Prepetition First Lien Obligations,
                 (iii) upon entry of the Final Order, to roll-up and grant Junior DIP Note status to
                 the Roll-Up Notes, and (iv) to provide working capital for, and for other general
                 corporate purposes of, the Debtors, including for funding the Carve Out (as defined
                 herein) and payment of any Adequate Protection Obligations (as defined herein);

        (d)      the granting of adequate protection to the Prepetition First Lien Lenders for all
                 principal, interest, indebtedness, fees, costs, expenses and obligations of any kind,
                 (“Prepetition First Lien Obligations” and together with the Senior DIP Obligations,
                 the “Senior Obligations”) arising under the Amended and Restated Loan
                 Agreement among the Prepetition First Lien Lenders, the Debtors and certain non­
                 Debtor Affiliates as Borrowers, Parent, or guarantors thereto (as applicable), and
                 MidCap Financial Trust as Administrative Agent (the “Prepetition First Lien
                 Agent” and together with the Prepetition First Lien Lenders, the “Prepetition First
                 Lien Parties”) dated as of September 19, 2023 (as amended, restated, amended and
                 restated, or otherwise modified from time to time including by Amendment No. 1
                 thereto dated as of November 29, 2023, the “Prepetition Credit Agreement”) and,
                 all security, pledge and guaranty agreements and all other documentation executed
                 in connection with the foregoing, including without limitation all “Transaction
                 Documents” as defined in the Prepetition Credit Agreement (each as amended,
                 supplemented or otherwise modified, and together with the Prepetition Credit
                 Agreement, the “Prepetition First Lien Credit Documents”),

        (e)      the granting of adequate protection to the Participating Second Lien Lenders and
                 any non-participating note purchasers under the Prepetition Note Purchase
                 Agreement (defined below) (collectively with the Participating Second Lien
                 Lenders, the “Prepetition Second Lien Lenders”) for all principal, interest,
                 indebtedness, fees, costs, expenses and obligations of any kind, (“Prepetition
                 Second Lien Obligations” and together with the Prepetition First Lien Obligations,
                 the “Prepetition Obligations”) arising under the Note Purchase Agreement among
                 the Prepetition Second Lien Lenders, Bird Global, Inc., and U.S. Bank Trust
                 Company, National Association, as collateral agent for the Prepetition Second Lien
                 Lenders (in such capacity herein, the “Prepetition Second Lien Agent” and together
                 with the Prepetition Second Lien Lenders, the “Prepetition Second Lien Parties”
                 and together with the Prepetition First Lien Parties, the “Prepetition Secured


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                 Parties”), dated as of December 30, 2022 (as amended, restated, amended and
                 restated, or otherwise modified from time to time including the First Amendment
                 thereto dated as of March 17, 2023, the Second Amendment thereto dated as of
                 September 19, 2023, the Third Amendment thereto dated as of December 11, 2023,
                 and the Fourth Amendment (the “Fourth Amendment”) thereto dated as of
                 December 18, 2023, the “Prepetition Note Purchase Agreement”) and, all security,
                 pledge and guaranty agreements and all other documentation executed in
                 connection with the foregoing (each as amended, supplemented or otherwise
                 modified, and together with the Prepetition Credit Agreement, the “Prepetition
                 Second Lien Credit Documents” and together with the Prepetition First Lien Credit
                 Documents, the “Prepetition Credit Documents”);

        (f)      authorization for the Debtors to pay, on a final and irrevocable basis, the principal,
                 interest, fees, expenses and other amounts payable under the DIP Documents as
                 such become earned, due and payable, including, without limitation, letter of credit
                 fees, agency fees, audit fees, appraisal fees, valuation fees, administrative and
                 collateral agents’ fees, and the reasonable fees and disbursements of the DIP
                 Parties’ attorneys, advisors, accountants, appraisers, bankers and other consultants,
                 all to the extent provided in, and in accordance with, the DIP Documents;

        (g)      the granting of valid, enforceable, non-avoidable and fully perfected first priority
                 liens on and security interests in all, if any, of the property, assets and other interests
                 in property and assets of the Debtors that are not subject to a valid and perfected
                 lien on the Petition Date (such property and assets, the “Unencumbered Assets”),
                 except as otherwise specifically provided herein and in the applicable DIP
                 Documents, whether such property is presently owned or after-acquired, and all
                 other “property of the estate” (within the meaning of the Bankruptcy Code) of the
                 Debtors, of any kind or nature whatsoever, real or personal, tangible, intangible or
                 mixed, now existing or hereafter acquired or created, whether existing prior to or
                 arising after the Petition Date, including actions to recover property transferred
                 pursuant to section 549 of the Bankruptcy Code and, upon entry of the Final Order,
                 the proceeds of any other claims or causes of action arising or assertable under
                 chapter 5 of the Bankruptcy Code (the “Avoidance Actions”), subject only to the
                 Carve Out and the priority of liens set forth in paragraph 12 of this Interim Order;

        (h)      the granting of valid, enforceable, non-avoidable and fully perfected first priority
                 priming liens on and security interests in all of the property, assets and other
                 interests in property and assets of the Debtors, except as otherwise specifically
                 provided herein and in the applicable DIP Documents, whether such property is
                 presently owned or after-acquired, and all other “property of the estate” (within the
                 meaning of the Bankruptcy Code) of the Debtors, of any kind or nature whatsoever,
                 real or personal, tangible, intangible or mixed, now existing or hereafter acquired
                 or created, whether existing prior to or arising after the Petition Date, that comprises
                 the Prepetition Collateral (as defined herein), subject only to the Carve Out and the
                 priority of liens set forth in paragraph 12 of this Interim Order, on the terms and
                 conditions set forth herein and in the DIP Documents;



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        (i)      the granting of valid, enforceable, non-avoidable and fully perfected junior liens on
                 and security interests in all of the property, assets and other interests in property
                 and assets of the Debtors, except as otherwise specifically provided herein and in
                 the applicable DIP Documents, whether such property is presently owned or after­
                 acquired, and all other “property of the estate” (within the meaning of the
                 Bankruptcy Code) of the Debtors, of any kind or nature whatsoever, real or
                 personal, tangible, intangible or mixed, now existing or hereafter acquired or
                 created, whether existing prior to or arising after the Petition Date, that is subject
                 to Permitted Liens (as defined herein) (other than the Prepetition Liens (as defined
                 herein)), subject only to the Carve Out and the priority of liens set forth in paragraph
                 12 of this Interim Order, on the terms and conditions set forth herein and in the DIP
                 Documents;

        (j)      subject to the terms of this Interim Order, the granting of superpriority
                 administrative expense claims against each of the Debtors’ estates to the DIP
                 Agents and the DIP Lenders, with respect to the DIP Obligations with the priorities
                 set forth in paragraph 10 of this Interim Order over any and all administrative
                 expenses of any kind or nature, subject and subordinate only to the Carve Out, on
                 the terms and conditions set forth herein and in the DIP Documents;

        (k)      the waiver of the Debtors’ and the estates’ rights to surcharge against the Prepetition
                 Collateral pursuant to Bankruptcy Code section 506(c), the waiver of the “equities
                 of the case” exception under Bankruptcy Code 552(b), and a waiver of the equitable
                 doctrine of “marshalling”, subject in each case to entry of the Final Order (but
                 retroactive to the Petition Date);

        (l)      subject to the terms of this Interim Order, authorization for the DIP Agents and the
                 DIP Lenders to exercise remedies under the DIP Documents on the terms described
                 herein upon the occurrence and during the continuance of a Termination Event (as
                 defined herein);

        (m)      the modification of the automatic stay imposed pursuant to Bankruptcy Code
                 section 362 to the extent necessary to implement and effectuate the terms of this
                 Interim Order;

        (n)      pursuant to Bankruptcy Rule 4001, that an interim hearing (the “Interim Hearing”)
                 on the Motion be held before this Court to consider entry of this Interim Order,
                 among other things, (i) authorizing the Borrower, on an interim basis, to (x) borrow
                 New Money Junior DIP Notes in an amount up to $5,600,000, and (y) upon
                 exhaustion of the proceeds of such interim New Money Junior DIP Notes
                 borrowings, borrowing New Money Senior DIP Loans in an amount up to
                 $11,500,000 and (ii) upon entry of the Final Order, to continue to borrow from the
                 DIP Lenders in accordance with the DIP Documents, including, in subsequent
                 draws, the New Money Senior DIP Loans in their full, authorized amount and the
                 incurrence of the Roll-Up Loans and Roll-Up Notes as DIP Obligations;
                 (iii) authorizing the Guarantors to guaranty the DIP Obligations, (iv) authorizing




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                 the Debtors’ use of Cash Collateral, and (v) granting the adequate protection
                 described in this Interim Order; and

        (o)      that this Court schedule a final hearing (the “Final Hearing”) to consider entry of a
                 final order (the “Final Order”) authorizing and approving, on a final basis, among
                 other things, the Debtors’ entry into the DIP Facilities, the borrowings under the
                 DIP Facilities, the continued use of Cash Collateral and granting adequate
                 protection, in each case, as described in the Motion and as set forth in the DIP
                 Documents.

        The Court having considered the Motion and the exhibits thereto, the Declaration of

Christopher Rankin In Support of Chapter 11 Petitions and First Day Pleadings [ECF No. 31]

(the “First Day Declaration”), the evidence submitted or proffered and the arguments of counsel

made at the Interim Hearing; and proper and sufficient notice of the Motion and the Interim

Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b), (c) and (d), and

9014; and the Interim Hearing to consider the relief requested in the Motion having been held and

concluded; and all objections, if any, to the relief requested in the Motion and to the entry of this

Interim Order having been withdrawn, resolved or overruled by the Court; and it appearing to the

Court that granting the relief requested is necessary to avoid immediate and irreparable harm to

the Debtors and their estates pending the Final Hearing and otherwise is fair and reasonable and

in the best interests of the Debtors, their estates, creditors and parties in interest; and after due

deliberation and consideration, and for good and sufficient cause appearing therefor;

IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:3

         1.      Disposition. The Motion is GRANTED on an interim basis in accordance with the

 terms of this Interim Order. Any objections to the Motion with respect to the entry of this Interim




    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable pursuant to Bankruptcy Rule 9014. To the extent that any of
    the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the
    following conclusions of law constitute findings of fact, they are adopted as such.


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 Order that have not been withdrawn, waived or settled, and all reservation of rights included

 therein, are hereby denied and overruled.

        2.       Jurisdiction.   This Court has core jurisdiction over the Chapter 11 Cases

 commenced on Petition Date, the Motion and the parties and property affected hereby pursuant

 to 28 U.S.C. §§ 157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408

 and 1409.

        3.       Notice.   Under the circumstances, the notice given by the Debtors of, and as

 described in, the Motion, the relief requested therein, and the Interim Hearing complies with

 Bankruptcy Rules 4001(b) and (c) and the Local Rules, and no further notice of the relief sought

 at the Interim Hearing and the relief granted herein is necessary or required.

        4.       Debtors’ Stipulations. Without prejudice to the rights of any other party, but

 subject to the limitations thereon contained in paragraphs 31 and 32 of this Interim Order, the

 Debtors represent, admit, stipulate and agree as follows:

        (a)     Prepetition First Lien Obligations. As of the Petition Date, the Debtors and their

 non-Debtor affiliates party to the Prepetition First Lien Credit Documents (the “Prepetition First

 Lien Obligors”) without defense, counterclaim or offset of any kind, were jointly and severally

 indebted and liable to the Prepetition First Lien Parties under the Prepetition First Lien Credit

 Documents in the aggregate principal amount of loans of not less than $41,455,322.40, plus

 approximately $2,833,148.50 accrued and unpaid interest and fees thereon as of the Petition Date,

plus all other Prepetition First Lien Obligations. The Prepetition First Lien Obligations constitute

 legal, valid, binding and non-avoidable obligations against each of the Prepetition First-Lien

 Obligors and are not subject to any avoidance, recharacterization, effect, counterclaim, defense,

 offset, subordination, other claim, cause of action or other challenge of any kind under the

 Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments or transfers


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 made to or for the benefit of (or obligations incurred to or for the benefit of) the Prepetition First

 Lien Parties by or on behalf of any of the Prepetition First-Lien Obligors prior to the Petition Date

 under or in connection with any of the Prepetition First Lien Credit Documents are subject to

 avoidance, recharacterization, effect, counterclaim, defense, offset, subordination, other claim,

 cause of action or other challenge of any kind or nature under the Bankruptcy Code, under

 applicable non-bankruptcy law or otherwise.

        (b)      Prepetition First Priority Liens.       Pursuant to the Prepetition First Lien Credit

 Documents, the Prepetition First Lien Obligations are secured by valid, binding, perfected, non-

 avoidable and enforceable first priority liens on and security interests in (the “Prepetition First

 Priority Liens”) the “Collateral” (as defined in the Prepetition First Lien Credit Documents) (the

 “Prepetition Collateral”), subject only to certain permitted liens as permitted under the Prepetition

 First Lien Credit Documents. The Prepetition First Priority Liens (i) are valid, binding, perfected

 and enforceable first priority liens and security interests in the Prepetition Collateral, (ii) are not

 subject,     pursuant to the Bankruptcy Code              or other applicable law, to avoidance,

 recharacterization, recovery, subordination, attack, offset, objection, challenge, counterclaim,

 defense or any “claim” (as defined in the Bankruptcy Code) of any kind, (iii) as of the Petition

 Date are subject and/or subordinate only to certain permitted liens (if any) as permitted by the

 terms of the Prepetition First Lien Credit Documents, (iv) were granted to or for the benefit of the

 Prepetition First Lien Parties for fair consideration and reasonably equivalent value and were

 granted contemporaneously with, or covenanted to be provided as an inducement for, the making

 of the loans and/or commitments and other financial accommodations secured thereby(iv)

 constitute the legal, valid and binding obligation of the “Credit Parties” (as defined in the

 Prepetition First Lien Credit Documents), enforceable in accordance with the terms of the

 applicable Prepetition First Lien Credit Documents, and (v) encumber all or substantially all of


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 the Debtors’ assets as of the Petition Date (subject to certain limited exclusions set forth in the

 Prepetition First Lien Documents).

        (c)      Prepetition Second Lien Obligations. As of the Petition Date, the Debtors and their

 non-Debtor affiliates party to the Prepetition Second Lien Credit Documents (the “Prepetition

 Second Lien Obligors” and together with the Prepetition First Lien Obligors, the “Prepetition

 Obligors”), without defense, counterclaim or offset of any kind, were jointly and severally

 indebted and liable to the Prepetition Second Lien Parties under the Prepetition Second Lien

 Credit Documents in the aggregate principal amount of notes not less than $63,850,000, plus

 approximately $7,180,000.00 accrued and unpaid interest thereon (including PIK interest) as of

 the Petition Date, plus all other Prepetition Second Lien Obligations. The Prepetition Second

 Lien Obligations constitute legal, valid, binding and non-avoidable obligations against each of

 the Debtors and the non-Debtor Prepetition Obligors and are not subject to any avoidance,

 recharacterization, effect, counterclaim, defense, offset, subordination, other claim, cause of

 action or other challenge of any kind under the Bankruptcy Code, under applicable non­

 bankruptcy law or otherwise.       No payments or transfers made to or for the benefit of (or

 obligations incurred to or for the benefit of) the Prepetition Second Lien Agent or Prepetition

 Second Lien Lenders by or on behalf of any of the Debtors or the non-Debtor Prepetition Obligors

 prior to the Petition Date under or in connection with any of the Prepetition Second Lien Credit

 Documents are subject to avoidance, recharacterization, effect, counterclaim, defense, offset,

 subordination, other claim, cause of action or other challenge of any kind or nature under the

 Bankruptcy Code, under applicable non-bankruptcy law or otherwise.

        (d)      Prepetition Second Priority Liens. Pursuant to the Prepetition Second Lien Credit

 Documents, the Prepetition Second Lien Obligations are secured by valid, binding, perfected and

 enforceable second priority liens on and security interests in the Prepetition Collateral


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 (the “Prepetition Second Priority Liens” and, together with the Prepetition First Priority Liens,

 the “Prepetition Liens”), which Prepetition Second Priority Liens are subject and subordinate only

 to the Prepetition First Priority Liens and certain permitted liens as permitted by the terms of the

 Prepetition Second Lien Credit Documents. The Prepetition Second Priority Liens (i) are valid,

 binding, perfected, and enforceable second priority liens and security interests in the Prepetition

 Collateral, (ii) are not subject, pursuant to the Bankruptcy Code or other applicable law, to

 avoidance, recharacterization, recovery, subordination, attack, offset, counterclaim, defense or

 “claim” (as defined in the Bankruptcy Code) of any kind, (iii) as of the Petition Date are subject

 and/or subordinate only to the Prepetition First Priority Liens and certain permitted liens as

 permitted by the terms of the Prepetition Second Lien Credit Documents, and (iv) constitute the

 legal, valid and binding obligation of the “Note Parties” (as defined in the Prepetition Second

 Lien Credit Documents), enforceable in accordance with the terms of the applicable Prepetition

 Second Lien Credit Documents.

        (e)      Prepetition Intercreditor Agreement. As of the Petition Date, the Prepetition First

 Lien Agent and the Prepetition Second Lien Agent were party to that certain Amended and

 Restated Subordination and Intercreditor Agreement dated as of September 19, 2023 (as

 amended, supplemented, amended and restated or otherwise modified from time to time prior to

 the date of this Interim Order, the “Prepetition Intercreditor Agreement”).         The Prepetition

 Intercreditor Agreement governs the respective rights, interests, obligations, priority and positions

 of the Prepetition Secured Parties with respect to the Prepetition Collateral. The Prepetition

 Obligors, including the Debtors, have acknowledged and agreed to recognize all rights granted to

 the parties to the Prepetition Intercreditor Agreement.

        (f)      No Challenges/Claims.     Subject to paragraph 32 below, no offsets, challenges,

 objections, defenses, claims or counterclaims of any kind or nature to any of the respective


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    Prepetition Liens or Prepetition Obligations exist, and no portion of the respective Prepetition

    Liens or Prepetition Obligations is subject to any challenge or defense including, without

    limitation, avoidance,        disallowance,       disgorgement,        recharacterization, or subordination

    (equitable or otherwise) pursuant to the Bankruptcy Code or applicable non-bankruptcy law. The

    Debtors and their estates have no valid Claims (as such term is defined in section 101(5) of the

    Bankruptcy Code), objections, challenges, causes of action,4 and/or choses in action against any

    of the Prepetition Secured Parties, any of their respective Agents or any of their respective

    affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees with

    respect to the Prepetition Credit Documents, the Prepetition Obligations, the Prepetition Liens, or

    otherwise, whether arising at law or at equity, including, without limitation, any challenge,

    recharacterization, subordination, avoidance, recovery, disallowance, reduction, or other claims

    arising under or pursuant to sections 105, 502, 510, 541, 542 through 553, inclusive, or 558 of the

    Bankruptcy Code or applicable state law equivalents. The Prepetition Secured Parties claims in

    respect of the Prepetition Obligations constitute allowed, secured claims, within the meaning of

    sections 502 and 506 of the Bankruptcy Code, subject to the value of the Prepetition Collateral.

    The Debtors have waived, discharged, and released any right to challenge any of the Prepetition


4     As used in this Interim Order, “causes of action” means any action, claim, cause of action, controversy demand,
      right, action, hen, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense,
      offset, power, privilege, and license of any kind or character whatsoever, whether known, unknown, contingent
      or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
      undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the
      Closing Date (as defined herein), in contract or in tort, in law (whether local, state, or federal U.S. or non-U.S.
      law) orin equity, orpmsuantto any other theory of local, state, orfederalU.S. ornon-U.S. law. Forthe avoidance
      of doubt, “cause of action” includes: (a) any right of setoff, counterclaim, or recoupment and any claim for breach
      of contract or for breach of duties imposed by law or in equity; (b) any claim based on or relating to, or in any
      manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary duty, fraudulent transfer or
      fraudulent conveyance or voidable transaction law, violation of local, state, or federal or non-U.S. law or breach
      of any duty imposed by law or in equity, including securities laws, negligence, and gross negligence; (c) any
      Claim pursuant to section 362 or chapter 5 of the Bankruptcy Code or similar local, state, or federal U.S. or non­
      U.S. law; (d) any Claim or defense including fraud, mistake, duress, and usury, and any other defenses set forth
      in section 558 of title 11 of the United States Code; (e) any state or foreign law pertaining to actual or constructive
      fraudulent transfer, fraudulent conveyance, and (f) any “lender liability” or equitable subordination claims or
      defenses.


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 Secured Indebtedness, the priority of the Debtors’ obligations thereunder, and the validity, extent,

 and priority of the Prepetition Liens.

        (g)      Cash Collateral.   Any and all of the Debtors’ cash, including cash and other

 amounts on deposit or maintained in any account or accounts by the Debtors, and any amounts

 generated by the collection of accounts receivable or other disposition of the Prepetition Collateral

 (as defined herein) existing as of the Petition Date or from time to time, and the proceeds of any

 of the foregoing, is the Prepetition Secured Parties’ cash collateral within the meaning of

 Bankruptcy Code section 363(a) (the “Cash Collateral”).

        5.       Findings Regarding the DIP Facilities and Use of Cash Collateral.

        (a)      Good cause has been shown for the entry of this Interim Order.

        (b)      As set forth in the First Day Declaration, the Debtors have an immediate need to

 obtain the DIP Facilities and to use the Cash Collateral in each case on an interim basis, in order

 to, among other things, (i) permit the orderly continuation of their respective businesses,

 (ii) maintain business relationships with their vendors, suppliers, regulators, customers and other

 parties, (iii) make payroll, (iv) make adequate protection payments, (v) pay the costs of the

 administration of the Chapter 11 Cases, including a process for the sale of the Debtors’ assets,

 and (vi) satisfy other working capital and general corporate purposes of the Debtors. The Debtors

 require immediate access to sufficient working capital and liquidity through the incurrence of the

 new indebtedness for borrowed money and other financial accommodations to avoid irreparable

 harm by, among other things, preserving and maintaining the value of the Debtors’ assets. The

 Debtors will not have sufficient sources of working capital and financing to operate their business

 or maintain their properties in the ordinary course of business throughout the Chapter 11 Cases

 without the DIP Facilities and authorized use of Cash Collateral.




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        (c)      As set forth in the First Day Declaration, the Debtors are unable to obtain financing

 on more favorable terms from sources other than the DIP Lenders under the DIP Documents and

 are unable to obtain adequate unsecured credit allowable under Bankruptcy Code section

 503(b)(1) as an administrative expense. The Debtors are unable to obtain secured credit allowable

 under Bankruptcy Code sections 364(c)(1), 364(c)(2) and 364(c)(3) for the purposes set forth in

 the DIP Documents. Financing on a postpetition basis is not otherwise available without the

 Debtors granting to the DIP Agents, for the benefit of itself and the DIP Lenders, the DIP Liens

 (as defined herein), in each case, under the terms and conditions set forth in this Interim Order

 and the DIP Documents.

        (d)      The terms of the DIP Facilities, the DIP Documents and the use of Cash Collateral

 are fair and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with

 their fiduciary duties and constitute reasonably equivalent value and fair consideration.

        (e)      The DIP Facilities have been negotiated in good faith and at arm’s length among

 the Debtors, the DIP Agents and the DIP Lenders, and all of the Debtors’ obligations and

 indebtedness arising under, in respect of or in connection with the DIP Facilities and the DIP

 Documents including, without limitation, the DIP Obligations, shall be deemed to have been

 extended by the DIP Agents and the DIP Lenders, respectively, in good faith as that term is used

 in Bankruptcy Code section 364(e) and in express reliance upon the protections offered by

 Bankruptcy Code section 364(e). The DIP Obligations and the DIP Liens (as defined herein)

 shall be entitled to the full protection of Bankruptcy Code section 364(e) in the event that this

 Interim Order or any provision hereof is vacated, reversed or modified on appeal or otherwise,

 and any liens or claims granted to the DIP Agents or the DIP Lenders hereunder arising prior to

 the effective date of any such vacatur, reversal or modification of this Interim Order shall be




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 governed in all respects by the original provisions of this Interim Order, including entitlement to

 all rights, remedies, privileges and benefits granted herein.

        (f)      The Debtors have requested entry of this Interim Order pursuant to Bankruptcy

 Rules 4001(b)(2) and 4001(c)(2).       For the reasons set forth in the Motion, the First Day

 Declaration, and the record presented to the Court at the Interim Hearing, absent granting the

 relief granted by this Interim Order, the Debtors’ estates will be immediately and irreparably

 harmed. Consummation of the DIP Facilities and authorization of the use of the Prepetition

 Collateral (including the Cash Collateral) in accordance with this Interim Order and the DIP

 Documents are, therefore, in the best interests of the Debtors’ estates and are consistent with the

 Debtors’ fiduciary duties.

        (g)      (i) the Prepetition Second Lien Parties have consented to the terms of the DIP

 Facilities and entry of this Interim Order, and (ii) the Prepetition Second Priority Liens and the

 Second Lien Adequate Protection Liens (as defined herein) are subordinate to the Carve Out, the

 Permitted Liens (if any), the DIP Liens, the First Lien Adequate Protection Liens and the

 Prepetition First Priority Liens.

        6.       Authorization of the DIP Facilities and the DIP Documents.

        (a)      The Debtors are hereby expressly authorized and empowered to execute and deliver

 and, on such execution and delivery, perform under the DIP Documents, which are hereby

 approved and incorporated herein by reference.

        (b)      The Borrower is authorized to borrow, and the Guarantors are authorized to

 guaranty and/or incur, borrowings of (i) upon entry of this Interim Order, (x) up to $5,600,000 in

New Money Junior DIP Notes, and (y) up to $11,500,000 in the New Money Senior DIP Loans

 subject to exhaustion of the New Money Junior DIP Notes proceeds, and (ii) subject to entry of

 the Final Order, up to $19,500,000 in New Money Senior DIP Loans (inclusive of amounts


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 advanced pursuant to this Interim Order), in all cases plus applicable interest, fees, indemnities

 and other expenses and other amounts provided for in the DIP Documents, and at all times subject

 to the provisions of the DIP documents, the Interim DIP Order or Final DIP Order, as applicable,

 and the DIP Budget. Nothing in this paragraph 6(b) shall be construed to restrict the ability of

 non-Debtor Guarantors and non-Debtor DIP Obligors to guaranty and/or incur borrowings under

 the DIP Facilities on the same basis as Debtor Guarantors and Debtor DIP Obligors, as set forth

 in the DIP Documents, or otherwise impair or effect in any way the obligations of non-Debtor

 Guarantors and non-Debtor DIP Obligors in connection therewith.

        (c)      Proceeds of the DIP Loans and Cash Collateral shall be used solely for the purposes

 permitted under the DIP Documents, this Interim Order and in accordance with the DIP Budget,

 the DIP Documents and this Interim Order.

        (d)      Subject to entry of the Final Order, the Debtors are authorized to (i) roll up in full

 any and all Prepetition First Lien Obligations, including any accrued and unpaid interest thereon,

 with such Prepetition First Lien Obligations becoming Senior DIP Obligations as Senior DIP

 Loans; and (ii) roll up $4,000,000 in principal amount of Prepetition Second Lien Obligations,

 plus accrued and unpaid interest thereon, with such Prepetition Second Lien Obligations

 becoming Junior DIP Obligations as Junior DIP Notes.

        (e)      In furtherance of the foregoing and without further approval of this Court, each

 Debtor is authorized, and the automatic stay imposed by Bankruptcy Code section 362 is hereby

 lifted to the extent necessary and applicable, to perform all acts and to make, execute and deliver

 all instruments and documents (including, without limitation, the DIP Documents), and to pay all

 fees, expenses, indemnities and other amounts contemplated thereby or that may be reasonably

 required or necessary for the Debtors’ performance of their obligations under the DIP Facilities

 including, without limitation:


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                 (i)     the execution, delivery and performance of the DIP Documents, including,
                         without limitation, the DIP Credit Agreement and DIP Note Purchase
                         Agreement and any guarantees and collateral documents contemplated
                         thereby;

                 (ii)    the execution, delivery and performance of one or more amendments,
                         waivers, consents or other modifications to and under the DIP Documents
                         (in each case in accordance with the terms of the DIP Documents and in
                         such form as the Debtors, the DIP Agents and the Required DIP Lenders or
                         Required Purchasers (as defined in the DIP Documents, as applicable) may
                         agree in accordance with the DIP Documents), it being understood that no
                         further approval of the Court shall be required for any amendments,
                         waivers, consents or other modifications to and under the DIP Documents
                         or the DIP Budget, except that any modifications or amendments to the DIP
                         Documents that shorten the maturity thereof, increase the aggregate
                         commitments thereunder or increase the rate of interest payable with respect
                         thereto shall be on notice and subject to a hearing and Court approval, as
                         necessary;

                 (iii)   the non-refundable and, upon entry of this Interim Order, irrevocable
                         payment to each of the DIP Lenders or the DIP Agents, as applicable, of
                         any amounts due (or that may become due) in respect of any
                         indemnification obligations under the DIP Documents or any other amounts
                         payable in connection with the DIP Documents, including, without
                         limitation, the payment of all reasonable and documented fees, out of pocket
                         expenses, and disbursements of counsel incurred by the DIP Agents and
                         Lenders arising prior to, on, or after the Petition Date;

                 (iv)    making any payments on account of the Adequate Protection Obligations
                         provided for in this Interim Order; and

                 (v)     the performance of all other acts required under or in connection with the
                         DIP Documents.

        (f)      Upon execution and delivery of the DIP Credit Agreement, DIP Note Purchase

 Agreement and the other DIP Documents, such DIP Documents shall constitute valid, binding

 and non-avoidable obligations of the Debtors enforceable against each Debtor party thereto in

 accordance with their respective terms and the terms of this Interim Order for all purposes during

 the Chapter 11 Cases, any subsequently converted Chapter 11 Case of any Debtor to a case under

 chapter 7 of the Bankruptcy Code or after the dismissal of any Chapter 11 Case. No obligation,

 payment, transfer or grant of security under the DIP Credit Agreement, the DIP Note Purchase



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 Agreement, the other DIP Documents or this Interim Order shall be stayed, restrained,

 subordinated, voidable, avoidable or recoverable under the Bankruptcy Code or under any

 applicable law (including, without limitation, under Bankruptcy Code sections 502(d), 510, 548

 or 549 or under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent

 Conveyance Act, Uniform Voidable Transaction Act, or similar statute or common law), or

 subject to any Avoidance Action, defense, reduction, setoff, recoupment or counterclaim.

        (g)     The Debtor Guarantors hereby are authorized and directed to jointly, severally and

 unconditionally guarantee in full all of the DIP Obligations of the Borrower and to incur any DIP

 Obligations and DIP Liens in connection therewith. Nothing in this paragraph 6(g) shall be

 construed to restrict the ability of non-Debtor Guarantors and non-Debtor DIP Obligors to

 guaranty and/or incur borrowings under the DIP Facilities on the same basis as Debtor Guarantors

 and Debtor DIP Obligors, as set forth in the DIP Documents.

        7.       Roll-Up Obligations.

        (a)      Roll-Up Loans. Upon entry of the Final Order, all outstanding Prepetition First

  Lien Obligations shall immediately, automatically, and irrevocably (except as to third parties

  pursuant to paragraph 32 hereof) be deemed to have been converted into Senior DIP Obligations

  and shall be entitled to all the priorities, privileges, rights, and other benefits set forth in this

  Interim Order and the Final Order.

        (b)      Roll-Up Notes. Upon entry of the Final Order, $4,000,000 in principal amount of

  Prepetition Second Lien Obligations, plus accrued and unpaid interest thereon, held by the

  Participating Second Lien Lenders (or their designated affiliates) shall immediately,

  automatically, and irrevocably (except as to third parties pursuant to paragraph 32 hereof) be

  deemed to have been converted into Junior DIP Obligations and shall be entitled to all the

  priorities, privileges, rights, and other benefits set forth in this Interim Order and the Final Order.


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        8.       Budget.

        (a)      Except as otherwise provided herein or in the DIP Documents, the Debtors may

 only use Cash Collateral and the proceeds of the DIP Facilities to fund payments benefitted by

 the Carve Out and otherwise in accordance with a projected statement of sources and uses of cash

 for the DIP Obligors and their subsidiaries (the “Company”) on a consolidated basis for the

 current and following 13 calendar weeks (but not any preceding weeks) attached hereto as Exhibit

 1 (as may be amended, replaced, supplemented or otherwise modified in accordance with the

 terms of this Interim Order and the DIP Documents, the “DIP Budget”) as set forth in the DIP

 Documents. Three business days following the week in which the Petition Date occurs and

 thereafter three business days’ following the end of each prior week (each, a “Reporting Date”),

 the Debtors shall deliver a proposed updated DIP Budget, in each case, substantially in the form

 attached hereto as Exhibit 1 (with only such changes thereto as the Senior DIP Agent shall each

 agree in its sole discretion in accordance with the DIP Documents).         Upon approval of the

 proposed updated DIP Budget by the Senior DIP Agent, the proposed DIP Budget shall be deemed

 the “DIP Budget” for all purposes under this Interim Order and the DIP Documents. Unless and

 until a proposed updated DIP Budget is approved and accepted by the Senior DIP Agent, the

 existing DIP Budget shall remain in full force and effect and continue to govern the Debtors’

 compliance with the Budget Covenants (as defined below).

        (b)      On each Reporting Date, the Debtors shall deliver simultaneously to the DIP Parties

 a variance report/reconciliation report certified by the Chief Financial Officer or Chief

 Restructuring Officer of the Debtors, in form reasonably acceptable to the Senior DIP Agent,

 setting forth the actual sources and uses of cash and the ending unrestricted cash balance of the

 Company for the immediately preceding week, the variance expressed both in dollar amounts and

 percentages (on both an aggregate and line-item basis) of sources and uses of cash and in ending


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 unrestricted cash for such week, and all post-petition expenses of the Debtors that are accrued and

 unpaid as of the end of such week (including accruals of fees of Professional Persons).

        (c)      The Debtors shall only incur DIP Obligations and expend Cash Collateral and other

 DIP Collateral (as defined herein) proceeds to make payments benefitted by the Carve Out and

 otherwise in accordance with the specific purposes set forth in the DIP Budget, subject to the

 permitted variances as set forth in the DIP Documents (collectively referred to herein as the

 “Budget Covenants”). Notwithstanding anything to the contrary set forth in this Interim Order,

 the DIP Budget shall not constitute a limit on the amount of any fees payable to any of the DIP

 Advisors (as defined herein) pursuant to paragraph 30 of this Interim Order.

        (d)      The consent of the Senior DIP Parties to the DIP Budget shall not be construed as

 consent to the use of any Cash Collateral or DIP Loans after the occurrence of an Event of Default

 (as defined in the DIP Credit Agreement) or Termination Event, regardless of whether the

 aggregate funds shown on the DIP Budget have been expended, other than funds necessary to

 satisfy the Carve Out and solely during the Notice Period (as defined herein), to fund operations

 in accordance with the DIP Credit Agreement and Budget, as provided in paragraph 26 of this

 Interim Order.

        9.       ReportingRequirements/Access to Records. The Debtors shall provide (a) Latham

 & Watkins LLP (“Latham”), as counsel to the Prepetition First Lien Parties and the Senior DIP

 Parties, (b) Venable LLP (“Venable”) counsel to the Participating Second Lien Lenders and

 Junior DIP Lenders, and (c) advisors to the Committee, if one is appointed, with all reporting and

 other information required to be provided to the DIP Agents or DIP Lenders under the DIP

 Documents. In addition to, and without limitation, whatever rights to access the DIP Agents and

 the DIP Lenders have under the DIP Documents, upon reasonable notice, at reasonable times

 during normal business hours, the Debtors shall permit representatives, agents and employees of


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 the DIP Agents and the DIP Lenders to (i) have access to and inspect the Debtors’ assets, (ii)

 examine the Debtors’ books and records, and (iii) discuss the Debtors’ affairs, finances and

 condition with the Debtors’ officers and financial advisors; provided, however, that nothing in

 this Interim Order requires the Debtors to disclose any information that is subject of or protected

 by any of the Debtors’ legal privileges.

         10.     DIP Superpriority Claims. Pursuant to Bankruptcy Code section 364(c)(1), all of

 the DIP Obligations shall constitute allowed senior administrative expense claims of the DIP

 Agents and the DIP Lenders, against each of the Debtors’ estates (the “DIP Superpriority

 Claims”), without the need to file any proof of claim or request for payment of administrative

 expenses, with priority over any and all administrative expenses, adequate protection claims,

 diminution claims and all other claims against the Debtors, now existing or hereafter arising, of

 any kind whatsoever, including, without limitation, all administrative expenses of the kind

 specified in Bankruptcy Code sections 503(b) and 507(b), and over any and all administrative

 expenses or other claims arising under Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b),

 506(c), 507(a), 507(b), 726, 1113 or 1114 or otherwise, whether or not such expenses or claims

 may become secured by a judgment lien or other non-consensual lien, levy or attachment, which

 allowed claims shall for the purposes of Bankruptcy Code section 1129(a)(9)(A) be considered

 administrative expenses allowed under Bankruptcy Code section 503(b) and which shall be

 payable from and have recourse to all prepetition and postpetition property of the Debtors and all

 proceeds thereof, including actions to recover property transferred pursuant to section 549 of the

 Bankruptcy Code and, upon entry of the Final Order, the proceeds of any other Avoidance

 Actions, subordinate only to the Carve Out and with the priorities set forth in (a) - (d) below:

      (a)        The DIP Superpriority Claims arising under the DIP Credit Facility (the “DIP

 Credit Facility Superpriority Claims”) shall be senior in right of payment to the First Lien


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 Adequate Protection Superpriority Claims (as defined herein), the DIP Note Purchase Agreement

 Superpriority Claims (as defined herein); and the Second Lien Adequate Protection Superpriority

 Claims (as defined herein).

      (b)        The First Lien Adequate Protection Superpriority Claims shall be junior in right of

 payment to the DIP Credit Facility Superpriority Claims and shall be senior in right of payment

 to the DIP Note Purchase Agreement Superpriority Claims and the Second Lien Adequate

 Protection Claims.

      (c)        The DIP Superpriority Claims arising under the DIP Note Purchase Agreement (the

 “DIP Note Purchase Agreement Superpriority Claims”) shall be junior in right of payment to the

 DIP Credit Facility Superpriority Claims and First Lien Adequate Protection Superpriority

 Claims, and shall be senior in right of payment to the Second Lien Adequate Protection

 Superpriority Claims.

      (d)        The Second Lien Adequate Protection Superpriority Claims shall be junior in right

 of payment to the other DIP Superpriority Claims set forth above.

      (e)        Except as set forth herein, or permitted by, this Interim Order, no other superpriority

 claims shall be granted or allowed in these chapter 11 cases.

         11.     DIP Liens.    Pursuant to sections 364(c)(2), 364(c)(3), and 364(d)(1) of the

 Bankruptcy Code, as security for the DIP Obligations, effective and automatically perfected upon

 the date of this Interim Order, and without the necessity of the execution, recordation of filings

 by the Debtors of mortgages, security agreements, control agreements, pledge agreements,

 financing statements or other similar documents, or the possession or control by the DIP Agents

 or any DIP Lender of, or over, any DIP Collateral (as defined herein), the following security

 interests and liens are hereby granted by the Debtors to the DIP Agents, for the benefit of the DIP

 Agents and the DIP Lenders (the “DIP Liens” and, all property identified in clauses (a) - (c)


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 below, collectively, the “DIP Collateral”), which shall be subordinate only to the Carve-Out, to

 the extent specifically provided for herein, and otherwise subject to the terms of this Interim Order

 and the DIP Documents, including paragraph 12 hereto. In addition, the DIP Obligations shall

 be secured by the assets of the non-Debtor DIP Obligors pursuant to and as provided in the DIP

 Documents, and the DIP Collateral shall include liens on all assets of the non-Debtor DIP

 Obligors in accordance with the applicable DIP Documents.

        (a)      Liens Priming the Prepetition Liens. Subject to the terms of this Interim Order,

 pursuant to Bankruptcy Code section 364(d)(1), in respect of the each of the DIP Facilities, valid,

 binding, continuing, enforceable, fully perfected first priority senior priming security interests in

 and upon (the “DIP Priming Liens”) all prepetition and postpetition property of the Debtors to the

 extent set forth in the DIP Documents, including, without limitation, the following (except to the

 extent constituting Excluded Assets (as defined in the DIP Documents)):              the Prepetition

 Collateral, Cash Collateral, any investment of such cash, accounts, inventory, goods, contract

 rights, mineral rights, instruments, documents, chattel paper, patents, trademarks, copyrights, and

 licenses therefor, accounts receivable, receivables and receivables records, general intangibles,

 payment intangibles, tax or other refunds, insurance proceeds, letters of credit, intercompany

 claims, contracts, owned real estate, real property leaseholds, fixtures, deposit accounts,

 commercial tort claims, securities accounts, instruments, investment property, letter-of-credit

 rights, supporting obligations, vehicles, machinery and equipment, real property, leases (and

 proceeds from the disposition thereof), all of the issued and outstanding capital stock of each

 Debtor, other equity or ownership interests, including equity interests in subsidiaries and non-

 wholly-owned subsidiaries, money, investment property, causes of action, and all cash and non­

 cash proceeds, rents, products, substitutions, accessions, profits and supporting obligations of any

 of the collateral described above, whether in existence on the Petition Date or thereafter created,


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 acquired, or arising and wherever located, proceeds of Avoidance Actions and other causes of

 action, and proceeds relating thereto, rights under section 549 of the Bankruptcy Code (whether

 received by judgment, settlement, or otherwise), all other “Collateral” as defined in the Prepetition

 Credit Documents, and all other “property of the estate” (as defined in section 541 of the

 Bankruptcy Code) of any kind or nature, real or personal, tangible, intangible, or mixed, now

 existing or hereafter acquired or created, and all rents, products, substitutions, accessions, profits,

 replacements, and cash and non-cash proceeds of all of the foregoing, in each case wherever

 located, provided, however, that the DIP Liens on proceeds of Avoidance Actions (which for the

 avoidance of doubt, excludes Debtors’ claims and causes of action under section 549 of the

 Bankruptcy Code or similar state or municipal law and the proceeds of each of the foregoing)

 shall be subject to entry of the Final Order. The DIP Priming Liens shall be subordinate only to

 the Carve Out and the Permitted Liens (if any) and have the priorities set forth in this paragraph

 12 of this Interim Order, and otherwise subject to the terms of this Interim Order and the DIP

 Documents.

        (b)      Liens Junior to Permitted Liens. Subject to the terms of this Interim Order and to

 the extent set forth in the DIP Documents, pursuant to Bankruptcy Code section 364(c)(3), with

 respect to each of the DIP Facilities, valid, binding, continuing, enforceable and fully-perfected

 security interests in and liens upon (“DIP Subordinated Liens”) (i) all prepetition and postpetition

 property of the Debtors (other than the property described in subparagraph (a) of this paragraph

 11, as to which the liens and security interests in favor of the DIP Agents will be as described in

 such clauses), whether now existing or hereafter acquired, that is subject to (x) valid, perfected

 and unavoidable liens in existence immediately prior to the Petition Date, if any, that are senior

 to the liens securing the Prepetition First Lien Obligations and permitted under the Prepetition

 Credit Documents and/or (y) valid and unavoidable liens in existence immediately prior to the


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 Petition Date, if any, that are perfected subsequent to the Petition Date as permitted by Bankruptcy

 Code section 546(b) that are senior to the liens securing the Prepetition First Lien Obligations and

 permitted under the Prepetition Credit Documents, which security interests and liens in favor of

 the DIP Agents and the DIP Lenders are junior only to such valid, perfected and unavoidable liens

 (collectively, (x) and (y), the “Permitted Liens”).       The DIP Subordinated Liens shall be

 subordinate only to the Carve Out and the Permitted Liens and have the priorities set forth in this

 paragraph 12 of this Interim DIP Order, and otherwise subject to the terms of this Interim Order

 and the DIP Documents.

        (c)     Liens on Unencumbered Assets. Subject to the terms of this Interim Order and to

 the extent set forth in the DIP Documents, pursuant to Bankruptcy Code section 364(c)(2), in

 respect of each of the DIP Facilities, a valid, binding, continuing, enforceable and fully-perfected

 first priority senior security interest in and lien upon (the “DIP Unencumbered Asset Liens”) all

 Unencumbered Assets. The DIP Unencumbered Asset Liens will have the priorities set forth in

 paragraph 12 of this Interim Order.

         12.    Priority ofDIP Liens, Adequate Protection Liens, and Liens ofPrepetition Secured

Parties. Subject to the Carve Out, on the basis set forth herein, the DIP Liens and Adequate

 Protection Liens shall have the following priorities:

        (a)     As to Unencumbered Assets, including, subject to entry of the Final Order,

proceeds of Avoidance Actions (which for the avoidance of doubt, excludes Debtors’ claims and

causes of action under section 549 of the Bankruptcy Code or similar state or municipal law and

the proceeds of each of the foregoing), whether received by judgment, settlement, or otherwise—

first, the DIP Liens granted to the Senior DIP Parties (the “DIP Senior Liens”); second, the First

Lien Adequate Protection Liens (as defined herein) (if any); third, the DIP Liens granted to the




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Junior DIP Parties (the “DIP Junior Liens”); and fourth, the Second Lien Adequate Protection

Liens.

         (b)     As to the other DIP Collateral—first, any Permitted Liens; second, the DIP Senior

Liens; third, the First Lien Adequate Protection Liens (if any); fourth, the Prepetition First

Priority Liens (if any); fifth, the DIP Junior Liens; sixth, the Second Lien Adequate Protection

Liens; and, seventh, the Prepetition Second Priority Liens.

         13.     Carve Out.

         (a)     Carve Out.    As used in this Interim Order, the “Carve Out” means (i) all fees

required to be paid to the Clerk of the Court and to the Office of the United States Trustee for

Region 3 (the “U.S. Trustee”) under section 1930(a) of title 28 of the United States Code plus

interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable

fees and expenses up to $50,000.00 incurred by a trustee under Bankruptcy Code section

726(b) (without regard to the notice set forth in (iii) below); (iii) to the extent allowed, whether by

interim order, procedural order or otherwise, all unpaid fees and expenses (the “Allowed

Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to Bankruptcy

Code sections 327, 328 or 363 (the “Debtor Professionals”) and an official committee of unsecured

creditors (the “Creditors’ Committee”) pursuant to Bankruptcy Code sections 328 or 1103

(the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

Persons”) at any time before or on the first business day following delivery of a Carve Out Trigger

Notice (as defined herein), whether allowed by the Court prior to or after delivery of a Carve Out

Trigger Notice and, subj ect to the cumulative amount set forth for such expenses in the DIP Budget

for such period and reduced on a per-dollar basis on account of any retainers held by the applicable

Professional Person; and (iv) Allowed Professional Fees of Professional Persons, in an aggregate

amount not to exceed (a) $250,000 for the Debtor Professionals and (b) $50,000 for the Committee


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Professionals, incurred after the first business day following delivery of the Carve Out Trigger

Notice, to the extent allowed, whether by interim order, procedural order or otherwise, but

excluding any “success fee” or “transaction fee” payable to the Debtors’ or Creditors’ Committee’s

investment banker or financial advisor (the amounts set forth in this clause (iv) being the “Post­

Carve Out Trigger Notice Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall

mean a written notice delivered by the Senior DIP Agent in accordance with the DIP Documents

to the Debtors, their lead restructuring counsel, the U.S. Trustee and lead restructuring counsel to

the Creditors’ Committee (if appointed) providing that a Termination Event (as defined herein)

has occurred and is continuing and stating that the Post-Carve Out Trigger Notice Cap has been

invoked.

        (b)      Carve Out Reserves. On a weekly basis, the Debtors shall fund into an account

maintained by Berger Singerman LLP (the “Funded Reserve Account”) for the benefit of

Professional Persons, an amount (the "Funded Reserve Amount") equal to the sum of the total

weekly fees of Debtor Professionals and Committee Professionals (in the amount set forth in the

Approved Budget for each Professional Person) for the current week subject to the Approved

Budget.     Funds in the Funded Reserve Account shall be allocated for the benefit of each

Professional Person in the amount set forth in the Approved Budget for each Professional Person.

For the avoidance of doubt, the DIP Lenders shall have no obligation to fund aggregate fees and

expenses in excess of (i) the amounts set forth in the Approved Budget or (ii) the amount of the

DIP Facilities. The Debtors shall use funds held in the Funded Reserve Account exclusively to pay

Allowed Professional Fees as they become allowed and payable pursuant to the Bankruptcy Code,

the Federal Rules of Bankruptcy Procedure, the local bankruptcy rules of the Bankruptcy Court,

and any interim or final orders of the Bankruptcy Court; provided that no Allowed Professional

Fees shall be paid from the Funded Reserve Account in excess of the applicable line items in the


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Approved Budget. Notwithstanding the occurrence of an Event of Default or conditions to

borrowing, on the day on which a Carve Out Trigger Notice is delivered (the “Termination

Declaration Date”), the Carve Out Trigger Notice shall (i) be deemed a draw request and notice of

borrowing by the Debtors for DIP Loans under the DIP Facilities and (ii) also constitute a demand

to the Debtors to utilize all cash on hand as of such date and any available cash thereafter held by

any Debtor to deposit in the Funded Reserve Account an amount equal to the then unpaid amounts

of (A) the Allowed Professional Fees of Debtor Professionals (subject to the DIP Budget and

reduced for retainers held by such Professional Person as set forth in clause (iii) of the definition

of Carve Out above), (B) the Allowed Professional Fees of the Committee Professionals (subject

to the DIP Budget and reduced for retainers held by such Professional Person as set forth in clause

(iii) of the definition of Carve Out above), and (C) the obligations accrued as of the Termination

Declaration Date with respect to clauses (i) and (ii) of the definition of Carve Out set forth in

paragraph 13(a) (the “Additional Carve Out Obligations”). The Debtors shall deposit such

amounts in the Funded Reserve Account in trust to pay such then unpaid Allowed Professional

Fees and Additional Carve Out Obligations (the “Pre-Carve Out Trigger Notice Reserve”) prior to

the use of such reserve to pay any other claims. On the Termination Declaration Date, after

funding the Pre-Carve Out Trigger Notice Reserve, the Debtors shall utilize all remaining cash on

hand as of such date and any available cash thereafter held by any Debtor to fund a reserve in an

amount equal to the Post-Carve Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice

Reserve” and, together with the Pre-Carve Out Trigger Notice Reserve, the “Carve Out Reserves”)

prior to the use of such reserve to pay any other claims. All funds in the Pre-Carve Out Trigger

Notice Reserve shall be used first to pay the obligations set forth in clauses (i) through (iii) of the

definition of Carve Out set forth above in paragraph 13(a) (the “Pre-Carve Out Amounts”), but

not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until the Pre-Carve Out


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Amounts are paid in full, and then, to the extent the Pre-Carve Out Trigger Notice Reserve has not

been reduced to zero, subject to the terms of this Interim Order (including, without limitation,

paragraph 14 hereof), to pay any other amounts (if owing) benefitted by the Carve Out and then to

the applicable agent to be applied to the Senior DIP Obligations, Junior DIP Obligations, Adequate

Protection Obligations, and Prepetition Secured Obligations (collectively, the “Obligations”)

according to the priorities set forth in paragraphs 10 and 12 of this Interim Order. All funds in the

Post-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set forth in clause

(iv) of the definition of Carve Out set forth above (the “Post-Carve Out Amounts”), and then, to

the extent the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, subject to the

terms of this Interim Order (including, without limitation, paragraph 14 hereof), to the applicable

agent to be applied to the Obligations according to the priorities set forth in paragraphs 10 and 12

of this Interim Order. Notwithstanding anything to the contrary in the DIP Documents or this

Interim Order, if either of the Carve Out Reserves is not funded in full in the amounts set forth in

this paragraph 13, then, any excess funds in one of the Carve Out Reserves following the payment

of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be used to fund

the other Carve Out Reserve, up to the applicable amount set forth in this paragraph 13, prior to

making any payments to any agent for the benefit of the DIP Parties or Prepetition Secured Parties,

as applicable. Funds transferred to the Funded Reserve Account shall not be subject to any liens

or claims granted to the DIP Lenders herein or any liens or claims granted as adequate protection,

shall not constitute DIP Collateral, and shall not constitute cash collateral or assets of the Debtors'

estates; provided, that, notwithstanding anything to the contrary herein or in the DIP Documents,

the DIP Collateral shall include the Debtors' reversionary interest in funds held in the Funded

Reserve Account and such reversionary interest shall be treated as DIP Collateral and subject to

the DIP Liens and the DIP Superpriority Claims.


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        (c)       No Direct Obligation To Pay Allowed Professional Fees. None of the DIP Agents,

DIP Lenders or the Prepetition Secured Parties shall be responsible for the payment or

reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Chapter 11 Cases or any successor cases under any chapter of the Bankruptcy

Code. Nothing in this Interim Order or otherwise shall be construed to obligate the DIP Agents,

the DIP Lenders or the Prepetition Secured Parties, in any way, to pay compensation to, or to

reimburse expenses of, any Professional Person or to guarantee that the Debtors have sufficient

funds to pay such compensation or reimbursement.

        (d)       Payment of Carve Out On or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

for-dollar basis. Any funding of the Carve Out under the DIP Facilities shall be added to, and

made a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled

to the protections granted under this Interim Order, the DIP Documents, the Bankruptcy Code and

applicable law.

         14.    DIP Intercreditor Provisions

        (a)       Standstill.

                  (i)    Until the Senior Obligations (other than contingent indemnification

obligations as to which no claim has been asserted) have been indefeasibly paid in full, in cash,

and all commitments under the Senior DIP Documents and Prepetition First Lien Credit

Documents have been terminated, and all other “Borrower Obligations” under the DIP Credit

Facility and Prepetition First Lien Credit Agreement have been satisfied (the “Discharge of Senior

Obligations”), the Junior DIP Parties and Prepetition Second Lien Parties, will not:




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                 1.     exercise or seek to exercise any rights or remedies with respect to any DIP
                        Collateral or take any action against any DIP Obligor (including taking any
                        Enforcement Action (as defined below) with respect to DIP Collateral);
                        provided that (1) the Junior DIP Agent may take Enforcement Actions with
                        respect to the DIP Collateral after the passage of a period of one hundred
                        and fifty (150) days (the “Standstill Period”) after the earlier of (x) the DIP
                        Term Loan Maturity Date (as defined in the DIP Credit Agreement) and (y)
                        the date on which the Junior DIP Agent provides written notice to the Senior
                        DIP Agent stating that the Junior DIP Agent has declared all of the Junior
                        DIP Obligations to be immediately due and payable (such earlier date, the
                        “Standstill Commencement Date”) and (2) in no event shall the Junior DIP
                        Parties or Prepetition Second Lien Parties exercise any rights or remedies
                        with respect to the DIP Collateral on account of the Junior DIP Obligations
                        or Prepetition Second Lien Obligations (including Second Lien Adequate
                        Protection Liens or Second Lien Adequate Protection Superpriority Claims)
                        if, notwithstanding the expiration of the Standstill Period, the Senior DIP
                        Agent or any other Senior DIP Party shall have commenced prior to the
                        expiration of the Standstill Period and be diligently pursuing in good faith
                        any Enforcement Action with respect to all or any material portion of the
                        DIP Collateral;

                 2.     on and after the Standstill Commencement Date (but prior to the termination
                        of the Standstill Period), contest, protest, or object to any Enforcement
                        Action by the Senior DIP Agent or any other Senior DIP Party, or purport
                        to direct the Senior DIP Agent or any other Senior DIP Party to take any
                        Enforcement Actions or take any other action under the DIP Documents, in
                        each case, with respect to the DIP Collateral; and

                 3.     prior to the termination of the Standstill Period, obj ect to the forbearance by
                        the Senior DIP Agent or any other Senior DIP Party from taking any
                        Enforcement Action with respect to the DIP Collateral.

                 (ii)   Notwithstanding the foregoing, the Junior DIP Parties and Prepetition

Second Lien Parties may:

                 1.     take Enforcement Actions with respect to the DIP Collateral after the
                        termination of the Standstill Period to the extent permitted by subparagraph
                        14(a)(i)(l) above;

                 2.     take any action not adverse to the Senior DIP Parties and Prepetition First
                        Lien Parties in order to preserve or protect their rights in the DIP Collateral;

                 3.     bid for or purchase DIP Collateral in cash or, subj ect to paragraph 3 5 of this
                        Interim Order, by credit bid, at any public foreclosure or sale, on such DIP
                        Collateral in accordance with the terms of the DIP Documents and this
                        Interim Order or join (but not exercise any control with respect to) any


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                         judicial foreclosure proceeding or other judicial lien enforcement
                         proceeding with respect to the DIP Collateral initiated by the Senior DIP
                         Agent to the extent that any such action could not reasonably be expected
                         to restrain, hinder, limit, delay for any material period or otherwise interfere
                         with the Enforcement Action by Senior DIP Agent;

                 4.      file a claim, proof of claim or statement of interest, credit bid their debt in
                         accordance with this Interim Order and make any arguments, pleadings and
                         motions that do not violate the terms of this Interim Order and that are not
                         inconsistent with this Interim Order;

                 5.      take any action (not adverse to the priority status of the liens on the DIP
                         Collateral securing the Senior DIP Obligations or Prepetition First Lien
                         Obligations or the rights of Senior DIP Agent or Prepetition First Lien
                         Agent) in order to create, prove, perfect, file, protect or preserve, its lien in
                         and to the DIP Collateral;

                 6.      file any necessary responsive or defensive pleadings or appeal in opposition
                         to any motion, claim, adversary proceeding, or other pleading made by any
                         Person objecting to or otherwise seeking the disallowance of the claims of
                         Junior DIP Parties or Prepetition Second Lien Parties, including any claims
                         secured by the DIP Collateral, if any; or

                 7.      vote on any chapter 11 plan, make other filings and make any arguments,
                         pleadings and motions (including in support of or opposition to, as
                         applicable, the confirmation or approval of any chapter 11 plan) that are, in
                         each case, consistent with and not otherwise prohibited by, the terms of this
                         Interim Order, with respect to the Junior DIP Obligations and Prepetition
                         Second Lien Obligations, as applicable, and the DIP Collateral, provided,
                         that no such filings, arguments, pleadings, motions or chapter 11 plans shall
                         propose to treat any claims or security interests of the DIP Parties in a
                         manner inconsistent with this Interim Order or the Final Order.

                 (iii)   On and after the Standstill Commencement Date, until the Discharge of

Senior Obligations has occurred, but subject to the terms of this Interim Order, the Senior DIP

Agent shall have the exclusive right to take Enforcement Actions with respect to the DIP

Collateral. Subject to the terms of this Interim Order, in connection with any such Enforcement

Action, the Senior DIP Agent or any other DIP Party may enforce the provisions of the DIP

Documents and exercise remedies thereunder, all in such order and in such manner as they may

determine in the exercise of their sole discretion.




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                 (iv)   For purposes of this paragraph 14, “Enforcement Action” means, with

respect to the DIP Obligations or the Prepetition Secured Obligations, the exercise of any rights

and remedies with respect to any DIP Collateral securing such obligations or the commencement

or prosecution of enforcement of any of the rights and remedies under, as applicable, the DIP

Documents, the Prepetition First Lien Credit Documents, or applicable law, including, without

limitation, the exercise of any rights of set-off or recoupment, and the exercise of any rights or

remedies of a secured creditor under the Uniform Commercial Code (the “UCC”) of any applicable

jurisdiction or under this Interim Order.

                 (v)    So long as the Discharge of Senior Obligations has not occurred, all DIP

Collateral or proceeds thereof received in connection with the sale or other disposition of, or

collection or realization on, such DIP Collateral upon the exercise of remedies by the Senior DIP

Agent, the Senior DIP Parties, or the Prepetition First Lien Secured Parties and all other cash

payments or distributions made by the Debtors shall be applied first by the Senior DIP Agent to

the Senior Obligations and then, upon the Discharge of Senior Obligations, by the Junior DIP

Agent, according to the priorities set forth in paragraphs 10 and 12, after giving effect to the Carve

Out. Upon the Discharge of the Senior Obligations, the Senior DIP Agent shall promptly deliver

to the Junior DIP Agent any remaining DIP Collateral and remaining proceeds of DIP Collateral

held by it in the same form as received, with any necessary endorsements (as determined by the

Junior DIP Agent) to be applied by the Junior DIP Agent to the DIP Junior Term Loan Obligations

and the Second Lien Adequate Protection Obligations in accordance with this Interim Order.

        (b)     Bailee for Perfection. Each of the DIP Agents, the Prepetition First Lien Agent and

the Prepetition Second Lien Agent agree to hold or control that part of the DIP Collateral that is in

its possession or control (or in the possession or control of its agents or bailees) to the extent that

possession or control thereof is taken to perfect a Lien thereon under the UCC, or other applicable


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law as bailee and as a non-fiduciary agent for the Junior DIP Agent, the Senior DIP Agent, the

Prepetition First Lien Agent and the Prepetition Second Lien Agent, as applicable (such bailment

and agency being intended, among other things, to satisfy the requirements of Sections 8-

301(a)(2), 9-313(c), 9-104, 9-105, 9-106, and 9-107 of the UCC), solely for the purpose of

perfecting the security interest granted under any of the DIP Documents, as applicable, and the

Senior DIP Agent, the Junior DIP Agent, the Prepetition First Lien Agents and the Prepetition

Second Lien Agent hereby appoint each other agent to act as its non-fiduciary agent for such

purposes and each such agent accepts such appointment. Subject to entry of the Final Order,

notwithstanding the roll-up of the Prepetition Secured Obligations, and to the maximum extent

permitted by applicable law, all Prepetition Credit Documents that provide collateral support for

the Prepetition Secured Obligations shall be deemed to provide collateral support for the DIP

Obligations and such Prepetition Credit Documents shall be deemed modified or amended as may

be required to effect the foregoing.

        (c)     Notwithstanding anything to the contrary set forth in this Interim Order, prior to the

Discharge of Senior Obligations, each Debtor and other Obligor will not make, and the Junior DIP

Lenders and Prepetition Second Lien Lenders will not accept, any cash payment of principal or

interest in respect of the Junior DIP Obligations or Prepetition Second Lien Obligations. The

foregoing is intended to constitute a “subordination agreement” within the meaning of Bankruptcy

Code section 510(a)). Any payment received by any Junior DIP Party in violation of this paragraph

14(c) shall be segregated and forthwith paid over to the Senior DIP Agent for application to the

Senior DIP Obligations.

         15.    Limitation on Charging Expenses Against Collateral. Subj ect to entry of the Final

 Order, except to the extent of the Carve Out, no costs or expenses of administration of the Chapter

 11 Cases or any future proceeding that may result therefrom, including liquidation in bankruptcy


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 or other proceedings under the Bankruptcy Code, shall be charged against or recovered from the

 DIP Collateral or the Prepetition Collateral, the DIP Agents, the DIP Lenders or the Prepetition

 Secured Parties pursuant to Bankruptcy Code sections 506(c) or 105(a), or any similar principle

 of law or equity, without the prior written consent of the DIP Agents, the DIP Lenders and the

 Prepetition Secured Parties, as applicable, and no such consent shall be implied from any other

 action, inaction or acquiescence by the DIP Agents, the DIP Lenders or the Prepetition Secured

 Parties.

         16.     No Marshaling/Application of Proceeds. Subject to entry of the Final Order, the

 DIP Agents and the Prepetition Agents shall be entitled to apply the payments or proceeds of the

 DIP Collateral and the Prepetition Collateral, as applicable, in accordance with the provisions of

 the Interim Order or Final Order, as applicable, the DIP Documents, the Prepetition Intercreditor

 Agreement and the Prepetition Credit Documents, as applicable, and in no event shall the DIP

 Agents, the DIP Lenders or any of the Prepetition Secured Parties be subject to the equitable

 doctrine of “marshaling” or any other similar doctrine with respect to any of the DIP Collateral

 or Prepetition Collateral.

         17.     Equities of the Case. Subj ect to entry of the Final Order, (i) the Prepetition Secured

 Parties shall be entitled to all of the rights and benefits of Bankruptcy Code section 552(b) and

 (ii) the “equities of the case” exception under Bankruptcy Code section 552(b) shall not apply to

 such parties with respect to the proceeds, products, offspring or profits of any of the Prepetition

 Collateral.

         18.     Use of Cash Collateral.      The Debtors are hereby authorized to use all Cash

 Collateral solely in accordance with this Interim Order, the DIP Documents and the DIP Budget

 including, without limitation, to make payments on account of the Adequate Protection

 Obligations provided for in this Interim Order, from the date of this Interim Order through and


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 including the date of the Final Hearing. Except on the terms and conditions of this Interim Order,

 the Debtors shall be enjoined and prohibited from at any time using the Cash Collateral absent

 further order of the Court. Notwithstanding anything to the contrary in this Interim Order, under

 no circumstances shall the DIP Budget constitute a limit on the fees and expenses incurred by the

 DIP Lenders, the DIP Agents or the DIP Professionals (as defined herein).

         19.    Adequate Protection for the Prepetition First Lien Parties. Subject only to the

 Carve Out and the terms of this Interim Order, pursuant to Bankruptcy Code sections 361, 363(e),

 and 364, and in consideration of the stipulations and consents set forth herein, as adequate

 protection of their interests in the Prepetition Collateral (including Cash Collateral), for and equal

 in amount to the aggregate postpetition diminution in value of such interests, resulting from the

 imposition of the DIP Liens on the Prepetition Collateral, the Carve Out, the Debtors’ sale, lease

 or use of the Prepetition Collateral (including Cash Collateral), the imposition of the automatic

 stay and/or any other reason for which adequate protection may be granted under the Bankruptcy

 Code (all such diminution, “Diminution in Value”), the Prepetition First Lien Agents, for the

 benefit of themselves and the Prepetition First Lien Lenders, are hereby granted the following

 (collectively, the “First Lien Adequate Protection Obligations”):

        (a)     First Lien Adequate Protection Liens. As security for and solely to the extent of

any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable,

and effective and automatically perfected postpetition security interests in, and liens on, as of the

date of this Interim Order (the “First Lien Adequate Protection Liens”), without the necessity of

the execution by the Debtors or non-Debtor Obligors (or recordation or other filing) of security

agreements, control agreements, pledge agreements, financing statements, mortgages or other

similar documents, all DIP Collateral. Subject to the terms of this Interim Order, the First Lien

Adequate Protection Liens shall have the priorities set forth in paragraph 12 of this Interim Order.


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        (b)      First Lien Adequate Protection Superpriority Claim.         As further adequate

protection, and to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

administrative expense claim in the Chapter 11 Cases to the extent of any postpetition Diminution

in Value ahead of and senior to any and all other administrative expense claims in such Chapter

11 Cases, except the Carve Out and subject to the priorities set forth herein (the “First Lien

Adequate Protection Superpriority Claims”). The First Lien Adequate Protection Superpriority

Claim shall be payable from and have recourse to all prepetition and postpetition property of the

Debtors and all proceeds thereof (including actions to recover property transferred pursuant to

section 549 of the Bankruptcy Code, but excluding Avoidance Actions, but including, subject to

entry of the Final Order, the proceeds of Avoidance Actions). The First Lien Adequate Protection

Superpriority Claims shall have priority over all administrative expense claims against each of the

Debtors, now existing or hereafter arising, of any kind or nature whatsoever, including, without

limitation, administrative expense claims of the kinds specified in or ordered pursuant to

Bankruptcy Code sections 105, 326, 328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry

of the Final Order), 507(a), 507(b), 546(d), 726, 1113 and 1114, subject to the priorities set forth

in paragraph 10 of this Interim Order.

        (c)      Fees and Expenses. As further adequate protection, the Debtors are authorized and

directed to pay, without further Court order, reasonable and documented fees and expenses

(the “First Lien Adequate Protection Fees”), whether incurred before or after the Petition Date, of

the Prepetition First Lien Agents and the Prepetition First Lien Lenders, including, without

limitation, the reasonable and documented fees and expenses of Latham and local counsel in the

Southern District of Florida. Statements of any such fees and expenses incurred after the Petition

Date shall be provided by the applicable professional to counsel to the Debtors, the U.S. Trustee,

the Junior DIP Agent and the Creditors’ Committee (if appointed). The invoices for such fees and


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expenses shall not be required to comply with any particular format, may be in summary form only

and may include redactions necessary to maintain privilege. Recipients of the invoices shall have

10 days after receipt to notify counsel of any objections to the reasonableness of the fees and

expenses incurred. If no objection is raised with counsel on or before the expiration of the ten-day

review period, such invoice shall be paid without further order of the Court and shall not be subject

to any further review, challenge or disgorgement. If any objection is raised as to reasonableness

of fees or expenses, the undisputed amounts shall be paid immediately and any disputed amounts

shall be subject to further order of this Court. For the avoidance of doubt, the provision of such

invoices shall not constitute a waiver of attorney-client privilege or any benefits of the attorney

work product doctrine. Notwithstanding anything to the contrary in this Interim Order, it shall be

a condition of the Interim DIP Draw that prior to the Interim DIP Draw, the Borrower shall have

paid any accrued and outstanding First Lien Adequate Protection Fees, notwithstanding any

applicable review period for such First Lien Adequate Protection Fees.

        (d)      First Lien Accrued Adequate Protection Payments.          To the extent that any

Prepetition First Lien Obligations remain outstanding and to the extent not rolled up into the DIP

Credit Facility, then as further adequate protection, the Prepetition First Lien Agent, on behalf of

the Prepetition First Lien Lenders, shall receive, upon entry of this Interim Order, monthly

adequate protection payments (the “First Lien Accrued Adequate Protection Payments”) payable

in cash, as and when due under the applicable Prepetition First Lien Credit Documents, equal to

the interest at the contractual default rate that would otherwise be owed to the Prepetition First

Lien Lenders under the Prepetition First Lien Credit Agreement during such monthly period in

respect of those remaining Prepetition First Lien Obligations, until such time as the full Prepetition

First Lien Obligations Amount is paid in full, in cash.




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        (e)     Information Rights. The Debtors shall promptly provide the Prepetition First Lien

Agent with all required financial reporting and other periodic reporting that is required to be

provided to the DIP Agents or the DIP Lenders under the DIP Documents.

        20.     Adequate Protectionfor the Prepetition Second Lien Lenders. Subj ect to the Carve

 Out and the terms of this Interim Order, pursuant to Bankruptcy Code sections 361, 363(e) and

 364, and in consideration of the stipulations and consents set forth herein, as adequate protection

 of their interests in the Prepetition Collateral (including Cash Collateral), for and equal in amount

 to the aggregate postpetition Diminution in Value of such interests, resulting from the imposition

 of the DIP Liens on the Prepetition Collateral, the Carve Out, the Debtors’ sale, lease or use of

 the Prepetition Collateral (including Cash Collateral), the imposition of the automatic stay and/or

 any other reason for which adequate protection may be granted under the Bankruptcy Code, the

 Prepetition Second Lien Lenders are hereby granted the following obligations (collectively, the

 “Second Lien Adequate Protection Obligations” and, together with the First Lien Adequate

 Protection Obligations, the “Adequate Protection Obligations”):

        (a)     Second Lien Adequate Protection Liens. As security for and solely to the extent of

any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable

and effective and automatically perfected postpetition security interests in, and liens on, as of the

date of this Interim Order (the “Second Lien Adequate Protection Liens” and, together with the

First Lien Adequate Protection Liens, the “Adequate Protection Liens”), without the necessity of

the execution by the Debtors or non-Debtor Obligors (or recordation or other filing) of security

agreements, control agreements, pledge agreements, financing statements, mortgages or other

similar documents, all DIP Collateral. The Second Lien Adequate Protection Liens shall have the

priorities set forth in paragraph 12 of this Interim Order.




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        (b)      Second Lien Adequate Protection Superpriority Claim.              As further adequate

protection, to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

administrative expense claim in the Chapter 11 Cases ahead of and senior to any and all other

administrative expense claims in such Chapter 11 Cases to the extent of any postpetition

Diminution in Value, except the Carve Out, and subject to the priorities set forth herein (the

“Second Lien Adequate Protection Superpriority Claim” and, together with the First Lien

Adequate Protection Superpriority Claim, the “Adequate Protection Superpriority Claims”). The

Second Lien Adequate Protection Superpriority Claims shall be payable from and have recourse

to all prepetition and postpetition property of the Debtors and all proceeds thereof (including

actions to recover property transferred pursuant to section 549 of the Bankruptcy Code excluding

Avoidance Actions, but including, subject to entry of the Final Order, the proceeds of Avoidance

Actions). The Second Lien Adequate Protection Superpriority Claims shall have priority over all

administrative expense claims against each of the Debtors, now existing or hereafter arising, of

any kind or nature whatsoever, including, without limitation, administrative expense claims of the

kinds specified in or ordered pursuant to Bankruptcy Code sections 105, 326, 328, 330, 331, 365,

503(a), 503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b), 546(d), 726, 1113 and

1114, subject to the priorities set forth in paragraph 10 of this Interim Order.

        (c)      Fees and Expenses. As further adequate protection, the Debtors are authorized and

directed to pay, without further Court order, reasonable and documented fees and expenses

(the “Second Lien Adequate Protection Fees”), whether incurred before or after the Petition Date,

of the Prepetition Second Lien Agent, the Participating Second Lien Lenders and counsel to the

Prepetition Second Lien Agent and Participating Second Lien Lenders, including, without

limitation, the reasonable and documented fees and expenses of Maslon LLP and local counsel in

the Southern District of Florida as counsel to the Prepetition Second Lien Agent and Venable as


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counsel to the Participating Second Lien Lenders. Statements of any such fees and expenses

incurred subsequent to the Petition Date shall be provided by the applicable professional to counsel

to the Debtors, the U.S. Trustee, the Senior DIP Agent, the Junior DIP Agent and any Creditors’

Committee (if appointed). The invoices for such fees and expenses shall not be required to comply

with any particular format, may be in summary form only and may include redactions necessary

to maintain privilege. Recipients of the invoices shall have 10 days after receipt to notify counsel

of any objections to the reasonableness of the fees and expenses incurred. If no objection is raised

with counsel on or before the expiration of the ten-day review period, such invoice shall be paid

without further order of the Court and shall not be subject to any further review, challenge or

disgorgement. If any objection is raised as to reasonableness of fees or expenses, the undisputed

amounts shall be paid immediately and any disputed amounts shall be subject to further order of

this Court. For the avoidance doubt, the provision of such invoices shall not constitute a waiver

of attorney-client privilege or any benefits of the attorney work product doctrine. Notwithstanding

anything to the contrary in this Interim Order, it shall be a condition of the Interim DIP Draw that

prior to the Interim DIP Draw, the Borrower shall have paid any accrued and outstanding Second

Lien Adequate Protection Fees, notwithstanding any applicable review period for such Second

Lien Adequate Protection Fees.

         (d)    Information Rights. The Debtors shall promptly provide the Prepetition Second

Lien Agent with all required financial reporting and other periodic reporting that is required to be

provided to the DIP Agents or the DIP Lenders under the DIP Documents, including this Interim

Order.

         21.    Section 507(b) Reservation. Subject in all respects to the terms of the Prepetition

 Intercreditor Agreement, nothing herein shall impair or modify the application of Bankruptcy

 Code section 507(b) in the event that the adequate protection provided to the Prepetition Secured


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 Parties is insufficient to compensate for any Diminution in Value of their interests in the

 Prepetition Collateral during the Chapter 11 Cases. Nothing contained herein shall be deemed a

 finding by the Court, or an acknowledgment by any of the Prepetition Secured Parties, that the

 adequate protection granted herein does in fact adequately protect any of the Prepetition Secured

 Parties against any diminution in value of their respective interests in the Prepetition Collateral

 (including the Cash Collateral); provided, however, that any such additional section 507(b) claims

 shall be subject to the same relative priority as such party’s Adequate Protection Obligations, as

 provided in this Interim Order.

        22.     Restrictions on Disposition of Material Assets Outside the Ordinary Course of

Business. Except as expressly permitted under the DIP Documents, and with respect to a sale of

 the Debtors’ assets in accordance with the Milestones (as defined herein) and on terms and

 conditions reasonably acceptable to the DIP Agents, the Debtors shall not use, sell or lease any

 material assets outside the ordinary course of business, or seek authority of this Court to the extent

 required by Bankruptcy Code section 363, without obtaining the prior written consent of the DIP

 Agents, prior to the date on which the Debtors seek the Court’s authority for such use, sale or

 lease. Subject to the Carve Out and the Permitted Liens (if any), in the event of any such sale,

 lease, transfer, license or other disposition of property of the Debtors that constitutes DIP

 Collateral outside the ordinary course of business (to the extent permitted by the DIP Documents

 and this Interim Order), subject to the terms of the DIP Documents and this Interim Order

 (including, without limitation, paragraph 14 hereof), the Debtors are authorized and shall

 promptly pay, without further notice or order of this Court, such amount (if any) of net cash

 proceeds resulting therefrom no later than the business day following receipt of such proceeds, to

 the Senior DIP Agent to be applied according to the priorities set forth in DIP Documents. Subj ect

 to the Carve Out and the Permitted Liens (if any), in the event of any casualty, condemnation or


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 similar event with respect to property that constitutes DIP Collateral, subject to the terms of the

 DIP Documents and this Interim Order (including, without limitation, paragraph 14 hereof), the

 Debtors are authorized and shall promptly pay, without further notice or order of this Court, the

 required amount of any insurance proceeds, condemnation award or similar payment (excluding

 any amounts on account of any D&O policies) no later than the second business day following

 receipt of payment by the Debtors, to the Senior DIP Agent to be applied according to the

 priorities set forth in paragraphs 10 and 12 of this Interim Order, unless (in accordance with

 applicable DIP Documents and this Interim Order) the DIP Agents consent, in writing, to the

 funds being reinvested by the Debtors.

        23.      Insurance. At all times the Debtors shall maintain casualty and loss insurance

 coverage for the Prepetition Collateral and the DIP Collateral on substantially the same basis as

 maintained prior to the Petition Date. Upon entry of this Interim Order, the DIP Agents shall be,

 and shall be deemed to be, without any further action or notice, named as additional insureds and

 lender’s loss payees on each insurance policy maintained by the Debtors which in any way relates

 to the DIP Collateral.

        24.      Reservation of Rights of the DIP Agents, DIP Lenders and Prepetition Secured

Parties.      Except as otherwise expressly set forth in this Interim Order (including, without

 limitation, paragraph 14 hereof), the entry of this Interim Order is without prejudice to, and does

 not constitute a waiver of, expressly or implicitly, or otherwise impair, subject in all respects to

 the terms of the Prepetition Intercreditor Agreement, as applicable: (a) any of the rights of any of

 the Prepetition Secured Parties to seek any other or supplemental relief in respect of the Debtors

 including the right of the Prepetition First Lien Parties, but not the Prepetition Second Lien

 Parties, to seek additional adequate protection; (b) any of the rights of the DIP Agents, the DIP

 Lenders or the Prepetition Secured Parties under the Bankruptcy Code or under non-bankruptcy


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 law, including, without limitation, the right of any of the DIP Agents, the DIP Lenders or the

 Prepetition Secured Parties to (i) request modification of the automatic stay of Bankruptcy Code

 section 362, (ii) request dismissal of any of the Chapter 11 Cases, conversion of any of the Chapter

 11 Cases to cases under chapter 7 or appointment of a chapter 11 trustee or examiner with

 expanded powers in any of the Chapter 11 Cases, or (iii) seek to propose, subject to the provisions

 of Bankruptcy Code section 1121, a chapter 11 plan or plans; or (c) any other rights, claims or

 privileges (whether legal, equitable or otherwise) of any of the DIP Agents, the DIP Lenders or

 the Prepetition Secured Parties. The delay in or failure of the DIP Agents, the DIP Lenders and/or

 the Prepetition Secured Parties to seek relief or otherwise exercise their rights and remedies shall

 not constitute a waiver of any of the DIP Agents’, the DIP Lenders’ or the Prepetition Second

 Lien Parties’ rights and remedies.

        25.      Termination Event.   The occurrence of any of the following shall constitute a

 “Termination Event”: (a) the occurrence of an Event of Default (as defined in the DIP Credit

 Facility), including the failure by the Debtors to comply with any of the milestones set forth at

 Exhibit 2 hereto including the Permit Reporting Covenant and Permit Continuance Covenant

 specified therein (the “Milestones”), to the extent not waived or subject to a forbearance or similar

 agreement with the applicable lenders; (b) the Debtors’ failure to comply in any material respect

 with any provision of this Interim Order unless waived by the applicable lenders; or (c) the

 occurrence of the Maturity Date (as defined in the DIP Credit Agreement).

        26.      Remedies Upon a Termination Event.        The Debtors shall immediately provide

 notice to counsel to the DIP Agents, the DIP Lenders, the Prepetition First Lien Agent, and the

 Prepetition Second Lien Agent (with a copy to counsel to the Creditors’ Committee (if

 appointed)), of the occurrence of any Termination Event, at which time (i.e., the time of the

 occurrence of the Termination Event) the Debtors’ ability to use Cash Collateral hereunder shall


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 terminate (subject to the proviso at the end of this paragraph 26), the DIP Obligations shall

 become due and payable and any commitments under the DIP Facilities shall terminate. Upon

 the occurrence of a Termination Event and following the giving of not less than five business

 days’ advance written notice (which may be by email) (the “Notice Period”) by the Senior DIP

 Agent, or if the Discharge of Senior Obligations has occurred, by the Junior DIP Agent (the

 “Enforcement Notice”), to counsel to the Debtors, applicable DIP Agents and DIP Lenders,

 applicable Prepetition Agents, the U.S. Trustee and counsel to the Creditors’ Committee (if

 appointed), (a) subject to the terms of this Interim Order (including, without limitation, paragraph

 14 hereof), and the Prepetition Intercreditor Agreement, the Senior DIP Parties and the Prepetition

 First Lien Parties may exercise any rights and remedies against the DIP Collateral available to

 them under this Interim Order, the DIP Documents, the Prepetition First Lien Credit Documents

 and applicable non-bankruptcy law, including but not limited to terminating all commitments to

 extend credit under the DIP Facilities, in each case subject to the Carve Out and Permitted Liens

 (if any) and (b) subject to the Prepetition Intercreditor Agreement and the terms of this Interim

 Order, the DIP Junior Term Loan Lenders and Prepetition Second Lien Parties may terminate all

 commitments to extend credit under the DIP Facilities and exercise any rights and remedies to

 satisfy the Prepetition Second Lien Obligations, the Second Lien Adequate Protection Liens, the

 Second Lien Adequate Protection Superpriority Claims and any other Second Lien Adequate

 Protection Obligations, in each case subject to priorities set forth in paragraphs 10 and 12 of this

 Interim Order. The automatic stay pursuant to Bankruptcy Code section 362 shall be terminated

 automatically with respect to the DIP Parties and the Prepetition Secured Parties at the end of the

 Notice Period, without further notice or order of the Court, unless the DIP Agents and the

 Prepetition First Lien Agent, or if the Discharge of Senior Obligations has occurred, the Junior

 DIP Agent, elect otherwise in a written notice to the Debtors, which may be by email. Upon


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 termination of the automatic stay, subject to the terms of this Interim Order, the DIP Documents,

 and the Prepetition Intercreditor Agreement, the DIP Parties and the Prepetition Secured Parties

 shall be permitted to exercise all rights and remedies set forth herein and in the DIP Documents,

 as applicable, and as otherwise available at law against the DIP Collateral, without any further

 order of or application or motion to the Court, and without restriction or restraint imposed by any

 stay under Bankruptcy Code sections 362 or 105, or otherwise, against the enforcement of the

 liens and security interests in the DIP Collateral or the Prepetition Collateral, or the pursuit of any

 other rights and remedies granted to such parties pursuant to the DIP Documents, the Prepetition

 First Lien Credit Documents or the Prepetition Second Lien Credit Documents; provided that

 during the Notice Period the Debtors may use the proceeds of the DIP Facilities (to the extent

 drawn prior to the occurrence of a Termination Event or in accordance with paragraph 13 of this

 Interim Order) or Cash Collateral only to fund (i) expenses critically necessary to preserve the

 value of the Debtors’ business and the DIP Collateral, including, without limitation, payroll

 obligations, in all cases in accordance with the DIP Credit Agreement and the DIP Budget and

 (ii) the Carve Out Reserves; provided further that during the Notice Period, the Debtors, the DIP

 Agents, the DIP Lenders and the Prepetition Secured Parties consent to a hearing on an expedited

 basis to consider whether a Termination Event has occurred; provided further, that if a hearing to

 consider the foregoing is requested to be heard before the end of the Notice Period but is scheduled

 for a later date by the Court, the Notice Period shall be automatically extended to the date of such

 hearing, but in no event later than five business days after delivery of the Enforcement Notice;

 provided further that any allowed fees and expenses incurred by the Debtors or the Creditors’

 Committee (if appointed) during the Notice Period shall permanently reduce the Post-Carve Out

 Trigger Notice Cap.




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        27.      No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agents, the

 DIP Lenders or any of the Prepetition Secured Parties to exercise their respective rights and

 remedies under this Interim Order, the DIP Documents, the Prepetition Credit Documents or

 applicable law, as the case may be, shall not constitute a waiver of their respective rights

 hereunder, thereunder or otherwise.

        28.     Perfection of the DIP Liens and Adequate Protection Liens.

        (a)     Subject to the limitations in paragraph 29(a) of this Interim Order, the DIP Agents

and the Prepetition Agents are hereby authorized, but not required, to file or record (and to execute

in the name of the Debtors, as their true and lawful attorneys, with full power of substitution, to

the maximum extent permitted by law) financing statements, intellectual property filings,

mortgages, depository account control agreements, notices of lien or similar instruments in any

jurisdiction in order to validate and perfect the liens and security interests granted hereunder.

Whether or not the DIP Agents or the Prepetition Agents shall, in their sole discretion, choose to

file such financing statements, intellectual property filings, mortgages, notices of lien or similar

instruments, such liens and security interests shall be deemed valid, automatically perfected,

allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination (subject

to the priorities set forth in this Interim Order), at the time and on the date of entry of this Interim

Order. Upon the request of the DIP Agents and the Prepetition Agents, each of the Prepetition

First Lien Lenders, the Prepetition Second Lien Lenders and the Debtors, without any further

consent of any party, is authorized to take, execute, deliver and file such instruments (in the case

of the Prepetition Secured Lenders, without representation or warranty of any kind) to enable the

DIP Agents and the Prepetition Agents to further validate, perfect, preserve and enforce the DIP

Liens and the applicable Adequate Protection Liens, respectively. All such documents will be

deemed to have been recorded and filed as of the Petition Date.


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        (b)      A certified copy of this Interim Order may, in the discretion of the DIP Agents or

the applicable Prepetition Agents, be filed with or recorded in filing or recording offices in addition

to or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

filing offices are hereby authorized to accept such certified copy of this Interim Order for filing

and recording; provided, however, that notwithstanding the date of any such filing, the date of such

perfection shall be the date of this Interim Order.

        (c)      Effective upon entry of the Final Order, any provision of any lease or other license,

contract or other agreement that requires (i) the consent or approval of one or more landlords or

other parties or (ii) the payment of any fees or obligations to any governmental entity, in order for

any Debtor to pledge, grant, sell, assign or otherwise transfer any such leasehold interest, or the

proceeds thereof, or other collateral related thereto, is hereby deemed to be inconsistent with the

applicable provisions of the Bankruptcy Code. Thereupon, any such provision shall have no force

and effect with respect to the granting of the DIP Liens and the Adequate Protection Liens on such

leasehold interest or the proceeds of any assignment, and/or sale thereof by any Debtor in

accordance with the terms of the DIP Credit Agreement or this Interim Order.

        29.     Preservation ofRights Granted Under this Interim Order.

        (a)     Except as set forth in paragraph 14 of this Interim Order, unless and until the DIP

Obligations, Prepetition First Lien Obligations and First Lien Adequate Protection Obligations are

indefeasibly paid in full, in cash or in kind, as applicable, and all commitments to extend credit

under the DIP Facilities are terminated, the Prepetition Second Lien Lenders shall, in each case

solely to the extent provided for in the Prepetition Credit Documents, the Prepetition Intercreditor

Agreement and applicable law: (i) take no action to foreclose upon, or recover in connection with,

the liens granted thereto pursuant to the Prepetition Second Lien Credit Documents or this Interim

Order, or otherwise seek to exercise or enforce any rights or remedies against such DIP Collateral;


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and (ii) be restricted from exercising any rights and remedies or taking any other actions in respect

of the DIP Collateral to the extent provided by the this Interim Order, the DIP Documents, the

Prepetition Intercreditor Agreement and applicable law.

        (b)      Subject to the Carve Out and the Permitted Liens (if any), other than as set forth in

this Interim Order, the DIP Priming Liens shall not be made subject to and/or pari passu with any

lien or security interest granted in any of the Chapter 11 Cases or arising after the Petition Date,

and the DIP Priming Liens shall not be subject or junior to and/or pari passu with any lien or

security interest that is avoided and preserved for the benefit of the Debtors’ estates under

Bankruptcy Code section 551.

        (c)      Subject to the Carve Out and the Permitted Liens (if any) and the DIP Priming

Liens, other than as set forth in this Interim Order, the First Lien Adequate Protection Liens and

the Prepetition First Priority Liens shall not be made subject to and/or pari passu with any lien or

security interest granted in any of the Chapter 11 Cases or arising after the Petition Date, and the

First Lien Adequate Protection Liens and the Prepetition First Priority Liens shall not be subject

or junior to and/or pari passu with any lien or security interest that is avoided and preserved for

the benefit of the Debtors’ estates under Bankruptcy Code section 551.

        (d)      Subject to the Carve Out, the Permitted Liens (if any), the DIP Liens, the First Lien

Adequate Protection Liens and the Prepetition First Priority Liens, other than as set forth in this

Interim Order, the Second Lien Adequate Protection Liens shall not be made subject to and/or pari

passu with any lien or security interest granted in any of the Chapter 11 Cases or arising after the

Petition Date, and the Second Lien Adequate Protection Liens shall not be subject to and/or pari

passu with any lien or security interest that is avoided and preserved for the benefit of the Debtors’

estates under Bankruptcy Code section 551.




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        (e)      In the event this Interim Order or any provision hereof is vacated, reversed or

modified on appeal or otherwise, any liens or claims granted to the Prepetition Secured Parties

hereunder arising prior to the effective date of any such vacatur, reversal or modification of this

Interim Order shall be governed in all respects by the original provisions of this Interim Order,

including entitlement to all rights, remedies, privileges and benefits granted herein, and the

Prepetition Secured Parties shall be entitled to the protections afforded in Bankruptcy Code section

363(m) with respect to all uses of the Prepetition Collateral (including the Cash Collateral) and all

Adequate Protection Obligations.

        (f)      Subject to the Carve Out, unless and until all DIP Obligations, Prepetition First

Lien Obligations, Prepetition Second Lien Obligations and Adequate Protection Obligations are

indefeasibly paid in full, in cash or in kind, as applicable, and all commitments to extend credit

under the DIP Facilities are terminated, the Debtors irrevocably waive the right to seek and shall

not seek or consent to, directly or indirectly: (i) except as permitted under the DIP Documents and

with the prior written consent of the Required DIP Lenders, (x) any modification, stay, vacatur or

amendment of this Interim Order, (y) a priority claim for any administrative expense, secured

claim or unsecured claim against any of the Debtors (now existing or hereafter arising of any kind

or nature whatsoever, including, without limitation, any administrative expense of the kind

specified in Bankruptcy Code sections 503(b), 507(a) or 507(b)) in any of the Chapter 11 Cases,

equal or superior to the DIP Superpriority Claims, the Adequate Protection Superpriority Claims,

the Prepetition First Lien Obligations, and the Prepetition Second Lien Obligations (or the liens

and security interests securing such claims and obligations), or (z) any other order allowing use of

the DIP Collateral; (ii) except as permitted under the DIP Documents, any lien on any of the DIP

Collateral or the Prepetition Collateral with priority equal or superior to the DIP Liens, the

Adequate Protection Liens, the Prepetition First Priority Liens or the Prepetition Second Priority


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Liens, as the case may be; (iii) the use of Cash Collateral for any purpose other than as permitted

in the DIP Documents and this Interim Order; (iv) except as set forth in the DIP Documents, the

return of goods pursuant to Bankruptcy Code section 546(h) (or other return of goods on account

of any prepetition indebtedness) to any creditor of any Debtor; (v) an order converting or

dismissing any of the Chapter 11 Cases; (vi) an order appointing a chapter 11 trustee in any of the

Chapter 11 Cases; or (vii) an order appointing an examiner with enlarged powers in any of the

Chapter 11 Cases.

        (g)      Notwithstanding any order dismissing any of the Chapter 11 Cases under

Bankruptcy Code section 1112 or otherwise entered at any time, (x) the DIP Liens, the DIP

Superpriority Claims, the Adequate Protection Liens, the Adequate Protection Superpriority

Claims and any other administrative claims granted pursuant to this Interim Order, shall continue

in full force and effect and shall maintain their priorities as provided in this Interim Order and the

DIP Documents until all DIP Obligations and Adequate Protection Obligations are indefeasibly

paid in full, in cash or in kind, as applicable, and such DIP Liens, DIP Superpriority Claims,

Adequate Protection Liens, Adequate Protection Superpriority Claims and the other administrative

claims granted pursuant to this Interim Order, shall, notwithstanding such dismissal, remain

binding on all parties in interest; and (y) the Court shall retain jurisdiction, notwithstanding such

dismissal, for the purposes of enforcing the claims, liens and security interests referred to in clause

(x) above.

        (h)      Except as otherwise ordered by the Court and as expressly provided in this Interim

Order, and the DIP Documents, the DIP Liens, the DIP Superpriority Claims, the Adequate

Protection Liens, the Adequate Protection Superpriority Claims and all other rights and remedies

of the DIP Agents, the DIP Lenders, the Prepetition Agents and the Prepetition Secured Lenders

granted by the provisions of this Interim Order and the DIP Documents shall survive, shall


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maintain their priority as provided in this Interim Order, and shall not be modified, impaired or

discharged by (i) the entry of an order converting any of the Chapter 11 Cases to a case under

chapter 7, dismissing any of the Chapter 11 Cases, terminating the joint administration of these

Chapter 11 Cases or by any other act or omission, (ii) the entry of an order approving the sale of

any Prepetition Collateral or DIP Collateral pursuant to Bankruptcy Code section 363(b) or (iii)

the entry of an order confirming a plan of reorganization in any of the Chapter 11 Cases and,

pursuant to Bankruptcy Code section 1141(d)(4), the Debtors have waived any discharge as to any

remaining DIP Obligations or Adequate Protection Obligations. The terms and provisions of this

Interim Order and the DIP Documents shall continue in these Chapter 11 Cases, in any successor

cases if these Chapter 11 Cases cease to be jointly administered or in any superseding chapter 7

cases under the Bankruptcy Code.

        3 0.    Expenses and Indemnification.

        (a)     All (i) reasonable and documented out-of-pocket fees and expenses incurred by

professionals or consultants retained by the DIP Agents and the DIP Lenders, including (a) Latham

and local counsel in the Southern District of Florida, as counsel to the Senior DIP Parties and the

Prepetition First Lien Parties, (b) Covington and Burling LLP and local counsel in the Southern

District of Florida, as counsel to the Junior DIP Agent; and (c) Venable LLP as counsel to the

Junior DIP Lenders and the Participating Second Lien Lenders, (collectively, the “DIP

Professionals”), incurred in connection with the Chapter 11 Cases (in any capacity) and the DIP

Facilities, whether or not the DIP Facilities are successfully consummated, and (ii) reasonable and

documented out-of-pocket expenses (including, without limitation, fees, disbursements and other

charges of DIP Professionals) of the DIP Agents and the DIP Lenders, for enforcement costs and

documentary taxes associated with the DIP Facilities and the transactions contemplated thereby,

are to be paid by the Debtors in accordance with the procedures described in paragraphs 19(c) and


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20(c) hereof. All fees and expenses described above shall be payable by the Debtors (whether

accrued or incurred prior to, on or after the Petition Date) within ten calendar days after the delivery

of invoices (which invoices shall not be required to comply with any particular format and may be

in summary form only and may be in redacted form to protect privileged and confidential

information) to the Debtors, the U.S. Trustee and the Creditors’ Committee (if appointed), without

the necessity of filing motions or fee applications and such fees and expenses shall not be subject

to any further review, challenge or disgorgement following the expiration of the review and

objection process described in paragraphs 19(c) and 20(c) hereof.

        (b)      As set forth in the DIP Documents, the Debtors will, jointly and severally,

indemnify the DIP Agents, the DIP Lenders and their respective affiliates, successors and assigns

and the officers, directors, employees, agents, attorneys, advisors, controlling persons and

members of each of the foregoing (each an “Indemnified Person”), and hold them harmless from

and against any and all losses, claims, damages, costs, expenses (including but not limited to

reasonable and documented legal fees and expenses) and liabilities arising out of or relating to the

execution or delivery of the DIP Credit Agreement, DIP Note Purchase Agreement and other DIP

Documents, transactions contemplated hereby and thereby and any actual or proposed use of the

proceeds of any loans made under the DIP Facilities in accordance with the terms of the DIP Credit

Agreement; provided that no such person will be indemnified for costs, expenses or liabilities to

the extent determined by a final, non-appealable judgment of a court of competent jurisdiction to

have been incurred solely by reason of the actual fraud, gross negligence or willful misconduct of

such person (or their related persons). No Indemnified Person shall have any liability (whether

direct or indirect, in contract, tort or otherwise) to the Debtors or any shareholders or creditors of

the Debtors for or in connection with the transactions contemplated hereby, except to the extent

such liability is found in an final non-appealable judgment by a court of competent jurisdiction to


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have resulted solely from such Indemnified Person’s actual fraud, gross negligence or willful

misconduct, and in no event shall any Indemnified Person be liable on any theory of liability for

any special, indirect, consequential or punitive damages.

        (c)      Notwithstanding anything to the contrary in this Interim Order, it shall be a

condition of the Interim DIP Draw that prior to the Interim DIP Draw, the Borrower shall have

paid any accrued and outstanding fees and expenses of the DIP Professionals notwithstanding any

applicable review period for the invoices of such DIP Professionals set forth in this Interim Order.

        31.      Limitation on Use ofDIP Facilities Proceeds, DIP Collateral and Cash Collateral

        (a)      Notwithstanding anything to the contrary set forth in this Interim Order, none of

the DIP Facilities, the DIP Collateral, the Prepetition Collateral or the proceeds thereof, including

Cash Collateral, or the Carve Out may be used: (a) to investigate (except as expressly provided

herein), initiate, prosecute, join or finance the initiation or prosecution of any claim, counterclaim,

action, suit, arbitration, proceeding, application, motion, objection, defense or other litigation of

any type (i) against any of the DIP Agents, the DIP Lenders or the Prepetition Secured Parties (in

each case, in their capacities as such) or seeking relief that would impair the rights and remedies

of the DIP Agents, the DIP Lenders or the Prepetition Secured Parties (in each case, in their

capacities as such) under the DIP Documents, this Interim Order or the Prepetition Credit

Documents to the extent permitted or provided hereunder, including, without limitation, for the

payment of any services rendered by the professionals retained by the Debtors or any Creditors’

Committee (if appointed) in connection with the assertion of or joinder in any claim, counterclaim,

action, proceeding, application, motion, objection, defense or other contested matter, the purpose

of which is to seek, or the result of which would be to obtain, any order, judgment, determination,

declaration or similar relief that would impair the ability of any of the DIP Agents, the DIP

Lenders, or the Prepetition Secured Parties to recover on the DIP Collateral or the Prepetition


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Collateral, as provided for herein, or seeking affirmative relief against any of the DIP Agents, the

DIP Lenders, or the Prepetition Secured Parties related to the DIP Obligations, or the Prepetition

Secured Obligations, (ii) seeking to invalidate, set aside, avoid, recharacterize or subordinate, in

whole or in part, the DIP Obligations, the DIP Superpriority Claims, or the DIP Agents’ and the

DIP Lenders’ liens or security interests in the DIP Collateral or the Prepetition Collateral, or the

Prepetition Secured Obligations, or the Prepetition Secured Parties’ liens or security interests in

the Prepetition Collateral or (iii) for monetary, injunctive or other affirmative relief against the

DIP Agents, the DIP Lenders or the Prepetition Secured Parties (in each case, in their capacities

as such), or their respective liens on or security interests in the DIP Collateral or the Prepetition

Collateral or the DIP Superpriority Claims, that would impair the ability of any of the DIP Agents,

the DIP Lenders or the Prepetition Secured Parties to assert or enforce any lien, claim, right or

security interest or to realize or recover on the DIP Obligations or the Prepetition Secured

Obligations to the extent permitted or provided hereunder; (b) for objecting to or challenging in

any way the legality, validity, priority, perfection or enforceability of the claims, liens or interests

(including the Prepetition Liens) held by or on behalf of each of the Prepetition Secured Parties

related to the Prepetition Secured Obligations, or by or on behalf of the DIP Agents and the DIP

Lenders related to the DIP Obligations; (c) for asserting, commencing or prosecuting any claims

or causes of action whatsoever, including, without limitation, any Avoidance Actions (as defined

herein) related to the DIP Liens, the DIP Superpriority Claims, the DIP Obligations, the Prepetition

Liens or the Prepetition Secured Obligations; (d) to prevent, hinder, or otherwise delay the DIP

Agent’s, DIP Secured Parties’, or Prepetition Secured Parties’ assertion, enforcement, or

realization on the DIP Collateral or Prepetition Collateral in accordance with this Interim Order,

the DIP Documents, and/or the Prepetition Documents once an Event of Default has occurred and

is continuing, except as expressly permitted by paragraph 26 hereof; (e) to pay any amount on


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account of any claims arising prior to the Petition Date unless such payments are (i) approved by

an order of the Court (which may, for the avoidance of doubt, be this order or the Final Order, and

(ii) permitted by the DIP Documents; (e) to seek to modify the rights granted to the DIP Agent,

any of the other DIP Secured Parties or any of the Prepetition Secured Parties under the DIP

Documents or the Prepetition Documents; or (f) for prosecuting an objection to, contesting in any

manner or raising any defenses to, the validity, extent, amount, perfection, priority or

enforceability of: (x) any of the DIP Liens, the DIP Superpriority Claims, or any other rights or

interests of the DIP Agents or the DIP Lenders related to the DIP Obligations or the DIP Liens, or

(y) any of the Prepetition Liens, Prepetition Secured Obligations or any other rights or interests of

any of the Prepetition Secured Parties related to the Prepetition Second Lien Obligations; provided

that no more than $75,000.00 of the proceeds of the DIP Facilities, the DIP Collateral or the

Prepetition Collateral, including the Cash Collateral, in the aggregate, may be used by the

Creditors’ Committee, if appointed, to investigate the foregoing matters with respect to the

Prepetition Liens or the Prepetition Secured Obligations within the Challenge Period (as defined

herein) (the “Challenge Budget”).

        32.     Effect of Stipulations on Third Parties.

        (a)     The Debtors’ acknowledgments, stipulations, admissions, waivers and releases set

forth in this Interim Order shall be binding on the Debtors, their respective representatives,

successors and assigns upon entry of this Interim Order. The acknowledgments, stipulations,

admissions, waivers and releases contained in this Interim Order shall also be binding upon the

Debtors’ estates and all other parties in interest, including the Creditors’ Committee (if appointed),

or any chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors (a “Trustee”),

unless (a) such party has obtained requisite standing and has duly filed an adversary proceeding or

contested matter (1) challenging the validity, perfection, priority, extent or enforceability of the


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Prepetition Liens, or the Prepetition Secured Obligations (including, without limitation, the

Prepetition Secured Obligations converted into DIP Obligations pursuant to this Interim Order and

pursuant to the Final Order) or (2) otherwise asserting or prosecuting any Avoidance Actions or

any other claims, counterclaims or causes of action, objections, contests or defenses (collectively,

the “Claims and Defenses”) against the Prepetition Secured Parties in connection with any matter

related to the Prepetition Collateral, the Prepetition Liens or the Prepetition Secured Obligations

by no later than the date that is the earlier of (i) 75 days after the entry of this Interim Order, or,

(ii) solely with respect to any Claims and Defenses asserted by a Creditors’ Committee, 60 days

after formation of the Creditors’ Committee (the “Challenge Period”); provided that in the event

that, prior to the expiration of the Challenge Period, (x) these Chapter 11 Cases are converted to

chapter 7 or (y) a chapter 11 trustee is appointed in these Chapter 11 Cases, then, in each such

case, the Challenge Period shall be extended solely with respect to any Trustee, to the date that is

sixty (60) days after the occurrence of either of the events described in the foregoing clauses (x)

and (y); and (b) an order is entered by a court of competent jurisdiction and becomes final and

non-appealable in favor of the plaintiff sustaining any such challenge or claim in any such duly

filed adversary proceeding or contested matter. If no such adversary proceeding or contested

matter is filed prior to the expiration of the Challenge Period, without further order of this Court:

(x) the Prepetition Secured Obligations shall constitute allowed claims, not subject to any Claims

and Defenses (whether characterized as a counterclaim, setoff, subordination, recharacterization,

defense,    avoidance,   contest,   attack,   objection,   recoupment,    reclassification,   reduction,

disallowance, recovery, disgorgement, attachment, “claim” (as defined by Bankruptcy Code

section 101(5)), impairment, subordination (whether equitable, contractual or otherwise) or other

challenge of any kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law), for all

purposes in these Chapter 11 Cases and any subsequent chapter 7 cases, if any; (y) the Prepetition


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Liens shall be deemed to have been, as of the Petition Date, legal, valid, binding, perfected and of

the priority specified in paragraphs 4(b) and 4(d), not subject to setoff, subordination, defense,

avoidance, impairment, disallowance, recharacterization, reduction, recoupment or recovery; and

(z) the Prepetition Secured Obligations, the Prepetition Liens on the Prepetition Collateral and the

Prepetition Secured Parties (solely in their capacities as such) shall not be subject to any other or

further challenge and any party in interest shall be forever enjoined and barred from seeking to

exercise the rights of the Debtors’ estates or taking any such action, including any successor thereto

(including any estate representative or a Trustee, whether such Trustee is appointed or elected prior

to or following the expiration of the Challenge Period). If any such adversary proceeding is timely

filed prior to the expiration of the Challenge Period, (a) the stipulations and admissions contained

in this Interim Order shall nonetheless remain binding and preclusive on the Creditors’ Committee

(if appointed) and any other party in these Chapter 11 Cases, including any Trustee, except as to

any stipulations or admissions that are challenged in such adversary proceeding or contested matter

and (b) any Claims and Defenses not brought in such adversary proceeding or contested matter

shall be forever barred; provided that, if and to the extent any challenges to a particular stipulation

or admission are withdrawn, denied or overruled by a final non-appealable order, such stipulation

also shall be binding on the Debtors’ estates and all parties in interest.

        (b)     Nothing in this Interim Order vests or confers on any person (as defined in the

Bankruptcy Code), including any Creditors’ Committee (if appointed), standing or authority to

pursue any cause of action belonging to the Debtors or their estates, including, without limitation,

any challenge with respect to the Prepetition Credit Documents, the Prepetition Liens or the

Prepetition Secured Obligations.

        33.     Release. Subject to the rights and limitations set forth in paragraphs 31 and 32 of

 this Interim Order, each of the Debtors and the Debtors’ estates, each on its own behalf and on


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 behalf of each of its predecessors, their successors and assigns shall to the maximum extent

 permitted by applicable law, unconditionally, irrevocably and fully forever release, remise,

 acquit, relinquish, irrevocably waive and discharge each of the DIP Agents, the DIP Lenders, the

 Prepetition Secured Parties (in each case, in their capacities as such) and each of their respective

 former, current or future officers, employees, directors, agents, representatives, owners, members,

 partners, affiliated investment funds or investment vehicles, managed, advised or sub-advised

 accounts, funds or other entities, investment advisors, sub-advisors or managers, financial

 advisors, legal advisors, shareholders, managers, consultants, accountants, attorneys, affiliates

 and predecessors in interest, each in their capacity as such, of and from any and all claims,

 demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

 obligations, rights, assertions, allegations, actions, suits, controversies, proceedings, losses,

 damages, injuries, attorneys’ fees, costs, expenses or judgments of every type, whether known,

 unknown, asserted, unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent,

 pending or threatened including, without limitation, all legal and equitable theories of recovery,

 arising under common law, statute or regulation or by contract, of every nature and description

 that exist on the date hereof solely with respect to or relating to the DIP Liens, the DIP

 Superpriority Claims, the DIP Obligations, the Prepetition Liens and the Prepetition Secured

 Obligations, as applicable, including, without limitation, (i) any so-called “lender liability” or

 equitable subordination claims or defenses, (ii) any and all claims and causes of action arising

 under the Bankruptcy Code and (iii) any and all claims and causes of action regarding the validity,

 priority, extent, enforceability, perfection or avoidability of the liens or claims of the DIP Agents,

 the DIP Lenders and the Prepetition Secured Parties.

        34.     Intercreditor Agreements. The rights of the Prepetition Secured Parties shall at all

 times remain subject to the Prepetition Intercreditor Agreement.


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        35.      Credit Bidding.

        (a)      Subject to paragraph 14 of this Interim Order, the Senior DIP Agent and Prepetition

  First Lien Agent, or any assignee or designee of the Senior DIP Agent and Prepetition First Lien

  Agent shall have the unqualified right to credit bid up to the full amount of the Senior DIP Loans

  and Prepetition First Lien Loans in the sale of any of the Debtors’ assets, including pursuant to

  (x) Bankruptcy Code section 363, (y) a plan of reorganization or a plan of liquidation under

  Bankruptcy Code section 1129 or (z) a sale or disposition by a chapter 7 trustee for any Debtor

  under Bankruptcy Code section 725.

        (b)      Subject to paragraph 14 of this Interim Order and subject to such credit bid

  providing for the Discharge of Senior Obligations (unless waived in writing by the Senior DIP

  Agent) and the rights and protections of the Junior DIP Agent relative to the Junior DIP Lenders,

  including as provided in any applicable Sales Procedures Order, the Junior DIP Agent or any

  assignee or designee thereof, on behalf of the Junior DIP Lenders, shall have the unqualified

  right to credit bid up to the full amount of the Junior DIP Loans in the sale of any of the Debtors’

  assets, including pursuant to (i) Bankruptcy Code section 363, (ii) a plan of reorganization or a

  plan of liquidation under Bankruptcy Code section 1129 or (iii) a sale or disposition by a chapter

  7 trustee for any Debtor under Bankruptcy Code section 725.

         (c)     Subj ect to the Discharge of Senior Obligations, and the indefeasible payment in full

  in cash of the DIP Obligations and the Prepetition First Lien Obligations, and subject to the

  Prepetition Intercreditor Agreement and the rights and protections of the Prepetition Second Lien

  Agent relative to the Prepetition Second Lien Lenders, including as provided in any applicable

  Sales Procedures Order, the Prepetition Second Lien Agent or any assignee or designee thereof

  (on behalf of the Prepetition Second Lien Lenders) shall have the unqualified right to credit bid

  up to the full amount of the Prepetition Second Lien Obligations in the sale of any of the Debtors’


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  assets, including, but not limited to, pursuant to (i) Bankruptcy Code section 363, (ii) a plan of

  reorganization or a plan of liquidation under Bankruptcy Code section 1129 or (iii) a sale or

  disposition by a chapter 7 trustee for any Debtor under Bankruptcy Code section 725.

        (d)     For avoidance of doubt, unless (x) agreed to in writing by the Senior DIP Agent, or

  (y) the proposed sale, plan or reorganization or plan of reorganization will result in the Discharge

  of the Senior Obligations, no Junior DIP Parties or Prepetition Second Lien Parties may credit

  bid any portion of its Junior DIP Obligations or Prepetition Second Lien Obligations until the

  Discharge of Senior Obligations has occurred. The DIP Agents, the Prepetition First Lien Agent

  and/or the Prepetition Second Lien Agent (in accordance with the DIP Documents and this

  Interim Order), shall have the absolute right to assign, sell or otherwise dispose of their respective

  rights to credit bid in connection with any credit bid by or on behalf of such parties to any

  acquisition entity or joint venture formed in connection with such bid.

        36.      Interim Order Governs. In the event of any inconsistency between the provisions

 of this Interim Order and the DIP Documents, the provisions of this Interim Order shall govern.

        37.      Binding Effect; Successors and Assigns. The DIP Documents and the provisions

 of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

 these Chapter 11 Cases, including, without limitation, the DIP Agents, the DIP Lenders, the

 Prepetition Secured Parties, any Creditors’ Committee appointed in these Chapter 11 Cases and

 the Debtors and their respective successors and assigns (including any chapter 7 or chapter 11

 trustee hereinafter appointed or elected for the estate of any of the Debtors, an examiner appointed

 pursuant to Bankruptcy Code section 1104 or any other fiduciary appointed as a legal

 representative of any of the Debtors or with respect to the property of the estate of any of the

 Debtors) and shall inure to the benefit of the DIP Agents, the DIP Lenders and the Prepetition

 Secured Parties, provided that, notwithstanding anything to the contrary herein, the Prepetition


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 Secured Parties shall have no obligation to permit the use of Cash Collateral or to extend any

 financing to any chapter 7 trustee or similar responsible person appointed for the estates of the

 Debtors.

        38.      Limitation ofLiability. In determining to make any loan under the DIP Documents,

 permitting the use of Cash Collateral or exercising any rights or remedies as and when permitted

 pursuant to this Interim Order, the DIP Documents or the Prepetition Credit Documents, the DIP

 Agents, the DIP Lenders and the Prepetition Secured Parties (in each case, solely in their

 capacities as such) shall not be deemed to be in control of the operations of the Debtors or to be

 acting as a “responsible person” or “owner or operator” with respect to the operation or

 management of the Debtors or their respective business (as such terms, or any similar terms, are

 used in the United States Comprehensive Environmental Response, Compensation and Liability

 Act, 42 U.S.C. §§ 9601 et seq. as amended, or any similar federal or state statute), nor shall they

 owe any fiduciary duty to any of the Debtors, their creditors or estates, or constitute or be deemed

 to constitute a joint venture or partnership with any of the Debtors. Furthermore, nothing in this

 Interim Order, the DIP Documents or the Prepetition Credit Documents shall in any way be

 construed or interpreted to impose or allow the imposition upon the DIP Agents, the DIP Lenders

 or the Prepetition Secured Parties of any liability for any claims arising from the prepetition or

 postpetition activities of any of the Debtors and their direct or indirect subsidiaries.

        39.      No Requirement to File Claim for DIP Obligations or Prepetition Secured

 Obligations. Notwithstanding anything to the contrary contained in any prior or subsequent order

 of the Court, including, without limitation, any order establishing a deadline for the filing of

 proofs of claim or requests for payment of administrative expenses under section 503(b) of the

 Bankruptcy Code, neither the DIP Agents nor the Prepetition Agents, nor any DIP Lender nor

 Prepetition Secured Party shall be required to file any proof of claim or request for payment of


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 administrative expenses with respect to any of the DIP Obligations or Prepetition Secured

 Obligations, all of which shall be due and payable in accordance with the DIP Documents and

 Prepetition Credit Documents, as applicable, without the necessity of filing any such proof of

 claim or request for payment of administrative expenses, and the failure to file any such proof of

 claim or request for payment of administrative expenses shall not affect the validity, priority, or

 enforceability of any of the DIP Documents and Prepetition Credit Documents or of any

 indebtedness, liabilities, or obligations arising at any time thereunder or prejudice or otherwise

 adversely affect the DIP Agents', Prepetition Agents', or any Prepetition Lender or DIP Lender’s

 rights, remedies, powers, or privileges under any of the DIP Documents, Prepetition Credit

 Documents, this Interim Order, or applicable law. The provisions set forth in this paragraph are

 intended solely for the purpose of administrative convenience and shall not affect the substantive

 rights of any party-in interest or their respective successors-in-interest.

           40.    Effectiveness. This Interim Order shall constitute findings of fact and conclusions

 of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date

 immediately upon entry hereof.          Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

 6006(d), 7062 or 9024, any other Bankruptcy Rule or Rule 62(a) of the Federal Rules of Civil

 Procedure, this Interim Order shall be immediately effective and enforceable upon its entry and

 there shall be no stay of execution or effectiveness of this Interim Order.

           41.    Final Hearing.     The Final Hearing shall be held on January [ ], 2024 at

 [   ]:[    ][a.m. / p.m.] prevailing Eastern Time at the United States Bankruptcy Courthouse, C.

 Clyde Atkins United States Courthouse, 301 North Miami Avenue, Courtroom [ • ], Miami,

 Florida 33128. Any objections or responses to the entry of this Interim Order must be filed on

 or before 4:00 p.m. prevailing Eastern Time, on January [        ], 2024, and shall be served on: (a)

 the Debtors, Bird Global, Inc., etal., 392 NW 191st Street, #20388, Miami, FL 33179, Attn: Chris


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 Rankin, Chief Restructuring Officer; (b) proposed counsel to the Debtors: Berger Singerman

 LLP, 1450 Brickell Avenue, Suite 1900, Miami, FL 33131, Attn: PaulSteven Singennmi

 (singerman@bergersingerman.com), Jordi Guso (jguso@bergersingerman.com), Robin J.

 Rubens (rrubens@bergersingerman.com) and Clay Roberts (croberts@bergersingerman.com);

 (c) counsel to the Senior DIP Parties and Prepetition First Lien Parties: Latham & Watkins LLP,

 1271    Avenue       of the   Americas,     New York,      NY,   10020,     Attn:   James Ktsanes

 (James.Ktsanes@lw.com),         John      Lister    (John.Lister@lw.com),     and   Hugh   Murtagh

 (Hugh.Murtagh@lw.com); (d) counsel to the Junior DIP Agent: Covington & Burling LLP, the

 New York Times Building, 620 Eighth Avenue, New York, NY 10018, Attn: Ronald A. Hewitt

 (rhewitt@cov.com); (e) counsel to the Prepetition Second Lien Agent: Maslon LLP, 3300 Wells

 Fargo Center, 90 South Seventh Street, Minneapolis, MN 55402, Attn: Clark T. Whitmore

 (clark.whitmore@maslon.com); (f) counsel to the Junior DIP Lenders and Participating Second

 Lien Parties: Venable LLP, 100 SE 2nd Street, Suite 4400, Miami, FL 33131, Attn: Paul J. Battista

 (PJBattista@Venable.com); (g) the Office of the United States Trustee, 51 S.W. First Avenue,

 Room 1204, Miami, FL 33130; and (h) counsel to any statutory committee appointed in these

 chapter 11 cases.

                                                    # # #

Submitted by:
Paul Steven Singerman, Esq.
BERGER SINGERMAN LLP
1450 Brickell Avenue, Ste. 1900
Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: singerman@bergersingerman.com

(Attorney Singerman is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case andfde a conforming certificate of service.)




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                                      Exhibit 1

                                     DIP Budget




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$ in 000's
Post Petition Week #                       0                1                2               3                4                5                6               7               8                9               10              11                 12               13             13
Week Ending                             12/22/23         12/29/23         1/5/24          1/12/24          1/19/24          1/26/24          2/2/24          2/9/24          2/16/24          2/23/24          3/1/24          3/8/24            3/15/24          3/22/24          Weeks
FvA                                       Fest             Fest            Fest             Fest             Fest             Fest            Fest            Fest             Fest             Fest            Fest            Fest              Fest             Fest            Total
Net Cash Receipts                   $         201    $       1,260    $      1,019    $       1,368    $       1,624    $       1,295    $      1,354    $      1,563    $       1,756    $      2,301     $      1,737    $      1,873      $      2,157     $      2,485     $     21,993
Operating Disbursements
  Third Party Spend (COS + OpEx)           (1,735)          (2,847)         (1,054)          (1,064)          (1,439)            (831)           (891)           (878)            (903)            (965)           (725)           (731)              (433)            (716)        (15,212)
  Payroll & Benefits                                        (1,982)           (218)            (307)            (869)            (589)           (869)           (329)            (869)            (612)           (869)           (407)              (869)            (407)         (9,197)
  FM, Platform Payouts                                        (254)           (322)            (346)            (342)            (338)           (340)           (374)            (407)            (501)           (463)           (482)              (531)            (514)         (5,212)
  Non-Debtor Funding                         (558)          (2,960)         (1,441)               3             (194)            (754)           (571)           (102)             128             (786)            157             (23)               279             (626)          (7,449)
Total Operating Disbursements              (2,293)          (8,043)         (3,035)          (1,713)          (2,844)          (2,513)         (2,670)         (1,683)          (2,051)          (2,864)         (1,900)         (1,644)            (1,555)          (2,263)        (37,070)
Operating Cash Flow                 $      (2,092) $        (6,783) $       (2,016) $          (345) $        (1,220) $        (1,218) $       (1,316)"          (119) $          (295) $          (563) $         (164) $          229      $        603     $                $    (15,077)"
Non-Operational Send
   Capex                                                      (268)            (50)                              (93)            (377)                           (100)             (27)             (50)                                                                               (966)
Total Non-Operating Disbursements                             (268)            (50)                              (93)            (377)                           (100)             (27)             (50)                                                                               (966)
First Dav Relief Payments
  Critical Vendor Motion                     (500)          (1,640)           (150)            (150)            (150)            (150)                                                                                                                                               (2,740)
  Utilities Deposit                                                           (110)                                                                                                                                                                                                    (110)
  Warehouse / Freight Motion                                (1,552)         (1,552)                                                                                                                                                                                                  (3,105)
Total First Day Relief Payments              (500)          (3,193)         (1,812)            (150)            (150)            (150)                                                                                                                                               (5,955)
Restructuring Disbursements
  Advisor Fees                                                (508)           (232)            (232)            (232)            (232)           (282)           (314)            (314)            (254)           (194)           (187)             (187)             (187)         (3,353)
  U.S. Trustee Fees                                                                                                                               (50)                                                                                                                                  (50)
Total Restructuring Disbursements                             (508)           (232)            (232)            (232)            (232)           (332)           (314)            (314)            (254)           (194)           (187)             (187)             (187)         (3,403)
Debt Service, Interest & Fees                                                                  (400)                                                                              (451)                                                              (453)                           (1,304)
Net Cash Flow (Before DIP)          $      (2,592) $       (10,752) $       (4,109) $        (1,127) $        (1,695) $        (1,977) $       (1,647) $         (534) $        (1,088) $          (867) $         (358) $              42   $         (37) $           35     $    (26,7057

                                    $       6,490 $          4,740 $         4,740 $          4,740 $          4,740 $          4,740 $         4,740 $         4,740 $          4,740 $         4,740 $          4,740 $         4,740 $           4,740 $          4,740     $      6,490
                                           (2,592)         (10,752)         (4,109)          (1,127)          (1,695)          (1,977)         (1,647)           (534)          (1,088)           (867)            (358)             42               (37)              35          (26,705)
                                              842           10,752           4,109            1,127            1,695            1,977           1,647             534            1,088             867              358             (421               37              (35)          24,955
I Ending Cash Balance               $                $                $               $                $                $                $               $               $                $                $               $                 $                $                $

                                           (2,580)          (2,580)         (2,580)          (2,580)          (2,580)          (2,580)         (2,580)         (2,580)          (2,580)          (2,580)         (2,580)         (2,580)            (2,580)          (2,580)         (2,580)


(Available Cash                     $       1,500    $       1,500    $      1,500    $       1,500    $       1,500    $       1,500    $      1,500    $      1,500    $       1,500    $       1,500    $      1,500    $      1,500      $       1,500    $       1,500    $      1,500
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                                                      Exhibit 2

                                                     Milestones

                        Milestone                                Hardwired                 Conditional

 Petition Date (P)                                           December 19, 2023

 First-Day Hearing                                           December 22, 2023   +3 Business Days (BD) from P

 Entry of Interim DIP Order                                  December 22, 2023   +3 BD from P

 Company shall have (a) communicated with all                January 10, 2024    +22 Calendar Days (CD) from P
 relevant regulatory/governmental bodies representing
 90% of Companv’s sharing revenues (“Agencies”) to
 apprise them of the Restructuring (as defined in the
 RSA) and to request assurances that such bodies will
 consent to the continued operation of the Company’s
 business by the NewCo Entity (as defined in the RSA)
 in such bodies’ jurisdictions on substantially the same
 terms as currently apply, including through consent to
 assigmnent, novation, or other means of continuing all
 material permits, licenses, contracts, and similar
 agreements (collectivelv, “Permits”), and (b) delivered
 an initial reoort (the “Permitting Reoort”) of results of
 such communications, in form and substance
 acceptable to the Senior DIP Agent in its sole
 discretion*

 Second-Day Hearing                                          January 23, 2024    +28 CD from P

 Entry of Final DIP Order                                    January 25, 2024    +2 BD from Second-Day Hearing

 Entry of Sale Procedures Order                              January 25, 2024    +2 BD from Second-Day Hearing

 Occurrence of Bid & Cure/Assigmnent Objection               February 26, 2024   +30 CD from Sale Procedures
 Deadline                                                    (Feb. 24 = Sat.)

 Auction (if needed)                                         March 4, 2024       +5 BD from Bid Deadline

 Sale Hearing                                                March 11,2024       +5 BD from Auction

 Closing                                                     March 18, 2024      +5 BD from Sale Hearing



 *Permit Reporting Covenant. After delivery of the initial Permitting Report, the Debtors shall deliver an updated
                       Permitting Report each week together with the Variance Report.
  *Pennit Continuance Covenant. At no time shall Agencies representing more than 10% of the Company’s 2023
 Sharing Revenues as internally reported by the Company, pro forma for the Spin acquisition on a normalized run­
   rate basis, have revoked or adversely modified, or stated an intention to revoke or adversely modify. Permits.




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                                       Exhibit 3

                                  DIP Credit Agreement




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  SENIOR SECURED PRIMING AND SUPER-PRIORITY DEBTOR-IN-POSSESSION EOAN
                              AGREEMENT

                                  Dated as of December 19, 2023

                                          by and among

                                        BIRD RIDES, INC.,
                           as Debtor, Debtor-in-Possession and Borrower,

                                      BIRD GLOBAL, INC.,
                            as Debtor, Debtor-in-Possession and Parent,

                                    BIRD US HOLDCO, LLC,
                       as Debtor, Debtor-in-Possession and Holdco Guarantor,

   THE OTHER PERSONS PARTY HERETO THAT ARE DESIGNATED AS CREDIT PARTIES,
                        as Debtors and Debtors-in-Possession,

                      THE PERSONS FROM TIME TO TIME PARTY HERETO,
                                       as Lenders,

                                               and

                                 MIDCAP FINANCIAL TRUST,
                                    as Administrative Agent




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        This SENIOR SECURED PRIMING AND SUPER-PRIORITY DEBTOR-IN-POSSESSION
LOAN AGREEMENT (including all exhibits and schedules hereto, as amended, restated, supplemented or
otherwise modified from time to time, this “Agreement”) is entered into as of December 19, 2023, by and
among the following parties:

                 (i)     Bird Rides, Inc., as debtor and debtor-in-possession (the “Borrower”);

                 (ii)    Bird Global, Inc., as debtor and debtor-in-possession (the “Parent”);

                 (iii)   the other Persons party hereto that are designated as Credit Parties, as debtors and
                         debtors-in-possession;

                 (iv)    the several financial institutions from time to time party hereto (including any
                         financial institutions party to this Agreement as a “Pre-Petition Lender”) as
                         Lenders; and

                 (v)     MidCap Financial Trust (“MidCap”), as Administrative Agent for the Lenders
                         from time to time party hereto.

                                     PRELIMINARY STATEMENTS

        WHEREAS, on December 19, 2023 (“Petition Date”), certain of the Credit Parties filed voluntary
petitions for relief under Chapter 11 of the Bankruptcy Code with the Bankruptcy Court;

        WHEREAS, from and after the Petition Date, the Credit Parties are continuing to operate their
business and manage their properties as debtors in possession under Sections 1107 and 1108 of the
Bankruptcy Code;

        WHEREAS, the Credit Parties have requested, and the Lenders have agreed to make available to
the Borrower, a $19,500,000 DIP term loan facility subject to the terms and conditions set forth in this
Agreement, the proceeds of which facility and sub-facility will be used in accordance with Section 8.01(g)
hereof; provided that until the Final Order shall have been entered by the Bankruptcy Court, no loans or
advances under the DIP term loan facility shall be made or issued, other than DIP term loans not to exceed
the amount permitted by the Interim Order;

        WHEREAS, the Borrower, the Persons named therein as credit parties, MidCap, as administrative
agent, and the financial institutions party thereto as lenders are parties to that certain Amended and Restated
Loan Agreement dated as of September 19, 2023 (as amended or otherwise modified on or prior to the
Petition Date, the “Pre-Petition Credit Agreement”);

         WHEREAS, the Borrower desires to secure all of its Borrower Obligations under the Transaction
Documents by granting to Administrative Agent, for the benefit of the Secured Parties, a security interest
in and lien upon substantially all of its property, as provided herein and in the DIP Orders;

        WHEREAS, Parent that directly owns all of the Equity Interests of the Borrower, is willing to
guaranty all of the Borrower Obligations and to pledge to Administrative Agent, for the benefit of the
Secured Parties, all of the Equity Interests of the Borrower and substantially all of its other property to
secure the Borrower Obligations, as provided herein and in the DIP Orders; and




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        WHEREAS, subject to the terms hereof, certain Subsidiaries of Parent are willing to guaranty all
of the Borrower Obligations and grant to Administrative Agent, for the benefit of the Secured Parties, a
security interest in and lien upon substantially all of its property, as provided herein and in the DIP Orders.

         In consideration of the mutual agreements, provisions and covenants contained herein, the
sufficiency of which is hereby acknowledged, the parties hereto agree as follows:

                                                 ARTICLE I

                                               DEFINITIONS

         SECTION 1.01 Certain Defined Terms. As used in this Agreement, the following terms shall
have the following meanings (such meanings to be equally applicable to both the singular and plural forms
of the terms defined):

         “Acquisition” means the acquisition (whether by means of a merger, consolidation or otherwise)
of all of the Equity Interests of any Person or all or substantially all of the assets of (or any division or
business line of) any Person.

       “Administrative Agent” means MidCap, in its capacity as contractual representative for the
Lenders, and any successor thereto in such capacity appointed pursuant to Article XI or Section 14.03(f).

       “Administrative Agent Fee” means a fee as set forth in the Fee Letter between the Borrower and
the Administrative Agent, due in accordance with the terms thereof, and paid in accordance with the Priority
of Payments.

          “Adverse Claim” means any ownership interest or claim, mortgage, deed of trust, pledge, lien,
security interest, hypothecation, charge or other encumbrance or security arrangement of any nature
whatsoever, whether voluntarily or involuntarily given, including, but not limited to, any conditional sale
or title retention arrangement, and any assignment, deposit arrangement or lease intended as, or having the
effect of, security and any filed financing statement or other notice of any of the foregoing (whether or not
a hen or other encumbrance is created or exists at the time of the filing); it being understood that any of the
foregoing in favor of, or assigned to, the Administrative Agent (for the benefit of the Secured Parties) shall
not constitute an Adverse Claim.

        “Advisors” has the meaning set forth in Section 14.06(c).

        “Affected Person” means the Administrative Agent and each Lender.

        “Affiliate” means, as to any Person, any other Person that, directly or indirectly, is in control of, is
controlled by or is under common control with such Person. For purposes of this definition, control of a
Person shall mean the power, direct or indirect, (x) to vote 25% or more of the securities having ordinary
voting power for the election of directors or managers of such Person or (y) to direct or cause the direction
of the management and policies of such Person, in either case whether by ownership of securities, contract,
proxy or otherwise.

         “Affiliate Transaction” means any transaction or series of transactions, including any transaction
or series of transactions in which the Parent or any of its Subsidiaries acts to, directly or indirectly, make
any payment to, or sell, lease, transfer, or otherwise dispose of any of its properties or assets to, or purchase
any property or assets from, or enter into or make or amend any transaction or series of transactions,




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contract, agreement, understanding, loan, advance, or guarantee with, or for the benefit of, any Affiliate of
Parent or its Subsidiaries.

        “Aggregate Rollup Bridge Commitment” means the combined Rollup Bridge Commitments of the
Lenders.

      “Aggregate Rollup Amendment No. 1 Commitment” means the combined Rollup Amendment No.
1 Commitments of the Lenders.

        “Agreement” has the meaning set forth in the preamble to this Agreement.

        “Anti-Terrorism Laws” means any Applicable Law relating to terrorism financing, trade sanctions
programs and embargoes, import/export licensing, money laundering or bribery, and any regulation, order,
or directive promulgated, issued or enforced pursuant to such Applicable Laws, all as amended,
supplemented or replaced from time to time.

         “Applicable Law” means, with respect to any Person, (x) all provisions of law, statute, treaty,
constitution, ordinance, rule, regulation, ordinance, requirement, restriction, permit, executive order,
certificate, decision, directive or order of any Governmental Authority applicable to such Person or any of
its property and (y) all judgments, injunctions, orders, writs, decrees and awards of all courts and arbitrators
in proceedings or actions in which such Person is a party or by which any of its property is bound. For the
avoidance of doubt, FATCA shall constitute an “Applicable Law” for all purposes of this Agreement.

       “Applicable Margin” means, with respect to the DIP Term Loans, the Rollup Amendment No. 1
Loans and the Rollup Bridge Loans, 15% per annum.

        “Approved Budget” means, (i) initially and until such time as Administrative Agent shall have
provided the Borrower with written confirmation that a Cash Forecast delivered in accordance with Section
8.01(c)(v) in form and substance satisfactory to it, the Initial Approved Budget and (ii) upon the
Administrative Agent providing the Borrower with written confirmation that a Cash Forecast delivered in
accordance with Section 8.01(c)(v) is in form and substance satisfactory to it, then such Cash Forecast;
provided that if the Administrative Agent does not provide written confirmation that any Cash Forecast is
in form and substance satisfactory to them, then the Approved Budget shall be the last delivered Cash
Forecast that constituted the Approved Budget hereunder.

        “Asset Purchase Agreement” means that certain Asset Purchase Agreement dated as of the Petition
Date by and among Bird Global, Inc., certain Subsidiaries of Bird Global, Inc. and Bird Scooter Acquisition
Corp.

        “Assignment and Acceptance Agreement” means an assignment and acceptance agreement entered
into by a Lender, an Eligible Assignee and the Administrative Agent, and, if required, the Credit Parties,
pursuant to which such Eligible Assignee may become a party to this Agreement, in substantially the form
of Exhibit C hereto.

         “Attorney Costs” means and includes all fees, costs, expenses and disbursements of any law firm
or other external counsel but excludes disbursements of internal counsel.

         “Bankruptcy Code” means the United States Bankruptcy Reform Act of 1978 (11 U.S.C. § 101, et
seq.), as amended from time to time.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Florida.



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          “Base Rate” means the per annum rate of interest announced, from time to time, within Wells Fargo
at its principal office in San Francisco as its “prime rate,” with the understanding that the “prime rate” is
one of Wells Fargo’s base rates (not necessarily the lowest of such rates) and serves as the basis upon which
effective rates of interest are calculated for those loans making reference thereto and is evidenced by the
recording thereof after its announcement in such internal publications as Wells Fargo may designate;
provided, however, that the Administrative Agent may, upon prior written notice to Borrower, choose a
reasonably comparable index or source to use as the basis for the Base Rate.

        “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

        “Bid Procedures Motion” has the meaning set forth in Section 8.01(aa).

        “Bid Procedures Order” has the meaning set forth in Section 8.01(aa).

        “Board of Directors” means the board of directors of the Parent or any duly authorized committee
or subcommittee of such board of directors.

        “Borrower” has the meaning set forth in the preamble to this Agreement.

        “Borrower Indemnified Amounts” has the meaning set forth in Section 13.01(a).

        “Borrower Indemnified Party” has the meaning set forth in Section 13.01(a).

         “Borrower Obligations” means all present and future indebtedness, reimbursement obligations, and
other liabilities and obligations (howsoever created, arising or evidenced, whether direct or indirect,
absolute or contingent, or due or to become due) of the Borrower to any Lender, Borrower Indemnified
Party and/or any Affected Person, arising under or in connection with this Agreement or any other
Transaction Document or the transactions contemplated hereby or thereby, and shall include, without
limitation, the principal amount of the Loans, all Interest on the Loans, all Fees and all other amounts due
or to become due from the Borrower under the Transaction Documents (whether in respect of fees, costs,
expenses, indemnifications or otherwise).

        “Bridge Loans” has the meaning assigned to such term is in the Pre-Petition Loan Agreement

        “Budget Testing Period” has the meaning assigned to such term in Section 8.01(c)(v).

        “Business Combination Event” has the meaning assigned to such term in Section 8.02(b).

        “Business Day” means any day (other than a Saturday or Sunday) on which banks are not
authorized or required to close in New York City, New York or San Francisco, California.

         “Capitalized Lease Obligations” means, at the time any determination thereof is to be made, the
amount of the liability in respect of a capital lease that would at such time be required to be capitalized and
reflected as a liability on a balance sheet (excluding the footnotes thereto) in accordance with GAAP.

        “Carve-Out” shall have the meaning set forth in the DIP Orders.

        “Cash Collateral” shall have the meaning set forth in the DIP Orders.

        “Cash Equivalents” means:

        (1)      U.S. dollars, Canadian dollars, pounds sterling or euros;


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        (2)     marketable direct obligations issued by any state of the United States or the District of
                Columbia or any political subdivision of any such state or any public instrumentality
                thereof maturing within one year from the date of acquisition thereof and having one of the
                two highest ratings obtainable from either S&P Global Ratings, a division of S&P Global
                Inc. or its affiliates ("S&P"). or Moody's Investors Service, Inc. or its affiliates
                ("Moody's");

        (3)     commercial paper, maturing not more than one year after the date of issue rated P-1 by
                Moody's or A-l by S&P;

        (4)     certificates of deposit maturing not more than one year after the date of issue, issued by
                commercial banking institutions and money market or demand deposit accounts
                maintained at commercial banking institutions, each of which is a member of the Federal
                Reserve System and has a combined capital and surplus and undivided profits of not less
                than $500,000,000;

        (5)     repurchase agreements having maturities of not more than 90 days from the date of
                acquisition which are entered into with major money center banks included in the
                commercial banking institutions described in clause (4) above and which are secured by
                readily marketable direct obligations of the United States or any agency thereof;

        (6)     money market accounts maintained with mutual funds having assets in excess of
                $2,500,000,000, which assets are primarily comprised of Cash Equivalents described in
                another clause of this definition;

        (7)     marketable tax exempt securities rated A-l or higher by Moody's or A or higher by S&P,
                in each case, maturing within one year from the date of acquisition thereof; and (h) in the
                case of any Foreign Subsidiary, cash and cash equivalents that are substantially equivalent
                in such jurisdiction to those described in clauses (a) through (g) above in respect of each
                country that is a member of the Organization for Economic Co-operation and
                Development.

        Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in currencies
other than those set forth in clause (1) above.

        “Certificate of Beneficial Ownership” means a certification regarding beneficial ownership as
required by the Beneficial Ownership Regulation.

        “CFC” means any Person that is a “controlled foreign corporation” within the meaning of Section
957 of the Code.

        “Change in Control” means the occurrence of any of the following:

                 (a)      Parent ceases to own, directly or indirectly, 100% of the issued and outstanding
equity interests of the Borrower;

                (b)      The Borrower ceases to own, directly or indirectly, 100% of the issued and
outstanding equity interests of the HoldCo Guarantor;

                 (c)      The Holdco Guarantor ceases to own, directly, 100% of the issued and outstanding
equity interests of the Bird OpCo,



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                in each case free and clear of all Liens other than non-voluntary Liens arising under
                applicable statutes, Liens in favor of the Administrative Agent and Liens in favor of the
                Note Collateral Agent securing obligations under the Note Purchase Agreement and the
                Second Lien DIP Loan Agreement; or

                  (d)     (i) any Person (other than a Permitted Holder) or (ii) Persons (other than one or
more Permitted Holders) constituting a “group” (as such term is used in Sections 13(d) and 14(d) of the
Exchange Act), become the “beneficial owner” (as defined in Rules 13(d)-3 and 13(d)-5 under such
Exchange Act), directly or indirectly, of Equity Interests representing more than forty percent (40%) of the
aggregate ordinary Voting Stock of Parent and the percentage of aggregate ordinary Voting Stock so held
is greater than the percentage of the aggregate ordinary Voting Stock represented by the Equity Interests of
Parent beneficially owned, directly or indirectly, in the aggregate by the Permitted Holders; unless, in the
case of this clause (2), the Permitted Holders have, at such time, the right or the ability by voting power,
contract or otherwise to elect or designate for election at least a majority of the Board of Directors.

         “Change in Law” means the occurrence, after the Effective Date, of any of the following: (a) the
adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation
or treaty or in the administration, interpretation, implementation or application thereof by any
Governmental Authority or (c) the making or issuance of any request, rule, guideline or directive (whether
or not having the force of law) by any Governmental Authority; provided, that notwithstanding anything
herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all
requests, rules, guidelines or directives thereunder or issued in connection therewith and (y) all requests,
rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel Committee
on Banking Supervision (or any successor or similar authority) or the United States or foreign regulatory
authorities, in each case pursuant to the agreements reached by the Basel Committee on Banking
Supervision in “Basel III: A Global Regulatory Framework for More Resilient Banks and Banking
Systems” (as amended, supplemented or otherwise modified or replaced from time to time), shall in each
case be deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

        “Chapter 11 Cases” means the Chapter 11 cases filed on December 19, 2023, by certain of the
Credit Parties by voluntary petitions with the Bankruptcy Court.

        “Code” means the Internal Revenue Code of 1986, as amended, reformed or otherwise modified
from time to time.

        “Collateral” means all property, now existing or hereafter acquired, mortgaged or pledged to, or
purported to be subjected to a Lien in favor of, Administrative Agent, for the benefit of Administrative
Agent and Lenders, pursuant to the Transaction Documents, but excluding any property or assets excluded
pursuant to the Transaction Documents. Without limiting the generality of the foregoing, “Collateral” shall
include all rights under section 506(c) of the Bankruptcy Code (solely upon entry of the Final Order), all
“property of the estate” (within the meaning of the Bankruptcy Code) of any kind or nature, real or personal,
tangible, intangible or mixed, and all rents, products, substitutions, accessions, profits, replacements and
cash and non-cash proceeds of all of the foregoing.

       “Commitment” means, with respect to any Lender, its DIP Term Loan Commitment, Aggregate
Rollup Bridge Commitment and Aggregate Rollup Amendment No. 1 Commitment, as such amount may
be modified in connection with any subsequent assignment pursuant to Section 14.03, and as such aggregate
amount is reduced by any applicable Loan funded in respect of such Commitment by such Lender
hereunder. If the context so requires, “Commitment” also refers to a Lender’s obligation to make Loans
hereunder in accordance with this Agreement, as the context so requires.




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        “Commitment Termination Date” means March 18, 2024.

        “Common Stock” means the Class A Common Stock, $0.0001 par value per share, of the Parent,
or such other securities or other property into or for which such stock is exchanged or converted, or which
such stock represents the right to receive, in connection with any reclassification, share exchange, business
combination transaction or similar event.

         “Contingent Obligations” means, with respect to any Person, any obligation of such Person
guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other obligations ("primary
obligations") of any other Person (the "primary obligor") in any manner, whether directly or indirectly,
including (a) the direct or indirect guaranty, endorsement (other than for collection or deposit in the ordinary
course of business), co-making, discounting with recourse or sale with recourse by such Person of the
obligation of a primary obligor, (b) the obligation to make take-or-pay or similar payments, if required,
regardless of nonperformance by any other party or parties to an agreement, and (c) any obligation of such
Person, whether or not contingent, (i) to purchase any such primary obligation or any property constituting
direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase or payment of any
such primary obligation or (B) to maintain working capital or equity capital of the primary obligor or
otherwise to maintain the net worth or solvency of the primary obligor, (hi) to purchase property, assets,
securities or services primarily for the purpose of assuring the owner of any such primary obligation of the
ability of the primary obligor to make payment of such primary obligation or (iv) otherwise to assure or
hold harmless the holder of such primary obligation against loss in respect thereof; provided, however, that
the term "Contingent Obligation" shall not include any product warranties extended in the ordinary course
of business. The amount of any Person's obligation under any Contingent Obligation shall be determined
in accordance with GAAP.

         “Contractual Obligations” means, as to any Person, any provision of any security (whether in the
nature of Equity Interests or otherwise) issued by such Person or of any agreement, undertaking, contract,
indenture, mortgage, deed of trust or other instrument, document or agreement (other than a Transaction
Document) to which such Person is a party or by which it or any of its property is bound or to which any
of its property is subject.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the direction
of the management or policies of a Person, whether through the ability to exercise voting power, by contract
or otherwise.

        “Covered Taxes” has the meaning set forth in Section 5,0l(a)(ii).

        “Credit Bid Transaction” has the meaning set forth in Section 14.22.

        “Credit Extension” means the making of a Loan.

       “Credit Parties” means the Parent, the Borrower and each of the Parent’s subsidiaries which is a
Guarantor.

         “DIP Orders” means the Interim Order and the Final Order, as applicable, based on which such
order is then in effect.

       “DIP Term Lender” means each Lender with a DIP Term Loan Commitment (or if the DIP Term
Loan Commitments has been funded, who holds DIP Term Loans).

        “DIP Term Loans” means any Loan made pursuant to Section 2.01(c).



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        “DIP Term Loan Commitment” has the meaning assigned to such term in Section 2.01(c).

         “DIP Term Loan Maturity Date” means the earliest to occur of: (a) the Commitment Termination
Date; (b) the occurrence of the date that is 30 days after the entry of the Interim Order if as of such date,
the Final Order shall not have been entered, (c) the Termination Declaration Date, (d) the date of the
consummation of the sale of all or substantially all of the assets or Equity Interests of the Credit Parties
pursuant to Section 363 of the Bankruptcy Code, and (e) the date all Borrower Obligations are indefeasibly
paid in full in cash and this Credit Agreement and the other Transaction Documents are terminated.

         “DIP Term Note” means a promissory note of the Borrower payable to a Lender in form and
substance reasonably satisfactory to the Administrative Agent, evidencing Indebtedness of the Borrower
under the DIP Term Loan Commitment of such Lender.

         “Disposition” means any transaction, or series of related transactions, pursuant to which any Person
or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor) or otherwise disposes of any
property or assets (whether now owned or hereafter acquired) to any other Person, in each case, whether or
not the consideration therefor consists of cash, securities or other assets owned by the acquiring Person. For
purposes of clarification, “Disposition” shall include (a) the sale or other disposition for value of any
contracts, (b) any disposition of property through a "plan of division" under the Delaware Limited Liability
Company Act or any comparable transaction under any similar law, (c) the early termination or
modification of any contract resulting in the receipt by any Credit Party of a cash payment or other
consideration in exchange for such event (other than payments in the ordinary course for accrued and unpaid
amounts due through the date of termination or modification) or (d) any sale of merchant accounts (or any
rights thereto (including any rights to any residual payment stream with respect thereto)) by any Credit
Party.

          “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the terms of any
security or other Equity Interest into which it is convertible or for which it is exchangeable), or upon the
happening of any event or condition, (a) matures or is mandatorily redeemable, pursuant to a sinking fund
obligation or otherwise (except as a result of a change of control or asset sale, in each case, so long as any
rights of the holders thereof upon the occurrence of such change of control or asset sale event is subject to
the prior repayment in full of the Borrower Obligations), (b) is redeemable at the option of the holder
thereof, in whole or in part, (c) provides for the obligation (not deferrable at the sole option of the issuer)
to make scheduled payments of dividends or distributions in cash, or (d) is convertible into or exchangeable
for (i) Indebtedness or (ii) any other Equity Interests that would constitute Disqualified Equity Interests, in
each case of clauses (a) through (d), prior to the date that is six months after the date referenced in clause
(a) of the definition of “DIP Term Loan Maturity Date”; provided that if such Equity Interest is issued
pursuant to a plan for the benefit of employees of any Credit Party or by any such plan to such employees,
such Equity Interest shall not constitute Disqualified Equity Interests solely because it may be required to
be repurchased by a Credit Party in order to satisfy applicable statutory or regulatory obligations.

        “Dollars” and “$” each mean the lawful currency of the United States of America.

       “Effective Date” means the date on which all conditions set forth in Section 6.01 are satisfied or
waived by the Administrative Agent and all Lenders.

       “Eligible Assignee” means (a) any Lender or any of its Affiliates, (b) any Person managed by a
Lender or any of its Affiliates and (c) any other financial or other institution.

        “Equity Interests” of any person shall mean any and all shares, interests, rights to purchase or
otherwise acquire, warrants, options, participations or other equivalents of or interests in (however



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designated) equity or ownership of such person, including any preferred stock, any limited or general
partnership interest and any limited liability company membership interest, and any securities or other rights
or interests convertible into or exchangeable for any of the foregoing.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from time to
time, and any rule or regulation issued thereunder.

        “ERISA Affiliate” means, with respect to any Person, any corporation, trade or business which
together with the Person is a member of a controlled group of corporations or a controlled group of trades
or businesses and would be deemed a “single employer” within the meaning of Sections 414(b), (c), (m) of
the Code or Section 4001(b) of ERISA.

        “Event of Default” has the meaning set forth in Section 10,01.

        “Exchange Act” means the Securities Exchange Act of 1934, as amended.

         “Excluded Taxes” means any of the following Taxes imposed on or with respect to an Affected
Person or required to be withheld or deducted from a payment to an Affected Person: (a) Taxes imposed
on or measured by net income (however denominated), franchise Taxes and branch profits Taxes, in each
case, (i) imposed as a result of such Affected Person being organized under the laws of, or having its
principal office or, in the case of any Lender, its applicable lending office located in, the jurisdiction
imposing such Tax (or any political subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the
case of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account of such
Lender with respect to an applicable interest in the Loans or Commitment pursuant to a law in effect on the
date on which (i) such Lender acquires an interest in a Loan or its Commitment or (ii) such Lender changes
its lending office, except in each case to the extent that, pursuant to Section 5,03. amounts with respect to
such Taxes were payable either to such Lender’s assignor immediately before such Lender became a party
hereto or to such Lender immediately before it changed its lending office, (c) Taxes attributable to such
Affected Person’s failure to comply with Section 5.03(d) and (d) any Taxes imposed pursuant to LATCA.

       “Existing Amendment No. 1 Lenders” means those Lenders holding Existing Amendment No. 1
Loans under the Pre-Petition Loan Agreement.

      “Existing Amendment No. 1 Loans” has the meaning assigned to such term in the Pre-Petition Loan
Agreement.

       “Existing Bridge Loan Lenders” means those Lenders holding Bridge Loans under the Pre-Petition
Loan Agreement.

         “Pair Market Value” means, with respect to any asset or property, the price that could be negotiated
in an arm’s-length, free-market transaction, for cash, between a willing seller and a willing and able buyer,
neither of whom is under undue pressure or compulsion to complete the transaction (as determined in good
faith by Parent).

         “LATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any
amended or successor version that is substantively comparable and not materially more onerous to comply
with), any current or future regulations or official interpretations thereof, any agreements entered into
pursuant to Section 1471(b)(1) of the Code, any applicable intergovernmental agreement entered into
between the United States and any other Governmental Authority in connection with the implementation
of the foregoing and any fiscal or regulatory legislation, rules or official practices adopted pursuant to any
such intergovernmental agreement.



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        “Federal Funds Rate” means, for any day, the rate of interest per annum (rounded upwards, if
necessary, to the nearest whole multiple of 1/100 of 1%) equal to the weighted average of the rates on
overnight Federal funds transactions with members of the Federal Reserve System arranged by Federal
funds brokers on such day, as published by the Federal Reserve Bank of New York on the Business Day
next succeeding such day, provided, however, that (a) if such day is not a Business Day, the Federal Funds
Rate for such day shall be such rate on such transactions on the next preceding Business Day, and (b) if no
such rate is so published on such next preceding Business Day, the Federal Funds Rate for such day shall
be the average rate quoted to the Administrative Agent on such day on such transactions as determined by
the Administrative Agent.

        “Fee Letter” has the meaning set forth in Section 2.04(b).

        “Fees” has the meaning set forth in Section 2.04(b).

         “Final Order” means an order of the Bankruptcy Court with respect to the Credit Parties after a
final hearing, in form and substance acceptable to the Administrative Agent and the Required DIP Lenders
in their sole discretion, which order is in effect and not stayed, together with all extensions, supplements
modifications and amendments thereto, in each case in form and substance acceptable to the Administrative
Agent and the Required DIP Lenders, in their sole discretion, which, among other things, provides that the
relief requested in the motions seeking approval of the Transaction Documents and the Interim Order and
Final Order and granted on an interim basis in the Interim Order is granted on a final basis (including any
additional relief required by the Bankruptcy Court or agreed to by the Administrative Agent) and provides
for the roll-up of the Pre-Petition Obligations as contemplated herein, all on a final basis.

        “Financial Officer” of any Person means, the chief executive officer, the chief financial officer, the
chief accounting officer, the principal accounting officer, the controller, the treasurer or the assistant
treasurer of such Person.

        “Foreign Lender” has the meaning set forth in Section 5.03(d)(i).

         “Foreign Subsidiary” means a Subsidiary that is not incorporated, formed or organized under the
laws of the United States or any state thereof.

         “Foreign Subsidiary Holding Company” means any direct or indirect Subsidiary of any Credit
Party, all or substantially all of the assets of which consist of, directly or indirectly, the Equity Interests in
one or more CFCs and any of such CFCs’ Subsidiaries, and/or debt or accounts receivable owed by CFCs
and/or such CFC’s Subsidiaries or are treated as owed by any such Subsidiaries for U.S. federal income tax
purposes.

        “GAAP” means generally accepted accounting principles in the United States of America,
consistently applied.

        “Government Approval” means, with respect to any Person, all permits, approvals, licenses, and/or
requirements of any applicable governmental authority, if any, necessary for the operation of such Person’s
business.

         “Governmental Authority” means the government of the United States of America or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive, legislative,
judicial, taxing, regulatory or administrative powers or functions of or pertaining to government (including
any supra-national bodies such as the European Union or the European Central Bank).



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         “Guaranteed Obligations” has the meaning set forth in Section 2.07.

        “Guarantors” means each Subsidiary of Parent (other than the Borrower) which has unconditionally
guaranteed the Borrower Obligations; provided that solely for purposes of determining the permissibility
of any action under Section 8.02, Bird Canada Scooters, Inc., shall be deemed to not be a Guarantor
(notwithstanding any guarantee it may provide of the Borrower Obligations or grant of a Lien on all or any
portion of its assets).

         “Guaranty” means, with respect to any Person, any obligation of such Person guarantying or in
effect guarantying any Debt, liability or obligation of any other Person in any manner, whether directly or
indirectly, including any such liability arising by virtue of partnership agreements, including any agreement
to indemnify or hold harmless any other Person, any performance bond or other suretyship arrangement
and any other form of assurance against loss, except endorsement of negotiable or other instruments for
deposit or collection in the ordinary course of business.

         “Hedging Agreement” means any interest rate, foreign currency, commodity or equity swap, collar,
cap, floor or forward rate agreement, or other agreement or arrangement designed to protect against
fluctuations in interest rates or currency, commodity or equity values (including any option with respect to
any of the foregoing and any combination of the foregoing agreements or arrangements), and any
confirmation executed in connection with any such agreement or arrangement.

         “Holdco Guarantor” means Bird US Holdco, LLC, a Delaware limited liability company.

         “Indebtedness” means, with respect to any Person, without duplication: (a) all indebtedness of such
Person for borrowed money; (b) all obligations of such Person for the deferred purchase price of property
or services to the extent constituting liabilities under GAAP (other than (i) trade payables or other accounts
payable incurred in the ordinary course of such Person’s business and not outstanding for more than 120
days after the date such payable was due and other trade payables or other accounts payable agreed in
writing between the Borrower and the Administrative Agent, acting reasonably and (ii) any eam-out,
purchase price adjustment or similar obligation until such obligation is required to be reflected on the
balance sheet of such Person in accordance with GAAP); (c) all obligations of such Person evidenced by
bonds, debentures, notes or other similar instruments or upon which interest payments are customarily
made; (d) all reimbursement, payment or other obligations and liabilities of such Person created or arising
under any conditional sales or other title retention agreement with respect to property used and/or acquired
by such Person, even though the rights and remedies of the lessor, seller and/or lender thereunder may be
limited to repossession or sale of such property; (e) all Capitalized Lease Obligations of such Person; (f) all
obligations and liabilities, contingent or otherwise, of such Person, in respect of letters of credit, acceptances
and similar facilities; (g) all obligations and liabilities, calculated on a basis satisfactory to the
Administrative Agent and in accordance with accepted practice, of such Person under Hedging Agreements;
(h) all monetary obligations under any receivables factoring, receivable sales or similar transactions and all
monetary obligations under any synthetic lease, tax ownership/operating lease, off-balance sheet financing
or similar financing; (i) all Contingent Obligations; (j) all Disqualified Equity Interests; and (k) all
obligations referred to in clauses (a) through (j) of this definition of another Person secured by (or for which
the holder of such Indebtedness has an existing right, contingent or otherwise, to be secured by) a Lien upon
property owned by such Person, even though such Person has not assumed or become liable for the payment
of such Indebtedness. The Indebtedness of any Person shall include the Indebtedness of any partnership or
joint venture in which such Person is a general partner or a joint venturer, unless such Indebtedness is
expressly made non-recourse to such Person.




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         “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to
any payment made by or on account of any obligation of the Credit Parties under any Transaction Document
and (b) to the extent not otherwise described in clause (a) above, Other Taxes.

          “Insolvency Proceeding” means (a) any case, action or proceeding before any court or other
Governmental Authority relating to bankruptcy, reorganization, insolvency, liquidation, receivership,
dissolution, winding-up or relief of debtors or (b) any general assignment for the benefit of creditors of a
Person, composition, marshaling of assets for creditors of a Person, or other, similar arrangement in respect
of its creditors generally or any substantial portion of its creditors, in each of clauses (a) and (b) undertaken
under U.S. Federal, state or foreign law, including the Bankruptcy Code.

        “Intended Tax Treatment” has the meaning set forth in Section 14.14.

        “Interest” means, for any day during any Interest Period (or portion thereof), the amount of interest
accrued on the Loans during such Interest Period (or portion thereof) in accordance with Section 2.04(a).

        “Interest Period” means each calendar month, provided that the last Interest Period shall end on
(but exclude) the Final Payout Date.

         “Interest Rate” means, for any day in any Interest Period, the sum of (a) the Applicable Margin
plus (b) for any day on which an Event of Default has occurred and is continuing, an additional default rate
of interest equal to 2.00% per annum; provided, however, that no provision of this Agreement shall require
the payment or permit the collection of Interest in excess of the maximum permitted by Applicable Law.

          “Interim Order” means the order of the Bankruptcy Court with respect to the Credit Parties, in
substantially the form of Exhibit I hereto, with such extensions, amendments, modifications or supplements
acceptable to the Administrative Agent and the Required DIP Lenders in their sole discretion, which order
is in effect and not stayed.

        “Interim Period Outside Date” has the meaning assigned to such term in the Interim Order.

         “Investment” means, with respect to any Person, all investments by such Person in other Persons
(including Affiliates) in the form of (a) loans (including guarantees of Indebtedness), advances, or capital
contributions (excluding accounts receivable, credit card and debit card receivables, trade credit and
advances, or other payments made to customers, dealers, suppliers, contractors, and distributors, and
payroll, commission, travel, and similar advances to officers, directors, managers, employees, consultants,
and independent contractors) and (b) purchases or other acquisitions for consideration of Indebtedness,
Equity Interests, or other securities issued by any other such Person. The amount of any Investment
outstanding at any time shall be the amount actually invested in such Investment (determined, in the case
of any Investment made with assets of Parent or any Subsidiary, based on the Fair Market Value of the
assets invested and without taking into account subsequent increases or decreases in value), reduced by any
dividend, distribution, interest payment, return of capital, repayment, or other amount received in cash by
Parent or a Subsidiary in respect of such Investment and shall be net of any Investment by such Person in
Parent or any Subsidiary.

       “Investment Company Act” means the Investment Company Act of 1940, as amended or otherwise
modified from time to time.

        “IRS” has the meaning set forth in Section 5.03(d)(i).




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        “Junior Financing” means any Indebtedness (other than any permitted intercompany Indebtedness
owing to the Credit Parties) that is (i) subordinated in right of payment to the Borrower Obligations, (ii)
secured by a Lien that is junior in priority to the Lien securing the Borrower Obligations or (hi) unsecured
Indebtedness for borrowed money.

        “KEIP” has the meaning assigned to such term in Section 8.02(h).

       “Lenders” means each Person that is or becomes a party to this Agreement in the capacity of a
“Lender” (including, for the avoidance of doubt, any Pre-Petition Lender).

         “Lien” means any lien, mortgage, security interest, tax hen, pledge, encumbrance, or conditional
sale or title retention arrangement, or any other interest in property designed to secure the repayment of
indebtedness, whether arising by agreement or under common law, any statute or other law, contract, or
otherwise.

         “Liquidity” means, as of any date of determination, the amount of unrestricted cash and Cash
Equivalents of the Borrower or any other Credit Party that is in deposit accounts or in securities accounts,
or any combination thereof, which deposit accounts and securities accounts are subject to account control
agreements and are maintained by a branch office of the applicable bank or securities intermediary located
within the United States of America.

         “Loan” means any loan made or deemed made by any Lender hereunder, including, without
limitation, each DIP Term Loan and, following the Roll-Up Effective Time, the Rollup Loans.

      “Loan Commitment” means, at any time of determination prior to the termination of all
Commitments hereunder, the aggregate Commitments of all Lenders at such time.

        “Loan Commitment Percentage” means, at any time of determination prior to the termination of all
Commitments hereunder, with respect to any Lender, a fraction (expressed as a percentage), the numerator
of which is its applicable Commitment at such time and the denominator of which is the aggregate
applicable Commitments of all Lenders at such time. For the avoidance of doubt, the Loan Commitment
Percentage with respect to any Lender to which all or a portion of any funded Loans is assigned but to
which no portion of an unfunded Commitment is assigned shall be 0%.

        “Loan Request” means a letter in substantially the form of Exhibit A hereto executed and delivered
by the Borrower to the Administrative Agent and the Lenders pursuant to Section 2.03(a).

        “Material Adverse Effect” means relative to any Person (provided that if no particular Person is
specified, “Material Adverse Effect” shall be deemed to be relative to each of the Credit Parties
individually) with respect to any event or circumstance, a material adverse effect on any of the following:

                (a)     the assets, operations, business or financial condition of Parent and its Subsidiaries,
        taken as a whole;

                (b)     the ability of the Credit Parties to perform their obligations (taken as a whole)
        under this Agreement or any other Transaction Document to which it is a party;

              (c)        the validity or enforceability of this Agreement or any other Transaction
        Document;




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                 (d)     the perfection, enforceability or priority of the Administrative Agent’s security
        interest in a material portion of the Collateral; or

                (e)   the rights and remedies of the Administrative Agent or the Lenders under the
        Transaction Documents taken as a whole or associated with their respective interest in the
        Collateral.

         “Material Indebtedness” means Indebtedness (other than the Loans) of the Credit Parties and their
Subsidiaries in an aggregate principal amount exceeding $2.0 million. Notwithstanding the foregoing, the
Note Purchase Agreement, the Second Lien DIP Agreement, the Second Lien DIP Documents and the Note
Documents shall at all times be deemed Material Indebtedness hereunder. For purposes of determining the
amount of Material Indebtedness at any time, (a) undrawn and committed amounts shall be included, and
(b) all amounts owing to all creditors under any combined or syndicated credit arrangement shall be
included.

        “Month” means each calendar month.

       “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of ERISA to
which any Credit Party, any of their Subsidiaries or any of their respective ERISA Affiliates (other than
one considered an ERISA Affiliate only pursuant to subsection (m) or (o) of Section 414 of the Code) is
making or accruing an obligation to make contributions, or has within any of the preceding five plan years
made or accrued an obligation to make contributions.

        “Note Collateral Agent” has the meaning set forth in the definition of “Note Purchase Agreement”.

       “Note Documents” mean the Note Purchase Agreement, any Guarantee (as defined in the Note
Purchase Agreement), and the other Note Documents (as defined in the Note Purchase Agreement).

        “Note Purchase Agreement” means the Note Purchase Agreement, dated as of December 30, 2022,
by and among Parent, as issuer, the purchasers from time to time party thereto, and U.S. Bank National
Association, as collateral agent (the “Note Collateral Agent”) as amended, supplemented or otherwise
modified or replaced from time to time in accordance with the Pre-Petition Intercreditor Agreement or with
the consent of the Administrative Agent.

        “Notes” means the notes issued by Parent under the Note Purchase Agreement.

         “OFAC ” means the U.S. Department of Treasury’s Office of Foreign Assets Control.

        “OFAC Lists” means, collectively, the Specially Designated Nationals and Blocked Persons List
maintained by OFAC pursuant to Executive Order No. 13224, 66 Fed. Reg. 49079 (Sept. 25, 2001) and/or
any other list of terrorists or other restricted Persons maintained pursuant to any of the rules and regulations
of OFAC or pursuant to any other applicable executive orders.

         “Other Connection Taxes” means, with respect to any Affected Person, Taxes imposed as a result
of a present or former connection between such Affected Person and the jurisdiction imposing such Tax
(other than connections arising from such Affected Person having executed, delivered, become a party to,
performed its obligations under, received payments under, received or perfected a security interest under,
engaged in any other transaction pursuant to or enforced any Transaction Document, or sold or assigned an
interest in any Loan or Transaction Document).




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         “Other Taxes” means any and all present or future stamp, court, documentary, intangible,
recording, fding or similar Taxes arising from any payment made hereunder or from the execution, delivery,
filing, recording or enforcement of, or otherwise in respect of, this Agreement, the other Transaction
Documents and the other documents or agreements to be delivered hereunder or thereunder, except for any
such Taxes that are Other Connection Taxes imposed with respect to an assignment.

        “Parent” has the meaning set forth in the preamble to this Agreement..

        “Participant” has the meaning set forth in Section 14.03(d).

        “Participant Register” has the meaning set forth in Section 14.03(e).

        “PATRIOT Act” has the meaning set forth in Section 14,15.

        “Payment Date” means the DIP Term Loan Maturity Date.

        “PBGC” means the Pension Benefit Guaranty Corporation, or any successor thereto.

        “Pension Plan” means a pension plan as defined in Section 3(2) of ERISA that is subject to Title
IV of ERISA (other than a Multiemployer Plan) that is maintained or contributed to by a Credit Party or
any of their respective Subsidiaries or ERISA Affiliates or with respect to which any Credit Party or any
Subsidiary may have any liability, contingent or otherwise.

        “Permitted Disposition” means:

        (1)      licensing, on a non-exclusive basis, intellectual property rights in the ordinary course of
business;

        (2)      leasing or subleasing assets in the ordinary course of business;

         (3)      (i) the lapse of registered intellectual property of Parent and its Subsidiaries to the extent
not economically desirable in the conduct of their business or (ii) the abandonment of intellectual property
rights in the ordinary course of business so long as, (A) with respect to copyrights, such copyrights are not
material revenue generating copyrights, and (B) such lapse is not materially adverse to the interests of the
Secured Parties;

        (4)      any involuntary loss, damage or destruction of property;

       (5)     any involuntary condemnation, seizure or taking, by exercise of the power of eminent
domain or otherwise, or confiscation or requisition of use of property;

        (6)      transfers of assets from Parent or any other Credit Party to Parent or another Credit Party;

         (7)     the termination or expiration of any contract in accordance with its terms or any settlement,
release, waiver or surrender of contractual rights or other litigation claims in the ordinary course of business;

        (8)     use or transfer of money or Cash Equivalents in the ordinary course of business and in a
manner that is not prohibited by the terms of this Agreement, the other Transaction Documents or the DIP
Orders;

        (9)    the granting of Permitted Liens and the making of Permitted Investments and Permitted
Restricted Payments;


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        (10)    Disposition of accounts receivable in the ordinary course of business or bankruptcy in
connection with the collection or compromise thereof;

        (11)     [reserved];

        (12)     any surrender or waiver of contractual rights or the settlement, release or surrender of
contractual rights or litigation claims (including in tort) in the ordinary course of business; and

        (13)    the Disposition of obsolete, worn out or surplus property or property (including leasehold
property interests) that is no longer economically practical in its business or commercially desirable to
maintain or no longer used or useful equipment in the ordinary course of business.

        “Permitted Expenses” means reasonable legal, accounting, collateral examination, monitoring and
appraisal fees, financial advisory fees, fees and expenses of other consultants, and other reasonable out of
pocket expenses of the Administrative Agent in connection with the Chapter 11 Cases, this Agreement, the
Transaction Documents, and all documents related thereto, and all costs and expenses of the Administrative
Agent (including reasonable, documented attorney expenses in accordance herewith) in connection with
the enforcement of remedies under the Transaction Documents to be reimbursed on a current basis by the
Credit Parties from the proceeds of Loans hereunder.

        “Permitted Holders” means (i) each of the Persons owning Voting Stock of the Parent or Notes on
the Effective Date, (ii) each of the Persons owning Voting Stock of Bird Canada Inc. as of December 19,
2022, and (iii) those individuals acting from time to time as officers, directors, managers, employees or
members, or in any similar capacity, for any entity referred to in clause (i) above, together with, in the case
of clause (iii), any entities owned or controlled by any such individuals, independently or together with one
or more entities referred to above.

        “Permitted Indebtedness” means:

      (1)        the Indebtedness owing to Lenders under this Agreement and the other Transaction
Documents;

       (2)      Indebtedness arising under (i) the Note Purchase Agreement in an aggregate principal
amount not to exceed $79,000,000 and (ii) the Second Lien DIP Loan Agreement;

        (3)      Indebtedness of Bird Canada Inc. existing January 3, 2023;

        (4)     Indebtedness existing on the Effective Date (other than Indebtedness described in clauses
(1) through (3) above) (provided that Indebtedness with an outstanding principal amount in excess of
$1,000,000 shall only be permitted under this clause (5) if set forth on Schedule 8.02(c) hereto);

        (5)      [reserved];

        (6)      Permitted Intercompany Investments;

         (7)     Indebtedness incurred in the ordinary course of business under performance, surety,
statutory, and appeal bonds;

        (8)     Indebtedness owed to any Person providing property, casualty, liability, environmental or
other insurance to the Credit Parties, so long as the amount of such Indebtedness is not in excess of the




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amount of the unpaid cost of, and shall be incurred only to defer the cost of, such insurance for the period
in which such Indebtedness is incurred and such Indebtedness is outstanding only during such period;

        (9)      [reserved];

        (10)    Indebtedness incurred in respect of credit cards, credit card processing services, debit cards,
stored value cards, purchase cards or other similar cash management services, in each case, incurred in the
ordinary course of business;

        (11)     [reserved];

        (12)     [reserved];

        (13)   Indebtedness in respect of netting services, overdraft protections and otherwise in
connection with deposit accounts;

        (14)     [reserved];

        (15)     to the extent constituting Indebtedness, operating leases incurred in the ordinary course of
business;

        (16)    letters of credit incurred in the ordinary course of business with cities and pursuant to
import/export duties incurred in the ordinary course of business;

        (17)    so long as no Default or Event of Default has occurred and is continuing or would result
therefrom, other Indebtedness in an aggregate principal amount not to exceed $5.0 million at any time
outstanding;

        (18)     the VTB Note (as defined in the Spin Stock Purchase Agreement); and

        (19)     Indebtedness under the Pre-Petition Loan Agreement.

        “Permitted Intercompany Investments” means Investments made by (a) a Credit Party to or in
another Credit Party, (b) a Subsidiary that is not a Credit Party to or in another Subsidiary that is not a
Credit Party, (c) a Subsidiary that is not a Credit Party to or in a Credit Party, so long as, in the case of a
loan or advance, the Indebtedness is subordinated to the Borrower Obligations to the satisfaction of the
Administrative Agent, and (d) a Credit Party to or in a Subsidiary that is not a Credit Party so long as (i)
the aggregate amount of all such Investments made by the Credit Parties to or in Subsidiaries that are not
Credit Parties does not exceed $400,000 at any time outstanding and (ii) no Default or Event of Default has
occurred and is continuing either before or after giving effect to such Investment.

        “Permitted Investments” means:

        (1)      Investments in cash and Cash Equivalents;

        (2)      Investments in negotiable instruments deposited or to be deposited for collection in the
                 ordinary course of business;

        (3)      advances made in connection with purchases of goods or services in the ordinary course of
                 business;




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(4)      Investments received in settlement of amounts due to any Credit Party or any of its
         Subsidiaries effected in the ordinary course of business or owing to any Credit Party or any
         of its Subsidiaries as a result of Insolvency Proceedings involving an account debtor or
         upon the foreclosure or enforcement of any Lien in favor of a Credit Party or its
         Subsidiaries;

(5)      Investments existing on the Effective Date;

(6)      Permitted Intercompany Investments;

(7)      [reserved];

(8)      [reserved];

(9)      loans or advances to directors and employees of any Credit Party or any of its Subsidiaries
         made in the ordinary course of business; provided that the aggregate amount of such loans
         and advances outstanding at any time shall not exceed $100,000;

(10)     [reserved];

(11)     Investments consisting of guarantees or other contingent obligations permitted under
         Section 8.02(c);

(12)     any Investments held by Bird Canada Inc. on January 3, 2023;

(13)     so long as no Default or Event of Default has occurred and is continuing or would result
         therefrom, other Investments in an aggregate amount not to exceed $100,000 at any time
         outstanding; and

(14)     any Investment contemplated by the transactions pursuant to the Spin Stock Purchase
         Agreement.

“Permitted Liens” means, with respect to any Person:

(1)      Liens securing the Borrower Obligations under this Agreement or the Pre-Petition
         Transaction Documents;

(2)      Liens in favor of the Note Collateral Agent (for the benefit of the Secured Parties as defined
         in the Note Purchase Agreement) and the Second Lien DIP Loan Agreement (for the
         benefit of the Note Parties as defined in the Second Lien DIP Loan Agreement), which
         Liens shall be subject to the Pre-Petition Intercreditor Agreement.

(3)      Liens for Taxes, assessments and governmental charges or levies not yet due or payable or
         the payment of which is not required under Section 8.01 (p);

(4)      Liens imposed by law, such as carriers', warehousemen's, mechanics', worker's,
         materialmen's, construction and other similar Liens arising in the ordinary course of
         business and securing obligations (other than Indebtedness for borrowed money) that are
         not overdue by more than 60 days or are being contested in good faith and by appropriate
         proceedings promptly initiated and diligently conducted, and a reserve or other appropriate
         provision, if any, as shall be required by GAAP shall have been made therefor;




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(5)      Liens existing on the Effective Date; provided that any such Lien shall only secure the
         Indebtedness, and encumber the assets, that it secures on the Effective Date;

(6)      [reserved];

(7)      deposits and pledges of cash securing (i) obligations incurred in respect of workers'
         compensation, unemployment insurance, social security or other forms of governmental
         insurance or benefits, (ii) the performance of bids, tenders, leases, contracts (other than for
         the payment of money) permits, licenses or statutory obligations or (iii) obligations on
         surety or appeal bonds or letters of credit, but only to the extent such deposits or pledges
         are made or letters of credit are made or otherwise arise or issued in the ordinary course of
         business and secure obligations not past due;

(8)      easements, rights of way, servitudes, zoning, building or similar restrictions and similar
         encumbrances on real property and exceptions, imperfections and irregularities in the title
         thereto that do not (i) secure obligations for the payment of money or (ii) materially impair
         the value of such property or its use by any Credit Party or any of its Subsidiaries in the
         normal conduct of such Person's business;

(9)      Liens of landlords and mortgagees of landlords (i) arising by statute or under any Lease or
         related Contractual Obligation entered into in the ordinary course of business, (ii) on
         fixtures and movable tangible property located on the real property leased or subleased
         from such landlord, or (iii) for amounts not yet due or that are being contested in good faith
         by appropriate proceedings diligently conducted and for which adequate reserves or other
         appropriate provisions are maintained on the books of such Person in accordance with
         GAAP;

(10)     the title and interest of (i) a lessor or sublessor in and to personal property leased or
         subleased (other than through a capital lease) extending only to such personal property, or
         (ii) a licensor or sublicensor in or to the property subject to any license or sublicense or
         concession agreement permitted by this Agreement extending only to such property;

(11)     non-exclusive licenses of intellectual property rights in the ordinary course of business;

(12)     any encumbrances or restrictions (including put and call agreements) with respect to any
         Equity Interests constituting a Permitted Investment as required pursuant to the terms of
         the shareholder, joint venture or other agreement governing such Permitted Investment as
         in effect on the Effective Date;

(13)     judgment hens (other than for the payment of taxes, assessments or other governmental
         charges) securing judgments and other proceedings not constituting an Event of Default
         under Section 10.01(s);

(14)     rights of set-off or bankers' hens upon deposits of cash in favor of banks or other depository
         institutions, solely to the extent incurred in connection with the maintenance of such
         deposit accounts in the ordinary course of business;

(15)     Liens granted in the ordinary course of business on the unearned portion of insurance
         premiums securing the financing of insurance premiums to the extent the financing is
         permitted under the definition of Permitted Indebtedness;




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(16)     [reserved];

(17)     Liens securing Permitted Indebtedness under clause (2), clause (10) and clause (19) of the
         definition of “Permitted Indebtedness,” including Liens securing cash management
         services and Hedging Agreements secured under the documentation governing such
         Indebtedness, so long as any such Liens are subject to the Pre-Petition Intercreditor
         Agreement;

(18)     UCC or PPSA financing statements filed (or similar filings under applicable law) solely as
         a precautionary measure in connection with operating leases;

(19)     in connection with the sale or transfer of any assets in a transaction not prohibited
         hereunder, customary rights and restrictions contained in agreements relating to such sale
         or transfer pending the completion thereof;

(20)     receipt of progress payments and advances from customers in the ordinary course of
         business to the extent the same creates a Lien on the related inventory and proceeds thereof;

(21)     Liens in the nature of the right of setoff in favor of counterparties to contractual agreements
         not otherwise prohibited hereunder with the Parent or any of its Subsidiaries in the ordinary
         course of business;

(22)     Liens on cash pledged to secure obligations in respect of letters of credit incurred in the
         ordinary course of business with cities and pursuant to import/export duties incurred in the
         ordinary course of business;

(23)     Liens arising out of consignment or similar arrangements for the sale of goods in the
         ordinary course of business;

(24)     Liens on goods in favor of customs and revenues authorities imposed by applicable law
         arising in the ordinary course of business in connection with the importation of such goods;

(25)     Liens arising by operation of law under Article 2 of the UCC in favor of a reclaiming seller
         of goods or buyer of goods;

(26)     Liens on securities that are the subject of repurchase agreements constituting Cash
         Equivalents;

(27)     Liens in favor of banking institutions arising as a matter of law or under general terms and
         conditions encumbering deposits (including the right of set off) and which are within the
         general parameters customary in the banking industry; and

(28)     the VLB Security (as defined in the Spin Stock Purchase Agreement).

(29)     other Liens which do not secure Indebtedness for borrowed money or letters of credit and
         as to which the aggregate amount of the obligations secured thereby does not exceed $1.0
         million at any time outstanding.

“Permitted Restricted Payments” means any of the following Restricted Payments made by:

(a)     any Credit Party to another Credit Party;




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        (b)     any Subsidiary of Parent to Parent (and any necessary Restricted Payments to another
Subsidiary in order to ultimately make such Restricted Payment to Parent);

       (c)   Parent and any of its Subsidiaries to pay dividends or make other distributions in the form
of common Equity Interests; and

        (d)      the redemption, repurchase, retirement or other acquisition of any Equity Interests or Junior
Financing of any Credit Party, in exchange for, or out of the proceeds of the substantially concurrent sale
of, Equity Interests (other than any Disqualified Equity Interests) of Parent.

         “Permitted Variance” means, a negative variance in the aggregate amount of unrestricted cash and
Cash Equivalents of the Credit Parties and their Subsidiaries set forth each Approved Budget for any Budget
Testing Period (calculated as of the close of business of the Borrower on the last Business Day of each
Budget Testing Period) of the greater of (x) $500,000 and (y) 10% of such budgeted amount; provided,
that, the negative variance may not exceed $1,000,000 for any Budget Testing Period.

      “Person” means an individual, partnership, corporation (including a business trust), joint stock
company, trust, unincorporated association, joint venture, limited liability company or other entity, or any
Governmental Authority.

        “Petition Date” has the meaning assigned to such term in the Recitals.

        “Post-Petition” means the time period beginning immediately upon the filing of the Chapter 11
Cases and ending upon the closing of the Chapter 11 Cases.

         “Potential Event of Default” means an event that but for notice or lapse of time or both would
constitute an Event of Default.

        “PPSA” means the Personal Property Security Act (Ontario) (and other equivalent personal
property security legislation in any other applicable Canadian province or territory) and the regulations
thereunder, as from time to time in effect; provided that, if attachment, perfection or priority of the
Collateral Agent’s security interest in any Collateral is governed by the personal property security laws of
any jurisdiction in Canada other than Ontario, with respect to such Collateral, PPSA shall mean those
personal property security laws in such other jurisdiction of Canada (including the Civil Code of Quebec
and the regulations thereunder, in the case of Quebec) for the purposes of the provisions hereof relating to
such attachment, perfection or priority and for the definitions related to such provisions.

      “Pre-Petition Agent” means the “Administrative Agent” as defined in the Pre-Petition Loan
Agreement.

        “Pre-Petition Amendment No. 1 Obligations” means all interest, fees and principal owning with
respect to the “Existing Amendment No. 1 Loans” as such term is defined in the Pre-Petition Loan
Agreement.

        “Pre-Petition Bridge Obligations” means all interest, fees and principal owning with respect to the
“Bridge Loans” as such term is defined in the Pre-Petition Loan Agreement.

         “Pre-Petition Indebtedness” means any and all Indebtedness of the Credit Parties incurred prior to
the Petition Date and outstanding as of the Petition Date.




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        “Pre-Petition Intercreditor Agreement” means that certain Amended and Restated Subordination
and Intercreditor Agreement dated as of December 11, 2023, by and among the Pre-Petition Agent, the
Note Collateral Agent, the Borrower and the other Persons party thereto.

        “Pre-Petition Lenders” means the “Lenders” as defined in the Pre-Petition Loan Agreement.

        “Pre-Petition Loan Agreement” has the meaning assigned to such term in the Recitals.

        “Pre-Petition Obligations” means, collectively, all Pre-Petition Amendment No. 1 Obligations, all
Pre-Petition Bridge Obligations and all Pre-Petition Other Obligations.

        “Pre-Petition Other Obligations” means all “Borrower Obligations” outstanding under (and as
defined in) the Pre-Petition Loan Agreement, in each case other than any Pre-Petition Amendment No. 1
Obligations and Pre-Petition Bridge Obligations.

        “Pre-Petition Payments” means any payment (by way of adequate protection or otherwise) of
principal or interest or otherwise on account of any Pre-Petition Indebtedness or other obligations or claims
(including trade payables and payments in respect of reclamation and/or Section 503(b)(9) claims) of the
Credit Parties.

        “Pre-Petition Prior Liens” shall have the meaning set forth in the DIP Orders.

      “Pre-Petition Secured Parties” means the “Secured Parties” as defined in the Pre-Petition Loan
Agreement.

         “Pre-Petition Transaction Documents” means the “Transaction Documents” as defined in the Pre­
Petition Loan Agreement.

         “Prior Lender” means each “Lender” as defined in the Pre-Petition Loan Agreement as of the
Petition Date.

        “Priority of Payments” has the meaning set forth in Section 4,01.

        “Qualified Purchaser” means a Person satisfactory to the Required DIP Lenders.

        “Register” has the meaning set forth in Section 14.03(b).

         “Reportable Event” means any reportable event as defined in Section 4043(c) of ERISA or the
regulations issued thereunder with respect to a Pension Plan (other than a Pension Plan maintained by an
ERISA Affiliate which is considered an ERISA Affiliate only pursuant to subsection (m) or (o) of Section
414 of the Code).

        “Representatives” has the meaning set forth in Section 14.06(c).

        “Required DIP Lenders” means Lenders holding in excess of fifty percent (50%) of the sum of the
then aggregate outstanding principal balance of the Loans.

         “Requirement of Law” means, with respect to any Person, the common law and any federal, state,
local, foreign, multinational or international laws, statutes, codes, treaties, standards, rules and regulations,
ordinances, orders, judgments, writs, injunctions, decrees (including administrative or judicial precedents
or authorities) and the interpretation or administration thereof by, and other determinations, directives,
requirements or requests of, any Governmental Authority, in each case whether or not having the force of


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law and that are applicable to or binding upon such Person or any of its property or to which such Person
or any of its property is subject.

        “Reserves'’ means reserves established by the Administrative Agent to ensure the payment of the
Carve-Out and other professional expenses and any other reserves established by the Administrative Agent
in accordance with the DIP Orders.

        “Responsible Officer” of any Person means, any Financial Officer, the chief restructuring officer,
the chief operating officer, general counsel or other similar officer of such Person.

        “Restricted” shall mean, when referring to cash or Cash Equivalents of Parent or any of its
Subsidiaries, that such cash or Cash Equivalents (i) appear (or would be required to appear) as “restricted”
as required by GAAP on a consolidated balance sheet of Parent, (ii) are subject to any Lien in favor of any
Person other than the Administrative Agent for the benefit of the Secured Parties or (hi) are not otherwise
generally available for use by Parent or its Subsidiaries.

        “Restricted Investment” means an Investment other than a Permitted Investment.

        “Restricted Payment” means the Parent or any Subsidiary of the Parent acting to:

        (1)     declare or pay any dividend or make any payment or distribution on account of the Parent's
                or any of its Subsidiaries' Equity Interests, including any payment made in connection with
                any merger, amalgamation, or consolidation involving the Parent (other than (A) dividends
                or distributions by the Parent payable solely in Equity Interests of the Parent or (B)
                dividends or distributions by a Subsidiary so long as, in the case of any dividend or
                distribution payable on or in respect of any class or series of securities issued by a
                Subsidiary other than a wholly owned Subsidiary, the Parent or a Subsidiary receives at
                least its pro rata share of such dividend or distribution in accordance with its Equity
                Interests in such class or series of securities);

        (2)     purchase, redeem, defease, or otherwise acquire or retire for value any Equity Interests of
                the Parent or any direct or indirect parent of the Parent, including in connection with any
                merger, amalgamation, or consolidation;

        (3)     make any principal payment on, or redeem, repurchase, defease, or otherwise acquire or
                retire for value, in each case, prior to any scheduled repayment, sinking fund payment, or
                maturity, any Subordinated Indebtedness of any Credit Party or any Subsidiary (other than
                the payment, redemption, repurchase, defeasance, acquisition, or retirement of
                Indebtedness permitted under clause (7) of the definition of “Permitted Indebtedness”; or

        (4)     make any Restricted Investment.

        “Restructuring Support Agreement” means that certain Restructuring Support Agreement dated as
of December 19, 2023, by and among the Pre-Petition Agent, the Pre-Petition Lenders, the Second Lien
Agent (as defined therein”, the Second Lien Lenders (as defined therein) and the other Persons party thereto.

       “Roll-Up Effective Time” means the moment in time immediately following of the entry of the
Final Order by the Bankruptcy Court approving the roll-up of certain of the Pre-Petition Obligations as
contemplated therein and herein.

        “Rollup Amendment No. 1 Lender” means any Lender holding Rollup Amendment No. 1 Loans.



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         “Rollup Amendment No. 1 Loans” has the meaning assigned to such term in Section 2.02(a).

         “Rollup Bridge Lender” means any Lender holdings Rollup Bridge Loans.

         “Rollup Bridge Loans” has the meaning assigned to such term in Section 2.02(b).

         “Rollup Loans” means, collectively, the Rollup Amendment No. 1 Loans and the Rollup Bridge
Loans.

        “Sanctioned Country” means a country subject to a sanctions program maintained under any Anti­
Terrorism Law, including any such country identified on the list maintained by OFAC and available at:
http://www.treasury.gov/resource-center/sanctions/Programs/ Pages/Programs.aspx, or as otherwise
published from time to time.

         “Sanctioned Person” means (a) a person named on the list of “Specially Designated Nationals” or
“Blocked       Persons”      maintained      by     OFAC       available      at:    http://www.treasury.gov/
resource-center/sanctions/SDN-List/Pages/default.aspx, or as otherwise published from time to time,
(b) (i) an agency of the government of a Sanctioned Country, (ii) an organization controlled by a Sanctioned
Country or (iii) a person resident in a Sanctioned Country, to the extent subject to a sanctions program
administered by OFAC, or (c) any individual person, group, regime, entity or thing listed or otherwise
recognized as a specially designated, prohibited, sanctioned or debarred person, group, regime, entity or
thing, or subject to any limitations or prohibitions (including but not limited to the blocking of property or
rejection of transactions), under any Anti-Terrorism Law.

         “Second Lien DIP Agent” means U.S. Bank Trust Company, National Association, in its capacity
as collateral agent under the Second Lien DIP Loan Documents.

       “Second Lien DIP Lenders” means the DIP Notes Purchasers (as defined in the Second Lien DIP
Loan Agreement).

        “Second Lien DIP Loan Agreement” means Senior Secured Priming and Super-Priority Debtor-In-
Possession Note Purchase Agreement by and among Bird Global, Inc., the Second Lien DIP Agent, the
Second Lien DIP Lenders and the other Persons party thereto.

         “Second Lien DIP Loans” means the Notes (as defined in the Second Lien DIP Loan Agreement).

       “Second Lien DIP Loan Documents” has the meaning assigned to the term Note Documents in the
Second Lien DIP Loan Agreement.

         “Secured Parties” means each Lender, each Borrower Indemnified Party and each Affected Person.

         “Securities Act” means the Securities Act of 1933, as amended or otherwise modified from time to
time.

       “SOFR” means a rate equal to the secured overnight financing rate as administered by the SOFR
Administrator.

         “SOFR Administrator” means the Federal Reserve Bank of New York (or a successor administrator
of the secured overnight financing rate).




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        “Spin Stock Purchase Agreement” means that certain Stock Purchase Agreement dated as of
September 19, 2023 between Bird Global, Inc., a Delaware corporation, Bird Rides, Inc., a Delaware
corporation, Skinny Labs, Inc., a Delaware corporation (d/b/a “SPIN”) and Tier Mobility SE.

        “Subordinated Indebtedness” means any Indebtedness which is, by its terms, expressly
subordinated in right of payment to the Borrower Obligations.

        “Subsidiary” means, as to any Person, a corporation, partnership, limited liability company or other
entity of which shares of stock of each class or other interests having ordinary voting power (other than
stock or other interests having such power only by reason of the happening of a contingency) to elect a
majority of the Board of Directors or other managers of such entity are at the time owned, or management
of which is otherwise controlled: (a) by such Person, (b) by one or more Subsidiaries of such Person or (c)
by such Person and one or more Subsidiaries of such Person.

         “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions, charges,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority and all interest, penalties, additions to tax and any similar liabilities with respect
thereto.

        “Termination Declaration Date” has the meaning assigned to such term in Section 10.02.

        “Termination Event” shall have the meaning set forth in the DIP Orders.

        “Transaction Documents” means this Agreement, the DIP Orders, the Restructuring Support
Agreement, the Fee Letters, the Pre-Petition Intercreditor Agreement, and all other agreements executed
and delivered under or in connection with this Agreement, in each case as the same may be amended,
supplemented or otherwise modified from time to time in accordance with this Agreement. For the
avoidance of doubt, the Transaction Documents shall not include the Investment Agreement dated on or
about December 19, 2022, among Bird Global, Inc., Travis Vanderzanden, and Bird Canada Inc.

         “U.S. Government Securities Business Day” means any day except for (a) a Saturday, (b) a Sunday
or (c) a day on which the Securities Industry and Financial Markets Association recommends that the fixed
income departments of its members be closed for the entire day for purposes of trading in United States
government securities.

        “U.S. Tax Compliance Certificate” has the meaning set forth in Section 5.03(d)(1)(C).

         “UCC” means the Uniform Commercial Code as from time to time in effect in the applicable
jurisdiction.

        “Volcker Rule” means Section 13 of the U.S. Bank Holding Company Act of 1956, as amended,
and the applicable rules and regulations thereunder.

         “Voting Stock” shall mean, with respect to any person, such person’s Equity Interests having the
right to vote for the election of directors of such person under ordinary circumstances.

       “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete or partial
withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title IV of
ERISA.




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         SECTION 1.02 Other Interpretative Matters. All terms used in Article 9 of the UCC in the State
of New York and not specifically defined herein, are used herein as defined in such Article 9. For purposes
of this Agreement, the other Transaction Documents and all such certificates and other documents, unless
the context otherwise requires: (a) references to any amount as on deposit or outstanding on any particular
date means such amount at the close of business on such day; (b) the words “hereof,” “herein” and
“hereunder” and words of similar import refer to such agreement (or the certificate or other document in
which they are used) as a whole and not to any particular provision of such agreement (or such certificate
or document); (c) unless otherwise expressly indicated, all references to any Article, Section, Schedule,
Exhibit, or Annex are references to Articles, Sections, Schedules, Exhibits, and Annexes in or to such
agreement (or the certificate or other document in which the reference is made), and references to any
paragraph, subsection, clause, or other subdivision within any Section or definition refer to such paragraph,
subsection, clause, or other subdivision of such Section or definition; (d) the term “including” means
“including without limitation”; (e) references to any Applicable Law refer to that Applicable Law as
amended from time to time and include any successor Applicable Law; (f) references to any agreement
refer to that agreement as from time to time amended, restated or supplemented or as the terms of such
agreement are waived or modified in accordance with its terms; (g) references to any Person include that
Person’s permitted successors and assigns; (h) headings are for purposes of reference only and shall not
otherwise affect the meaning or interpretation of any provision hereof; (i) unless otherwise provided, in the
calculation of time from a specified date to a later specified date, the term “from” means “from and
including”, and the terms “to” and “until” each means “to but excluding”; (j) terms in one gender include
the parallel terms in the neuter and opposite gender; and (k) the term “or” is not exclusive. Except as
otherwise expressly provided herein, all terms of an accounting or financial nature shall be construed in
accordance with GAAP, as in effect from time to time; provided, that if the Borrower notifies the
Administrative Agent that the Borrower requests an amendment to any provision hereof to eliminate the
effect of any change occurring after the Effective Date in GAAP or in the application thereof on the
operation of such provision (or if the Administrative Agent notifies the Borrower that the Lenders request
an amendment to any provision hereof for such purpose), regardless of whether any such notice is given
before or after such change in GAAP or in the application thereof, then such provision shall be interpreted
on the basis of GAAP as in effect and applied immediately before such change shall have become effective
until such notice shall have been withdrawn or such provision amended in accordance herewith.

        SECTION 1.03 Canadian References. Any term defined in this Agreement by reference to the
UCC shall also have any extended, alternative or analogous meaning given to such term in the PPSA and
under other Canadian laws (including, without limitation, the Securities Transfer Act, 2006 (Ontario), the
Bills of Exchange Act (Canada) and the Depository Bills and Notes Act (Canada)), in all cases for the
extension, preservation or betterment of the security and rights of the Secured Parties, (ii) all references in
this Agreement to a financing statement, continuation statement, amendment or termination statement shall
be deemed to refer also to the analogous documents used under the PPSA, including, without limitation,
where applicable, financing change statements and (iii) all references to federal or state securities law of
the United States shall be deemed to refer also to analogous federal, provincial and territorial securities
laws in Canada.

                                                ARTICLE II

                                        TERMS OF THE LOANS

        SECTION 2.01       Loans.

                 (a)     [Reserved].

                 (b)     [Reserved].



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                  (c)     Upon a request by the Borrower pursuant to Section 2,03. and on the terms and
subject to the conditions hereinafter set forth, each applicable DIP Term Lender shall, ratably in accordance
with its respective Loan Commitment Percentage (such amount, as the same may be reduced or increased
from time to time in accordance with this Agreement, being referred to herein as such DIP Term Lender's
"DIP Term Loan Commitment ), severally and not jointly, make DIP Term Loans in the aggregate
amount of up $19,500,000, to the Borrower from time to time during the period from the Effective Date to
the Commitment Termination Date; provided, that, up to $[            ] shall be available upon entry into the
Interim Order with the remaining DIP Term Loan Commitment becoming available upon the entry into the
Final Order. Under no circumstances shall any DIP Term Lender be obligated to make any such DIP Term
Loan if, after giving effect to such DIP Term Loan, the aggregate principal amount of all DIP Term Loans
extended pursuant to this Article II exceeds the DIP Term Loan Commitment or such DIP Term Lender's
share of such DIP Term Loan exceeds such DIP Term Lender's DIP Term Loan Commitment as of such
date. To the fullest extent consistent with applicable laws and regulations, all DIP Term Loans made under
this Section 2.01(c) shall constitute a single tranche and be fungible with each other. The Credit Parties
acknowledge and agree that neither the Borrower, Bird OpCo nor any other Credit Party has any defense,
counterclaim or setoff with respect to the payment thereof.

                (d)      The Borrower shall not have any right to reborrow any portion of the Loan that is
repaid or prepaid from time to time.

        SECTION 2.02 Rollup. Effective upon the occurrence of the Roll-Up Effective Time, without
any further action by any party to this Loan Agreement, the Bankruptcy Court or any other Person, to the
extent set forth in the Final Order:

                 (a)     all Pre-Petition Amendment No. 1 Obligations owing to the Secured Parties at the
Roll-Up Effective Time shall be rolled-up into and constitute Borrower Obligations hereunder and shall be
deemed loans made hereunder (such amounts, collectively, the “Rollup Amendment No. 1 Loans’ ) and
shall constitute a portion of the outstanding amount of the Borrower Obligations owing to the Secured
Parties hereunder. The amount of Rollup Amendment No. 1 Loans owing to each Lender under the Pre­
Petition Loan Agreement is referred to herein as such Lender's “Rollup Amendment No. 1 Commitment ”:
and

                 (b)     all Pre-Petition Bridge Obligations owing to each Secured Party at the Roll-Up
Effective Time shall be rolled-up into and constitute Borrower Obligations hereunder and shall be deemed
loans made hereunder (such amounts, collectively, the “Rollup Bridge Loans”) and shall constitute a portion
of the outstanding amount of the Borrower Obligations owing to the Secured Parties hereunder. The amount
of Rollup Bridge Loans owing to each Lender under the Pre-Petition Loan Agreement is referred to herein
as such Lender's “Rollup Bridge Commitment”.

        SECTION 2.03      Making of Loans; Repayment of Loans.

                  (a)     On the terms and subject to the conditions hereinafter set forth, each DIP Term
Loan hereunder shall be made on a Business Day upon the Borrower's prior written request to the
Administrative Agent (who shall promptly provide to each DIP Term Lender) in the form of a Loan Request
attached hereto as Exhibit A. Each such request for a DIP Term Loan shall be made no later than 2:00 p.m.
(New York City time) on the date that is two (2) Business Days prior to the date such requested DIP Term
Loan is to be made (it being understood that any such request made after such time shall be deemed to have
been made on the following Business Day) and shall specify the amount of the DIP Term Loan(s) requested
(which shall be in an amount not less than $500,000 and shall be an integral multiple of $100,000 in excess
thereof, or shall be in such lower amount as requested by the Borrower and agreed to by the Administrative
Agent in its sole discretion). On the date of each Loan specified in the applicable Loan Request, the DIP



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Term Lenders shall, upon satisfaction of the applicable conditions set forth in Article VI and pursuant to
the other conditions set forth in this Article II, make available to the Borrower in same day funds an
aggregate amount equal to the amount of such DIP Term Loans requested. All DIP Term Loan proceeds
shall be used for working capital and general corporate purposes of Parent or any of its Subsidiaries, in each
case in accordance with the Initial Approved Budget.

                 (b)      Each DIP Term Lender’s obligation shall be several, such that the failure of any
DIP Term Lender to make available to the Borrower any funds in connection with any DIP Term Loan shall
not relieve any other DIP Term Lender of its obligation, if any, hereunder to make funds available on the
date such DIP Term Loans are requested (it being understood that no DIP Term Lender shall be responsible
for the failure of any other DIP Term Lender to make funds available to the Borrower in connection with
any DIP Term Loan hereunder).

                (c)     The outstanding principal amount of all applicable DIP Term Loans shall become
immediately due and payable in full on the DIP Term Loan Maturity Date. The Borrower may also repay
the Loans in accordance with the terms of Section 2.03(e).

                 (d)     [Re served].

                 (e)     The Borrower may from time to time, with at least two (2) Business Days prior
delivery to the Administrative Agent of an appropriately completed Payment Certificate in the form
attached hereto as Exhibit D. prepay the Loans in whole or in part, without premium or penalty; provided,
however, that each such prepayment shall be in an amount equal to $100,000 or a higher integral multiple
of $25,000 and shall be accompanied by any accrued and unpaid Interest on the amount prepaid and any
applicable Fees. Principal payments shall continue in accordance with the Priority of Payments, except that
notwithstanding the Priority of Payments, at the direction of the Borrower, optional payments by the
Borrower may be applied first to the DIP Term Loans, second to the Rollup Amendment No. 1 Loans and
third to the Rollup Bridge Loans. The Administrative Agent shall distribute to the Lenders (ratably, based
on the amount then due and owing) any amounts received in respect of an optional prepayment in
accordance with this Section 2.03(e).

        SECTION 2.04       Interest and Fees.

                  (a)     The DIP Term Loans and, upon the Rollup Effective Time, the Rollup Loans, shall
accrue Interest on each day at the then applicable Interest Rate. The Borrower shall pay all Interest accrued
during each Interest Period on tenth day of each calendar month (or if such date is not a Business Day, then
on the next succeeding Business Day); provided that a portion of Interest equal to 9% per annum in respect
of the DIP Term Loans and the Rollup Loans shall be paid in kind on the tenth day of each calendar month
(or if such day is not a Business Day, on the next succeeding Business Day) by adding the amount thereof
to the principal balance of the DIP Term Loans or Rollup Loans (as applicable) and from and after such
time such amounts shall constitute principal for all amounts hereunder. Interest shall be paid in accordance
with the Priority of Payments.

                (b)      The Borrower shall pay to each DIP Term Lender and the Administrative Agent
certain fees (collectively, the “Fees”) in the amounts set forth in the fee letter agreements among the
Borrower, the Lenders, and the Administrative Agent (each as amended, restated, supplemented or
otherwise modified from time to time, a “Fee Letter”).

        SECTION 2.05 Records of Loans. Each Lender shall record in its records the date and amount
of the Loans made by such Lender hereunder, the Interest Rate with respect thereto, the Interest accrued
thereon, and each repayment and payment thereof. Subject to Section 14.03(b), such records shall be prima



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facie evidence of the existence and amount of the obligations recorded therein. The failure to so record any
 such information or any error in so recording any such information shall not, however, limit or otherwise
 affect the obligations of the Borrower hereunder or under the other Transaction Documents to repay to each
 Lender the Loans, together with all Interest accruing thereon, and all other Borrower Obligations.

        SECTION 2.06       Grant of Lien; Super Priority Nature of Obligations and Lenders’ Liens.

                  (a)     Grant of Lien. Each Credit Party, as collateral security for the prompt and
complete payment and performance when due (whether at stated maturity, by acceleration or otherwise) of
the Borrower Obligations, hereby mortgages, pledges and hypothecates to the Administrative Agent for the
benefit of the Secured Parties, and grants to the Administrative Agent, for the benefit of the Secured Parties,
a Lien on and security interest in, all of its right, title and interest in, to and under the Collateral of such
Credit Party, all as further provided in the DIP Orders.

                 (b)     Superpriority Claims. Each Credit Party hereby covenants, represents and
warrants that, upon entry of the Interim Order (and the Final Order, as applicable), the Borrower Obligations
will have superpriority administrative expense status as expressly set forth in the DIP Orders.

         SECTION 2.07 Guaranty. To induce the Lenders to make the Loans and each other Secured
Party to make credit available to or for the benefit of the Borrower, each Guarantor hereby, jointly and
severally, absolutely, unconditionally and irrevocably guarantees, as primary obligor and not merely as
surety, the full and punctual payment when due, whether at stated maturity or earlier, by reason of
acceleration, mandatory prepayment or otherwise in accordance with any Transaction Document or the DIP
Orders, of all the Borrower Obligations of the Borrower and the other Credit Parties whether existing on
the date hereof or hereinafter incurred or created (the “Guaranteed Obligations”). This guaranty by each
Guarantor hereunder constitutes a guaranty of payment and not of collection.

         SECTION 2.08 Contribution. To the extent that a Guarantor shall be required hereunder to pay
any portion of any Guaranteed Obligation exceeding the greater of (a) the amount of the value actually
received by such Guarantor and its Subsidiaries from the Loans and other Borrower Obligations and (b) the
amount such Guarantor would otherwise have paid if such Guarantor had paid the aggregate amount of the
Guaranteed Obligations (excluding the amount thereof repaid by such Guarantor that received the benefit
of the funds advanced that constituted Guaranteed Borrower Obligations) in the same proportion as such
Guarantor’s net worth on the date enforcement is sought hereunder bears to the aggregate net worth of all
Credit Parties on such date, then such Guarantor shall be reimbursed by such other Credit Parties for the
amount of such excess, pro rata, based on the respective net worth of such other Credit Parties on such date.

         SECTION 2.09 Authorization; Other Agreement. The Secured Parties are hereby authorized,
without notice to or demand upon any Guarantor and without discharging or otherwise affecting the
obligations of any Guarantor hereunder and without incurring any liability hereunder, from time to time, to
do each of the following:

               (a)      (i) subject to compliance, if applicable, with Section 14.01, modify, amend,
supplement or otherwise change, (ii) accelerate or otherwise change the time of payment or (iii) waive or
otherwise consent to noncompliance with, any Guaranteed Obligation or any Transaction Document;

                 (b)    apply to the Guaranteed Obligations any sums by whomever paid or however
realized to any Guaranteed Obligation in such order as provided in the Transaction Documents;

               (c)     refund at any time any payment received by any Secured Party in respect of any
Guaranteed Obligation;



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                  (d)     sell, exchange, enforce, waive, substitute, liquidate, terminate, release, abandon,
fail to perfect, subordinate, accept, substitute, surrender, exchange, affect, impair or otherwise alter or
release any Collateral for any Guaranteed Obligation or any other guaranty therefor in any manner, (ii)
receive, take and hold additional Collateral to secure any Guaranteed Obligation, (iii) add, release or
substitute any one or more other Credit Parties, makers or endorsers of any Guaranteed Obligation or any
part thereof and (iv) otherwise deal in any manner with the Borrower, maker or endorser of any Guaranteed
Obligation or any part thereof; and

                 (e)     settle, release, compromise, collect or otherwise liquidate the Guaranteed
Obligations.

        SECTION 2.10 Guaranty Absolute and Unconditional. Each Guarantor hereby waives and
agrees not to assert any defense, whether arising in connection with or in respect of any of the following or
otherwise, and hereby agrees that its guaranty obligations under this Agreement are irrevocable, absolute
and unconditional and shall not be discharged as a result of or otherwise affected by any of the following
(which may not be pleaded and evidence of which may not be introduced in any proceeding with respect to
this Agreement, in each case except as otherwise agreed in writing by the Administrative Agent):

                 (a)      the invalidity or unenforceability of any obligation of the Borrower or any other
Credit Party under any Transaction Document or any other agreement or instrument relating thereto
(including any amendment, consent or waiver thereto), or any security for, or other guaranty of, any
Guaranteed Obligation or any part thereof, or the lack of perfection or continuing perfection or failure of
priority of any security for the Guaranteed Obligations or any part thereof;

                 (b)   the absence of (i) any attempt to collect any Guaranteed Obligation or any part
thereof from the Borrower or any Guarantor or other action to enforce the same or (ii) any action to enforce
any Transaction Document or any Lien thereunder;

                 (c)     the failure by any Person to take any steps to perfect and maintain any Lien on, or
to preserve any rights with respect to, any Collateral;

                 (d)     any workout, insolvency, bankruptcy proceeding, reorganization, arrangement,
liquidation or dissolution by or against the Borrower or any Guarantor or any of the Borrower’s or any
Guarantor’s other Subsidiaries or any procedure, agreement, order, stipulation, election, action or omission
thereunder, including any discharge or disallowance of, or bar or stay against collecting, any Guaranteed
Obligation (or any interest thereon) in or as a result of any such proceeding;

                 (e)     any foreclosure, whether or not through judicial sale, and any other sale or other
disposition of any Collateral or any election following the occurrence of an Event of Default by any Secured
Party to proceed separately against any Collateral in accordance with such Secured Party’s rights under any
applicable Requirement of Law; or

                (f)      any other defense, setoff, counterclaim or any other circumstance that might
otherwise constitute a legal or equitable discharge of the Borrower or a Guarantor or any other Subsidiary
of a Borrower or any Guarantor, in each case other than the payment in full of the Guaranteed Obligations.

        SECTION 2.11 Waivers. Each Credit Party hereby unconditionally and irrevocably waives and
agrees not to assert any claim, defense, setoff or counterclaim based on diligence, promptness, presentment,
requirements for any demand or notice hereunder including any of the following: (a) any demand for
payment or performance and protest and notice of protest; (b) any notice of acceptance; (c) any presentment,
demand, protest or further notice or other requirements of any kind with respect to any Guaranteed



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Obligation (including any accrued but unpaid interest thereon) becoming immediately due and payable; and
(d) any other notice in respect of any Guaranteed Obligation or any part thereof, and any defense arising by
reason of any disability or other defense of the Credit Parties. Each Credit Party further unconditionally
and irrevocably agrees not to (x) enforce or otherwise exercise any right of subrogation or any right of
reimbursement or contribution or similar right against the Borrower or any other Credit Party by reason of
any Transaction Document or any payment made thereunder or (y) assert any claim, defense, setoff or
counterclaim it may have against any other Credit Party or set off any of its obligations to such other Credit
Party against obligations of such Credit Party to such Credit Party. No obligation of any Credit Party
hereunder shall be discharged other than by complete performance.

         SECTION 2.12 Reliance. Each Credit Party hereby assumes responsibility for keeping itself
informed of the financial condition of each other Credit Party and any other guarantor, maker or endorser
of any Guaranteed Obligation or any part thereof, and of all other circumstances bearing upon the risk of
nonpayment of any Guaranteed Obligation or any part thereof that diligent inquiry would reveal, and each
Credit Party hereby agrees that no Secured Party shall have any duty to advise any Credit Party of
information known to it regarding such condition or any such circumstances. In the event any Secured
Party, in its sole discretion, undertakes at any time or from time to time to provide any such information to
any Credit Party, such Secured Party shall be under no obligation to (a) undertake any investigation not a
part of its regular business routine, (b) disclose any information that such Secured Party, pursuant to
accepted or reasonable commercial finance or banking practices, wishes to maintain confidential or
(c) make any future disclosures of such information or any other information to any Credit Party.

                                               ARTICLE III

                                               [RESERVED]

                                               ARTICLE IV

                  SETTLEMENT PROCEDURES AND PAYMENT PROVISIONS

        SECTION 4.01       Priority of Payments.

                (a)     On each Payment Date, the Borrower shall pay to the Administrative Agent on
such Payment Date in the following order of priority and on any other date that the Administrative Agent
receives any payment or any proceeds of the Collateral, the Administrative Agent shall apply such amounts
in accordance with the below (the “Priority of Payments”):

                (i)      first, to the Administrative Agent, Lenders and Borrower Indemnified Parties on a
        pro rata basis, all accrued and unpaid expenses, costs, or indemnification amounts;

               (ii)    second, to payment of Attorney Costs of Lenders payable or reimbursable by the
        Borrower under this Agreement;

               (hi)      third, to the Administrative Agent, the Administrative Agent Fee, to the extent due
        and unpaid;

                 (iv)    fourth, to the Administrative Agent for distribution to the DIP Term Lenders
        (ratably, based on the amount then due and owing), all accrued and unpaid Interest due to each such
        DIP Term Lender for the immediately preceding Interest Period, plus, if applicable, the amount of
        any such Interest payable for any prior Interest Period to the extent such amount has not been




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        distributed to each such DIP Term Lender, and any interest accrued pursuant to Section 4.02(b). to
        the extent unpaid, in each case, unless such interest is permitted to be paid in kind hereunder;

                 (v)     fifth, to the Administrative Agent for distribution to the DIP Term Lenders
        (ratably, based on the amount then due and owing), to the outstanding principal amount of the DIP
        Term Loans;

                 (vi)    sixth, to the Administrative Agent for distribution to the Rollup Amendment No.
         1 Lenders (ratably, based on the amount then due and owing), all accrued and unpaid Interest due
        to each such Rollup Amendment No. 1 Lender for the immediately preceding Interest Period, plus,
        if applicable, the amount of any such Interest payable for any prior Interest Period to the extent
        such amount has not been distributed to each such Rollup Amendment No. 1 Lender, and any
        interest accrued pursuant to Section 4.02(b). to the extent unpaid, in each case, unless such interest
        is permitted to be paid in kind hereunder;

               (vii)   Seventh, to the Administrative Agent for distribution to the Rollup Amendment
        No. 1 Lenders (ratably, based on the amount then due and owing), to the outstanding principal
        amount of the Rollup Amendment No. 1 Loans;

                 (viii)  Eighth, to the Administrative Agent for distribution to the Rollup Bridge Lenders
        (ratably, based on the amount then due and owing), all accrued and unpaid Interest due to each such
        Existing Bridge Loan Lender for the immediately preceding Interest Period, plus, if applicable, the
        amount of any such Interest payable for any prior Interest Period to the extent such amount has not
        been distributed to each such Rollup Bridge Lender, and any interest accrued pursuant to Section
        4.02(b). to the extent unpaid, in each case, unless such interest is permitted to be paid in kind
        hereunder;

                 (ix)   Ninth, to the Administrative Agent for distribution to the Rollup Bridge Lenders
        (ratably, based on the amount then due and owing), to the outstanding principal amount of the
        Rollup Bridge Loans;

                (x)      Tenth, to the Administrative Agent for the distribution to the Lenders (ratably
        based on the amounts then due and owing) any other amounts owing with respect to each of the
        DIP Term Loans, Rollup Amendment No. 1 Loans and Rollup Bridge Loans, in each case to the
        extent constituting Borrower Obligations; and

                (xi)     Eleventh, the balance, if any, to be paid at the direction of the Borrower.

                 (b)      Notwithstanding anything to the contrary set forth in this Section 4,01. the
Administrative Agent shall have no obligation to distribute or pay any amount under this Section 4,01
except to the extent actually received by the Administrative Agent or available to the Administrative Agent.
All payments or distributions to be made by any Credit Party and any other Person to the Administrative
Agent or the Lenders (or their respective related Affected Persons and the Borrower Indemnified Parties),
shall be paid or distributed to the applicable party to which such amounts are owed.

                 (c)      If and to the extent the Administrative Agent, any Lender, any Affected Person or
any Borrower Indemnified Party shall be required for any reason to pay over to any Person (including any
Credit Party or any trustee, receiver, custodian or similar official in any Insolvency Proceeding) any amount
received on its behalf hereunder, such amount shall be deemed not to have been so received but rather to
have been retained by the Borrower and, accordingly, the Administrative Agent, such Lender, such Affected




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Person or such Borrower Indemnified Party, as the case may be, shall have a claim against the Borrower
for such amount.

        SECTION 4.02       Payments and Computations. Etc.

               (a)      All amounts payable to the Administrative Agent, any Lender, any Affected Person
or any Borrower Indemnified Party hereunder shall be paid no later than 2:00 p.m. (New York City time)
on the day when due in same day funds to the applicable party to which such amounts are due.

                 (b)     [Reserved.]

                 (c)      All computations of Interest, Fees and other amounts hereunder shall be made on
the basis of a year of 360 days for the actual number of days (including the first but excluding the last day)
elapsed. Whenever any payment or deposit to be made hereunder shall be due on a day other than a Business
Day, such payment or deposit shall be made on the next succeeding Business Day and such extension of
time shall be included in the computation of such payment or deposit.

                  (d)      All payments (including prepayments) to be made by each Credit Party on account
of principal, interest, fees and other amounts required hereunder shall be made without set-off, recoupment,
counterclaim or deduction of any kind, shall, except as otherwise expressly provided herein, be made to the
Administrative Agent (for the ratable account of the Persons entitled thereto) at the address for payment
specified in the signature page hereof in relation to the Administrative Agent (or such other address as the
Administrative Agent may from time to time specify), including payments utilizing the ACH system, and
shall be made in U.S. dollars and by wire transfer in immediately available funds (which shall be the
exclusive means of payment hereunder).

                                               ARTICLE V

                INCREASED COSTS; FUNDING LOSSES; TAXES; ILLEGALITY

        SECTION 5.01       Increased Costs.

                 (a)    Increased Costs Generally. If any Change in Law shall:

                (i)      impose, modify or deem applicable any reserve, special deposit, liquidity,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
        account of, or credit extended or participated in by, any Affected Person;

                 (ii)     subject any Affected Person to any Taxes (except to the extent such Taxes are (A)
        Indemnified Taxes for which relief is sought under Section 5,03, (B) Taxes described in clause (b)
        through (d) of the definition of Excluded Taxes or (C) Other Connection Taxes that are imposed
        on or measured by net income (however denominated) or that are franchise Taxes or branch profits
        Taxes; the Taxes described in this parenthetical, “Covered Taxes”) on its loans, loan principal,
        letters of credit, commitments or other obligations, or its deposits, reserves, other liabilities or
        capital attributable thereto; or

                (iii)    impose on any Affected Person any other condition, cost or expense (other than
        Taxes) (A) affecting the Collateral, this Agreement, any other Transaction Document, any Loan or
        any participation therein or (B) affecting its obligations or rights to make Loans;




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        and the result of any of the foregoing shall be to increase the cost to such Affected Person of (A)
acting as the Administrative Agent or a Lender hereunder, (B) funding or maintaining any Loan or (C)
maintaining its obligation to fund or maintain any Loan, or to reduce the amount of any sum received or
receivable by such Affected Person hereunder, then, upon request of such Affected Person, the Borrower
shall pay to such Affected Person such additional amount or amounts as will compensate such Affected
Person for such additional costs incurred or reduction suffered.

                  (b)     Capital Adequacy. If any Lender shall reasonably determine that any Change in
Law regarding capital adequacy, or the compliance by any Lender or any Person controlling such Lender
with any request, guideline or directive regarding capital adequacy (whether or not having the force of law)
of any such Governmental Authority, central bank or comparable agency adopted or otherwise taking effect
after the Effective Date, has or would have the effect of reducing the rate of return on such Lender’s or such
controlling Person’s capital as a consequence of such Lender’s obligations hereunder to a level below that
which such Lender or such controlling Person could have achieved but for such Change in Law or
compliance (taking into consideration such Lender’s or such controlling Person’s policies with respect to
capital adequacy) then from time to time, upon demand by such Lender (which demand shall be
accompanied by a certificate setting forth the basis for such demand and a calculation of the amount thereof
in reasonable detail, a copy of which shall be furnished to the Administrative Agent), the Borrower shall
promptly pay to such Lender such additional amount as will compensate such Lender or such controlling
Person for such reduction, so long as such amounts have accrued on or after the day which is two hundred
seventy (270) days prior to the date on which such Lender first made demand therefor.

                 (c)      [Reserved].

                  (d)       Certificates for Reimbursement. A certificate of an Affected Person setting forth
the amount or amounts necessary to compensate such Affected Person or its holding company, as the case
may be, as specified in clause (a), (b) or (c) of this Section and delivered to the Borrower, shall be conclusive
absent manifest error. The Borrower shall, subject to the priorities of payment set forth in Section 4,01.
pay such Affected Person the amount shown as due on any such certificate on the first Payment Date
occurring after the Borrower’s receipt of such certificate; provided, that any such certificate shall state the
basis upon which such amount has been calculated and certify that such Affected Person’s method of
allocation is not inconsistent with its method of allocation used for other trade receivable securitization
facilities or debt facilities which are subject to similar provisions for which reimbursement is being sought.

                 (e)     Delay in Requests. Failure or delay on the part of any Affected Person to demand
compensation pursuant to this Section shall not constitute a waiver of such Affected Person’s right to
demand such compensation; provided, that the Borrower shall not be required to compensate a Lender
pursuant to this Section 5,01 for any increased costs or reductions incurred more than 180 days prior to the
date that such Lender notifies the Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Lender’s intention to claim compensation therefor; provided, further, that if the
Change in Law giving rise to such increased costs or reductions is retroactive, then the 180 day period
referred to above shall be extended to include the period of retroactive effect thereof.

        SECTION 5.02        [Reserved],

        SECTION 5.03       Taxes.

                (a)     Payments Free of Taxes. All payments of principal and interest on the Loans and
all other amounts payable hereunder shall be made free and clear of and without deduction for Taxes, except
as required by Applicable Law. If any Applicable Law (as determined in the good faith discretion of an
applicable withholding agent) requires the deduction or withholding of any Tax from any such payment by



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the applicable withholding agent, then the applicable withholding agent shall be entitled to make such
deduction or withholding and shall timely pay the full amount deducted or withheld to the relevant
Governmental Authority in accordance with Applicable Law and if any such withholding or deduction is
in respect of any Indemnified Taxes, then the Borrower or other Credit Party shall pay such additional
amount or amounts as is necessary to ensure that the net amount actually received by the applicable Affected
Person will equal the full amount such Affected Person would have received had no such withholding or
deduction of Indemnified Taxes been required (including, without limitation, such withholdings and
deductions applicable to additional sums payable under this Section 5.03). After payment of any Tax by
the Borrower to a Governmental Authority pursuant to this Section 5,03, the Borrower shall promptly
forward to the Administrative Agent the original or a certified copy of an official receipt, a copy of the
return reporting such payment, or other documentation satisfactory to the Administrative Agent evidencing
such payment to such authority.

               (b)      Payment of Other Taxes by the Borrower. The Borrower shall timely pay to the
relevant Governmental Authority in accordance with Applicable Law, or, at the option of the
Administrative Agent, timely reimburse the Administrative Agent for the payment of, any Other Taxes.

                 (c)      Indemnification by the Borrower.          The Borrower shall indemnify the
Administrative Agent and the Lenders, within ten (10) days after demand thereof, for the full amount of
any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable to amounts
payable under this Section 5,03) payable or paid by the Administrative Agent or any Lender or required to
be withheld or deducted from a payment to the Administrative Agent or any Lender and any reasonable
expenses arising therefrom or with respect thereto, whether or not such Indemnified Taxes and Other Taxes
were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate in
reasonable detail as to the amount of such payment or liability delivered to the Borrower by a Lender (with
a copy to the Administrative Agent), or by the Administrative Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

                 (d)    Status of Lenders. Any Lender that is entitled to an exemption from or reduction
of withholding tax with respect to payments made under any Transaction Document shall deliver to the
Borrower and the Administrative Agent, at the time or times prescribed by Applicable Law or reasonably
requested by the Borrower or the Administrative Agent, such properly completed and executed
documentation reasonably requested by the Borrower or the Administrative Agent as will permit such
payments to be made without withholding or at a reduced rate of withholding. In addition, any Lender, if
reasonably requested by the Borrower or the Administrative Agent, shall deliver such other documentation
prescribed by Applicable Law or reasonably requested by the Borrower or the Administrative Agent as will
enable the Borrower or the Administrative Agent to determine whether or not such Lender is subject to
backup withholding or information reporting requirements. Notwithstanding anything to the contrary in
the preceding two sentences, the completion, execution and submission of such documentation (other than
such documentation set forth in Sections 5.03(d)(i), 5.03(d)(ii) and 5.03(f) below) shall not be required if
in such Lender’s reasonable judgment such completion, execution or submission would subject such Lender
to any material unreimbursed cost or expense or would materially prejudice the legal or commercial position
of such Lender.

                 (i)      Each Lender that is not a "United States person" (as such term is defined in Section
        770 l(a)(30) of the Code) for U.S. federal income tax purposes and is a party hereto on the Effective
        Date or purports to become an assignee of an interest pursuant to Section 14,03 after the Effective
        Date (unless such Lender was already a Lender hereunder immediately prior to such assignment)
        (each such Lender a “Foreign Lender”) shall, to the extent permitted by Applicable Law, execute
        and deliver to the Borrower and the Administrative Agent (in such number of copies as shall be
        requested by the recipient) on or prior to the date on which such Foreign Lender becomes a Lender



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under this Agreement (and from time to time thereafter upon the reasonable request of the Borrower
or the Administrative Agent) whichever of the following is applicable: (A) in the case of a Foreign
Lender claiming the benefits of an income tax treaty to which the United States is a party, (x) with
respect to payments of interest under any Transaction Document, two (2) properly completed and
executed copies of United States Internal Revenue Service (“IRS”) Forms W-8BEN or W-8BEN-
E (or successor form) establishing an exemption from, or reduction of, U.S. federal withholding
tax pursuant to the "interest" article of such tax treaty and (y) with respect to any other applicable
payments under any Transaction Documents, two (2) properly completed and executed copies of
IRS Forms W-8BEN or W-8BEN-E (or successor form) establishing an exemption from, or
reduction of, U.S. federal withholding tax pursuant to the "business profits" or "other income"
article of such tax treaty; (B) two (2) executed copies of Form W-8ECI (or successor form); (C) in
the case of a Foreign Lender claiming the benefits of the exemption for portfolio interest under
Section 881(c) of the Code, (x) a certificate substantially in the form of Exhibit G-l to the effect
that such Foreign Lender is not a "bank" within the meaning of Section 881(c)(3)(A) of the Code,
a "10 percent shareholder" of the Borrower within the meaning of Section 881(c)(3)(B) of the Code,
or a "controlled foreign corporation" described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
Compliance Certificate”) and (y) two (2) executed copies of IRS Forms W-8BEN or W-8BEN-E
(or successor form); (D) to the extent a Foreign Lender is not the beneficial owner, two (2) executed
copies of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form W-8BEN or W-
8BEN-E (or successor form), a U.S. Tax Compliance Certificate substantially in the form of Exhibit
G-2 or Exhibit G-3. IRS Form W-9 (or successor form), and/or other certification documents from
each beneficial owner, as applicable; provided, that if the Foreign Lender is a partnership and one
or more direct or indirect partners of such Foreign Lender are claiming the portfolio interest
exemption, such Foreign Lender may provide a U.S. Tax Compliance Certificate substantially in
the form of Exhibit G-4 on behalf of each such direct and indirect partner; or (E) other applicable
forms, certificates or documents prescribed by the IRS. Each Lender agrees that if any form or
certification it previously delivered expires or becomes obsolete or inaccurate in any respect, it
shall update such form or certification or promptly notify the Borrower and the Administrative
Agent in writing of its legal inability to do so. In addition, to the extent permitted by Applicable
Law, such forms shall be delivered by each Foreign Lender upon the obsolescence or invalidity of
any form previously delivered by such Foreign Lender. Each Foreign Lender shall promptly notify
the Borrower at any time it determines that it is no longer in a position to provide any previously
delivered certificate to the Borrower (or any other form of certification adopted by the U.S. taxing
authorities for such purpose).

         (ii)     Each Lender that is a "United States person" (as such term is defined in Section
7701(a)(30) of the Code) for U.S. federal income tax purposes and is a party hereto on the Effective
Date or purports to become an assignee of an interest pursuant to Section 14,03 after the Effective
Date (unless such Lender was already a Lender hereunder immediately prior to such assignment)
shall provide to the Borrower and the Administrative Agent on or prior to the date on which such
Lender becomes a Lender under this Agreement (and from time to time thereafter upon the
reasonable request of the Borrower or the Administrative Agent), a properly completed and
executed copy of IRS Form W-9 or any successor form certifying as to such Lender's entitlement
to an exemption from U.S. backup withholding and, to the extent permitted by Applicable Law,
other applicable forms, certificates or documents prescribed by the IRS or reasonably requested by
the Borrower or Administrative Agent. Each such Lender shall promptly notify the Borrower at
any time it determines that any certificate previously delivered to the Borrower (or any other form
of certification adopted by the U.S. governmental authorities for such purposes) is no longer valid.

       (iii)   Any Foreign Lender shall, to the extent it is legally entitled to do so, deliver to the
Borrower and the Administrative Agent (in such number of copies as shall be requested by the



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        recipient) on or prior to the date on which such Foreign Lender becomes a Lender under this
        Agreement (and from time to time thereafter upon the reasonable request of the Borrower or the
        Administrative Agent), executed copies of any other form prescribed by Applicable Law as a basis
        for claiming exemption from or a reduction in U.S. Federal withholding Tax, duly completed,
        together with such supplementary documentation as may be prescribed by Applicable Law to
        permit the Borrower or Administrative Agent to determine the withholding or deduction required
        to be made.

                (iv)    The Administrative Agent shall deliver to the Borrower, on or prior to the date on
        which it becomes a party to this Agreement, a duly completed IRS Form W-9, with the effect that
        the Borrower may make payments to the Administrative Agent, to the extent such payments are
        received by the Administrative Agent as an intermediary, without deduction or withholding of any
        Taxes imposed by the United States (and the Administrative Agent will serve as a U.S. withholding
        agent (and complete associated reporting responsibilities) with respect to Chapter 3 and Chapter 4
        withholding on amounts paid to the Administrative Agent in respect of the Loans (or any other
        amounts payable hereunder).

                 (e)     Treatment of Certain Refunds. If any Lender determines, in its sole discretion
exercised in good faith, that it has received a refund in respect of any Taxes as to which it has been
indemnified by the Borrower or other Credit Party pursuant to this Section 5,3 (including by the payment
of additional amounts pursuant to this Section 5,3), then it shall promptly pay an amount equal to such
refund to the Borrower or other Credit Party, net of all reasonable out-of-pocket expenses of such Lender
or of the Administrative Agent with respect thereto, including any Taxes; provided, however, that the
Borrower or other Credit Party, upon the written request of such Lender or the Administrative Agent, agrees
to repay any amount paid over to the Borrower or other Credit Party to such Lender or to the Administrative
Agent (plus any related penalties, interest or other charges imposed by the relevant Governmental
Authority) in the event such Lender or the Administrative Agent is required, for any reason, to disgorge or
otherwise repay such refund. Notwithstanding anything to the contrary in this Section 5,3, in no event will
the indemnified party be required to pay any amount to an indemnifying party pursuant to this Section
5.3(e) the payment of which would place the indemnified party in a less favorable net after-Tax position
than the indemnified party would have been in if the Tax subject to indemnification and giving rise to such
refund had not been deducted, withheld or otherwise imposed and the indemnification payments or
additional amounts with respect to such Tax had never been paid. This Section 5,3 shall not be construed
to require any indemnified party to make available its Tax returns (or any other information relating to its
Taxes that it deems confidential) to the indemnifying party or any other Person.

                  (f)    Documentation Required by FATCA. If a payment made to an Affected Person
under any Transaction Document would be subject to U.S. federal withholding tax imposed by FATCA if
such Affected Person were to fail to comply with the applicable reporting requirements of FATCA
(including those contained in Section 1471(b) or 1472(b) of the Code, as applicable), such Affected Person
shall deliver to the Borrower and the Administrative Agent at the time or times prescribed by Applicable
Law and at such time or times reasonably requested by the Borrower or Administrative Agent such
documentation prescribed by Applicable Law (including as prescribed by Section 1471 (b)(3)(C)(i) of the
Code) and such additional documentation reasonably requested by the Borrower or the Administrative
Agent as may be necessary for the Borrower and the Administrative Agent to comply with their obligations
under FATCA and to determine that such Affected Person has complied with its obligations under FATCA
or to determine the amount to deduct and withhold from such payment. Solely for purposes of this clause
(f), “FATCA” shall include any amendments made to FATCA after the date of this Agreement.

                (g)    Indemnification by the Lenders. Each Lender shall severally indemnify the
Administrative Agent, within ten (10) days after demand therefor, for (i) any Indemnified Taxes attributable



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to such Lender (but only to the extent that any Credit Party has not already indemnified the Administrative
Agent for such Indemnified Taxes and without limiting the obligation of the Credit Parties to do so), (ii)
any Taxes attributable to such Lender’s failure to comply with the provisions of Section 14.03(e) relating
to the maintenance of a Participant Register and (iii) any Excluded Taxes attributable to such Lender, in
each case, that are payable or paid by the Administrative Agent in connection with any Transaction
Document, and any reasonable expenses arising therefrom or with respect thereto, whether or not such
Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate
as to the amount of such payment or liability delivered to any Lender by the Administrative Agent shall be
conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off and
apply any and all amounts at any time owing to such Lender under any Transaction Document or otherwise
payable by the Administrative Agent to such Lender from any other source against any amount due to the
Administrative Agent under this paragraph (g).

                (h)    Survival. Each party’s obligations under Section 5.03(a) through (g) shall survive
the resignation or replacement of the Administrative Agent or any assignment of rights by, or the
replacement of, a Lender, and the repayment, satisfaction or discharge of all Borrower Obligations
hereunder.

                                              ARTICLE VI

                CONDITIONS TO EFFECTIVENESS AND CREDIT EXTENSIONS

        SECTION 6.01 Conditions Precedent to Effectiveness of this Agreement. This Agreement shall
be effective on the date (the “Effective Date”) on which the conditions precedent are satisfied:

                  (a)     Transaction Documents. The Administrative Agent shall have received on or
before the Effective Date all of the agreements, documents, instruments and other items set forth on the
closing checklist attached hereto as Exhibit J other than those that are specified therein as permitted to be
delivered after the Effective Date, each in form and substance reasonably satisfactory to the Administrative
Agent.

               (b)     Fees. The Credit Parties shall have executed and delivered the Fee Letters to the
Administrative Agent and the Lenders.

              (c)     No Litigation. There shall not exist any order, injunction or decree of any
Governmental Authority restraining or prohibiting the funding of the Loans hereunder.

               (d)     Debtor-in-Possession. Each of (i) Bird Global, Inc., (ii) Bird Rides, Inc., (iii) Bird
US Holdco, LLC, (iv) Bird US Opco, LLC, and (v) Skinny Labs, Inc. shall be a debtor and a debtor-in-
possession under Chapter 11 of the Bankruptcy Code.

               (e)     Interim Order. The Bankruptcy Court shall have entered the Interim Order, and
such Interim Order shall be in full force and effect and shall not have been stayed, vacated, reversed,
amended or otherwise modified without the prior written consent of the Administrative Agent and the
Required DIP Lenders in their sole discretion.

                (f)      No Other Relief No motion, pleading or application seeking relief affecting the
provision of the financing contemplated hereunder shall have been filed in the Bankruptcy Court by any
Credit Party without the prior written consent of the Administrative Agent in its sole discretion.




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                (g)     Cash Management Order. The Bankruptcy Court shall have entered a cash
management order in form and substance reasonably acceptable to the Administrative Agent no later than
two (2) Business Days after the Petition Date, and such order shall be in full force and effect and shall not
have been stayed, vacated, reversed, amended or otherwise modified without the prior written consent of
the Administrative Agent in its sole discretion.

                   (h)     Payment of Pre-Petition Interest and Fees. The Administrative Agent shall have
received evidence reasonably satisfactory to the Administrative Agent that the Credit Parties have paid in
full all pre-petition interest and pre-petition fees that have accrued pursuant to the Pre-Petition Transaction
Documents but remain unpaid and for which payment thereof is provided for in the Approved Budget.

                 (i)     Initial Approved Budget. The Administrative Agent and Lenders shall have
received the initial 13-week cash flow budget, attached as Exhibit A to the Interim Order, setting forth, on
a weekly and a line-item basis, in each case as required by the Interim Order (i) projected cash receipts and
(ii) projected disbursements and the amount of ordinary course operating expenses, bankruptcy-related
expenses under the Chapter 11 Cases (including professional fees of the Credit Parties with respect thereto),
capital expenditures, asset sales, and estimated fees and expenses of the Administrative Agent (including
fees and expenses of its legal counsel and financial advisors), estimated fees and expenses of the Pre­
Petition Agent and Pre-Petition Lenders (including fees and expenses of their legal counsel and financial
advisors), estimated fees and expenses of the members of any statutory committee and any professionals
engaged by any such statutory committee) and any other fees and expenses relating to this Agreement or
the other Transaction Documents), in each case for each week from the first day of the week in which the
Petition Date occurs through the last day of the week that is 13 weeks thereafter, to be attached to the
Interim Order which shall be in form and substance satisfactory to the Agent and Required DIP Lenders
(the “Initial Approved Budget”).

                 (j)     DIP Order Conditions. All other conditions to borrowing in the Interim Order shall
have been satisfied.

               (k)    Second Lien DIP Loan Agreement. The Borrower shall have executed and
delivered the Second Lien DIP Loan Agreement and provided a copy of such agreement to the
Administrative Agent.

               (l)     Asset Purchase Agreement. The Administrative Agent shall have received an
executed copy of the Asset Purchase Agreement in form and substance satisfactory to the Required DIP
Lenders.

                (m)    Restructuring Support Agreement. The Administrative Agent shall have received
Restructuring Support Agreement in form and substance satisfactory to the Required DIP Lenders.

       SECTION 6.02 Conditions Precedent to Each Credit Extension.                 Each Credit Extension
hereunder on or after the Effective Date shall be subject to the conditions precedent that:

               (a)    the Borrower shall have delivered to the Administrative Agent a Loan Request for
such Loan in accordance with Section 2.03(a).

                  (b)    the conditions precedent to such Credit Extension specified in Section 2,03 shall
be satisfied;




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                (c)     on the date of such Credit Extension the following statements shall be true and
correct (and upon the occurrence of such Credit Extension, the Credit Parties shall be deemed to have
represented and warranted that such statements are then true and correct):

                 (i)     any representation or warranty by any Credit Party contained herein or in any other
        Transaction Document is untrue or incorrect in any material respect (without duplication of any
        materiality qualifier contained therein) as of such date, except to the extent that such representation
        or warranty expressly relates to an earlier date (in which event such representations and warranties
        were untrue or incorrect in any material respect (without duplication of any materiality qualifier
        contained therein) as of such earlier date), and Administrative Agent or Required DIP Lenders have
        determined not to make such DIP Term Loan as a result of the fact that such representation or
        warranty is untrue or incorrect in any material respect (without duplication of any materiality
        qualifier contained therein);

                (ii)    the Borrower will use the proceeds of the Credit Extension solely in accordance
        with Section 2.03(a) of this Agreement; and

               (iii)   no Default or Event of Default has occurred and is continuing or would result
        immediately after giving effect to any DIP Term Loan.

                 (d)     (i) if such date is on or after the Interim Period Outside Date, the Bankruptcy Court
shall not have entered the Final Order, (ii) if the Interim Order has expired, the Bankruptcy Court shall not
have entered the Final Order, (iii) the Interim Order or the Final Order, as the case may be, shall have been
vacated, stayed, reversed, modified or amended without the Administrative Agent’s and Required DIP
Lenders’ consent or shall otherwise not be in full force and effect or (iv) the Interim Order or the Final
Order, as the case may be, in any respect shall be the subject of a stay pending either appeal or a motion for
reconsideration thereof.

                (e)     for any DIP Term Loan to be made prior to the entry of the Final Order, the
outstanding principal amount of the DIP Term Loans (after giving effect to the amount of the requested
DIP Term Loan) will not exceed the amount permitted by the Interim Order.

                (f)     the proceeds of any requested DIP Term Loan shall be necessary to be drawn in
order to comply with the Approved Budget.

              (g)     no less than $5,600,000 shall have been advanced to the Borrower pursuant to the
Second Lien DIP Loan Agreement.

                                              ARTICLE VII

                              REPRESENTATIONS AND WARRANTIES

        SECTION 7.01 Representations and Warranties of the Credit Parties. On the Effective Date and
on each date on which representations and warranties are required to be made hereunder, the Credit Parties
party hereto represent and warrant to the Administrative Agent and each Lender:

                  (a)    Organization and Good Standing. Parent and each of its Subsidiaries is an entity
duly organized and validly existing and in good standing under the laws of the jurisdiction of its
organization and has full power and authority under its organizational documents and under the laws of the
jurisdiction of its organization to own its properties and to conduct its business as such properties are
currently owned and such business is presently conducted.



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                 (b)     Due Qualification. Parent and each of its Subsidiaries is duly qualified to do
business as a limited liability company and has obtained all necessary licenses and approvals in all
jurisdictions in which the conduct of its business requires such qualification, licenses or approvals, except
where the failure to do so could not reasonably be expected to have a Material Adverse Effect.

                  (c)    Power and Authority; Due Authorization. Each Credit Party (i) has all necessary
limited liability company power and authority to (A) execute and deliver this Agreement and the other
Transaction Documents to which it is a party, (B) perform its obligations under this Agreement and the
other Transaction Documents to which it is a party and (C) grant a security interest in the Collateral to the
Administrative Agent on the terms and subject to the conditions herein provided and (ii) has duly authorized
by all necessary limited liability company action such grant and the execution, delivery and performance
of, and the consummation of the transactions provided for in, this Agreement and the other Transaction
Documents to which it is a party.

                 (d)     Binding Obligations.     This Agreement and each of the other Transaction
Documents to which each Credit Party is a party, when executed and delivered by such Credit Party and
each other party thereto, will constitute legal, valid and binding obligations of such Credit Party,
enforceable against such Credit Party in accordance with their respective terms, except (i) as such
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or other
similar laws affecting the enforcement of creditors’ rights generally and (ii) as such enforceability may be
limited by general principles of equity, regardless of whether such enforceability is considered in a
proceeding in equity or at law.

                  (e)      No Conflict or Violation. The execution, delivery and performance of, and the
consummation of the transactions contemplated by, this Agreement and the other Transaction Documents
to which each Credit Party is a party, and the fulfillment of the terms hereof and thereof, will not (i) conflict
with, result in any breach of any of the terms or provisions of, or constitute (with or without notice or lapse
of time or both) a default under its organizational documents, any Government Approval, or any indenture,
sale agreement, credit agreement, loan agreement, security agreement, mortgage, deed of trust, or other
agreement or instrument to which such Credit Party is a party or by which it or any of its properties is
bound, (ii) result in the creation or imposition of any Adverse Claim upon any of the Collateral pursuant to
the terms of any such indenture, credit agreement, loan agreement, security agreement, mortgage, deed of
trust, or other agreement or instrument other than this Agreement and the other Transaction Documents or
(iii) conflict with or violate any Applicable Law, except in the case of each of the foregoing clauses (i)
through (iii) to the extent that any such conflict, breach, default, Adverse Claim or violation, as applicable,
could not reasonably be expected to have a Material Adverse Effect.

                  (f)     Litigation and Other Proceedings, (i) There is no action, suit, proceeding or
investigation pending or, to the knowledge of the Credit Parties, threatened in writing, against Parent or any
of its Subsidiaries before any Governmental Authority and (ii) none of the Parent or any of its Subsidiaries
is subject to any order, judgment, decree, injunction, stipulation or consent order of or with any
Governmental Authority that, in the case of either of the foregoing clauses (i) and (ii), (A) asserts the
invalidity or unenforceability of this Agreement, any other Transaction Document or any Pre-Petition
Transaction Document, (B) seeks to prevent the grant of a security interest in any of the Collateral by any
Credit Party to the Administrative Agent, the ownership or acquisition by any Credit Party of any Collateral,
or the consummation of any of the transactions contemplated by this Agreement, any other Transaction
Document or any Pre-Petition Transaction Document, (C) other than to the extent disclosed to the
Administrative Agent on or prior to the Effective Date, seeks any determination or ruling that could
materially and adversely affect the performance by any of the Credit Parties of its obligations under this
Agreement, any other Transaction Document or any Pre-Petition Transaction Document or (D) other than
to the extent disclosed to the Administrative Agent on or prior to the Effective Date, individually or in the



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aggregate for all such actions, suits, proceedings and investigations could reasonably be expected to have
a Material Adverse Effect.

                  (g)    Government Approvals. Except where the failure to obtain or make such
authorization, consent, order, approval or action could not reasonably be expected to have a Material
Adverse Effect, all authorizations, consents, orders and approvals of, or other actions by, any Governmental
Authority that are required to be obtained by the Credit Parties in connection with the operation of its
scooters, including, without limitation, any applicable Government Approvals (including the entry by the
Bankruptcy Court of the Interim Order (or the Final Order) when applicable), the grant of a security interest
to the Administrative Agent under the Pre-Petition Transaction Documents or the due execution, delivery
and performance by the Credit Parties of this Agreement or any other Transaction Document to which they
are a party and the consummation by the Credit Parties of the transactions contemplated by this Agreement
and the other Transaction Documents to which they are a party have been obtained or made and are in full
force and effect.

                (h)      Margin Regulations. The Credit Parties are not engaged, principally or as one of
their important activities, in the business of extending credit for the purpose of purchasing or carrying
margin stock (within the meanings of Regulations T, U and X of the Board of Governors of the Federal
Reserve System). No part of the proceeds of the Loans made to any Credit Party will be used to purchase
or carry any such margin stock or to extend credit to others for the purpose of purchasing or carrying any
such margin stock or for any purpose that violates, or is inconsistent with, the provisions of Regulation T,
U, or X of the Board of Governors of the Federal Reserve System.

                (i)      [reserved].

                (j)      [reserved].

                (k)      Investment Company Act; Volcker Rule. None of the Credit Parties (i) is, and is
not controlled by, an “investment company” registered or required to be registered under the Investment
Company Act and (ii) is a “covered fund” under the Volcker Rule.

                (1)      [reserved].

                 (m)      Accuracy of Information. All written information (including Loan Requests,
certificates, reports, statements, and other documents) (other than forward looking information and
information of a general economic nature or general industry nature) furnished to the Administrative Agent
or any Lender by or on behalf of a Credit Party pursuant to any provision of this Agreement or any other
Transaction Document, or in connection with or pursuant to any amendment or modification of, or waiver
under this Agreement or any other Transaction Document, is at the time the same are so furnished (or as of
any earlier date or later date (in the case of any certifications in any Loan Request to be made on the date
the related Credit Extension is made) specified therein), when taken as a whole, true and correct in all
material respects on the date the same are furnished to the Administrative Agent or such Lender (or, in the
case of any certifications in any Loan Request to be made on the date the related Credit Extension is made,
on the date such Credit Extension is made), and does not contain any material misstatement of fact or omit
to state a material fact or any fact necessary to make the statements contained therein not misleading in
light of the circumstances in which such statements are made. Any forward looking information and
information of a general economic nature prepared by or on behalf of the Credit Parties or any of their
respective representatives and that have been made available to the Administrative Agent or any Lender in
connection with the Transaction Documents have been prepared in good faith based upon assumptions
believed by such Credit Party to be reasonable (it being understood that such forward looking information
are as to future events and are not to be viewed as facts, such forward looking information is subject to



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significant uncertainties and contingencies and that actual results during the period or periods covered by
any such forward looking information may differ significantly from the projected results, and that no
assurance can be given that the projected results will be realized) as of the date such forward looking
information is furnished to the Administrative Agent or such Lender.

                  (n)     Anti-Money Laundering/Intemational Trade Law Compliance. None of the Credit
Parties and, to the knowledge of the Credit Parties, none of their Affiliates (i) is in violation of any Anti­
Terrorism Law, (ii) engages in or conspires to engage in any transaction that violates or attempts to violate,
any of the prohibitions set forth in any Anti-Terrorism Law, (iii) is a Sanctioned Person, or is controlled by
a Sanctioned Person, (iv) is acting or will act for or on behalf of a Sanctioned Person, (v) is associated with,
or will become associated with, a Sanctioned Person or (vi) is providing, or will provide, material, financial
or technical support or other services to or in support of acts of terrorism of a Sanctioned Person. No Credit
Party nor, to the knowledge of any Credit Party, any of their Affiliates or agents acting or benefiting in any
capacity in connection with the transactions contemplated by this Agreement, (A) conducts any business or
engages in making or receiving any contribution of funds, goods or services to or for the benefit of any
Sanctioned Person, or (B) deals in, or otherwise engages in any transaction relating to, any property or
interest in property blocked pursuant to Executive Order No. 13224, any similar executive order or other
Anti-Terrorism Law.

                 (o)      [Reserved].

                 (p)      [Reserved].

                 (q)      [Reserved].

              (r)      Compliance with Law. Parent and its Subsidiaries have complied with all
Applicable Laws to which each of them may be subject, except where any such failure to comply with
Applicable Laws could not reasonably be expected to have a Material Adverse Effect.

                (s)     Bulk Sales Act. No transaction contemplated by this Agreement requires
compliance by it with any bulk sales act or similar law.

                   (t)     Taxes. Except as disclosed to the Administrative Agent prior to the Effective Date,
the Credit Parties have (i) timely filed all material tax returns (federal, state and local) required to be filed
by them, (ii) paid, or caused to be paid, all material taxes, assessments and other governmental charges, if
any, other than taxes, assessments and other governmental charges being contested in good faith by
appropriate proceedings and as to which adequate reserves have been provided in accordance with GAAP,
and (iii) paid all fees and expenses required to be paid by it in connection with the conduct of its business,
the maintenance of its existence and its qualification to do business in each state in which it is required to
so qualify, except with respect to this clause (iii), where any such failure to pay such fees and expenses
could not reasonably be expected to have a Material Adverse Effect.

                (u)     No Default. No Default or Event of Default exists or would result from the
incurring of any Borrower Obligations by any Credit Party or the grant or perfection of Administrative
Agent’s Liens on the Collateral, except for Defaults and Events of Default occasioned by the filing of the
Chapter 11 Cases and Defaults and Events of Default resulting from obligations with respect to which the
Bankruptcy Code prohibits the Credit Parties from complying or permits the Credit Parties not to comply.
No Credit Party and no Subsidiary of any Credit Party is in default under or with respect to any Contractual
Obligation in any respect which, individually or together with all such defaults, would reasonably be
expected to have a Material Adverse Effect, except for Defaults and Events of Default resulting from




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obligations with respect to which the Bankruptcy Code prohibits the Credit Parties from complying or
permits the Credit Parties not to comply.

                 (v)     Bankruptcy Matters.

                (i)      The Chapter 11 Cases were commenced on the Petition Date in accordance with
        applicable law and proper notice thereof and the proper notice, to the extent given or required to be
        given prior to the date hereof, was given for (x) the motions seeking approval of the Transaction
        Documents and the Interim Order and Final Order, (y) the hearings for the approval of the Interim
        Order, and (z) the hearings for the approval of the Final Order.

                (ii)    From and after the entry of the Interim Order, and pursuant to and to the extent
        permitted in the Interim Order and the Final Order, the Borrower Obligations will constitute
        allowed administrative expenses in the Chapter 11 Cases having priority over all administrative
        expenses and unsecured claims against the Credit Parties as set forth in the DIP Orders.

                (hi)    From and after the entry of the Interim Order and pursuant to and to the extent
        provided in the Interim Order and the Final Order, the Borrower Obligations will be secured by a
        valid and perfected first priority lien on all of the Collateral, subject, as to priority only, to the
        Carve-Out and the Pre-Petition Prior Liens, as set forth in the DIP Orders.

                 (iv)    The Interim Order (with respect to the period prior to entry of the Final Order) or
        the Final Order (with respect to the period on and after entry of the Final Order), as the case may
        be, is in full force and effect has not been reversed, stayed, modified or amended without the
        Administrative Agent’s and Required DIP Lenders’ consent in their sole discretion.

                 (w)     Other Transaction Documents. Each representation and warranty made by the
Credit Parties under each other Transaction Document to which it is a party is true and correct in all material
respects as of the date when made.

                                              ARTICLEVIII

                                               COVENANTS

         SECTION 8.01 Affirmative Covenants of the Credit Parties. At all times from the Effective Date
until the Final Payout Date:

                 (a)     Payment of Principal and Interest. The Borrower shall duly and punctually pay
Interest, Fees, principal of the Loans, and all other amounts payable by the Borrower hereunder in
accordance with the terms of this Agreement.

                 (b)      Existence. Parent shall, and shall cause each of its Subsidiaries to, keep in full
force and effect its existence and rights as a duly organized entity under applicable law, and shall obtain
and preserve its qualification to do business in each jurisdiction in which such qualification is or shall be
necessary to protect the validity and enforceability of this Agreement, the other Transaction Documents
and the Collateral, except where failure to maintain such qualification could not reasonably be expected to
have a Material Adverse Effect.




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                 (c)     Financial Reporting. Parent shall furnish to the Administrative Agent:

                 (i)     [reserved];

                 (ii)    Quarterly Reporting, within forty-five (45) days after the end of each fiscal quarter
        of each fiscal year of Parent, commencing with the fiscal quarter ending December 31, 2023, a
        consolidated balance sheet of Parent and its Subsidiaries as at the end of such fiscal quarter, and
        the related consolidated statements of income or operations and cash flows for such fiscal quarter
        and for the portion of the fiscal quarter then ended and setting forth in comparative form the figures
        for such fiscal quarter and the annual budget for the related fiscal year, and, setting forth in each
        case in comparative form the figures for the corresponding fiscal quarter of the previous fiscal year
        and the corresponding portion of the previous fiscal year, all in reasonable detail (together with, in
        all cases, customary management discussion and analysis) and certified by a responsible officer of
        Parent as fairly presenting in all material respects the financial position, results of operations and
        cash flows of Parent and its Subsidiaries on a consolidated basis in accordance with GAAP, subject
        only to year-end audit adjustments and the absence of footnotes;

                (iii)    Monthly Reporting, within thirty (30) days after the end of each of the first two
        months of each fiscal quarter of Parent, commencing with the month ending November 30, 2023,
        a consolidated balance sheet of Parent and its Subsidiaries as at the end of such month, and the
        related consolidated statements of income or operations and cash flows for such month, all in
        reasonable detail and certified by a responsible officer of Parent as fairly presenting in all material
        respects the financial position, results of operations and cash flows of Parent and its Subsidiaries
        on a consolidated basis in accordance with GAAP, subject only to year-end audit adjustments and
        the absence of footnotes;

                 (iv)    Compliance Certificate, concurrently with the financial statements referred to in
        the foregoing clauses (i) - (iii), a fully and properly completed certificate in the form of Exhibit H
        (a “Compliance Certificate”), certified on behalf of the Parent by a Responsible Officer of Parent,
        in each instance, as of the last day of the period covered by such financial statements;

                 (v)     Liquidity, on each Wednesday following the Effective Date (commencing with
        December 22, 2023, each such weekly period, a “Budget Testing Period”) (each such Wednesday,
        a “Liquidity Reporting Date”), a thirteen (13) week cash flow forecast on a consolidated basis of
        the Credit Parties and their Subsidiaries (each, a “Cash Forecast”) (commencing with the week in
        which such cash flow forecast is delivered to the Administrative Agent), which shall (i) be in form
        and detail reasonably satisfactory to the Administrative Agent, (ii) reflect the Credit Parties’ good
        faith projection of all weekly cash receipts and disbursements in connection with the operation of
        their business for the relevant thirteen-week period, (iii) include a summary of description of
        variance for cash receipts and disbursements as compared to the Cash Forecast delivered on the
        preceding Liquidity Reporting Date and (iv) include the calculation of Liquidity as of the
        immediately preceding Friday;

                (vi)    Other Information.     Such other non-privileged information (including non-
        financial information) as the Administrative Agent or any DIP Term Lender may from time to time
        reasonably request to the extent such information is not otherwise already provided to the
        Administrative Agent or DIP Term Lenders pursuant to a report or covenant set forth herein.

                 (d)     Notices. Each Credit Party party hereto (or the Parent on its behalf) will notify the
Administrative Agent and each Lender in writing of any of the following events promptly upon (but in no
event later than three (3) Business Days after) a Financial Officer leams of the occurrence thereof, with



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such notice describing the same, and if applicable, the steps being taken by the Person(s) affected with
respect thereto; provided, that notice delivered by any Credit Party (notwithstanding the requirement below
as to delivery from the Borrower or officer thereof) as to a given event shall be deemed to satisfy such
requirement:

                 (i)    Notice of Events of Default. Any Event of Default or Potential Event of Default
        that has occurred and is continuing.

               (ii)    Representations and Warranties. The failure of any representation or warranty
        made or deemed to be made by any of the Credit Parties under this Agreement or any other
        Transaction Document to be true and correct in any material respect when made.

                (hi)     Litigation.     The institution of any litigation, arbitration proceeding, or
        governmental proceeding with respect to any Credit Party, provided that notice is only required to
        the extent such litigation, arbitration proceeding, or governmental proceeding could reasonably be
        expected to have a Material Adverse Effect if adversely determined, or is a governmental
        proceeding involving a monetary claim to the extent the claimed amount is $500,000 or more.

                (iv)     (reservedl.

                (v)       Change in Accountants or Accounting Policy. Any change in (A) the external
        accountants of any Credit Party or (B) any material accounting policy of any Credit Party that is
        relevant to the transactions contemplated by this Agreement or any other Transaction Document.

               (vi)    Note Documents. The (x) occurrence of any Default or Event of Default under the
        Note Documents (each as defined therein), (y) notice of any material amendment to any Note
        Document and (z) any material notice, waiver, consent, modification, amendment or other material
        information delivered to the Note Agent or the Purchasers (as defined in the Note Purchase
        Agreement).

                 (vii)    DIP Reports. As soon as available, but not later than the date such reports or
        certificates are required to be delivered pursuant to the terms of the DIP Orders, copies of all other
        reports and certificates required to be delivered by the Credit Parties pursuant to the terms of the
        DIP Orders.

                (viii)  Second Lien DIP Loan Documents. The (x) occurrence of any Default or Event
        of Default under the Second Lien DIP Loan Agreement (each as defined therein), (y) notice of any
        material amendment to any Second Lien DIP Loan Document and (z) any material notice, waiver,
        consent, modification, amendment or other material information delivered to the Second Lien DIP
        Agent or the Second Lien DIP Lenders.

                (e)    Compliance with Laws. Parent shall, and shall cause each of its Subsidiaries to,
comply with all Applicable Laws to which they may be subject if the failure to comply could reasonably
be expected to have a Material Adverse Effect.

                  (f)     Lumishing of Information and Inspection of Records. The Credit Parties party
hereto will (and will cause the other Credit Parties to), at the Credit Parties’ expense, (i) permit the
Administrative Agent and each Lender or their respective agents or representatives to (A) examine and
make copies of and abstracts from all books and records relating to the Collateral, (B) visit the offices and
properties of the Credit Parties for the purpose of examining such books and records and (C) discuss matters
relating to the Collateral or the Credit Parties’ performance hereunder or under the other Transaction



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Documents with any of the senior management of the Credit Parties having knowledge of such matters,
(ii) without limiting the provisions of clause (i) above, at the Credit Parties’ expense, permit certified public
accountants or other auditors acceptable to the Administrative Agent to conduct a review of its books and
records with respect to the Collateral; provided, that neither the Administrative Agent nor any accountants
or auditors engaged by the Administrative Agent shall be entitled to take copies, extracts, or photos of any
information that contains trade secrets, is subject to legal privilege, or is otherwise of strategic importance
to the business of the Parent and its Subsidiaries, in each case, as determined by the Borrower acting
reasonably and in good faith and (hi) cause each of its officers, directors, employees, attorneys and advisors
to fully cooperate with the Administrative Agent in regards to any inspection, examination, audit or records
request made by the Administrative Agent or any of its Affiliates.

                  (g)     Use of Proceeds. The Borrower shall use the proceeds of the Loans and the
proceeds of the Collateral solely for (i) working capital (excluding capital expenditures) to the extent set
forth in, and in accordance with, the Approved Budget, (ii) maintenance capital expenditures to the extent
set forth in, and in accordance with, the Approved Budget, (hi) payment of costs of administration of the
Chapter 11 Cases to the extent set forth in, and in accordance with, the Approved Budget, (iv) Permitted
Expenses, (v) the unpaid fees, costs, and disbursements of professionals in the Chapter 11 Cases as set forth
in the definition of the term “Carve-Out” in the DIP Order, (vi) such Pre-Petition Obligations as the
Administrative Agent consents to and the Bankruptcy Court approves, in each case in a manner consistent
with the terms and conditions contained herein and in the DIP Orders, and to the extent set forth, and in
accordance with, the Approved Budget, or as otherwise expressly permitted under this Agreement and (vii)
the roll-up of the Pre-Petition Obligations upon entry of the Final Order as contemplated herein and in the
DIP Orders.

                 (h)      [Reserved]

                 (i)      [Reserved].

                (j)      Books and Records. The Borrower shall maintain and implement (or cause the
Parent to maintain and implement) administrative and operating procedures, and keep and maintain (or
cause the Parent to keep and maintain) all documents, books and records and other information reasonably
necessary or advisable in connection with the operation of its business.

                  (k)       Security Interest. Etc. The Credit Parties will (and will cause the Parent and the
other Credit Parties to), at their expense, take all action necessary to establish and maintain a valid and
enforceable first priority perfected security interest in the Collateral, in each case free and clear of any
Adverse Claim except for Liens permitted to exist under this Agreement or the other Transaction
Documents, in favor of the Administrative Agent (on behalf of the Secured Parties), including taking such
action to perfect, protect or more fully evidence the security interest of the Administrative Agent (on behalf
of the Secured Parties) as the Administrative Agent or any Secured Party may reasonably request, in each
case consistent with the terms of this Agreement or the other Transaction Documents. In order to evidence
the security interests of the Administrative Agent under this Agreement, the Credit Parties party hereto shall
(and shall cause the other Credit Parties to), from time to time take such action, or execute and deliver such
instruments as may be necessary (including, without limitation, such actions as are reasonably requested
by the Administrative Agent) to maintain and perfect, as a first-priority interest, the Administrative Agent’s
security interest in the Collateral. The Credit Parties party hereto shall (and shall cause the other Credit
Parties to), from time to time and within the time limits established by law, prepare and present to the
Administrative Agent for the Administrative Agent’s authorization and approval, all financing statements,
amendments, continuations or initial financing statements in lieu of a continuation statement, or other
filings necessary to continue, maintain and perfect the Administrative Agent’s security interest as a first-
priority interest. The Administrative Agent’s approval of such filings shall authorize the Credit Parties to



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file such financing statements under the UCC without the signature of the Credit Parties or the
Administrative Agent where allowed by Applicable Law. Notwithstanding anything else in the Transaction
Documents to the contrary, the Credit Parties shall not have any authority to file a termination, partial
termination, release, partial release, or any amendment that deletes the name of a debtor or excludes
collateral of any such financing statements filed in connection with the Transaction Documents, without
the prior written consent of the Administrative Agent.

                (l)     Certain Agreements. Without the prior written consent of the Administrative
Agent and the Lenders, the Credit Parties will not (and will not permit the Parent or the other Credit Parties
to) (x) amend, modify, waive, revoke or terminate any Transaction Document or any provision of their
organizational documents, or (y) exercise any remedies in respect of the Transaction Documents.

                 (m)      [reservedl.

                 (n)      [reservedl.

                 (o)     Change in Nameor Jurisdiction of Origination, etc.

                (i)     The Credit Parties shall not (nor shall they allow any other Credit Party to) take
        any action to change their jurisdiction of organization.

                 (ii)     The Credit Parties will not (nor will they allow any other Credit Party to) change
        their respective name, location, identity or corporate structure unless (w) such Credit Party provides
        the Administrative Agent and Lenders at least thirty (30) days prior notice thereof, (x) such Credit
        Party, at its own expense, shall have taken all action necessary to perfect or maintain the perfection
        of the security interest under this Agreement (including, without limitation, the filing of all
        financing statements and the taking of such other action as the Administrative Agent may request
        in connection with such change or relocation), (y) the Administrative Agent and the Lenders have
        consented thereto in writing, and (z) if requested by the Administrative Agent, such Credit Party
        shall cause to be delivered to the Administrative Agent, an opinion, in form and substance
        satisfactory to the Administrative Agent as to such UCC perfection and priority matters as the
        Administrative Agent may request at such time.

                 (p)      Taxes. Parent will, and will cause each of its Subsidiaries to, (i) timely file all
material tax returns (foreign, federal, state and local) required to be filed by it and (ii) pay, or cause to be
paid, all material taxes, assessments and other governmental charges, if any, other than taxes, assessments
and other governmental charges being contested in good faith by appropriate proceedings and as to which
adequate reserves have been provided in accordance with GAAP.

                 (q)      [Reserved].

                 (r)      Compliance with Anti-Terrorism Laws. The Administrative Agent hereby notifies
the Credit Parties that pursuant to the requirements of Anti-Terrorism Laws, and the Administrative Agent’s
policies and practices, the Administrative Agent is required to obtain, verify and record certain information
and documentation that identifies the Credit Parties and their respective principals, which information
includes the name and address of each Credit Party and its principals and such other information that will
allow Agent to identify such party in accordance with Anti-Terrorism Laws. No Credit Party will, directly
or indirectly, knowingly enter into any contract with any Sanctioned Person or any Person listed on the
OFAC Lists. Each Credit Party shall immediately notify the Administrative Agent if such Credit Party has
actual knowledge that any Credit Party or any of their respective Affiliates or agents acting or benefiting in
any capacity in connection with the transactions contemplated by this Agreement is or becomes a



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Sanctioned Person or (i) is convicted on, (ii) pleads nolo contendere to, (iii) is indicted on, or (iv) is
arraigned and held over on charges involving money laundering or predicate crimes to money laundering.
No Credit Party will, directly or indirectly, (i) conduct any business or engage in any transaction or dealing
with any Sanctioned Person, including, without limitation, the making or receiving of any contribution of
funds, goods or services to or for the benefit of any Sanctioned Person, (ii) deal in, or otherwise engage in
any transaction relating to, any property or interests in property blocked pursuant to Executive Order No.
13224, any similar executive order or other Anti-Terrorism Law, or (iii) engage in or conspire to engage in
any transaction that violates or attempts to violate any of the prohibitions set forth in Executive Order No.
13224 or other Anti-Terrorism Law.

                 (s)      [reserved]

                 (t)     Certificate of Title Acts. Bird OpCo will not operate and will not permit the Parent
or any of its Subsidiaries to operate any of the scooters owned or operated by it in a jurisdiction in which
the scooters may or are required to be registered under any certificate of title act or similar law, statute, or
regulation.

                  (u)      Insurance. The Parent will keep the Parent’s and its Subsidiaries’ business and the
Collateral insured for risks and in amounts standard for companies in the Parent’s and its Subsidiaries’
industry and location and as the Administrative Agent may reasonably request. Insurance policies shall be
in a form, with companies, and in amounts that are reasonably satisfactory to the Administrative Agent. All
property policies shall have a lender’s loss payable endorsement showing the Administrative Agent (for the
ratable benefit of the Secured Parties) as lender loss payee and shall waive subrogation against the
Administrative Agent, and all liability policies shall show, or have endorsements showing, the
Administrative Agent (for the ratable benefit of the Secured Parties), as additional insured. Within no less
than thirty (30) days after the Effective Date and at all times thereafter, the Administrative Agent shall be
named as lender loss payee and/or additional insured with respect to any such insurance providing coverage
in respect of any Collateral, and each provider of any such insurance shall agree, by endorsement upon the
policy or policies issued by it or by independent instruments furnished to the Administrative Agent, that it
will give the Administrative Agent 30 days (and 10 days for nonpayment of premium) prior written notice
before any such policy or policies shall be canceled. At the reasonable request of the Administrative Agent,
the Parent shall deliver to the Administrative Agent certified copies of policies and evidence of all premium
payments. Subject to the Intercreditor Agreement, proceeds payable under any policy shall, at the option of
the Administrative Agent, be payable to the Administrative Agent, for the ratable benefit of the Secured
Parties, on account of the then-outstanding Borrower Obligations. If the Parent or any of its Subsidiaries
fails to obtain insurance as required under this Section 8.01(u) or to pay any amount or furnish any required
proof of payment to third persons, the Administrative Agent may make (but has no obligation to do so), at
the Parent’s expense, all or part of such payment or obtain such insurance policies required in this
Section 8,0Ku), and take any action under the policies the Administrative Agent deems prudent.

                 (v)      [reserved].

                 (w)      Budget Testing. Subject to the terms and conditions set forth below, no Credit
Party shall, nor shall it permit any of its Subsidiaries to, from and after the Effective Date, make any
payment or otherwise disburse any funds or fail to collect revenues or funds in an amount, in each case, in
a manner such that the unrestricted cash and Cash Equivalents of the Credit Parties and their Subsidiaries
is less than the amount set forth in each Approved Budget for any Budget Testing Period, subject to the
Permitted Variance; provided that this provision shall disregard non-recurring one-time receipts and/or
disbursements.




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The Administrative Agent and Lenders (i) may assume that the Credit Parties will comply with the
Approved Budget to the extent required by this clause (s) and shall have no duty to monitor such compliance
and (ii) shall not be obligated to pay (directly or indirectly from the Collateral) any unpaid expenses incurred
or authorized to be incurred pursuant to the Approved Budget. The line items in the Approved Budget for
payment of interest, expenses and other amounts to Administrative Agent and Lenders are estimates only,
and the Credit Parties remain obligated to pay any and all Borrower Obligations in accordance with the
terms of the Transaction Documents. Nothing in the Approved Budget shall constitute an amendment or
other modification of this Agreement or any of such restrictions or other lending limits set forth therein.

                  (x)     Bankruptcy Court Filings. As soon as practicable in advance of filing with the
Bankruptcy Court, the Credit Parties shall provide the Administrative Agent with copies of (i) the motion
seeking approval of and proposed forms of the Interim Order and the Final Order, which motion shall be in
form and substance reasonably satisfactory to the Administrative Agent, and which orders shall be in form
and substance satisfactory to the Administrative Agent and the Required DIP Lenders in their sole
discretion, (ii) the Bid Procedures Motion, which motion shall be in form and substance reasonably
satisfactory to the Administrative Agent, and the proposed form of the Bid Procedures Order, which order
shall be in form and substance satisfactory to Administrative Agent in its sole discretion, (iii) all other
proposed orders and pleadings related to the financing contemplated hereunder, which orders and pleadings
shall be in form and substance satisfactory to the Administrative Agent, (iv) any plan of reorganization or
liquidation, and/or any disclosure statement related to such plan (which plan or disclosure statement shall
comply with the requirements set forth herein), which plan of reorganization or liquidation and any related
disclosure statement shall be in form and substance satisfactory to Administrative Agent and the Required
DIP Lenders, (v) any motion, and proposed form of order, seeking to extend or otherwise modify the Credit
Parties' exclusive periods set forth in section 1121 of the Bankruptcy Code, which motion and proposed
order shall be in form and substance satisfactory to Administrative Agent, (vi) any motion, other than the
Bid Procedures Motion, seeking approval of any sale of any Credit Party's assets, which motion shall be in
form and substance acceptable to the Administrative Agent and any proposed form of a bidding procedures
order and sale order, which orders shall be in form and substance satisfactory to the Administrative Agent
and the Required DIP Lenders in their respective sole discretion and (vii) any motion and proposed form
of order filed with the Bankruptcy Court relating to the assumption, rejection, modification or amendment
of any employment agreement, or the assumption, rejection, modification or amendment of any material
contract, each of which motions and orders must be in form and substance satisfactory to the Administrative
Agent in its sole respective sole discretion.

                 (y)     Bankruptcy Covenants. Notwithstanding anything in the Transaction Documents
to the contrary, the Credit Parties shall comply with all covenants, terms and conditions and otherwise
perform all obligations set forth in the DIP Orders.

                  (z)      Chapter 11 Cases. In connection with the Chapter 11 Cases, the Credit Parties shall
give the proper notice for (i) the motions seeking approval of the Transaction Documents and the Interim
Order and Final Order, (ii) the hearings for the approval of the Interim Order, (iii) the hearings for the
approval of the Final Order, (iv) the motions seeking approval of the sale of all or substantially all of the
assets or the Equity Interests of the Credit Parties and (v) the hearings for the approval of the sale of all or
substantially all of the assets or the Equity Interests of the Credit Parties. The Credit Parties shall give, on
a timely basis as specified in the Interim Order or the Final Order, as applicable, all notices required to be
given to all parties specified in the Interim Order or Final Order, as applicable.

                (aa)   Sales Process Timeline. The Credit Parties shall timely comply with the sale
process milestones set forth in the DIP Orders and shall incorporate such milestones into a bidding
procedures motion and order, each of which shall be in form and substance acceptable to the Administrative
Agent (the “Bid Procedures Motion" and “Bid Procedures Order", respectively). Promptly upon receipt by



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any Credit Party, such Credit Party shall deliver to the Administrative Agent copies of all written indications
of interest in the sale (by proposal, letter of intent or otherwise), term sheets, asset purchase agreements and
other documents from prospective bidders, other interested parties or their representatives, and such other
information and documents as the Administrative Agent may from time to time request.

                 (bb)    Payment of Borrower Obligations. To the extent permitted by the DIP Orders, each
Credit Party shall, and shall cause each of its Subsidiaries to, pay or discharge before they become
delinquent (a) all material Post-Petition claims, taxes, assessments, charges and levies imposed by any
Governmental Authority and (b) all other lawful Post-Petition claims, in each case, that if unpaid would,
by the operation of applicable Requirements of Law, become a Lien upon any property of any Credit Party,
except, in each case, for those whose amount or validity is being contested in good faith by proper
proceedings diligently conducted and for which adequate reserves are maintained on the books of the Credit
Parties in accordance with GAAP.

         SECTION 8.02 Negative Covenants of the Credit Parties. At all times from the Effective Date
until the Final Payout Date, each Credit Party party hereto shall not (and shall not permit any other Credit
Party to), unless the Required DIP Lenders shall otherwise consent in writing:

                 (a)     Fundamental Changes; Dispositions.

                 (i)     Wind-up, liquidate or dissolve, or merge, consolidate or amalgamate with any
        Person, including by means of a "plan of division" under the Delaware Limited Liability Company
        Act or any comparable transaction under any similar law, or permit any of its Subsidiaries to do
        any of the foregoing; provided, however, that, to the extent permitted by the DIP Orders and
        consistent with the Approved Budget, any wholly owned Subsidiary of any Credit Party may be
        merged into such Credit Party or another wholly owned Subsidiary of such Credit Party, or any
        Credit Party may consolidate or amalgamate with another wholly owned Subsidiary of such Credit
        Party, so long as (A) no other provision of this Agreement or the DIP Orders would be violated
        thereby, (B) such Credit Party gives the Administrative Agent at least 30 days’ prior written notice
        of such merger, consolidation or amalgamation accompanied by true, correct and complete copies
        of all material agreements, documents and instruments relating to such merger, consolidation or
        amalgamation, including the certificate or certificates of merger or amalgamation or other
        documents to be filed with each appropriate Secretary of State or equivalent authority (with a copy
        as filed promptly after such filing), (C) no Default or Event of Default shall have occurred and be
        continuing either before or after giving effect to such transaction, (D) the Lenders’ rights in any
        Collateral, including the existence, perfection and priority of any Lien thereon, are not adversely
        affected by such merger, consolidation or amalgamation and (E) the surviving or amalgamated
        Subsidiary, if any, if not already a Credit Party, delivers a guaranty and a pledge and security
        agreement, in each case, satisfactory to the Administrative Agent, which is in full force and effect
        on the date of and immediately after giving effect to such merger, consolidation or amalgamation,
        and in the case of any amalgamation, together with (w) an officer's certificate from an authorized
        officer of the surviving or amalgamated Subsidiary, (x) resolutions of the board of directors (or
        equivalent governing body) of the surviving or amalgamated Subsidiary, (y) an opinion letter from
        counsel to such surviving or amalgamated Subsidiary opining as to such matters as the
        Administrative Agent may reasonably request and (z) such lien filings as the Administrative Agent
        may reasonably request, and (F) in the case of any such merger or consolidation involving Parent
        or the Borrower, Parent or the Borrower, as applicable, shall be the continuing or surviving entity.

                 (ii)    Make any Disposition, whether in one transaction or a series of related
        transactions, of all or any part of its business, property or assets, whether now owned or hereafter
        acquired (or agree to do any of the foregoing) (including issuances of Equity Interests by



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        Subsidiaries that do not result in a Change in Control and Dispositions of interests in Subsidiaries),
        or permit any of its Subsidiaries to do any of the foregoing; provided, however, that any Credit
        Party and its Subsidiaries may make Permitted Dispositions to the extent permitted by the DIP
        Orders and the Approved Budget.

                  (b)      Mergers or Acquisitions. The Parent shall not consolidate with or merge with or
into, or (directly, or indirectly through one or more of the Parent’s Subsidiaries) sell, lease, or otherwise
transfer, in one transaction or a series of transactions, all or substantially all of the assets of the Parent and
its Subsidiaries, taken as a whole, to another Person (a “Business Combination Event”), unless: (a) the
resulting, surviving, or transferee Person is the Parent, (b) immediately after giving effect to such Business
Combination Event, no Default or Event of Default will have occurred and be continuing and (c) such
Business Combination Event is permitted by the DIP Orders.

                 (c)      Debt. The Parent shall not, and shall not permit any of its Subsidiaries to, create,
incur, assume, guarantee or suffer to exist, or otherwise become or remain liable with respect to, or permit
any of its Subsidiaries to create, incur, assume, guarantee or suffer to exist or otherwise become or remain
liable with respect to, any Indebtedness (including, for certainty, any Indebtedness incurred on a contingent
basis) other than Permitted Indebtedness to the extent permitted by the DIP Orders and consistent with the
Approved Budget.

                (d)    Liens. The Parent shall not, and shall not permit any of its Subsidiaries to, incur
any Lien (other than Permitted Liens to the extent permitted by the DIP Orders and consistent with the
Approved Budget).

                  (e)     Restricted Payments. The Parent shall not, and shall not permit any of its
Subsidiaries to, make or effect or permit any of its Subsidiaries to make or effect any Restricted Payment
other than, to the extent permitted by the DIP Orders and consistent with the Approved Budget, Permitted
Restricted Payments.

                  (f)     Transactions with Affiliates. Parent shall not, and shall not permit any of its
Subsidiaries to enter into, renew, extend or be a party to, or permit any of its Subsidiaries to enter into,
renew, extend or be a party to, any Affiliate Transaction, other than, to the extent permitted by the DIP
Orders and the Approved Budget, (i) any transactions solely between or among Parent and/or any of its
Subsidiaries which are Credit Parties (or an entity that becomes a Credit Party as a result of such transaction)
or (ii) any transactions with any Lender in such Lender’s position as a Lender, unless such transaction is on
terms that are no less favorable to the Parent or the relevant Subsidiary than those that could have been
obtained in a comparable transaction by the Parent or such Subsidiary with an unrelated Person on an arm’s-
length basis (as determined in good faith by the Parent), and, to the extent permitted by the DIP Orders and
the Approved Budget:

                (i)     with respect to any such transaction or series of related transactions involving
        aggregate consideration in excess of $ 1.0 million, the transaction has been approved by a resolution
        adopted by a majority of the disinterested members of the Board of Directors.

                 (g)   Hedging Agreements. Parent shall not, and shall not permit any of its Subsidiaries
to, enter into any Hedging Agreement other than, to the extent permitted by the DIP Orders and the
Approved Budget, Hedging Agreements entered into in the ordinary course of business for hedging actual
foreign exchange requirements in the following six months and actual interest rate or foreign exchange
exposure in connection with financing agreements and not for speculative purposes.




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                 (h)      KEIP Plan. No Credit Party shall, and no Credit Party shall permit any of its
Subsidiaries to, enter into any key employee incentive or retention plan, or other similar plan or agreement
(any such agreement, a “KEIP”). unless such KEIP has been approved in writing by the Required DIP
Lenders.

                 (i)      Chapter 11 Claims. None of the Credit Parties will, and none will permit any of its
Subsidiaries to, incur, create, assume, suffer to exist or permit (other than those existing, and disclosed to
the Administrative Agent, on the date hereof) any administrative expense, unsecured claim, or other super­
priority claim or lien (except for the Carve-Out and Pre-Petition Prior Liens to the extent such liens had
priority over the liens granted under the Pre-Petition Loan Agreement) that are pari passu with or senior to
the administrative expenses or the claims of the Secured Parties against the Credit Parties hereunder, or
apply to the Bankruptcy Court for authority to do so.

                 (j)      Critical Vendor and Other Payments. None of the Credit Parties shall, and none
will permit any of its Subsidiaries to, make (i) any pre-petition “critical vendor” payments or other payments
on account of any creditor’s pre-petition unsecured claims, (ii) payments on account of claims or expenses
arising under section 503(b)(9) of the Bankruptcy Code, (iii) payments in respect of a reclamation program
or (iv) payments under any management incentive plan or on account of claims or expenses arising under
Section 503(c) of the Bankruptcy Code, except, in each case, in amounts and on terms and conditions that
are permitted by the Approved Budget and by the DIP Orders.

                                               ARTICLE IX

                                               [RESERVED]

                                                ARTICLE X

                                         EVENTS OF DEFAULT

         SECTION 10.01      Events of Default. If any of the following events (each an “Event of Default”)
shall occur:

                 (a)      the Borrower fails to pay (i) any amount on the DIP Term Loan Maturity Date, or
(ii) any Interest or any other amount due and payable under this Agreement (other than the amounts
specified in clause (i) hereof);

                 (b)     [reserved];

                  (c)     Except for defaults occasioned by the filing of the Chapter 11 Cases and defaults
resulting from obligations with respect to which the Bankruptcy Code prohibits the Credit Parties from
complying or permits the Credit Parties not to comply, any the Parent or any of its Subsidiaries shall fail to
pay when due (whether by scheduled maturity, required prepayment, acceleration, demand or otherwise)
any principal, interest or other amount payable in respect of any Post-Petition Material Indebtedness, and
such failure shall continue after the applicable grace period, if any, specified in the agreement or instrument
relating to such Indebtedness without waiver or consent prior to the Administrative Agent delivering notice
of a reservation of rights or other potential action in respect thereof, or any other default under any
agreement or instrument relating to any such Indebtedness, or any other event, shall occur and shall continue
after the applicable grace or cure period, if any, specified in such agreement or instrument, if the effect of
such default or event is to accelerate, or to permit the acceleration of, the maturity of such Indebtedness; or
any such Indebtedness shall be declared to be due and payable, or required to be prepaid (other than by a
regularly scheduled required prepayment), redeemed, purchased or defeased or an offer to prepay, redeem,



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purchase or defease such Indebtedness shall be required to be made, in each case, prior to the stated maturity
thereof;

                 (d)      [reserved];

                 (e)      [reserved];

                 (f)      [reserved];

                 (g)      [reserved];

                 (h)      [reserved];

                  (i)      any Credit Party shall fail to perform or observe any other material term, covenant
or agreement under this Agreement or any other Transaction Document (other than with respect to the
events listed in subsections (a) through (h) above or the event listed in subsection (v) below), and such
failure, solely to the extent capable of cure, shall continue for three (3) days following the earlier of (x) the
actual knowledge of any Responsible Officer of any Credit Party of such failure and (y) the Administrative
Agent’s written notice to any Credit Party of such failure;

                  (j)     any representation or warranty made or deemed made by any Credit Party (or any
of their respective officers) under or in connection with this Agreement or any other Transaction Document
or any information or report delivered by any Credit Party pursuant to this Agreement or any other
Transaction Document, shall prove to have been incorrect or untrue in any material respect when made or
deemed made or delivered, which, solely to the extent capable of cure, remains unremedied for thirty (30)
days following the earlier of (x) any Credit Party’s actual knowledge of such breach and (y) the
Administrative Agent’s written notice to any Credit Party of such breach;

                (k)      any security interest granted pursuant to the Pre-Petition Transaction Documents
or any other Transaction Document shall for any reason cease to create, or for any reason cease to be, a
valid and enforceable first priority perfected security interest in favor of the Borrower or the Administrative
Agent with respect to the Collateral, free and clear of any Adverse Claim (other than Permitted Liens);

                 (l)      [reserved];

                 (m)      a Change in Control shall occur;

                (n)      either (i) the Internal Revenue Service shall file notice of a lien (other than
Permitted Liens) pursuant to Section 6323 of the Code with regard to any assets of any Credit Party or (ii)
the PBGC shall, or shall indicate its intention to, file notice of a lien pursuant to Section 303(k) or 4068 of
ERISA with regard to any of the assets of any Credit Party;

                (o)       (i) the occurrence of a Reportable Event; (ii) the adoption of an amendment to a
Pension Plan that would require the provision of security pursuant to Section 401(a)(29) of the Code; (iii)
the existence with respect to any Multiemployer Plan of an “accumulated funding deficiency” (as defined
in Section 431 of the Code or Section 304 of ERISA), whether or not waived; (iv) the failure to satisfy the
minimum funding standard under Section 412 of the Code with respect to any Pension Plan (v) the
incurrence of any liability under Title IV of ERISA with respect to the termination of any Pension Plan or
the withdrawal or partial withdrawal of any Credit Party or any of their respective Subsidiaries or ERISA
Affiliates from any Multiemployer Plan; (vi) the receipt by any Credit Party or any of their respective
ERISA Affiliates from the PBGC or any plan administrator of any notice relating to the intention to



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terminate any Pension Plan or Multiemployer Plan or to appoint a trustee to administer any Pension Plan
or Multiemployer Plan; (vii) the receipt by any Credit Party or any of their respective Subsidiaries or ERISA
Affiliates of any notice concerning the imposition of Withdrawal Liability or a determination that a
Multiemployer Plan is, or is expected to be, insolvent, within the meaning of Title IV of ERISA; (viii) the
occurrence of a prohibited transaction with respect to any Credit Party or any of their respective Subsidiaries
or ERISA Affiliates (pursuant to Section 4975 of the Code); or (ix) the occurrence or existence of any other
similar event or condition with respect to a Pension Plan or a Multiemployer Plan, with respect to each of
clause (i) through (ix). either individually or in the aggregate, could reasonably be expected to result in a
Material Adverse Effect;

                 (p)      a Material Adverse Effect shall occur with respect to any Credit Party;

                (q)    any Credit Party shall (i) be required to register as an “investment company” within
the meaning of the Investment Company Act or (ii) become a “covered fund” within the meaning of the
Volcker Rule;

                  (r)      any material provision of this Agreement or any other Transaction Document shall
cease to be in full force and effect or any Credit Party (or any of their respective Affiliates) shall so state in
writing;

                (s)      one or more Post-Petition judgments or decrees shall be entered against any Credit
Party involving in the aggregate a liability (not paid or to the extent not covered by a reputable and solvent
insurance company) and such judgments and decrees either shall be final and non-appealable or shall not
be vacated, discharged or stayed or bonded pending appeal for any period of forty-five (45) consecutive
days, and the aggregate amount of all such judgments equals or exceeds $1,000,000;

                  (t)      any Transaction Document covering a material portion of the Collateral for any
reason (other than pursuant to the terms thereof) ceases to create a valid and perfected Lien on, and security
interest in, any material portion of the Collateral covered thereby with respect to the Loans, subject to
Permitted Liens, except to the extent that any such perfection or priority is not required pursuant to the
Transaction Documents or results from the failure of the Administrative Agent to maintain possession of
certificates actually delivered to it representing securities pledged under the Transaction Documents;

                 (u)      [Reserved]

                 (v)      any of the Credit Parties shall fail to comply with any of the covenants (and the
timeframes for compliance therewith) set forth in 8.01(c), 8,0l(d)(i), 8.01(u). 8,01(w), 8,01(x), 8.01(y),
8.01(z). 8,01(aa). 8,01(bb). Section 8,02 or Article IX; provided, that, any breach of Section 8.01(w) may
be cured if within five (5) Business Days of the last day of the applicable Budget Testing Period for which
such breach arose, one or more Second Lien DIP Lenders advance additional Second Lien DIP Loans or
other funds in a manner (and on terms) satisfactory to the Required DIP Lenders in an amount equal to the
amount by which the unrestricted cash and Cash Equivalents of the Credit Parties and their Subsidiaries
was less than the amount set forth in each Approved Budget for such applicable Budget Testing Period;

                 (w)     Parent shall (i) fail to make any payment beyond the applicable grace period, if
any, whether by scheduled maturity, required prepayment, acceleration, demand, or otherwise, in respect
of the Notes issued under the Note Purchase Agreement or the Second Lien DIP Loans under the Second
Lien DIP Loan Agreement, (ii) fail to observe or perform any other agreement or condition under the Note
Documents, or any other event occurs, the effect of which failure or other event is to cause, or to permit the
holder or holders of the Notes or the Note Collateral Agent to cause, with the giving of notice if required,
the Borrower Obligations (as defined in the Note Purchase Agreement) to become due and payable



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(automatically or otherwise) prior to their stated maturity, or (iii) fail to observe or perform any other
agreement or condition under the Second Lien DIP Documents, or any other event occurs, the effect of
which failure or other event is to cause, or to permit the holder or holders of the Second Lien DIP Loans or
the Second Lien DIP Agent to cause, with the giving of notice if required, the Borrower Obligations (as
defined in the Second Lien DIP Loan Agreement) to become due and payable (automatically or otherwise)
prior to their stated maturity; in each case, regardless of whether any such failure or default is remedied or
waived;

                  (x)     The holders of all or any part of the Indebtedness arising under the Note Purchase
Agreement shall be granted adequate protection other than as consented to by the Administrative Agent
and as set forth in the DIP Orders;

                 (y)      Bankruptcy Defaults. The occurrence of any of the following in the Chapter 11
Cases:

                 (i)    the payment by the Credit Parties of expenses (A) in excess of the amounts
         permitted by Section 8.0 l(w), or (B) otherwise in violation of the terms and conditions of Section
         8.0I(w);

                  (ii)    obtaining after the Petition Date credit or incurring Indebtedness that is (i) secured
         by a security interest, mortgage or other lien on all or any portion of Collateral which is equal or
         senior to any security interest, mortgage or other lien of the Administrative Agent, or (ii) entitled
         to priority administrative status which is equal or senior to that granted to the Administrative Agent
         in the DIP Orders, unless used to indefensibly repay the Borrower Obligations in full in cash;

                 (iii)   the bringing of a motion, taking of any action or the filing of any plan of
         reorganization or disclosure statement attendant thereto by the Credit Parties in the Chapter 11
         Cases, or the entry of an order (A) to obtain additional financing under Section 364(c) or Section
         364(d) of the Bankruptcy Code from any Person other than the Lenders not otherwise permitted by
         this Agreement, or (B) to authorize any Person to recover from any portions of the Collateral any
         costs or expenses of preserving or disposing of such Collateral under Section 506(c) of the
         Bankruptcy Code, or (C) except as provided in the DIP Orders, to use Cash Collateral without the
         Administrative Agent’s prior written consent under Section 363(c) of the Bankruptcy Code or (D)
         except as provided in the DIP Orders, to grant any lien other than Permitted Liens upon or affecting
         any Collateral;

                (iv)     the dismissal of any of the Chapter 11 Cases or the conversion of any of the Chapter
         11 Cases to a case under chapter 7 of the Bankruptcy Code;

                (v)      any failure by the Credit Parties to make adequate protection payments or other
         payments to the Pre-Petition Agent or Pre-Petition Secured Parties as set forth in the DIP Orders
         when due;

                 (vi)    any failure by the Credit Parties to perform, in any respect and subject to any
         applicable cure periods, any of the terms, provisions, conditions, covenants, or obligations under
         any DIP Order or a Termination Event under any DIP Order shall occur;

                   (vii) the entry of an order which has not been withdrawn, dismissed or reversed (a)
         appointing an interim or permanent trustee in the Chapter 11 Cases or the appointment of an
         examiner or other responsible person with expanded powers in the Chapter 11 Cases, (b) granting
         relief from or modifying the automatic stay of Section 362 of the Bankruptcy Code (x) to allow any



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creditor to execute upon or enforce a lien on or security interest in any Collateral in excess of
$25,000 or (ii) with respect to any lien of or the granting of any lien on any Collateral to any state
or local environmental or regulatory agency or authority, (in each case with a value in excess of
$250,000), (c) amending, supplementing, staying, reversing, vacating or otherwise modifying any
of the Interim Order, the Final Order, this Agreement or any other Transaction Document, or
Administrative Agent’s, any Secured Party’s, Pre-Petition Agent’s or Pre-Petition Secured Parties’
rights, benefits, privileges or remedies under the Interim Order, the Final Order, this Agreement,
any other Transaction Document or any Pre-Petition Transaction Document or (d) approving a sale
of any assets of any Credit Party pursuant to section 363 of the Bankruptcy Code or approving
bidding procedures therefor other than in each case as required in the DIP Orders;

        (viii)  Credit Parties consolidating or combining with any other Person except pursuant
to a confirmed plan of reorganization with the prior written consent of the Administrative Agent
and Required DIP Lenders;

         (ix)    reversal, vacatur, or modification (without the express prior written consent of the
Administrative Agent and the Required DIP Lenders, in their sole discretion) of any DIP Order or
any provision thereof, or reversal, vacatur, or modification (without the express prior written
consent of the Pre-Petition Agent and the Required Lenders (under and as defined in the Pre­
Petition Loan Agreement) in their sole discretion) of any provision of any DIP Order directly and
adversely affecting the rights of the Pre-Petition Secured Parties;

         (x)    the challenge by the Credit Parties (or the support by the Credit Parties of the
challenge by any other Person) to the Administrative Agent’s, any Secured Party’s, the Pre-Petition
Agent’s, or any Pre-Petition Secured Party’s claim or the validity, extent, perfection, priority or
characterization of any obligations incurred or liens granted under or in connection with the Pre­
Petition Loan Agreement;

         (xi)     the challenge by the Credit Parties (or the support by the Credit Parties of the
challenge by any other Person) to (a) disallow in whole or in part the claim of the Pre-Petition
Agent or the Pre-Petition Secured Parties under the Pre-Petition Loan Agreement or the claim of
the Administrative Agent or any Secured Party in respect of Borrower Obligations or to challenge
the validity, perfection and enforceability of any of the hens in favor of any of them, or (b) equitably
subordinate or re-characterize in whole or in part the claim of the Administrative Agent or any
Secured Party in respect of the Borrower Obligations or the Pre-Petition Agent or any Pre-Petition
Secured Party in respect of the Pre-Petition Indebtedness, or in each case the entry of an order by
the Bankruptcy Court granting the relief described above;

        (xii)    the filing of a lawsuit, adversary proceeding, claim or counterclaim related to the
Credit Parties or Collateral or pre-petition collateral against the Administrative Agent, any Secured
Party, Pre-Petition Agent, or any Pre-Petition Secured Party by the Credit Parties;

        (xiii) the application by the Credit Parties for authority to make any Pre-Petition
Payment not contemplated by the Approved Budget without the Administrative Agent’s prior
written consent;

        (xiv)   the entry of an order in the Chapter 11 Cases avoiding or requiring disgorgement
of any portion of the Pre-Petition Obligations;

        (xv)    the use, remittance or the application of Collateral or proceeds of Collateral in
contravention of the terms of the Transaction Documents or the DIP Orders;



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                (xvi)    the entry of an order in the Chapter 11 Cases authorizing procedures for interim
        compensation of professionals that is not in form and substance customary for the Southern District
        of Florida or otherwise not in form and substance acceptable to the Administrative Agent;

                (xvii) without the prior written consent of the Administrative Agent and the Required
        DIP Lenders, the Credit Parties incur, create, assume, suffer to exist or permit any superpriority
        claim in the Chapter 11 Cases that is pari passu with or senior to the claims of the Secured Parties
        and Administrative Agent, other than the Carve-Out;

                 (xviii) the Bankruptcy Court enters an order (a) resulting in the marshaling of any
        Collateral, or (b) precluding the attachment of liens to Post-Petition property based on the “equities
        of the case” under Section 552(b) of the Bankruptcy Code;

                 (xix)   the Credit Parties requesting or seeking authority for or entry of an order that
        approves or provides authority to take any other action or actions adverse to the Administrative
        Agent or any Secured Party or its rights and remedies under the Transaction Documents or its
        interest in the Collateral;

                (xx)    the termination or modification of the Borrower’s exclusivity as to the proposal of
        any plan or reorganization or liquidation; or

                (xxi)   the change of venue of any of the Chapter 11 Cases from the Bankruptcy Court to
        any other court without the prior written consent of the Administrative Agent;

then, and in any such event, the Administrative Agent may (or, at the direction of the Lenders shall) by
notice to the Borrower declare (y) the DIP Term Loan Maturity Date with respect to all or any portion of
the Loans to have occurred and (z) all or any portion of the Borrower Obligations to be immediately due
and payable; provided, that automatically upon the occurrence of any event (without any requirement for
the giving of notice) described in subsection (1) of this Section 10,01, the DIP Term Loan Maturity Date
shall occur and all Borrower Obligations shall be immediately due and payable. Upon any such declaration
or designation or upon such automatic termination, the Administrative Agent and the other Secured Parties
shall have, in addition to the rights and remedies which they may have under this Agreement and the other
Transaction Documents, all other rights and remedies provided after default under the UCC and under other
Applicable Law, which rights and remedies shall be cumulative. Any proceeds from liquidation of the
Collateral shall be applied in the order of priority set forth in Section 4,01.

          SECTION 10.02 Remedies. Upon the occurrence and during the continuance of any Event of
Default, upon written notice thereof by Administrative Agent (which such notice shall be made to Borrower,
the official committee(s) of creditors of the Credit Parties and the United States Trustee for the Southern
District of Florida and shall be referred to herein as a “Termination Declaration” and the date which is the
earliest to occur of any such Termination Declaration (excluding the notice period) being herein referred to
as the “Termination Declaration Date”). Administrative Agent may, and shall at the request of the Required
DIP Lenders, in each case provided such Event(s) of Default are not cured by the Credit Parties pursuant
to the terms of this Agreement:

                (a)    declare all or any portion of any one or more of the Commitments of each Lender
to make Loans to be suspended or terminated, whereupon all or such portion of such Commitments shall
forthwith be suspended or terminated;

                  (b)    declare all or any portion of the unpaid principal amount of all outstanding Loans,
all interest accrued and unpaid thereon, and all other amounts owing or payable hereunder or under any



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other Transaction Document to be immediately due and payable; without presentment, demand, protest or
other notice of any kind, all of which are hereby expressly waived by each Credit Party; and/or

                  (c)     subject to the terms of the Interim Order or Final Order, as applicable, exercise on
behalf of itself and the Lenders all rights and remedies available to it and the Lenders under the Transaction
Documents or applicable law; provided, however. Agent shall not credit bid any portion of the Borrower
Obligations without the consent of the Required DIP Lenders.

                 (d)     In addition, five (5) Business Days following the Termination Declaration Date
(such 5 Business Day period, the “Remedies Notice Period”), absent the Credit Parties curing all such
existing Events of Default during such Remedies Notice Period, the Administrative Agent shall have
automatic relief from the automatic stay and may foreclose on all or any portion of the Collateral, collect
accounts receivable and apply the proceeds thereof to the Borrower Obligations, occupy the Credit Parties’
premises to sell or otherwise dispose of the Collateral or otherwise exercise remedies against the Collateral
permitted by applicable nonbankruptcy law. During the Remedies Notice Period, the Credit Parties and
any statutory committee shall be entitled to an emergency hearing before the Bankruptcy Court for the sole
purpose of contesting whether an Event of Default has occurred. Unless during such period the Bankruptcy
Court determines that an Event of Default has not occurred and/or is not continuing, the automatic stay, as
to the Lenders and the Administrative Agent, shall automatically terminate at the end of the Remedies
Notice Period, without further notice or order. During the Remedies Notice Period, the Credit Parties may
not use the proceeds of Loans hereunder, or other Collateral proceeds except to the limited extent permitted
by the DIP Orders.

        SECTION 10.03 Rights Not Exclusive. The rights provided for in this Agreement and the other
Transaction Documents are cumulative and are not exclusive of any other rights, powers, privileges or
remedies provided by law or in equity, or under any other instrument, document or agreement now existing
or hereafter arising.

                                               ARTICLE XI

                                   THE ADMINISTOTIVE AGENT

         SECTION 11.01 Appointment and Authorization. Each Lender hereby irrevocably appoints and
authorizes the Administrative Agent to enter into each of the Transaction Documents to which it is a party
(other than this Agreement) on its behalf and to take such actions as the Administrative Agent on its behalf
and to exercise such powers under the Transaction Documents as are delegated to the Administrative Agent
by the terms thereof, together with all such powers as are reasonably incidental thereto. Subject to the terms
of Section 14.01 and to the terms of the other Transaction Documents, the Administrative Agent is
authorized and empowered to amend, modify, or waive any provisions of this Agreement or the other
Transaction Documents on behalf of Lenders. Except for Sections 11.09, 11.12, and 11.14 the provisions
of this Article XI are solely for the benefit of the Administrative Agent and Lenders and neither the
Borrower nor any other Credit Party shall have any rights as a third party beneficiary of any of the
provisions hereof. In performing its functions and duties under this Agreement, the Administrative Agent
shall act solely as agent of Lenders and does not assume and shall not be deemed to have assumed any
obligation toward or relationship of agency or trust with or for the Borrower or any other Credit Party. The
Administrative Agent may perform any of its duties hereunder, or under the Transaction Documents, by or
through its agents, servicers, trustees, investment managers or employees.

         SECTION 11.02 The Administrative Agent and Affiliates. The Administrative Agent shall have
the same rights and powers under the Transaction Documents as any other Lender and may exercise or
refrain from exercising the same as though it were not the Administrative Agent, and the Administrative



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Agent and its Affiliates may lend money to, invest in and generally engage in any kind of business with
each Credit Party or Affiliate of any Credit Party as if it were not the Administrative Agent hereunder.

         SECTION 11.03 Action by the Administrative Agent. The duties of the Administrative Agent
shall be mechanical and administrative in nature. The Administrative Agent shall not have by reason of
this Agreement a fiduciary relationship in respect of any Lender. Nothing in this Agreement or any of the
Transaction Documents is intended to or shall be construed to impose upon the Administrative Agent any
obligations in respect of this Agreement or any of the Transaction Documents except as expressly set forth
herein or therein.

         SECTION 11.04 Consultation with Experts. The Administrative Agent may consult with legal
counsel, independent public accountants and other experts selected by it and shall not be liable for any
action taken or omitted to be taken by it in good faith in accordance with the advice of such counsel,
accountants or experts.

          SECTION 11.05 Liability of the Administrative Agent. Neither the Administrative Agent nor any
of its directors, officers, agents, trustees, investment managers, servicers or employees shall be liable to any
Lender for any action taken or not taken by it in connection with the Transaction Documents, except that
the Administrative Agent shall be liable with respect to its specific duties set forth hereunder but only to
the extent of its own gross negligence or willful misconduct in the discharge thereof as determined by a
final non-appealable judgment of a court of competent jurisdiction. Neither the Administrative Agent nor
any of its directors, officers, agents, trustees, investment managers, servicers or employees shall be
responsible for or have any duty to ascertain, inquire into or verify (a) any statement, warranty or
representation made in connection with any Transaction Document or any borrowing hereunder; (b) the
performance or observance of any of the covenants or agreements specified in any Transaction Document;
(c) the satisfaction of any condition specified in any Transaction Document; (d) the validity, effectiveness,
sufficiency or genuineness of any Transaction Document, any Lien purported to be created or perfected
thereby or any other instrument or writing furnished in connection therewith; (e) the existence or non­
existence of any Event of Default or Potential Event of Default; or (f) the financial condition of any Credit
Party. The Administrative Agent shall not incur any liability by acting in reliance upon any notice, consent,
certificate, statement, or other writing (which may be a bank wire, facsimile or electronic transmission or
similar writing) believed by it to be genuine or to be signed by the proper party or parties. The
Administrative Agent shall not be liable for any apportionment or distribution of payments made by it in
good faith and if any such apportionment or distribution is subsequently determined to have been made in
error the sole recourse of any Lender to whom payment was due but not made, shall be to recover from
other Lenders any payment in excess of the amount to which they are determined to be entitled (and such
other Lenders hereby agree to return to such Lender any such erroneous payments received by them).

        SECTION 11.06 Indemnification. Each Lender shall, in accordance with its pro rata share of the
total unfunded Commitment and funded Loans hereunder, indemnify the Administrative Agent (to the
extent not reimbursed by the Borrower) upon demand against any cost, expense (including counsel fees and
disbursements), claim, demand, action, loss or liability (except such as result from the Administrative
Agent’s gross negligence or willful misconduct as determined by a final non-appealable judgment of a court
of competent jurisdiction) that the Administrative Agent may suffer or incur in connection with the
Transaction Documents or any action taken or omitted by the Administrative Agent hereunder or
thereunder. If any indemnity furnished to the Administrative Agent for any purpose shall, in the opinion
of the Administrative Agent, be insufficient or become impaired, the Administrative Agent may call for
additional indemnity and cease, or not commence, to do the acts indemnified against even if so directed by
the Lenders until such additional indemnity is furnished.




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          SECTION 11.07 Right to Request and Act on Instructions. The Administrative Agent may at any
time request instructions from Required DIP Lenders with respect to any actions or approvals which by the
terms of this Agreement or of any of the Transaction Documents the Administrative Agent is permitted or
desires to take or to grant, and if such instructions are promptly requested, the Administrative Agent shall
be absolutely entitled to refrain from taking any action or to withhold any approval and shall not be under
any liability whatsoever to any Person for refraining from any action or withholding any approval under
any of the Transaction Documents until it shall have received such instructions from the Required DIP
Lenders or all or such other portion of the DIP Term Lenders as shall be prescribed by this Agreement.
Without limiting the foregoing, no DIP Term Lender shall have any right of action whatsoever against the
Administrative Agent as a result of the Administrative Agent acting or refraining from acting under this
Agreement or any of the other Transaction Documents in accordance with the instructions of the Required
DIP Lenders (or all or such other portion of the DIP Term Lenders as shall be prescribed by this Agreement)
and, notwithstanding the instructions of the Required DIP Lenders (or such other applicable portion of the
DIP Term Lenders), the Administrative Agent shall have no obligation to take any action if it believes, in
good faith, that such action would violate Applicable Law or exposes the Administrative Agent to any
liability for which it has not received satisfactory indemnification in accordance with the provisions of
Section 11,06.

        SECTION 11.08 Credit Decision. Each Lender acknowledges that it has, independently and
without reliance upon the Administrative Agent or any other Lender, and based on such documents and
information as it has deemed appropriate, made its own credit analysis and decision to enter into this
Agreement. Each Lender also acknowledges that it will, independently and without reliance upon the
Administrative Agent or any other Lender, and based on such documents and information as it shall deem
appropriate at the time, continue to make its own credit decisions in taking or not taking any action under
the Transaction Documents.

         SECTION 11.09 Collateral Matters. The Lenders irrevocably authorize the Administrative Agent,
at its option and in its discretion, to release any Lien granted to or held by the Administrative Agent under
any Transaction Document (a) upon termination of the Loans and payment in full of all Borrower
Obligations; or (b) constituting property sold or disposed of as part of or in connection with any disposition
permitted under any Transaction Document, including pursuant to Section 8.01(s) (it being understood and
agreed that the Administrative Agent may conclusively rely without further inquiry on a certificate of a
Responsible Officer as to the sale or other disposition of property being made in full compliance with the
provisions of the Transaction Documents). Upon request by the Administrative Agent at any time, Lenders
will confirm the Administrative Agent’s authority to release particular types or items of Collateral pursuant
to this Section 11,09.

         SECTION 11.10 Agency for Perfection. The Administrative Agent and each Lender hereby
appoint each other Lender as agent for the purpose of perfecting the Administrative Agent’s security interest
in assets which, in accordance with the Uniform Commercial Code in any applicable jurisdiction, can be
perfected by possession or control. Should any Lender (other than the Administrative Agent) obtain
possession or control of any such assets, such Lender shall notify the Administrative Agent thereof, and,
promptly upon the Administrative Agent’s request therefor, shall deliver such assets to the Administrative
Agent or in accordance with the Administrative Agent’s instructions or transfer control to the
Administrative Agent in accordance with the Administrative Agent’s instructions. Each Lender agrees that
it will not have any right individually to enforce or seek to enforce any security interest hereunder or to
realize upon any Collateral for the Loans unless instructed to do so by the Administrative Agent (or
consented to by the Administrative Agent), it being understood and agreed that such rights and remedies
may be exercised only by the Administrative Agent.




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         SECTION 11.11 Notice of Default. The Administrative Agent shall not be deemed to have
knowledge or notice of the occurrence of any Potential Event of Default or Event of Default except with
respect to defaults in the payment of principal, interest and fees required to be paid to the Administrative
Agent for the account of Lenders, unless the Administrative Agent shall have received written notice from
a Lender or a Credit Party referring to this Agreement, describing such Potential Event Default or Event of
Default and stating that such notice is a “notice of default”. The Administrative Agent will notify each
Lender of its receipt of any such notice. The Administrative Agent shall take such action with respect to
such Potential Event of Default or Event of Default as may be requested by the Lenders (or all or such other
portion of the Lenders as shall be prescribed by this Agreement) in accordance with the terms hereof.
Unless and until the Administrative Agent has received any such request, the Administrative Agent may
(but shall not be obligated to) take such action, or refrain from taking such action, with respect to such
Potential Event Default or Event of Default as it shall deem advisable or in the best interests of Lenders.

        SECTION 11.12 Assignment by the Administrative Agent; Resignation of the Administrative
Agent; Successor the Administrative Agent.

                 (a)      The Administrative Agent may at any time assign its rights, powers, privileges and
duties hereunder to (i) another Lender, or (ii) any Person to whom the Administrative Agent, in its capacity
as a Lender, has assigned (or will assign, in conjunction with such assignment of agency rights hereunder)
50% or more of its Loans, in each case without the consent of the Lenders or the Borrower. Following any
such assignment, the Administrative Agent shall give notice to the Lenders and the Borrower. An
assignment by the Administrative Agent pursuant to this subsection (a) shall not be deemed a resignation
by the Administrative Agent for purposes of subsection (b) below.

                 (b)      Without limiting the rights of the Administrative Agent to designate an assignee
pursuant to subsection (a) above, the Administrative Agent may at any time give notice of its resignation
to the Lenders and the Borrower. Upon receipt of any such notice of resignation, the Required DIP Lenders
shall have the right to appoint a successor the Administrative Agent. If no such successor shall have been
so appointed by the Required DIP Lenders and shall have accepted such appointment within ten (10)
Business Days after the retiring the Administrative Agent gives notice of its resignation, then the retiring
the Administrative Agent may on behalf of the Required DIP Lenders, appoint a successor the
Administrative Agent; provided, however, that if the Administrative Agent shall notify the Borrower and
the Required DIP Lenders that no Person has accepted such appointment, then such resignation shall
nonetheless become effective in accordance with such notice from the Administrative Agent that no Person
has accepted such appointment and, from and following delivery of such notice, (i) the retiring the
Administrative Agent shall be discharged from its duties and obligations hereunder and under the other
Transaction Documents, and (ii) all payments, communications and determinations provided to be made
by, to or through the Administrative Agent shall instead be made by or to each Lender directly, until such
time as the Required DIP Lenders appoint a successor the Administrative Agent as provided for above in
this paragraph.

                 (c)       Upon (i) an assignment permitted by subsection (a) above, or (ii) the acceptance
of a successor’s appointment as the Administrative Agent pursuant to subsection (b) above, such successor
shall succeed to and become vested with all of the rights, powers, privileges and duties of the retiring (or
retired) the Administrative Agent, and the retiring the Administrative Agent shall be discharged from all of
its duties and obligations hereunder and under the other Transaction Documents (if not already discharged
therefrom as provided above in this paragraph). The fees payable by the Borrower to a successor the
Administrative Agent shall be the same as those payable to its predecessor unless otherwise agreed between
the Borrower and such successor. After the retiring the Administrative Agent’s resignation hereunder and
under the other Transaction Documents, the provisions of this Article and Section 11,12 shall continue in
effect for the benefit of such retiring the Administrative Agent and its sub-agents in respect of any actions



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taken or omitted to be taken by any of them while the retiring the Administrative Agent was acting or was
continuing to act as the Administrative Agent.

        SECTION 11.13 Payment and Sharing of Payment.

                (a)      On the date of any Credit Extension, the Administrative Agent, on behalf of
Lenders, may elect to advance to the Borrower the full amount of the Loan to be made on such date prior
to receiving funds from Lenders, in reliance upon each Lender’s commitment to make its Loan
Commitment Percentage of the applicable Loan to the Borrower in a timely manner on such date. If the
Administrative Agent elects to advance the applicable Loan to the Borrower in such manner, the
Administrative Agent shall be entitled to receive all interest that accrues on the date of any such Credit
Extension on each Lender’s Loan Commitment Percentage of the applicable Loan unless the Administrative
Agent receives such Lender’s Loan Commitment Percentage of the applicable Loan before 3:00 p.m.
(Eastern time) on the date of any such Credit Extension.

                (b)      It is understood that for purposes of advances to the Borrower made pursuant to
this Section 11,13. the Administrative Agent will be using the funds of the Administrative Agent, and
pending settlement, all interest accruing on such advances shall be payable to the Administrative Agent.

               (c)     The provisions of this Section 11,13 shall be deemed to be binding upon the
Administrative Agent and Lenders notwithstanding the occurrence of any Potential Event of Default or
Event of Default, or any insolvency or bankruptcy proceeding pertaining to the Borrower or any other
Credit Party.

         SECTION 11.14 Loan Payments. Payments of principal, interest and fees in respect of the Loans
will be settled on the date of receipt if received by the Administrative Agent on the last Business Day of a
month or on the Business Day immediately following the date of receipt if received on any day other than
the last Business Day of a month.

        SECTION 11.15 Return of Payments.

                 (a)     If the Administrative Agent pays an amount to a Lender under this Agreement in
the belief or expectation that a related payment has been or will be received by the Administrative Agent
from the Borrower and such related payment is not received by the Administrative Agent, then the
Administrative Agent will be entitled to recover such amount from such Lender on demand without setoff,
counterclaim or deduction of any kind, together with interest accruing on a daily basis at the Lederal Lunds
Rate.

                 (b)      If the Administrative Agent determines at any time that any amount received by
the Administrative Agent under this Agreement must be returned to the Borrower or paid to any other
Person pursuant to any insolvency law or otherwise, then, notwithstanding any other term or condition of
this Agreement or any other Transaction Document, the Administrative Agent will not be required to
distribute any portion thereof to any Lender. In addition, each Lender will repay to the Administrative
Agent on demand any portion of such amount that the Administrative Agent has distributed to such Lender,
together with interest at such rate, if any, as the Administrative Agent is required to pay to the Borrower or
such other Person, without setoff, counterclaim or deduction of any kind.

       SECTION 11.16 Sharing of Payments. If any Lender shall obtain any payment or other recovery
(whether voluntary, involuntary, by application of setoff or otherwise) on account of the Loans (other than
pursuant to the terms of Section 5.03(e)) in excess of its pro rata share of the total funded Loans hereunder
of payments entitled pursuant to the other provisions of this Section 11.16, such Lender shall purchase from



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the other Lenders such participations in extensions of credit made by such other Lenders (without recourse,
representation or warranty) as shall be necessary to cause such purchasing Lender to share the excess
payment or other recovery ratably with each of them; provided, however, that if all or any portion of the
excess payment or other recovery is thereafter required to be returned or otherwise recovered from such
purchasing Lender, such portion of such purchase shall be rescinded and each Lender which has sold a
participation to the purchasing Lender shall repay to the purchasing Lender the purchase price to the ratable
extent of such return or recovery, without interest. The Borrower agrees that any Lender so purchasing a
participation from another Lender pursuant to this Section 11.16 may, to the fullest extent permitted by law,
exercise all its rights of payment (including pursuant to Section 14.16) with respect to such participation as
fully as if such Lender were the direct creditor of the Borrower in the amount of such participation). If
under any applicable bankruptcy, insolvency or other similar law, any Lender receives a secured claim in
lieu of a setoff to which this Section 11.16 applies, such Lender shall, to the extent practicable, exercise its
rights in respect of such secured claim in a manner consistent with the rights of the Lenders entitled under
this Section 11.16 to share in the benefits of any recovery on such secured claim.

         SECTION 11.17 Right to Perform. Preserve, and Protect. If any Credit Party fails to perform any
obligation hereunder or under any other Transaction Document, the Administrative Agent itself may, but
shall not be obligated to, cause such obligation to be performed at the Borrower’s expense. The
Administrative Agent is further authorized by the Borrower and the Lenders to make expenditures from
time to time which the Administrative Agent, in its reasonable business judgment, deems necessary or
desirable to (a) preserve or protect the business conducted by the Borrower, the Collateral, or any portion
thereof, and/or (b) enhance the likelihood of, or maximize the amount of, repayment of the Loans and other
Borrower Obligations. The Borrower hereby agrees to reimburse the Administrative Agent on demand for
any and all costs, liabilities and obligations incurred by the Administrative Agent pursuant to this
Section 11.17. Each Lender hereby agrees to indemnify the Administrative Agent upon demand for any
and all costs, liabilities and obligations incurred by the Administrative Agent pursuant to this Section 11.17,
in accordance with the provisions of Section 11.06.

                                               ARTICLE XII

                                                [RESER^h]

                                               ARTICLE XIII

                                           INDEMNIFICATION

        SECTION 13.01 Indemnities by the Borrower.

                 (a)     Without limiting any other rights that the Administrative Agent, the Lenders, the
Affected Persons and their respective assigns, officers, directors, agents and employees (each, a “Borrower
Indemnified Party”) may have hereunder or under Applicable Law, the Borrower hereby agrees to
indemnify each Borrower Indemnified Party from and against any and all claims, losses and liabilities
(including Attorney Costs (excluding the allocated costs of in house counsel and limited to not more than
one firm of counsel for all such Borrower Indemnified Parties, taken as a whole, and, if necessary, a single
local firm of counsel in each appropriate jurisdiction for all such Borrower Indemnified Parties, taken as a
whole (and, in the case of an actual or perceived conflict of interest, of another firm of counsel for such
affected Borrower Indemnified Party)) (all of the foregoing being collectively referred to as “Borrower
Indemnified Amounts”) arising out of or resulting from this Agreement, any other Transaction Document
or any Pre-Petition Transaction Document or the use of proceeds of the Loans or the security interest in
respect of any of the Collateral; excluding, however, (i) Borrower Indemnified Amounts to the extent a
final non-appealable judgment of a court of competent jurisdiction holds that such Borrower Indemnified



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Amounts resulted solely from the fraud, gross negligence or willful misconduct by the Borrower
Indemnified Party seeking indemnification and (ii) Borrower Indemnified Amounts to the extent arising
from a claim, action, litigation, investigation, or other proceeding that does not arise from any act or
omission by any Credit Party or any officer, partner, director, trustee, employee, or agent of any Credit
Party and that is brought by any Borrower Indemnified Party against another Borrower Indemnified Party
(other than any such claim, action, litigation, investigation, or other proceeding brought against the
Administrative Agent in its capacity as such).

                 (b)      [Reserved].

                (c)      If for any reason the foregoing indemnification is unavailable to any Borrower
Indemnified Party or insufficient to hold it harmless, then the Borrower shall contribute to such Borrower
Indemnified Party the amount paid or payable by such Borrower Indemnified Party as a result of such loss,
claim, damage or liability in such proportion as is appropriate to reflect the relative economic interests of
the Borrower and its Affiliates on the one hand and such Borrower Indemnified Party on the other hand in
the matters contemplated by this Agreement as well as the relative fault of the Borrower and its Affiliates
and such Borrower Indemnified Party with respect to such loss, claim, damage or liability and any other
relevant equitable considerations. The reimbursement, indemnity and contribution obligations of the
Borrower under this Section shall be in addition to any liability which the Borrower may otherwise have,
shall extend upon the same terms and conditions to each Borrower Indemnified Party, and shall be binding
upon and inure to the benefit of any successors, assigns, heirs and personal representatives of the Borrower
and the Borrower Indemnified Parties.

                (d)     Any indemnification or contribution under this Section shall survive the
termination of this Agreement. For the avoidance of doubt, the indemnity provided pursuant to this
Section 13,01 and Section 14,04 shall not apply to claims for Indemnified Taxes or Excluded Taxes.

                                               ARTICLE XIV

                                            MISCELLANEOUS

        SECTION 14.01 Amendments. Etc.

                 (a)      No provision of this Agreement or any other Transaction Document may be
amended, waived or otherwise modified unless such amendment, waiver or other modification is in writing
and is signed or otherwise approved by Borrower and the Required DIP Lenders (and, if any amendment,
waiver or other modification would either increase a Lender’s Commitment, by such Lender and (y) the
rights or duties of Administrative Agent are affected thereby, by Administrative Agent); provided that no
such amendment, waiver or other modification shall, unless signed by all Lenders directly affected thereby,
(i) reduce the principal of, rate of interest (excluding, for the avoidance of doubt, any amendment, waiver
or other modification to Article IX or the defined terms used therein, which shall be subject to the approval
of Required DIP Lenders) on or any fees or prepayment premium with respect to any Loan or forgive any
principal, interest or fees or prepayment premium with respect to any Loan (provided that this clause (i)
shall not apply to the waiver of default interest); (ii) postpone or waive the date fixed for any payment of
principal of any Loan or of interest on any Loan or any fees or prepayment premium hereunder or for any
termination of any commitment; (iii) change the definition of the term Required DIP Lenders or the
percentage of Lenders which shall be required for Lenders to take any action hereunder; (iv) release, or
subordinate Administrative Agent’s lien in respect of, all or substantially all of the Collateral, authorize any
Credit Party to sell or otherwise dispose of all or substantially all of the Collateral, or release any Guarantor
from all or any portion of its obligations under the Guaranty or any similar Transaction Document, except
as otherwise may be provided in this Agreement or the other Transaction Documents (including, without



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limitation, in connection with any disposition permitted hereunder); (v) amend, waive or otherwise modify
either of Section 4.01(a), Section 11.16, this Section 14.01, Section 14.03 or the definitions of the terms
used in such Sections insofar as the definitions affect the substance of such Sections; (vi) consent to the
assignment, delegation or other transfer by any Credit Party of any of its rights and obligations under any
Transaction Document or release any Credit Party of its payment obligations under any Transaction
Document, except pursuant to a merger, consolidation or other transaction permitted pursuant to this
Agreement (it being understood and agreed that all Lenders shall be deemed directly affected by an
amendment, waiver or other modification of the type described in the preceding clauses (iii), (iv), (v) and
(vi)), or (vii) change any provision in respect of any Credit Party or its Affiliates acquiring any interest in
any of the Borrower Obligations.

                  (b)     Notwithstanding the foregoing in this Section 14.01, Administrative Agent and the
Borrower may amend or modify this Agreement and any other Transaction Document to (i) cure any factual
or typographical error, omission, defect or inconsistency therein if such amendment, modification or
supplement does not adversely affect any Lender or (ii) grant a new Lien, for the benefit of the Lenders,
extend an existing Lien over additional property, for the benefit of the Lenders, or join additional Persons
as Credit Parties. In addition, the Transaction Documents and related documents executed by the Credit
Parties in connection with this Agreement may be in a form reasonably determined by Administrative Agent
and may be, together with this Agreement, amended and waived with the consent of Administrative Agent
at the request of the Borrower without the need to obtain the consent of any other Lender solely to the extent
such amendment or waiver is required in order (i) to comply with local law or (ii) to cause such Transaction
Document or other document to be consistent with this Agreement and the other Transaction Documents.

         SECTION 14.02 Notices. Etc. All notices and other communications hereunder shall, unless
otherwise stated herein, be in writing (which shall include facsimile and email communication) and faxed,
emailed or delivered, to each party hereto, at its address set forth under its name on Schedule V hereto or
at such other address, facsimile number or email address as shall be designated by such party in a written
notice to the other parties hereto. Notices and communications by facsimile or email shall be effective
when sent receipt confirmed by electronic or other means (such as by the “return receipt requested”
function, as available, return electronic mail or other acknowledgement), and notices and communications
sent by other means shall be effective when received.

        SECTION 14.03 Assignability; Addition of Lenders.

                  (a)      Assignment by Lenders. Each Lender may assign to any Eligible Assignee or to
any other Lender all or a portion of its rights and obligations under this Agreement (including, but not
limited to, (A) all or a portion of its unfunded Commitment hereunder without the necessity of transferring
any portion of any Loan funded by such Lender or other obligations owed to it hereunder, or (B) all or a
portion of any Loan funded by such Lender or other obligations owed to it hereunder without the necessity
of transferring any portion of its unfunded Commitment hereunder); provided, however, that

                (i)      except for an assignment by a Lender to either an Affiliate of such Lender or any
        other Lender, each such assignment shall require the prior written consent of the Borrower (such
        consent not to be unreasonably withheld, conditioned or delayed); provided, that such consent shall
        be deemed to be given if the Borrower does not respond within five (5) Business Days of a request
        for consent; and provided, further, that such consent shall not be required if an Event of Default
        has occurred and is continuing;

                 (ii)    each such assignment shall be of a constant, and not a varying, percentage of all
        rights and obligations under this Agreement; and




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                (iii)    the parties to each such assignment shall execute and deliver to the Administrative
        Agent, for its acceptance and recording in the Register, an Assignment and Acceptance Agreement.

         Upon such execution, delivery, acceptance and recording from and after the effective date specified
in such Assignment and Acceptance Agreement, (x) the assignee thereunder shall be a party to this
Agreement, and to the extent that rights and obligations under this Agreement have been assigned to it
pursuant to such Assignment and Acceptance Agreement, have the rights and obligations of a Lender
hereunder and (y) the assigning Lender shall, to the extent that rights and obligations have been assigned
by it pursuant to such Assignment and Acceptance Agreement, relinquish such rights and be released from
such obligations under this Agreement (and, in the case of an Assignment and Acceptance Agreement
covering all or the remaining portion of an assigning Lender’s rights and obligations under this Agreement,
such Lender shall cease to be a party hereto).

                 (b)      Register. The Administrative Agent shall, acting solely for this purpose as an agent
of the Borrower, maintain at its address referred to on Schedule V of this Agreement (or such other address
of the Administrative Agent notified by the Administrative Agent to the other parties hereto) a copy of each
Assignment and Acceptance Agreement delivered to and accepted by it and a register for the recordation
of the names and addresses of the Lenders, the Commitment of each Lender and the aggregate outstanding
principal amount (and stated interest) of the Loans of each Lender from time to time (the “Register”). The
entries in the Register shall be conclusive and binding for all purposes, absent manifest error, and the Credit
Parties, the Administrative Agent, and the Lenders shall treat each Person whose name is recorded in the
Register pursuant to the terms of this Agreement as a Lender under this Agreement for all purposes of this
Agreement. The Register shall be available for inspection by the Credit Parties or any Lender at any
reasonable time and from time to time upon reasonable prior notice.

                 (c)      Procedure. Upon its receipt of an Assignment and Acceptance Agreement
executed and delivered by an assigning Lender and an Eligible Assignee or assignee Lender, the
Administrative Agent shall, if such Assignment and Acceptance Agreement has been duly completed, (i)
accept such Assignment and Acceptance Agreement, (ii) record the information contained therein in the
Register and (iii) give prompt notice thereof to the Credit Parties.

                (d)     Participations. Each Lender may sell participations to one or more Eligible
Assignees (each, a “Participant”) in or to all or a portion of its rights and/or obligations under this
Agreement (including, without limitation, all or a portion of its Commitment or the interests in the Loans
owned by it); provided, however, that

              (i)     such Lender’s obligations under this Agreement (including, without limitation, its
        Commitment to the Borrower hereunder) shall remain unchanged, and

                 (ii)   such Lender shall remain solely responsible to the other parties to this Agreement
        for the performance of such obligations.

         The Administrative Agent, the Lenders, and the Credit Parties shall have the right to continue to
deal solely and directly with such Lender in connection with such Lender’s rights and obligations under
this Agreement. The Credit Parties agree that each Participant shall be entitled to the benefits of
Sections 5,01 and 5,03 (subject to the requirements and limitations therein, including the requirements
under Section 5.03(f) (it being understood that the documentation required under Section 5.03(f) shall be
delivered to the participating Lender)) to the same extent as if it were a Lender and had acquired its interest
by assignment pursuant to paragraph (b) of this Section; provided, that such Participant shall not be entitled
to receive any greater payment under Section 5,01 or 5,03, with respect to any participation, than its
participating Lender would have been entitled to receive, except to the extent such entitlement to receive a



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greater payment results from a Change in Law that occurs after the Participant acquired the applicable
participation.

                  (e)     Participant Register. Each Lender that sells a participation shall, acting solely for
this purpose as a non-fiduciary agent of the Credit Parties, maintain a register on which it enters the name
and address of each Participant and the principal amounts (and stated interest) of each Participant’s interest
in the Loans or other obligations under this Agreement (the “Participant Register”); provided, that no
Lender shall have any obligation to disclose all or any portion of the Participant Register (including the
identity of any Participant or any information relating to a Participant’s interest in any Commitments, Loans
or its other obligations under any this Agreement) to any Person except to the extent that such disclosure is
necessary to establish that such Commitment, Loan or other obligation is in registered form under Section
5flO3-l(c) of the United States Treasury Regulations. The entries in the Participant Register shall be
conclusive absent manifest error, and such Lender shall treat each Person whose name is recorded in the
Participant Register as the owner of such participation for all purposes of this Agreement notwithstanding
any notice to the contrary. Lor the avoidance of doubt, the Administrative Agent (in its capacity as
Administrative Agent) shall have no responsibility for maintaining a Participant Register.

                 (f)     Assignments by Administrative Agent. This Agreement and the rights and
obligations of the Administrative Agent herein shall be assignable by the Administrative Agent and its
successors and assigns; provided, that in the case of an assignment to a Person that is not an Affiliate of the
Administrative Agent or a Lender, so long as no Event of Default has occurred and is continuing, such
assignment shall require the Credit Parties’ consent (not to be unreasonably withheld, conditioned or
delayed).

                 (g)     Assignments by the Credit Parties. The Credit Parties may not assign any of their
respective rights or obligations hereunder or any interest herein without the prior written consent of the
Administrative Agent and each Lender (such consent to be provided or withheld in the sole discretion of
such Person).

                  (h)    Pledge to Secure Obligations of Lender. Notwithstanding anything to the contrary
set forth herein, any Lender or any of their respective Affiliates may at any time pledge or grant a security
interest in all or any portion of its interest in, to and under this Agreement and any other Transaction
Document to secure obligations of such Lender to any Person providing any extension of credit or financial
arrangement to or for the account of such Lender or any of its Affiliates and any agent, trustee, or
representative of such Person (without notice to or the consent of the Credit Parties, any other Lender, or
the Administrative Agent); provided, that no such pledge shall relieve such Lender of its obligations under
this Agreement or substitute any such pledgee for such Lender as a party hereto.

         SECTION 14.04 Costs and Expenses. In addition to the rights of indemnification granted under
Section 13,01 hereof, the Credit Parties agree to pay on demand all reasonable and documented out-of­
pocket costs and expenses in connection with the preparation, negotiation, execution, delivery and
administration of this Agreement and the other Transaction Documents (together with all amendments,
restatements, supplements, consents and waivers, if any, from time to time hereto and thereto) and any costs
incurred in connection with the Chapter 11 Cases, including, without limitation, (i) the reasonable and
documented out-of-pocket Attorney Costs for the Administrative Agent and the Lenders and any of their
respective Affiliates with respect thereto and with respect to advising the Administrative Agent and the
Lenders and their respective Affiliates as to their rights and remedies under this Agreement and the other
Transaction Documents and (ii) reasonable and documented out-of-pocket accountants’, auditors’ and
consultants’ fees and expenses for the Administrative Agent and the Lenders and any of their respective
Affiliates incurred in connection with the administration and maintenance of this Agreement or advising
the Administrative Agent or any Lender as to their rights and remedies under this Agreement or as to any



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actual or reasonably claimed breach of this Agreement or any other Transaction Document. In addition,
the Borrower agrees to pay on demand all reasonable and documented out-of-pocket costs and expenses
(including reasonable and documented Attorney Costs), of the Administrative Agent and the Lenders and
their respective Affiliates, incurred in connection with the enforcement of any of their respective rights or
remedies under the provisions of this Agreement and the other Transaction Documents.

         SECTION 14.05 Invoices for Indemnified Amounts. To the extent invoiced to the Borrower at
least seven (7) Business Days prior to a Payment Date, any indemnification amounts under this Agreement
shall be paid pursuant to the Priority of Payments on such Payment Date (it being agreed and understood,
for the avoidance of doubt, that if any such amount is invoiced less than seven (7) Business Days prior to a
Payment Date, such amount shall be paid on the next Payment Date).

        SECTION 14.06 Confidentiality.

                 (a)     [reserved].

                  (b)     Each of the Administrative Agent and each Lender, severally and with respect to
itself only, agrees to hold in confidence, and not disclose to any Person, any confidential and proprietary
information concerning the Credit Parties and their respective Affiliates and their businesses or the terms
of this Agreement (including any fees payable in connection with this Agreement or the other Transaction
Documents), except as the Credit Parties may have consented to in writing prior to any proposed disclosure;
provided, however, that it may disclose such information (i) to its Advisors and Representatives, (ii) to its
assignees and Participants and potential assignees and Participants and their respective counsel if they agree
in writing to hold it confidential, (iii) to the extent such information has become available to the public
other than as a result of a disclosure by or through it or its Representatives or Advisors, (iv) at the request
of a bank examiner or other regulatory authority or in connection with an examination of any of the
Administrative Agent or any Lender or their respective Affiliates or (v) to the extent it should be (A)
required by Applicable Law, or in connection with any legal or regulatory proceeding or (B) requested by
any Governmental Authority to disclose such information; provided, that in the case of clause (v) above,
the Administrative Agent and each Lender will use reasonable efforts to maintain confidentiality and will
(unless otherwise prohibited by Applicable Law) notify the Credit Parties of its making any such disclosure
as promptly as reasonably practicable thereafter. Each of the Administrative Agent and each Lender,
severally and with respect to itself only, agrees to be responsible for any breach of this Section by its
Representatives and Advisors and agrees that its Representatives and Advisors will be advised by it of the
confidential nature of such information and shall agree to comply with this Section.

                 (c)      As used in this Section, (i) “Advisors” means, with respect to any Person, such
Person’s accountants, attorneys and other confidential advisors and (ii) “Representatives” means, with
respect to any Person, such Person’s Affiliates, Subsidiaries, directors, managers, officers, employees,
members, investors, financing sources, insurers, professional advisors, representatives and agents;
provided, that such Persons shall not be deemed to Representatives of a Person unless (and solely to the
extent that) confidential information is furnished to such Person.

                 (d)     Notwithstanding the foregoing, to the extent not inconsistent with applicable
securities laws, each party hereto (and each of its employees, representatives or other agents) may disclose
to any and all persons, without limitation of any kind, the tax treatment and tax structure (as defined in
Section 1.6011-4 of the Treasury Regulations) of the transactions contemplated by the Transaction
Documents and all materials of any kind (including opinions or other tax analyses) that are provided to such
Person relating to such tax treatment and tax structure.




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      SECTION 14.07 GOVERNING LAW.    TO THE EXTENT NOT GOVERNED BY THE
PROVISIONS OF THE BANKRUPTCY CODE, THIS AGREEMENT, INCLUDING THE RIGHTS
AND DUTIES OF THE PARTIES HERETO, SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK (INCLUDING SECTIONS 5­
1401 AND 5-1402 OF THE GENERAL OBLIGATIONS LAW OF THE STATE OF NEW YORK, BUT
WITHOUT REGARD TO ANY OTHER CONFLICTS OF LAW PROVISIONS THEREOF, EXCEPT
TO THE EXTENT THAT THE PERFECTION, THE EFFECT OF PERFECTION OR PRIORITY OF
THE INTERESTS OF ADMINISTRATIVE AGENT OR ANY LENDER IN THE COLLATERAL IS
GOVERNED BY THE LAWS OF A JURISDICTION OTHER THAN THE STATE OF NEW YORK).

         SECTION 14.08 Execution in Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed shall be deemed to be an original and all of which when
taken together shall constitute one and the same agreement. Execution of any such counterpart may be by
means of (a) an electronic signature) that complies with the federal Electronic Signatures in Global and
National Commerce Act, state enactments of the Uniform Electronic Transactions Act, or any other relevant
and applicable electronic signatures law; (b) an original manual signature; or (c) a faxed, scanned, or
photocopied manual signature. Each electronic signature or faxed, scanned, or photocopied manual
signature shall for all purposes have the same validity, legal effect, and admissibility in evidence as an
original manual signature. The Administrative Agent reserves the right, in its sole discretion, to accept,
deny, or condition acceptance of any electronic signature on this Agreement or other Transaction
Document. The foregoing shall apply to each other Transaction Document, and any notice delivered
hereunder or thereunder, mutatis mutandis.

         SECTION 14.09 Integration; Binding Effect; Survival of Termination. This Agreement and the
other Transaction Documents contain the final and complete integration of all prior expressions by the
parties hereto with respect to the subject matter hereof and shall constitute the entire agreement among the
parties hereto with respect to the subject matter hereof superseding all prior oral or written understandings.
This Agreement shall be binding upon and inure to the benefit of the parties hereto and their respective
successors and permitted assigns. This Agreement shall create and constitute the continuing obligations of
the parties hereto in accordance with its terms and shall remain in full force and effect until the Final Payout
Date; provided, however, that the provisions of Sections 5.01. 5.02, 5.03, Article XI, 13.01, 13.02, 14.04,
 14.05, 14.06, 14.09, 14.11 and 14.13 shall survive any termination of this Agreement.

        SECTION 14.10 CONSENT TO JURISDICTION.

            (a)   EACH PARTY HERETO HEREBY IRREVOCABLY SUBMITS TO (I) WITH
RESPECT TO THE CREDIT PARTIES, THE EXCLUSIVE JURISDICTION, AND (II) WITH RESPECT
TO EACH OF THE OTHER PARTIES HERETO, THE NON-EXCLUSIVE JURISDICTION, IN EACH
CASE, IF THE BANKRUPTCY COURT DOES NOT HAVE OR DOES NOT EXERCISE
JURISDICTION, OF ANY NEW YORK STATE OR FEDERAL COURT SITTING IN NEW YORK
CITY, NEW YORK IN ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY OTHER TRANSACTION DOCUMENT, AND EACH PARTY HERETO
HEREBY IRREVOCABLY AGREES THAT ALL CLAIMS IN RESPECT OF SUCH ACTION OR
PROCEEDING (I) IF BROUGHT BY THE CREDIT PARTIES OR ANY AFFILIATE THEREOF,
SHALL BE HEARD AND DETERMINED, AND (II) IF BROUGHT BY ANY OTHER PARTY TO THIS
AGREEMENT OR ANY OTHER TRANSACTION DOCUMENT, MAY BE HEARD AND
DETERMINED, IN EACH CASE, IN SUCH NEW YORK STATE COURT OR, TO THE EXTENT
PERMITTED BY LAW, IN SUCH FEDERAL COURT. NOTHING IN THIS SECTION 14,10 SHALL
AFFECT THE RIGHT OF THE ADMINISTRATIVE AGENT OR ANY OTHER CREDIT PARTY TO
BRING ANY ACTION OR PROCEEDING AGAINST ANY CREDIT PARTY OR ANY OF THEIR
RESPECTIVE PROPERTY IN THE COURTS OF OTHER JURISDICTIONS. EACH CREDIT PARTY



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HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT IT MAY EFFECTIVELY DO SO,
THE DEFENSE OF AN INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH ACTION OR
PROCEEDING. THE PARTIES HERETO AGREE THAT A FINAL JUDGMENT IN ANY SUCH
ACTION OR PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER
JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY
LAW.

            (b)   EACH OF THE CREDIT PARTIES CONSENTS TO THE SERVICE OF ANY
AND ALL PROCESS IN ANY SUCH ACTION OR PROCEEDING BY THE MAILING OF COPIES OF
SUCH PROCESS TO IT AT ITS ADDRESS SPECIFIED A SECTION14.Q2. NOTHING IN THIS
SECTION 14,10 SHALL AFFECT THE RIGHT OF THE ADMINISTRATIVE AGENT OR ANY
OTHER CREDIT PARTY TO SERVE LEGAL PROCESS IN ANY OTHER MANNER PERMITTED
BY LAW.

      SECTION 14.11 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY WAIVES,
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, TRIAL BY JURY IN ANY
JUDICIAL PROCEEDING INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER (WHETHER
SOUNDING IN TORT, CONTRACT OR OTHERWISE) IN ANY WAY ARISING OUT OF, RELATED
TO, OR CONNECTED WITH THIS AGREEMENT OR ANY OTHER TRANSACTION DOCUMENT.

        SECTION 14.12 Ratable Payments. If any Lender, whether by setoff or otherwise, has payment
made to it with respect to any Borrower Obligations in a greater proportion than that received by any other
Lender entitled to receive a ratable share of such Borrower Obligations, such Lender agrees, promptly upon
demand, to purchase for cash without recourse or warranty a portion of such Borrower Obligations held by
the other Lenders so that after such purchase each Lender will hold its ratable proportion of such Borrower
Obligations; provided, that if all or any portion of such excess amount is thereafter recovered from such
Lender, such purchase shall be rescinded and the purchase price restored to the extent of such recovery, but
without interest.

        SECTION 14.13 Limitation of Liability.

                  (a)      Except as provided in paragraph 32 of the Interim Order, no claim may be made
by the Borrower or any Affiliate thereof or any other Person against any Lender, the Administrative Agent,
or their respective Affiliates, members, directors, officers, employees, incorporators, attorneys or agents for
any special, indirect, consequential or punitive damages in respect of any claim for breach of contract or
any other theory of liability arising out of or related to the transactions contemplated by this Agreement or
any other Transaction Document, or any act, omission or event occurring in connection herewith or
therewith; and each of the Credit Parties hereby waives, releases, and agrees not to sue upon any claim for
any such damages, whether or not accrued and whether or not known or suspected to exist in its favor.
None of the Lenders, the Administrative Agent, and their respective Affiliates shall have any liability to the
Borrower or any Affiliate thereof or any other Person asserting claims on behalf of or in right of the
Borrower or any Affiliate thereof in connection with or as a result of this Agreement or any other
Transaction Document or the transactions contemplated hereby or thereby, except to the extent that any
losses, claims, damages, liabilities or expenses incurred by the Credit Parties or any Affiliate thereof result
from the breach of contract, gross negligence or willful misconduct of such Lender or the Administrative
Agent or any of their respective Affiliates in performing its duties and obligations hereunder and under the
other Transaction Documents to which it is a party.

                (b)     No claim may be made by the Administrative Agent, any Lender, or any Affiliate
thereof or any other Person against any Credit Party, or their respective Affiliates, members, directors,
officers, employees, incorporators, attorneys or agents for any special, indirect, consequential or punitive



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damages in respect of any claim for breach of contract or any other theory of liability arising out of or
related to the transactions contemplated by this Agreement or any other Transaction Document, or any act,
omission or event occurring in connection herewith or therewith; and each of the Administrative Agent and
each Lender hereby waives, releases, and agrees not to sue upon any claim for any such damages, whether
or not accrued and whether or not known or suspected to exist in its favor. None of the Credit Parties, and
their respective Affiliates shall have any liability to the Administrative Agent, any Lender or any Affiliate
thereof or any other Person asserting claims on behalf of or in right of the Borrower or any Affiliate thereof
in connection with or as a result of this Agreement or any other Transaction Document or the transactions
contemplated hereby or thereby, except to the extent that any losses, claims, damages, liabilities or expenses
incurred by the Administrative Agent, such Lender, or any Affiliate thereof result from the breach of
contract, gross negligence or willful misconduct of such Credit Party or Affiliate in performing its duties
and obligations hereunder and under the other Transaction Documents to which it is a party.

                (c)     The obligations of the Administrative Agent, each Lender and each Credit Party
under this Agreement and each of the Transaction Documents are solely the corporate obligations of such
Person. No recourse shall be had for any obligation or claim arising out of or based upon this Agreement
or any other Transaction Document against any member, director, officer, employee or incorporator of any
such Person.

         SECTION 14.14 Intent of the Parties. The Borrower has structured this Agreement with the
intention that the Loans and the obligations of the Borrower hereunder will be treated under United States
federal, and applicable state, local and foreign tax law as debt (the “Intended Tax Treatment”). The
Borrower, the Lenders, and the Administrative Agent agree to file no tax return, or take any action,
inconsistent with the Intended Tax Treatment unless required by law. Each assignee and each Participant
acquiring an interest in a Credit Extension, by its acceptance of such assignment or participation, agrees to
comply with the immediately preceding sentence.

         SECTION 14.15 USA Patriot Act. Each of the Administrative Agent and each of the Lenders
hereby notifies the Credit Parties that pursuant to the requirements of the USA PATRIOT Act, Title III of
Pub. L. 107-56 (signed into law October 26, 2001) (the “PATRIOT Act”), the Administrative Agent and
the Lenders may be required to obtain, verify and record information that identifies the Credit Parties and
the Parent, which information includes the name, address, tax identification number and other information
regarding the Credit Parties and the Parent that will allow the Administrative Agent and the Lenders to
identify the Credit Parties and the Parent in accordance with the PATRIOT Act. This notice is given in
accordance with the requirements of the PATRIOT Act. Each of the Credit Parties agrees to provide the
Administrative Agent and each Lender, from time to time, with all documentation and other information
required by bank regulatory authorities under “know your customer” and anti-money laundering rules and
regulations, including, without limitation, the PATRIOT Act.

        SECTION 14.16 Right of Setoff. Each Lender is hereby authorized (in addition to any other rights
it may have), at any time during the continuance of an Event of Default, to setoff, appropriate and apply
(without presentment, demand, protest or other notice which are hereby expressly waived) any deposits and
any other indebtedness held or owing by such Lender (including by any branches or agencies of such
Lender) to, or for the account of, the Borrower against amounts owing by the Borrower hereunder (even if
contingent or unmatured); provided, that such Lender shall notify the Borrower promptly following such
setoff.

         SECTION 14.17 Severability. Any provisions of this Agreement which are prohibited or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining provisions hereof, and any such




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prohibition or unenforceability in any jurisdiction shall not invalidate or render unenforceable such
provision in any other jurisdiction.

         SECTION 14.18 Mutual Negotiations. This Agreement and the other Transaction Documents are
the product of mutual negotiations by the parties thereto and their counsel, and no party shall be deemed
the draftsperson of this Agreement or any other Transaction Document or any provision hereof or thereof
or to have provided the same. Accordingly, in the event of any inconsistency or ambiguity of any provision
of this Agreement or any other Transaction Document, such inconsistency or ambiguity shall not be
interpreted against any party because of such party’s involvement in the drafting thereof.

        SECTION 14.19 Captions and Cross References. The various captions (including the table of
contents) in this Agreement are provided solely for convenience of reference and shall not affect the
meaning or interpretation of any provision of this Agreement. Unless otherwise indicated, references in
this Agreement to any Section, Schedule or Exhibit are to such Section Schedule or Exhibit to this
Agreement, as the case may be, and references in any Section, subsection, or clause to any subsection,
clause or subclause are to such subsection, clause or subclause of such Section, subsection or clause.

         SECTION 14.20 Parties Including Trustees; Bankruptcy Court Proceedings. This Agreement, the
other Transaction Documents, and all Liens and other rights and privileges created hereby or pursuant
hereto or to any other Transaction Document shall be binding upon the Credit Parties, the estate of each
Credit Party, and any trustee, other estate representative or any successor in interest of each Credit Party in
the Chapter 11 Cases or any subsequent case commenced under Chapter 7 of the Bankruptcy Code. This
Agreement and the other Transaction Documents shall be binding upon, and inure to the benefit of, the
successors of the Administrative Agent and the Secured Parties and their respective assigns, transferees and
endorsees. The Liens created by this Agreement and the other Transaction Documents shall be and remain
valid and perfected in the event of the substantive consolidation or conversion of the Chapter 11 Cases or
any other bankruptcy case of the Credit Parties to a case under Chapter 7 of the Bankruptcy Code or in the
event of dismissal of the Chapter 11 Cases or the release of any Collateral from the jurisdiction of the
Bankruptcy Court for any reason, without the necessity that the Administrative Agent file financing
statements or otherwise perfect its Liens under applicable law. The terms and provisions of this Agreement
are for the purpose of defining the relative rights and obligations of the Credit Parties, the Administrative
Agent and Secured Parties with respect to the transactions contemplated hereby and no Person shall be a
third party beneficiary of any of the terms and provisions of this Agreement or any of the other Transaction
Documents.

         SECTION 14.21 Inconsistency. In the event of any inconsistency between the terms and
conditions of this Agreement and of the DIP Orders, the provisions of the DIP Orders shall govern and
control.

         SECTION 14.22 Pre-Petition Lender Consent. Each Pre-Petition Lender signatory hereto hereby
irrevocably (x) consents, in their capacity as a Pre-Petition Lender, to the terms of this Agreement and the
other Transaction Documents and the entry of the Interim Order and the Final Order, (y) authorizes and
directs the Administrative Agent to, in a manner determined by the Administrative Agent, credit bid all or
any portion of the Pre-Petition Obligations in connection with any proposed sale of all or any portion of the
assets of any or all of the Credit Parties (a “Credit Bid Transaction”) and (z) in connection with any Credit
Bid Transaction, consents to the assignment and delegation to a Qualified Purchaser of such rights and
obligations under the Pre-Petition Loan Agreement, the other Pre-Petition Transaction Documents, this
Agreement and the other Transaction Documents, in each case as the Administrative Agent determines in
order to consummate such Credit Bid Transaction (and each such Pre-Petition Lender shall execute and
deliver such documents as the Administrative Agent reasonably requests to evidence such assignment and
delegation).



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         SECTION 14.23 Lender Consent to Credit Bid. Each Lender hereby irrevocably (x) authorizes
and directs the Administrative Agent to, in a manner determined by the Administrative Agent, credit bid
all or any portion of the Borrower Obligations in connection with any Credit Bid Transaction and (y) in
connection with any Credit Bid Transaction, consents to the assignment and delegation to a Qualified
Purchaser of such rights and obligations under this Agreement and the other Transaction Documents, in
each case as the Administrative Agent determines in order to consummate such Credit Bid Transaction (and
each such Lender shall execute and deliver such documents as the Administrative Agent reasonably
requests to evidence such assignment and delegation).

                                       [Signature Pages Lollow].




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        IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by their
respective officers thereunto duly authorized, as of the date first above written.

                                      BIRD US OPCO, LLC, as a Credit Party


                                      By:
                                      Name:
                                      Title:


                                      BIRD US HOLDCO, LLC, as a Credit Party


                                      By:
                                      Name:
                                      Title:

                                      BIRD GLOBAL, INC., as a Credit Party


                                      By:
                                      Name:
                                      Title:

                                      BIRD RIDES, INC., as the Borrower


                                      By:
                                      Name:
                                      Title:

                                      SKINNY LABS, INC., as a Credit Party


                                      By:
                                      Name:
                                      Title:




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                                 MIDCAP FINANCIAL TRUST,
                                 as Administrative Agent

                                 By:      Apollo Capital Management, L.P.,
                                          its investment manager

                                 By:      Apollo Capital Management, GP, LLC,
                                          its general partner


                                 By:
                                 Name:
                                 Title:




                                 MIDCAP FINANCIAL TRUST,
                                 as a Lender

                                 By:      Apollo Capital Management, L.P.,
                                          its investment manager

                                 By:      Apollo Capital Management, GP, LLC,
                                          its general partner




                                 By:
                                 Name:
                                 Title:




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                                 MIDCAP FINANCIAL INVESTMENT CORPORATION
                                 (formerly known as Apollo Investment Corporation),
                                 as a Lender


                                 By:
                                 Name: Kristin Hester
                                 Title: Chief Legal Officer




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                             SCHEDULE I

                     DIP Term Loan Commitments

        Lender                                        Loans

 MidCap Financial Trust                             $19,500,000
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                      SCHEDULE II

                        [Reserved]
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                      SCHEDULE III

                        [Reserved]
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                                   SCHEDULE IV

                                  Notice Addresses

Borrower and Parent       if to Parent, to:

                         Bird Global, Inc.
                         392 NE 191st Street, #20388
                         Miami, FL. 33179
                         Attn: John Bitove
                         with a copy (which shall not constitute notice) to:
                         Attn: Michael Washinushi
                         Email: michael.washinushi@bird. co
                         Telephone No.: (866) 205-2442

                         (b) if to the Borrower, to:
                         Bird Rides, Inc.
                         392 NE 191st Street, #20388
                         Miami, FL. 33179
                         Attn: John Bitove

                         with a copy (which shall not constitute notice) to:

                         Attn: Michael Washinushi
                         Email: michael.washinushi@bird. co
                         Telephone No.: (866) 205-2442

Administrative Agent     MidCap Financial Trust
                         c/o MidCap Financial Services, LLC, as servicer
                         7255 Woodmont Avenue, Suite 300
                         Bethesda, Maryland 20814
                         Attn: Account Manager for Bird transaction
                         Facsimile: 301-941-1450
                         Email: notices@midcapfmancial.com

                         With a copy to:

                         MidCap Financial Trust
                         c/o MidCap Financial Services, LLC, as servicer
                         7255 Woodmont Avenue, Suite 300
                         Bethesda, Maryland 20814
                         Attn: General Counsel
                         Facsimile: 301-941-1450
                         Email: legalnotices@midcapfmancial.com
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                      SCHEDULE V

                        [Reserved]
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                      SCHEDULE VI

                        [reserved]
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                                      Exhibit 4

                             DIP Note Purchase Agreement




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                                                           Venable Draft December 19, 2023




                 SENIOR SECURED PRIMING AND SUPER-PRIORITY
                    DEBTOR-IN-POSSESSION NOTE PURCHASE
                                AGREEMENT


                                     by and among


                                 BIRD GLOBAL, INC.,
                        as Debtor, Debtor-in Possession and Issuer

               THE SEVERAL PURCHASERS FROM TIME TO TIME PARTY
                                  HERETO

                                           AND

               U.S. BANK TRUST COMPANY, NATIONAL ASSOCIATION,
                                as Collateral Agent


                           Dated as of December [      ], 2023




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        THIS SENIOR SECURED PRIMING AND SUPER-PRIORITY DEBTOR-IN-
POSSESSION NOTE PURCHASE AGREEMENT (including all exhibits and schedules
hereto, as the same may be amended, supplemented, or otherwise modified, this “Agreement”),
dated as of December [       ], 2023 (the “Closing Date”), is entered into by and among the
“Purchasers” (as defined below) signatory hereto, Bird Global, Inc., a Delaware corporation (the
“Issuer”), and U.S. Bank Trust Company, National Association, as collateral agent (in such
capacity, together with its successors and assigns in such capacity, the “Collateral Agent”),
provides the terms on which the Purchasers, on the date hereof, shall purchase the Notes (as defined
below) as set forth herein.

        WHEREAS, on December 19, 2023 (“Petition Date”), certain of the Note Parties filed voluntary
petitions for relief under Chapter 11 of the Bankruptcy Code with the Bankruptcy Court;

        WHEREAS, from and after the Petition Date, the Note Parties are continuing to operate their
business and manage their properties as debtors in possession under Sections 1107 and 1108 of the
Bankruptcy Code;

         WHEREAS, the Issuer has requested, and the Purchasers have agreed to purchase from the Issuer,
$[        ] DIP notes subject to the terms and conditions set forth in this Agreement, the proceeds of which
will be used in accordance with Section 7.5 hereof;

         WHEREAS, the Issuer, the Persons named therein as credit parties, the Pre-Petition Financing
Agent (defined herein), as administrative agent, and the financial institutions party thereto as lenders are
parties to that certain Amended and Restated Loan Agreement dated as of September 19,2023 (as amended
or otherwise modified on or prior to the Petition Date, the “Pre-Petition Financing Credit Agreement”);

         WHEREAS, on the Closing Date (defined herein), the Issuer, the Persons named therein as credit
parties, the DIP Financing Agent (defined herein), as administrative agent, and the financial institutions
party thereto as lenders are entering into to that certain Senior Secured Priming and Super-Priority Debtor­
In-Possession Loan Agreement (as amended or otherwise modified, the “DIP Financing Credit
Agreement”); and

        WHEREAS, the Note Parties desire to secure all of the Obligations under the Note Documents by
granting to the Collateral Agent, for the benefit of the Purchasers, guarantees and security interests in and
liens upon property, as provided herein, in the other Note Documents, and in the DIP Orders.

         The parties agree as follows:

1.      DEFINITIONS AND OTHER TERMS

        1.1    Terms. Capitalized terms used herein shall have the meanings set forth in
Section 1,4 to the extent defined therein. All other capitalized terms used but not defined herein
shall have the meaning given to such terms in the Code. Any accounting term used but not defined
herein shall be construed in accordance with GAAP, and all calculations shall be made in
accordance with GAAP. The term “financial statements” shall include the accompanying notes
and schedules. Notwithstanding anything to the contrary contained herein, for purposes of
determining compliance with any covenant all obligations of any Person that are or would have
been treated as operating leases for purposes of GAAP prior to the effectiveness of ASC 842 (or
any other ASC having a similar result or effect) (and related interpretations) shall continue to be


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accounted for as operating leases (whether or not such operating lease obligations were in effect
on such date), notwithstanding the fact that such obligations are required in accordance with ASC
842 or otherwise (on a prospective or retroactive basis or otherwise) to be treated as capital lease
obligations in the financial statements.

        1.2     Section References. Any section, subsection, schedule, or exhibit references are to
the sections, subsections, schedules, or exhibits of this Agreement unless otherwise specified.

        1.3     Divisions. For all purposes under the Note Documents, in connection with any
division or plan of division under Delaware law (or any comparable event under a different
jurisdiction’s laws): (a) if any asset, right, obligation, or liability of any Person becomes the asset,
right, obligation, or liability of a different Person, then it shall be deemed to have been transferred
from the original Person to the subsequent Person; and (b) if any new Person comes into existence,
such new Person shall be deemed to have been organized on the first date of its existence by the
holders of its Equity Interests at such time.

       1.4     Definitions. The following              terms   are   defined    in    the    sections or
subsections referenced opposite such terms:

             “Agreement”                                                  Preamble
             “Bid Procedures Motion”                                      Section 7.10
             “Bid Procedures Order”                                       Section 7.10
             “Budget Testing Period”                                      Section 7.6
             “Business Combination Event”                                 Section 8.2
             “Claims”                                                     Section 13.2(a)
             “Closing”                                                    Section 2. l(a)(iii)
             “Closing Date”                                               Preamble
             “Collateral Agent”                                           Preamble
             “Communications”                                             Section 11
             “Credit Bid Transaction”
             “Default Rate”                                               Section 2.2(b)
             “Event of Default”                                           Section 9
             “Indemnified Person”                                         Section 13.2(a)
             “Issuer”                                                     Preamble
             “KEIP”                                                       Section 8.9
             “NI 45-106”                                                  Section 6.11
             “PIK Interest”                                               Section 2.2(d)
             “Register”                                                   Section 13.1
             “Representation Letter”                                      Section 6.11
             “Successor Corporation”                                      Section 8.2
             “Termination Declaration Date”                               Section 10.1


       In addition to the terms defined elsewhere in this Agreement, the following terms have the
following meanings:




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       “Acquisition” means the acquisition (whether by means of a merger, consolidation or
otherwise) of all of the Equity Interests of any Person or all or substantially all of the assets of (or
any division or business line of) any Person.

        “Acquisition Purchase Price” means, with respect to any Acquisition, an amount equal
to the sum of (a) the aggregate consideration, whether cash, property or securities (including the
fair market value of any Equity Interests of any Note Party or any of its Subsidiaries issued in
connection with such Acquisition), paid or delivered by a Note Party or any of its Subsidiaries
(whether as initial consideration or through the payment or disposition of deferred consideration,
including in the form of seller financing, royalty payments, payments allocated towards non­
compete covenants, payments to principals for consulting services or other similar payments) in
connection with such Acquisition, plus (b) the aggregate amount of liabilities of the acquired
business (net of current assets of the acquired business) that would be reflected on a balance sheet
(if such were to be prepared) of the Parent and its Subsidiaries after giving effect to such
Acquisition, plus (c) the aggregate amount of all transaction fees, costs and expenses incurred by
the Parent or any of its Subsidiaries in connection with such Acquisition.

         “Affiliate” means, as to any Person, any other Person that, directly or indirectly, is in
control of, is controlled by or is under common control with such Person. For purposes of this
definition, control of a Person shall mean the power, direct or indirect, (x) to vote 25% or more of
the securities having ordinary voting power for the election of directors or managers of such Person
or (y) to direct or cause the direction of the management and policies of such Person, in either case
whether by ownership of securities, contract, proxy or otherwise.

        “Affiliate Transaction” means any transaction or series of transactions, including any
transaction or series of transactions in which the Issuer or any of its Subsidiaries acts to, directly
or indirectly, make any payment to, or sell, lease, transfer, or otherwise dispose of any of its
properties or assets to, or purchase any property or assets from, or enter into or make or amend
any transaction or series of transactions, contract, agreement, understanding, loan, advance, or
guarantee with, or for the benefit of, any Affiliate of the Issuer or its Subsidiaries.

       “Anti-Terrorism Law” means any Applicable Law relating to terrorism financing, trade
sanctions programs, and embargoes, import/export licensing, money laundering, or bribery and
any regulation, order, or directive promulgated, issued or enforced pursuant to such Applicable
Laws, all as amended, supplemented or replaced from time to time.

        “Applicable Law” means, with respect to any Person, (x) all provisions of law, statute,
treaty, constitution, ordinance, rule, regulation, requirement, restriction, permit, executive order,
certificate, decision, directive, or order of any Governmental Authority applicable to such Person
or any of its property and (y) all judgments, injunctions, orders, writs, decrees, and awards of all
courts and arbitrators in proceedings or actions in which such Person is a party or by which any of
its property is bound.

         “Approved Budget” means, (i) initially and until such time as the Purchasers’
Representative shall have provided the Issuer with written confirmation that a Cash Forecast
delivered in accordance with the DIP Financing Agreement in form and substance satisfactory to
it, the Initial Approved Budget and (ii) upon the Purchasers’ Representative providing the Issuer

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with written confirmation that a Cash Forecast delivered in accordance with Section [ ] is in form
and substance satisfactory to it, then such Cash Forecast; provided that if the Purchasers’
Representative does not provide written confirmation that any Cash Forecast is in form and
substance satisfactory to them, then the Approved Budget shall be the last delivered Cash Forecast
that constituted the Approved Budget hereunder.

       “ASC” means an Accounting Standards Codification issued by the Financial Accounting
Standards Board.

        “Asset Purchase Agreement” means that certain Asset Purchase Agreement dated as of
the Petition Date by and among Bird Global, Inc., certain Subsidiaries of Bird Global, Inc. and
Bird Scooter Acquisition Corp.

        “Authorized Denomination” means, with respect to a Note, a principal amount thereof
equal to $1,000 or any integral multiple of $1.00 in excess thereof.

         “Bankruptcy Code” means Title 11 of the United States Code, as amended.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Florida.

        “Bird Canada Share Purchase Agreement” means that certain Share Purchase
Agreement, dated as of [January 3, 2023], by and among 1393631 B.C. Unlimited Liability
Company, Bird Canada Inc., certain of the Purchasers and/or certain of their Affiliates, and the
sellers’ representative named therein, as the same may be amended, restated, supplemented, or
otherwise modified from time to time.

       “Bird Rides” means Bird Rides, Inc., a Delaware corporation and direct, wholly owned
subsidiary of the Issuer.

      “Board of Directors” means the board of directors of the Issuer or any duly authorized
committee or subcommittee of such board of directors.

        “Bridge Note Purchasers” means purchasers of the Bridge Notes pursuant to the Pre­
Petition Note Purchaser Agreement, as set forth in Schedule 2.1-B.

         “Bridge Notes” has the meaning set forth in the Pre-Petition Note Purchase Agreement.

         “Business Day” means a day other than a Saturday, Sunday, or other day on which banking
institutions are authorized or required by law or regulation to close in the State of New York or,
with respect to any payments to be made under this Agreement or any other Note Document, the
place of payment.

       "Capitalized Lease" means, with respect to any Person, any lease of (or other arrangement
conveying the right to use) real or personal property by such Person as lessee that is required under
GAAP to be capitalized on the balance sheet of such Person.




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       "Capitalized Lease Obligations" means, with respect to any Person, obligations of such
Person and its Subsidiaries under Capitalized Leases, and, for purposes hereof, the amount of any
such obligation shall be the capitalized amount thereof determined in accordance with GAAP.

         “Capital Stock” means:

         (1)     in the case of a corporation or company, corporate stock or share capital;

         (2)     in the case of an association or business entity, any and all shares, interests,
                 participations, rights, or other equivalents (however designated) of corporate stock;

         (3)     in the case of a partnership or limited liability company, partnership or membership
                 interests (whether general or limited); and

         (4)     any other interest or participation that confers on a Person the right to receive a
                 share of the profits and losses of, or distributions of assets of, the issuing Person (it
                 being understood and agreed, for the avoidance of doubt, that “cash-settled
                 phantom appreciation programs” in connection with employee benefits that do not
                 require a dividend or distribution shall not constitute Capital Stock).

         “Carve-Out” shall have the meaning set forth in the DIP Orders.

         “Cash Collateral” shall have the meaning set forth in the DIP Orders.

       “Cash Consideration” means consideration paid by the Purchasers for the purchase of
Notes in immediately available funds.

         “Cash Equivalents” means:

         (1)     U.S. dollars or Canadian dollars, pounds sterling or euros;

         (2)     marketable direct obligations issued by any state of the United States or the District
                 of Columbia or any political subdivision of any such state or any public
                 instrumentality thereof maturing within one year from the date of acquisition
                 thereof and having one of the two highest ratings obtainable from either S&P
                 Global Ratings, a division of S&P Global Inc. or its affiliates ("S&P"), or Moody's
                 Investors Service, Inc. or its affiliates ("Moody's");

         (3)     commercial paper, maturing not more than one year after the date of issue rated P­
                 1 by Moody's or A-l by S&P;

         (4)     certificates of deposit maturing not more than one year after the date of issue, issued
                 by commercial banking institutions and money market or demand deposit accounts
                 maintained at commercial banking institutions, each of which is a member of the
                 Federal Reserve System and has a combined capital and surplus and undivided
                 profits of not less than $500,000,000;




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         (5)     repurchase agreements having maturities of not more than 90 days from the date of
                 acquisition which are entered into with major money center banks included in the
                 commercial banking institutions described in clause (4) above and which are
                 secured by readily marketable direct obligations of the United States or any agency
                 thereof;

         (6)     money market accounts maintained with mutual funds having assets in excess of
                 $2,500,000,000, which assets are primarily comprised of Cash Equivalents
                 described in another clause of this definition;

         (7)     marketable tax exempt securities rated A-l or higher by Moody's or A or higher by
                 S&P, in each case, maturing within one year from the date of acquisition thereof;
                 and (h) in the case of any Foreign Subsidiary, cash and cash equivalents that are
                 substantially equivalent in such jurisdiction to those described in clauses (a)
                 through (g) above in respect of each country that is a member of the Organization
                 for Economic Co-operation and Development.

       Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in
currencies other than those set forth in clause (1) above.

         “Cash Forecast” shall have the meaning set forth in the DIP Financing Credit Agreement.

        “Cash Management Services” means any of the following to the extent not constituting a
line of credit (other than an overnight draft facility): automated clearing house transactions,
treasury and/or cash management services, including, without limitation, treasury, depository,
overdraft, credit, purchasing or debit card, non-card e-payables services, electronic funds transfer,
treasury management services (including controlled disbursement services, overdraft automatic
clearinghouse fund transfer services, return items, and interstate depository network services),
other demand deposit or operating account relationships, foreign exchange facilities, and merchant
services.

         “Change of Control” means the occurrence of any of the following:

         (1)

                (i)    the Issuer ceases to own, directly or indirectly, 100% of the issued and
         outstanding Equity Interests of Bird Rides;

                (ii)   Bird Rides ceases to own, directly or indirectly, 100% of the issued and
         outstanding Equity Interests of the Bird US Holdco, LLC;

                (iii)  Bird US Holdco, LLC ceases to own, directly, 100% of the issued and
         outstanding Equity Interests of Bird US Opco, LLC,

         in each case free and clear of all Liens other than non-voluntary Liens arising under
         applicable statutes, Liens in favor of the Collateral Agent and, in the case of (ii) or (iii),
         Liens in favor of the Senior Financing Agents; or


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          (2)     (i) any Person (other than a Permitted Holder) or (ii) Persons (other than one or
                  more Permitted Holders) constituting a “group” (as such term is used in Sections
                  13(d) and 14(d) of the Exchange Act), become the “beneficial owner” (as defined
                  in Rules 13(d)-3 and 13(d)-5 under such Exchange Act), directly or indirectly, of
                  Equity Interests representing more than forty percent (40%) of the aggregate
                  ordinary Voting Stock of Issuer and the percentage of aggregate ordinary Voting
                  Stock so held is greater than the percentage of the aggregate ordinary Voting Stock
                  represented by the Equity Interests of Issuer beneficially owned, directly or
                  indirectly, in the aggregate by the Permitted Holders; unless, in the case of this
                  clause (2), the Permitted Holders have, at such time, the right or the ability by voting
                  power, contract or otherwise to elect or designate for election at least a majority of
                  the Board of Directors.

        “Chapter 11 Cases” means the Chapter 11 cases filed on December 19, 2023, by certain
of the Note Parties by voluntary petitions with the Bankruptcy Court.

        “Code” means the Uniform Commercial Code, as the same may, from time to time, be
enacted and in effect in the State of New York; provided that, to the extent that the Code is used
to define any term herein or in any Note Document and such term is defined differently in different
Articles or Divisions of the Code, the definition of such term contained in Article or Division 9
shall govern; provided, further, that in the event that, by reason of mandatory provisions of law,
any or all of the attachment, perfection, or priority of, or remedies with respect to, the Collateral
Agent’s Lien on any Collateral is governed by the Uniform Commercial Code in effect in a
jurisdiction other than the State of New York, the term “Code” shall mean the Uniform
Commercial Code as enacted and in effect in such other jurisdiction solely for purposes of the
provisions thereof relating to such attachment, perfection, priority, or remedies and for purposes
of definitions relating to such provisions.

         “Collateral” means any and all properties, rights, and assets of the Issuer or any of its
Subsidiaries subj ect to a Lien under the Note Documents in favor of the Collateral Agent, on behalf
of the Secured Parties, to secure the Obligations. Without limiting the generality of the foregoing,
“Collateral” shall include all rights under section 506(c) of the Bankruptcy Code (solely upon entry of the
Final Order), all “property of the estate” (within the meaning of the Bankruptcy Code) of any kind or nature,
real or personal, tangible, intangible or mixed, and all rents, products, substitutions, accessions, profits,
replacements and cash and non-cash proceeds of all of the foregoing.

          “Common Stock” means the Class A common stock, par value $0.0001 per share, of the
Issuer.

        "Contingent Indemnity Obligations" means any Obligation constituting a contingent,
unliquidated indemnification obligation of any Note Party, in each case, to the extent (a) such
obligation has not accrued and is not yet due and payable and (b) no claim has been made or is
reasonably anticipated to be made with respect thereto.

        "Contingent Obligation" means, with respect to any Person, any obligation of such Person
guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other obligations
("primary obligations") of any other Person (the "primary obligor") in any manner, whether
directly or indirectly, including (a) the direct or indirect guaranty, endorsement (other than for

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collection or deposit in the ordinary course of business), co-making, discounting with recourse or
sale with recourse by such Person of the obligation of a primary obligor, (b) the obligation to make
take-or-pay or similar payments, if required, regardless of nonperformance by any other party or
parties to an agreement, and (c) any obligation of such Person, whether or not contingent, (i) to
purchase any such primary obligation or any property constituting direct or indirect security
therefor, (ii) to advance or supply funds (A) for the purchase or payment of any such primary
obligation or (B) to maintain working capital or equity capital of the primary obligor or otherwise
to maintain the net worth or solvency of the primary obligor, (iii) to purchase property, assets,
securities or services primarily for the purpose of assuring the owner of any such primary
obligation of the ability of the primary obligor to make payment of such primary obligation or (iv)
otherwise to assure or hold harmless the holder of such primary obligation against loss in respect
thereof; provided, however, that the term "Contingent Obligation" shall not include any product
warranties extended in the ordinary course of business. The amount of any Person's obligation
under any Contingent Obligation shall be determined in accordance with GAAP.

        "Contractual Obligation" means, as to any Person, any provision of any security issued
by such Person or of any agreement, instrument or other undertaking to which such Person is a
party or by which it or any of its property is bound.

        “Default” means any Event of Default or any event, occurrence or circumstance that, after
notice or passage of time, or both, would be, an Event of Default.

        “DIP Financing Agent” means MidCap Financial Trust, in its capacity as administrative
agent under the DIP Financing Debt Documents, or any successor administrative agent permitted
by the terms thereof.

         “DIP Financing Credit Agreement” has the meaning set forth in the recitals.

       “DIP Financing Debt” means the “Borrower Obligations” (under and as defined in the
DIP Financing Credit Agreement).

        “DIP Financing Debt Documents” means, collectively, the DIP Financing Credit
Agreement and the other agreements, guaranties, instruments, and documents delivered in
connection with the DIP Financing Debt, in each case, as amended, restated, supplemented,
modified, extended, restructured, renewed, refinanced, increased, replaced, or refunded in whole
or in part from time to time and whether by the same or any other agent, lender, or investor or
group of lenders or investors.

       “DIP Financing Lenders” means the “Lenders” (under and as defined in the DIP
Financing Credit Agreement).

         “DIP Note Purchasers” means the purchasers of the Notes set forth in Schedule 2.1-A.

       “DIP Orders” means the Interim Order and the Final Order, as applicable, based on which
such order is then in effect.

      “Disposition” means any transaction, or series of related transactions, pursuant to which
any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor) or

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otherwise disposes of any property or assets (whether now owned or hereafter acquired) to any
other Person, in each case, whether or not the consideration therefor consists of cash, securities or
other assets owned by the acquiring Person. For purposes of clarification, “Disposition” shall
include (a) the sale or other disposition for value of any contracts, (b) any disposition of property
through a "plan of division" under the Delaware Limited Liability Company Act or any comparable
transaction under any similar law, (c) the early termination or modification of any contract
resulting in the receipt by any Note Party of a cash payment or other consideration in exchange for
such event (other than payments in the ordinary course for accrued and unpaid amounts due
through the date of termination or modification) or (d) any sale of merchant accounts (or any rights
thereto (including any rights to any residual payment stream with respect thereto)) by any Note
Party.

         “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the
terms of any security or other Equity Interest into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition, (a) matures or is mandatorily
redeemable, pursuant to a sinking fund obligation or otherwise (except as a result of a change of
control or asset sale, in each case, so long as any rights of the holders thereof upon the occurrence
of such change of control or asset sale event is subject to the prior repayment in full of the
Obligations), (b) is redeemable at the option of the holder thereof, in whole or in part, (c) provides
for the obligation (not deferrable at the sole option of the issuer) to make scheduled payments of
dividends or distributions in cash, or (d) is convertible into or exchangeable for (i) Indebtedness
or (ii) any other Equity Interests that would constitute Disqualified Equity Interests, in each case
of clauses (a) through (d), prior to the date that is six months after the date referenced in clause (a)
of the definition of “Maturity Date”; provided that if such Equity Interest is issued pursuant to a
plan for the benefit of employees of any Note Party or by any such plan to such employees, such
Equity Interest shall not constitute Disqualified Equity Interests solely because it may be required
to be repurchased by a Note Party in order to satisfy applicable statutory or regulatory obligations.

       “Equity Interests” means Capital Stock and all warrants, options, or other rights to acquire
Capital Stock (but excluding any Capital Stock that arises only by reason of the happening of a
contingency or any debt security that is convertible into, or exchangeable for, Capital Stock).

       “ERISA” means the U.S. Employee Retirement Income Security Act of 1974, as amended,
and the rules and regulations promulgated thereunder.

        “Exchange Act” means the U.S. Securities and Exchange Act of 1934, as amended, and
the rules and regulations promulgated thereunder.

        “Fair Market Value” means, with respect to any asset or property, the price that could be
negotiated in an arm’s-length, free-market transaction, for cash, between a willing seller and a
willing and able buyer, neither of whom is under undue pressure or compulsion to complete the
transaction (as determined in good faith by the Issuer).

       “Fee Letter” means the fee letter agreement dated the date hereof between the Issuer and
the Collateral Agent.




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        “Final Order” means an order of the Bankruptcy Court with respect to the Note Parties
after a final hearing, in form and substance acceptable to the Required Purchasers in their sole
discretion (and to the extent affecting the rights, duties, benefits, privileges, protections,
indemnities or immunities of the Collateral Agent, the Collateral Agent), which order is in effect
and not stayed, together with all extensions, supplements modifications and amendments thereto,
in each case in form and substance acceptable to the Required Purchasers (and to the extent
affecting the rights, duties, benefits, privileges, protections, indemnities or immunities of the
Collateral Agent, the Collateral Agent), in their sole discretion, which, among other things,
provides that the relief requested in the motions seeking approval of the Note Documents and the
Interim Order and Final Order and granted on an interim basis in the Interim Order is granted on
a final basis (including any additional relief required by the Bankruptcy Court or agreed to by the
Required Purchasers) and provides for the roll-up of the Pre-Petition Obligations as contemplated
herein, all on a final basis.

        “Foreign Subsidiary” means any Subsidiary that is not a Person incorporated or organized
under the laws of the United States, any state of the United States, or the District of Colombia or
the federal laws of Canada or any province or territory of Canada.

        “GAAP” means generally accepted accounting principles in the United States of America,
including those set forth in the opinions and pronouncements of the Accounting Principles Board
of the American Institute of Certified Public Accountants and statements and pronouncements of
the Financial Accounting Standards Board or in such other statements by such other Person as may
be approved by a significant segment of the accounting profession in the United States, which are
applicable to the circumstances as of the date of determination.

        “Governmental Authority” means the government of the United States of America or any
other nation, or of any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank, or other entity exercising
executive, legislative, judicial, taxing, regulatory, or administrative powers or functions of or
pertaining to government (including any supra-national bodies such as the European Union or the
European Central Bank).

       “Guarantee” means the Guarantee Agreement and any other guarantee of all or any part
of the Obligations, as the same may from time to time be amended, restated, supplemented, or
otherwise modified from time to time.

       “Guarantee Agreement” means that certain Guarantee, dated as of the date hereof, by the
Borrower, the Parent and the other Note Parties party thereto in favor of the Collateral Agent and
the Secured Parties.

        “Guarantor” means any Person party to the Note Documents as of the date hereof (or from
time to time) providing a Guarantee in favor of the Collateral Agent for the ratable benefit of the
Secured Parties.

        “Hedging Agreement” means any interest rate, foreign currency, commodity or equity
swap, collar, cap, floor or forward rate agreement, or other agreement or arrangement designed to
protect against fluctuations in interest rates or currency, commodity or equity values (including


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any option with respect to any of the foregoing and any combination of the foregoing agreements
or arrangements), and any confirmation executed in connection with any such agreement or
arrangement.

         “Indebtedness” means, with respect to any Person, without duplication: (a) all
indebtedness of such Person for borrowed money; (b) all obligations of such Person for the
deferred purchase price of property or services to the extent constituting liabilities under GAAP
(other than (i) trade payables or other accounts payable incurred in the ordinary course of such
Person’s business and not outstanding for more than 120 days after the date such payable was due
and other trade payables or other accounts payable agreed in writing between the Issuer and the
Purchaser Representative and (ii) any earn-out, purchase price adjustment or similar obligation
until such obligation is required to be reflected on the balance sheet of such Person in accordance
with GAAP); (c) all obligations of such Person evidenced by bonds, debentures, notes or other
similar instruments or upon which interest payments are customarily made; (d) all reimbursement,
payment or other obligations and liabilities of such Person created or arising under any conditional
sales or other title retention agreement with respect to property used and/or acquired by such
Person, even though the rights and remedies of the lessor, seller and/or lender thereunder may be
limited to repossession or sale of such property; (e) all Capitalized Lease Obligations of such
Person; (f) all obligations and liabilities, contingent or otherwise, of such Person, in respect of
letters of credit, acceptances and similar facilities; (g) all obligations and liabilities, calculated on
a basis satisfactory to the Collateral Agent and in accordance with accepted practice, of such
Person under Hedging Agreements; (h) all monetary obligations under any receivables factoring,
receivable sales or similar transactions and all monetary obligations under any synthetic lease, tax
ownership/operating lease, off-balance sheet financing or similar financing; (i) all Contingent
Obligations; (j) all Disqualified Equity Interests; and (k) all obligations referred to in clauses (a)
through (j) of this definition of another Person secured by (or for which the holder of such
Indebtedness has an existing right, contingent or otherwise, to be secured by) a Lien upon property
owned by such Person, even though such Person has not assumed or become liable for the payment
of such Indebtedness. The Indebtedness of any Person shall include the Indebtedness of any
partnership or joint venture in which such Person is a general partner or a joint venturer, unless
such Indebtedness is expressly made non-recourse to such Person.

        “Insolvency Proceeding” means (a) any case, action or proceeding before any court or
other Governmental Authority relating to bankruptcy, reorganization, insolvency, liquidation,
receivership, dissolution, winding-up or relief of debtors or (b) any general assignment for the
benefit of creditors of a Person, composition, marshaling of assets for creditors of a Person, or
other, similar arrangement in respect of its creditors generally or any substantial portion of its
creditors, in each of clauses (a) and (b) undertaken under U.S. Federal, state or foreign law,
including the Bankruptcy Code.

       “Interest Payment Date” means the last Business Day of each calendar month and the
Maturity Date.

        “Interim Order” means the order of the Bankruptcy Court with respect to the Note Parties,
in substantially the form of Exhibit E hereto, with such extensions, amendments, modifications or
supplements acceptable to the Required Purchasers in their sole discretion (and to the extent


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affecting the rights, duties, benefits, privileges, protections, indemnities or immunities of the
Collateral Agent, the Collateral Agent), which order is in effect and not stayed.

         “Interim Period Outside Date” has the meaning assigned to such term in the Interim Order.

       “Internal Revenue Code” means the U.S. Internal Revenue Code of 1986, as amended,
and the rules and regulations promulgated thereunder.

        “Investment” means, with respect to any Person, all investments by such Person in other
Persons (including Affiliates) in the form of (a) loans (including guarantees of Indebtedness),
advances, or capital contributions (excluding accounts receivable, credit card and debit card
receivables, trade credit and advances, or other payments made to customers, dealers, suppliers,
contractors, and distributors, and payroll, commission, travel, and similar advances to officers,
directors, managers, employees, consultants, and independent contractors) and (b) purchases or
other acquisitions for consideration of Indebtedness, Equity Interests, or other securities issued by
any other such Person. The amount of any Investment outstanding at any time shall be the amount
actually invested in such Investment (determined, in the case of any Investment made with assets
of the Issuer or any Subsidiary, based on the Fair Market Value of the assets invested and without
taking into account subsequent increases or decreases in value), reduced by any dividend,
distribution, interest payment, return of capital, repayment, or other amount received in cash by
the Issuer or a Subsidiary in respect of such Investment and shall be net of any Investment by such
Person in the Issuer or any Subsidiary.

         “IRS” means the U.S. Internal Revenue Service.

         “Issuer Pledged Collateral” means all of the Issuer’s right, title and interest in, to and
under:

         (a)     (i) the Equity Interests in the capital of Bird Rides owned by the Issuer on the date
                 hereof, (ii) any other Equity Interests in the capital of Bird Rides obtained in the
                 future by the Issuer and (iii) the certificates or other instruments representing all
                 such Equity Interests (if any);

         (b)     subject to Section 2,5, all payments of principal or interest, dividends, cash,
                 instruments and other property from time to time received, receivable or otherwise
                 distributed in respect of, in exchange for or upon the conversion of, and all other
                 Proceeds (as defined in the Code) received in respect of, the securities referred to
                 in clause (a) above;

         (c)     subject to Section 2,5, all rights and privileges of the Issuer with respect to the
                 securities and other property referred to in clauses (a) and (b) above; and

         (d)     all Proceeds (as defined in the Code) of any of the foregoing.

        “Issuer Pledged Securities” means any promissory notes, stock certificates, unit
certificates, limited liability membership certificates or other securities (to the extent certificated)
now or hereafter included in the Issuer Pledged Collateral.


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         “Junior Financing” means any Indebtedness (other than any permitted intercompany
Indebtedness owing to the Note Parties) that is (i) subordinated in right of payment to the
Obligations, (ii) secured by a Lien that is junior in priority to the Lien securing the Obligations or
(iii) unsecured Indebtedness for borrowed money.

       "Lease" means any lease, sublease or license of, or other agreement granting an exclusive
or non-exclusive possessory interest in, real property to which any Note Party or any of its
Subsidiaries is a party as lessor, lessee, sublessor, sublessee, licensor or licensee.

        “Lien” means, means any ownership interest or claim, mortgage, deed of trust, pledge,
lien, security interest, hypothecation, charge or other encumbrance or security arrangement of any
nature whatsoever, whether voluntarily or involuntarily given, including, but not limited to, any
conditional sale or title retention arrangement, any Capitalized Lease, any assignment, deposit
arrangement or lease intended as, or having the effect of, security and any filed financing statement
or other notice of any of the foregoing (whether or not a lien or other encumbrance is created or
exists at the time of the filing).

       “Material Adverse Effect” means relative to any Person (provided that if no particular
Person is specified, “Material Adverse Effect” shall be deemed to be relative to the Note Parties
individually) with respect to any event or circumstance, a material adverse effect on any of the
following:

         (1)     the assets, operations, business or financial condition of the Note Parties and their
                 Subsidiaries, taken as a whole;

         (2)     the ability of the Issuer or any Guarantor to perform its obligations (taken as a
                 whole) under this Agreement, or any of the other Note Documents;

         (3)     the validity or enforceability of this Agreement or any other Note Document;

         (4)     the perfection, enforceability or priority of the security interest in a material portion
                 of the Collateral; or

         (5)     the rights and remedies of the Purchasers or the Collateral Agent under the Note
                 Documents taken as a whole or associated with their respective interest in the
                 Collateral.

        “Material Indebtedness” means Indebtedness (other than the Obligations) of the Note
Parties in an aggregate principal amount exceeding $2.0 million. Notwithstanding the foregoing,
the Senior Financing Credit Agreements shall at all times be deemed Material Indebtedness
hereunder. For purposes of determining the amount of Material Indebtedness at any time, (a)
undrawn and committed amounts shall be included, and (b) all amounts owing to all creditors
under any combined or syndicated credit arrangement shall be included.

        “Maturity Date” means the earliest to occur of: (a) March 18, 2024; provided that if as of
the foregoing date a plan of reorganization in the Chapter 11 Cases that is reasonably satisfactory
to the Required Purchasers shall have been solicited, but not yet approved, then such date shall be
automatically (and without any further action of any party hereto), extend to May 18, 2024; (b) the

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occurrence of the date that is 30 days after the entry of the Interim Order if as of such date, the
Final Order shall not have been entered, (c) the Termination Declaration Date, (d) the date of the
consummation of the sale of all or substantially all of the assets or Equity Interests of the Note
Parties pursuant to Section 363 of the Bankruptcy Code, and (e) the date all Obligations are
indefeasibly paid in full in cash and this Agreement and the other Note Documents are terminated.

        “Net Cash Proceeds” means, with respect to, any issuance or incurrence of any
Indebtedness, any Disposition by the Issuer and its Subsidiaries, the aggregate amount of cash
received (directly or indirectly) from time to time (whether as initial consideration or through the
payment or disposition of deferred consideration) by or on behalf of the Issuer and its Subsidiaries,
in connection therewith after deducting therefrom only (a) reasonable expenses related thereto
incurred or payable by the Issuer or any such Subsidiary in connection therewith, (b) taxes paid or
to be paid in connection therewith (after taking into account any tax credits or deductions and any
tax sharing arrangements), in each case, to the extent, but only to the extent, that the amounts so
deducted are (i) actually paid to a Person that, except in the case of reasonable out-of-pocket
expenses, is not an Affiliate of the Issuer or any of its Subsidiaries and (ii) properly attributable to
such transaction or to the asset that is the subject thereof and (c) in the case of any Disposition, the
amount of any reasonable reserves established by the Issuer in accordance with GAAP against (i)
any liabilities under any indemnification obligations associated with such Disposition or (ii) any
other liabilities retained by the Issuer or any of its Subsidiaries associated with the properties or
assets sold in such Disposition.

        “Note Documents” means collectively, this Agreement, the Notes, the Guarantees, the
Security Documents, the DIP Orders and the Restructuring Support Agreement, all as amended,
restated, supplemented, or otherwise modified from time to time in accordance with this
Agreement.

         “Note Parties” means the Issuer and the Guarantors and “Note Party” means any one of
them.

       “Notes” means the Secured DIP Promissory Notes issued by the Issuer on the Closing
Date, subject to and in accordance with this Agreement.

         “NYSE” means The New York Stock Exchange.

         “Obligations” means all present and future indebtedness, reimbursement obligations, and
other liabilities and obligations (howsoever created, arising or evidenced, whether direct or
indirect, absolute or contingent, or due or to become due) of the Issuer to any Purchaser or the
Collateral Agent arising under or in connection with this Agreement or any other Note Document
or the transactions contemplated hereby or thereby, and shall include, without limitation, any debts,
principal, interest, Purchasers’ Expenses, Collateral Agent Expenses, indemnification expenses,
and any other amounts the Issuer owes the Collateral Agent or the Purchasers.

         “OFAC” means the U.S. Department of Treasury Office of Foreign Assets Control.

        “Operating Documents” are, for any Person, such Person’s formation documents, as
certified by the Secretary of State (or equivalent agency) of such Person’s jurisdiction of
organization on a date that is no earlier than thirty (30) days prior to the Closing Date, and, (a) if

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such Person is a corporation, its bylaws in current form, (b) if such Person is a limited liability
company, its limited liability company agreement (or similar agreement), and (c) if such Person is
a partnership, its partnership agreement (or similar agreement), each of the foregoing with all
current amendments or modifications thereto.

        “Other Note Purchasers” means purchasers of the Other Notes pursuant to the Pre­
Petition Note Purchase Agreement set forth in Schedule 2.1-C.

         “Other Notes” has the meaning set forth in the Pre-Petition Note Purchase Agreement.

         “Permitted Business” means any business conducted by the Issuer or any of the
Subsidiaries (including Bird Canada Inc.) on the date hereof and any business that, in the good
faith determination of the Board of Directors, is similar or reasonably related, ancillary,
supplemental, or complementary thereto or a reasonable extension, development, or expansion
thereof.

         “Permitted Disposition” means:

         (1)     licensing, on a non-exclusive basis, intellectual property rights in the ordinary
                 course of business;

         (2)     leasing or subleasing assets in the ordinary course of business;

         (3)     (i) the lapse of registered intellectual property of the Issuer and its Subsidiaries to
                 the extent not economically desirable in the conduct of their business or (ii) the
                 abandonment of intellectual property rights in the ordinary course of business so
                 long as, (A) with respect to copyrights, such copyrights are not material revenue
                 generating copyrights, and (B) such lapse is not materially adverse to the interests
                 of the Secured Parties;

         (4)     any involuntary loss, damage or destruction of property;

         (5)     any involuntary condemnation, seizure or taking, by exercise of the power of
                 eminent domain or otherwise, or confiscation or requisition of use of property;

         (6)     transfers of assets from the Issuer or any of its wholly owned Subsidiaries to the
                 Issuer or any other of its wholly owned Subsidiaries;

         (7)     the termination or expiration of any contract in accordance with its terms or any
                 settlement, release, waiver or surrender of contractual rights or other litigation
                 claims in the ordinary course of business;

         (8)     use or transfer of money or Cash Equivalents in the ordinary course of business and
                 in a manner that is not prohibited by the terms of this Agreement, the other Note
                 Documents or the DIP Orders;

         (9)     the granting of Permitted Liens and the making of Permitted Investments and
                 Permitted Restricted Payments;

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         (10)     Disposition of accounts receivable in the ordinary course of business or bankruptcy
                  in connection with the collection or compromise thereof;

         (11)     Disposition of any assets of, or Equity Interest issued by, the Note Parties pursuant
                  to the Asset Purchase Agreement;

         (12)     any surrender or waiver of contractual rights or the settlement, release or surrender
                  of contractual rights or litigation claims (including in tort) in the ordinary course of
                  business; and

         (13)     the Disposition of obsolete, worn out or surplus property or property (including
                  leasehold property interests) that is no longer economically practical in its business
                  or commercially desirable to maintain or no longer used or useful equipment in the
                  ordinary course of business.

        “Permitted Expenses” means reasonable legal, accounting, collateral examination,
monitoring and appraisal fees, financial advisory fees, fees and expenses of other consultants, and
other reasonable out of pocket expenses of the Collateral Agent in connection with the Chapter 11
Cases, this Agreement, the Note Documents, and all documents related thereto, and all costs and
expenses of the Collateral Agent (including reasonable, documented attorney fees, expenses and
disbursements in accordance herewith) in connection with the enforcement of remedies under the
Note Documents to be reimbursed on a current basis by the Note Parties from the proceeds of
Notes hereunder.

        “Permitted Holders” means (i) means (i) each of the Persons owning Voting Stock of the
Issuer on the Closing Date, (ii) each of the Persons owning Voting Stock of Bird Canada Inc.
immediately prior to the January 3, 2023 and (iii) those individuals acting from time to time as
officers, directors, managers, employees or members, or in any similar capacity, for any entity
referred to in clause (i) above, together with, in the case of clause (iii), any entities owned or
controlled by any such individuals, independently or together with one or more entities referred to
above.

         “Permitted Indebtedness” means:

         (1)      the Indebtedness owing to Purchasers under this Agreement and the other Note
                  Documents;

         (2)      Indebtedness arising under the Pre-Petition Financing Credit Agreement;

         (3)      Indebtedness of Bird Canada Inc. existing on January 3, 2023;

         (4)      Indebtedness existing on the Closing Date;

         (5)      Indebtedness arising under the DIP Financing Credit Agreement;

         (6)      Permitted Intercompany Investments;




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         (7)      Indebtedness incurred in the ordinary course of business under performance, surety,
                  statutory, and appeal bonds;

         (8)      Indebtedness owed to any Person providing property, casualty, liability,
                  environmental or other insurance to the Note Parties, so long as the amount of such
                  Indebtedness is not in excess of the amount of the unpaid cost of, and shall be
                  incurred only to defer the cost of, such insurance for the period in which such
                  Indebtedness is incurred and such Indebtedness is outstanding only during such
                  period;

         (9)      Indebtedness arising under the Pre-Petition Note Documents;

         (10)     Indebtedness incurred in respect of credit cards, credit card processing services,
                  debit cards, stored value cards, purchase cards or other similar Cash Management
                  Services, in each case, incurred in the ordinary course of business;

         (11)     [reserved];

         (12)     [reserved];

         (13)     Indebtedness in respect of netting services, overdraft protections and otherwise in
                  connection with deposit accounts;

         (14)     [reserved];

         (15)     to the extent constituting Indebtedness, operating leases incurred in the ordinary
                  course of business;

         (16)     letters of credit incurred in the ordinary course of business with cities and pursuant
                  to import/export duties incurred in the ordinary course of business;

         (17)     the VTB Note (as defined in the Spin Stock Purchase Agreement); and

         (18)     so long as no Default or Event of Default has occurred and is continuing or would
                  result therefrom, other Indebtedness in an aggregate principal amount not to exceed
                  $5.0 million at any time outstanding.

         “Permitted Intercompany Investments” means Investments made by (a) a Note Party to
or in another Note Party, (b) a Subsidiary that is not a Note Party to or in another Subsidiary that
is not a Note Party, (c) a Subsidiary that is not a Note Party to or in a Note Party, so long as, in the
case of a loan or advance, the Indebtedness is subordinated to the satisfaction of the Collateral
Agent, and (d) a Note Party to or in a Subsidiary that is not a Note Party so long as (i) the aggregate
amount of all such Investments made by the Note Parties to or in Subsidiaries that are not Note
Parties does not exceed $400,000 at any time outstanding and (ii) no Default or Event of Default
has occurred and is continuing either before or after giving effect to such Investment.

         “Permitted Investments” means:



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         (1)      Investments in cash and Cash Equivalents;

         (2)      Investments in negotiable instruments deposited or to be deposited for collection in
                  the ordinary course of business;

         (3)      advances made in connection with purchases of goods or services in the ordinary
                  course of business;

         (4)      Investments received in settlement of amounts due to any Note Party or any of its
                  Subsidiaries effected in the ordinary course of business or owing to any Note Party
                  or any of its Subsidiaries as a result of Insolvency Proceedings involving an
                  Account Debtor or upon the foreclosure or enforcement of any Lien in favor of a
                  Note Party or its Subsidiaries;

         (5)      Investments existing on the Closing Date;

         (6)      Permitted Intercompany Investments;

         (7)      [reserved];

         (8)      [reserved];

         (9)      loans or advances to directors and employees of any Note Party or any of its
                  Subsidiaries made in the ordinary course of business; provided that the aggregate
                  amount of such loans and advances outstanding at any time shall not exceed
                  $100,000;

         (10)     [reserved];

         (11)     Investments consisting of guarantees or other contingent obligations permitted
                  under Section 8,3;

         (12)     any Investments held by Bird Canada Inc. on January 3, 2023;

         (13)     any Investment contemplated by the transactions pursuant to the Spin Stock
                  Purchase Agreement; and

         (14)     so long as no Default or Event of Default has occurred and is continuing or would
                  result therefrom, other Investments in an aggregate amount not to exceed $250,000
                  at any time outstanding.

         “Permitted Liens” means, with respect to any Person:

         (1)      Liens securing the Obligations;

         (2)      Liens for Taxes, assessments and governmental charges or levies not yet due or
                  payable or the payment of which is not required under Section 7,3;



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         (3)      Liens imposed by law, such as carriers', warehousemen's, mechanics', worker's,
                  materialmen's, construction and other similar Liens arising in the ordinary course
                  of business and securing obligations (other than Indebtedness for borrowed money)
                  that are not overdue by more than 60 days or are being contested in good faith and
                  by appropriate proceedings promptly initiated and diligently conducted, and a
                  reserve or other appropriate provision, if any, as shall be required by GAAP shall
                  have been made therefor;

         (4)      Liens existing on the Closing Date; provided that any such Lien shall only secure
                  the Indebtedness, and encumber the assets, that it secures on the Closing Date;

         (5)      [reserved];

         (6)      deposits and pledges of cash securing (i) obligations incurred in respect of workers'
                  compensation, unemployment insurance, social security or other forms of
                  governmental insurance or benefits, (ii) the performance of bids, tenders, leases,
                  contracts (other than for the payment of money) permits, licenses or statutory
                  obligations or (iii) obligations on surety or appeal bonds or letters of credit, but only
                  to the extent such deposits or pledges are made or letters of credit are made or
                  otherwise arise or issued in the ordinary course of business and secure obligations
                  not past due;

         (7)      easements, rights of way, servitudes, zoning, building or similar restrictions and
                  similar encumbrances on real property and exceptions, imperfections and
                  irregularities in the title thereto that do not (i) secure obligations for the payment of
                  money or (ii) materially impair the value of such property or its use by any Note
                  Party or any of its Subsidiaries in the normal conduct of such Person's business;

         (8)      Liens of landlords and mortgagees of landlords (i) arising by statute or under any
                  Lease or related Contractual Obligation entered into in the ordinary course of
                  business, (ii) on fixtures and movable tangible property located on the real property
                  leased or subleased from such landlord, or (iii) for amounts not yet due or that are
                  being contested in good faith by appropriate proceedings diligently conducted and
                  for which adequate reserves or other appropriate provisions are maintained on the
                  books of such Person in accordance with GAAP;

         (9)      the title and interest of (i) a lessor or sublessor in and to personal property leased
                  or subleased (other than through a Capitalized Lease) extending only to such
                  personal property, or (ii) a licensor or sublicensor in or to the property subject to
                  any license or sublicense or concession agreement permitted by this Agreement
                  extending only to such property;

         (10)     non-exclusive licenses of intellectual property rights in the ordinary course of
                  business;

         (11)     any encumbrances or restrictions (including put and call agreements) with respect
                  to any Equity Interests constituting a Permitted Investment as required pursuant to


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                  the terms of the shareholder, joint venture or other agreement governing such
                  Permitted Investment as in effect on the Closing Date;

         (12)     judgment liens (other than for the payment of taxes, assessments or other
                  governmental charges) securing judgments and other proceedings not constituting
                  an Event of Default under Section 9,8;

         (13)     rights of set-off or bankers' liens upon deposits of cash in favor of banks or other
                  depository institutions, solely to the extent incurred in connection with the
                  maintenance of such deposit accounts in the ordinary course of business;

         (14)     Liens granted in the ordinary course of business on the unearned portion of
                  insurance premiums securing the financing of insurance premiums to the extent the
                  financing is permitted under the definition of Permitted Indebtedness;

         (15)     [reserved];

         (16)     Liens securing Permitted Indebtedness under clause (2), clause (9), clause (5) and
                  clause (10) of the definition of “Permitted Indebtedness,” including Liens securing
                  Cash Management Services secured under the documentation governing such
                  Indebtedness, so long as any such Liens are subject to the Pre-Petition Intercreditor
                  Agreement;

         (17)     UCC or PPSA financing statements filed (or similar filings under applicable law)
                  solely as a precautionary measure in connection with operating leases;

         (18)     in connection with the sale or transfer of any assets in a transaction not prohibited
                  hereunder, customary rights and restrictions contained in agreements relating to
                  such sale or transfer pending the completion thereof;

         (19)     receipt of progress payments and advances from customers in the ordinary course
                  of business to the extent the same creates a Lien on the related inventory and
                  proceeds thereof;

         (20)     Liens in the nature of the right of setoff in favor of counterparties to contractual
                  agreements not otherwise prohibited hereunder with the Parent or any of its
                  Subsidiaries in the ordinary course of business;

         (21)     Liens on cash pledged to secure obligations in respect of letters of credit incurred
                  in the ordinary course of business with cities and pursuant to import/export duties
                  incurred in the ordinary course of business;

         (22)     Liens arising out of consignment or similar arrangements for the sale of goods in
                  the ordinary course of business;

         (23)     Liens on goods in favor of customs and revenues authorities imposed by applicable
                  law arising in the ordinary course of business in connection with the importation of
                  such goods;

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         (24)     Liens arising by operation of law under Article 2 of the UCC in favor of a
                  reclaiming seller of goods or buyer of goods;

         (25)     Liens on securities that are the subject of repurchase agreements constituting Cash
                  Equivalents;

         (26)     Liens in favor of banking institutions arising as a matter of law or under general
                  terms and conditions encumbering deposits (including the right of set off) and
                  which are within the general parameters customary in the banking industry;

         (27)     the VLB Security (as defined in the Spin Stock Purchase Agreement); and

         (28)     other Liens which do not secure Indebtedness for borrowed money or letters of
                  credit and as to which the aggregate amount of the obligations secured thereby does
                  not exceed $1.0 million at any time outstanding.

         “Permitted Restricted Payments” means any of the following Restricted Payments made
by:

         (a)      any Note Party to another Note Party;

         (b)      any Subsidiary of the Issuer to the Issuer (and any necessary Restricted Payments
                  to another Subsidiary in order to ultimately make such Restricted Payment to the
                  Issuer);

         (c)      the Issuer and any of its Subsidiaries to pay dividends or make other distributions
                  in the form of common Equity Interests; and

         (d)      the redemption, repurchase, retirement or other acquisition of any Equity Interests
                  or Junior Financing of any Note Party, in exchange for, or out of the proceeds of
                  the substantially concurrent sale of, Equity Interests (other than any Disqualified
                  Equity Interests) of the Issuer.

        “Permitted Variance” means, a negative variance in the aggregate amount of unrestricted
cash and Cash Equivalents of the Credit Parties and their Subsidiaries set forth in an Approved
Budget for any Budget Testing Period (calculated as of the close of business of the Borrower on
the last Business Day of each Budget Testing Period) of the greater of (x) $500,000 and (y) 10%
of such budgeted amount; provided, that, the negative variance may not exceed $1,000,000 for any
Budget Testing Period.

        “Person” means any individual, sole proprietorship, partnership, limited liability company,
joint venture, company, trust, unincorporated organization, association, corporation, institution,
public benefit corporation, firmjoint stock company, estate, entity, or Government Authority.

         “Petition Date” has the meaning set forth in the recitals.

      “Post-Petition” means the time period beginning immediately upon the filing of the
Chapter 11 Cases and ending upon the closing of the Chapter 11 Cases.

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       “Preferred Stock” means any Equity Interest with preferential right of payment of
dividends or upon liquidation, dissolution, or winding up.

       “Pre-Petition Collateral Agent” means the Collateral Agent as defined in the Pre-Petition
Note Purchase Agreement.

       “Pre-Petition Financing Agent” means MidCap Financial Trust, in its capacity as
administrative agent under the Pre-Petition Financing Debt Documents, or any successor
administrative agent permitted by the terms thereof.

         “Pre-Petition Financing Credit Agreement” has the meaning set forth in the recitals.

        “Pre-Petition Financing Debt” means the “Borrower Obligations” (under and as defined
in the Pre-Petition Financing Credit Agreement).

       “Pre-Petition Financing Debt Documents” means, collectively, the Pre-Petition
Financing Credit Agreement, the Pre-Petition Intercreditor Agreement and the other agreements,
guaranties, instruments, and documents delivered in connection with the Pre-Petition Financing
Debt, in each case, as amended, restated, supplemented, modified, extended, restructured,
renewed, refinanced, increased, replaced, or refunded in whole or in part from time to time and
whether by the same or any other agent, lender, or investor or group of lenders or investors.

        “Pre-Petition Financing Lenders” means the “Lenders” (under and as defined in the Pre­
Petition Financing Credit Agreement).

        “Pre-Petition Indebtedness” means any and all Indebtedness of the Note Parties incurred
prior to the Petition Date and outstanding as of the Petition Date.

         “Pre-Petition Intercreditor Agreement” means that certain Amended and Restated
Subordination and Intercreditor Agreement dated as of December 11, 2023, by and among the Pre­
Petition Financing Agent, the Pre-Petition Collateral Agent, the Issuer and the other Persons party
thereto.

        “Pre-Petition Note Documents” means the “Note Documents” as defined in the Pre­
Petition Note Purchase Agreement.

        “Pre-Petition Note Purchase Agreement” means the Note Purchase Agreement dated as
of December 30, 2022 among the Issuer, each of the note purchasers party thereto and the Pre­
Petition Collateral Agent, as amended, supplemented or otherwise modified.

        “Pre-Petition Obligations” means all Obligations outstanding under (and as defined in)
the Pre-Petition Note Purchase Agreement with respect to the Bridge Notes.

       “Pre-Petition Payments” means any payment (by way of adequate protection or
otherwise) of principal or interest or otherwise on account of any Pre-Petition Indebtedness or
other obligations or claims (including trade payables and payments in respect of reclamation and/or
Section 503(b)(9) claims) of the Note Parties.


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         “Pre-Petition Prior Liens” shall have the meaning set forth in the DIP Orders.

       “Pre-Petition Secured Parties” means the Secured Parties as defined in the Pre-Petition
Note Purchase Agreement.

       “Purchasers” means (a) the DIP Note Purchasers, (b) the Bridge Note Purchasers, (c) the
Other Note Purchasers and (d) such other Persons, if any, that may from time to time become a
party hereto as a purchaser pursuant to the terms of this Agreement (including, for the avoidance
of doubt, any Pre-Petition Secured Party).

        “Purchasers’ Expenses” are (a) all reasonable audit fees and expenses, costs, and
expenses (including reasonable attorneys’ fees and expenses (whether generated in house or by
outside counsel), as well as appraisal fees, fees incurred on account of lien searches, inspection
fees, and filing fees) for preparing, amending, negotiating and administering the Note Documents,
and (b) all fees and expenses (including attorneys’ fees and expenses, as well as appraisal fees,
fees incurred on account of lien searches, inspection fees, and filing fees) for defending and
enforcing the Note Documents (including, without limitation, those incurred in connection with
appeals or Insolvency Proceedings) or otherwise incurred by Collateral Agent and/or the
Purchasers in connection with the Note Documents.

         “Purchasers’ Representative” has the meaning set forth in Section 13.5(d).

         “Qualified Purchaser” means a Person satisfactory to the Required Purchasers.

        “Required Purchasers” means DIP Note Purchasers holding more than 50% in aggregate
principal amount of the Notes (including, for the avoidance of doubt, any PIK Interest paid with
respect thereto).

         “Restricted Investment” means an Investment other than a Permitted Investment.

         “Restricted Payment” means the Issuer or any Subsidiary acting to:

         (1)     declare or pay any dividend or make any payment or distribution on account of the
                 Issuer’s or any of its Subsidiaries’ Equity Interests, including any payment made in
                 connection with any merger, amalgamation, or consolidation involving the Issuer
                 (other than (A) dividends or distributions by the Issuer payable solely in Equity
                 Interests of the Issuer or (B) dividends or distributions by a Subsidiary so long as,
                 in the case of any dividend or distribution payable on or in respect of any class or
                 series of securities issued by a Subsidiary other than a wholly owned Subsidiary,
                 the Issuer or a Subsidiary receives at least its pro rata share of such dividend or
                 distribution in accordance with its Equity Interests in such class or series of
                 securities);

         (2)     purchase, redeem, defease, or otherwise acquire or retire for value any Equity
                 Interests of the Issuer or any direct or indirect parent of the Issuer, including in
                 connection with any merger, amalgamation, or consolidation;



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         (3)     make any principal payment on, or redeem, repurchase, defease, or otherwise
                 acquire or retire for value, in each case, prior to any scheduled repayment, sinking
                 fund payment, or maturity, any Subordinated Indebtedness of the Issuer or any
                 Guarantor (other than the payment, redemption, repurchase, defeasance,
                 acquisition, or retirement of (A) Subordinated Indebtedness of the Issuer or any
                 Guarantor in anticipation of satisfying a sinking fund obligation, principal
                 installment, or final maturity, in each case, due within one year of the date of such
                 payment, redemption, repurchase, defeasance, acquisition, or retirement and (B)
                 Indebtedness permitted under clause (7) of the definition of “Permitted
                 Indebtedness”; or

         (4)     make any Restricted Investment.

       “Restructuring Support Agreement” means that certain Restructuring Support
Agreement dated as of December 19, 2023, by and among the Pre-Petition Financing Agent, the
Pre-Petition Financing Lenders, the Purchasers and the other Persons party thereto.

        “Roll-Up Effective Time” means the moment in time immediately following of the entry
of the Final Order by the Bankruptcy Court approving the roll-up of certain of the Pre-Petition
Obligations as contemplated therein and herein.

       “Sanctioned Country” means a country subject to a sanctions program maintained under
any Anti-Terrorism Law, including any such country identified on the list maintained by OF AC
and       available       at      http://www.treasury.gov/resource-center/sanctions/Programs/
Pages/Programs.aspx, or as otherwise published from time to time.

        “Sanctioned Person” means (a) a person named on the list of “Specially Designated
Nationals” or “Blocked Persons” maintained by OF AC available at http://www.treasury.gov/
resource-center/sanctions/SDN-List/Pages/default.aspx, or as otherwise published from time to
time, (b) (i) an agency of the government of a Sanctioned Country, (ii) an organization controlled
by a Sanctioned Country, or (iii) a person resident in a Sanctioned Country, to the extent subject
to a sanctions program administered by OF AC, or (c) any individual person, group, regime, entity,
or thing listed or otherwise recognized as a specially designated, prohibited, sanctioned, or
debarred person, group, regime, entity, or thing, or subject to any limitations or prohibitions
(including, but not limited, to the blocking of property or rejection of transactions), under any Anti­
Terrorism Law.

         “SEC” means the U.S. Securities and Exchange Commission.

       “Security Agreement” means that certain Pledge and Collateral Agreement dated as of
the date hereof among the Borrower, the Parent and the other Note Parties thereto and the
Collateral Agent.

       “Security Documents” means the Security Agreement and any other security agreements,
pledge agreements, mortgages, charges, control agreements, any note, notes, or guarantees
executed by the Issuer or any other Person, any agreements creating or perfecting rights in the
Collateral and other collateral securing any of the Obligations, and any other present or future


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agreement entered into by the Issuer, any Guarantor, or any other Person for the benefit of the
Purchasers and Collateral Agent.

       “Secured Parties” means the Collateral Agent, the DIP Note Purchasers and, after the
occurrence of the Roll-Up Effective Time, the Bridge Note Purchasers.

        “Securities Act” means the U.S. Securities Act of 1933, as amended, and the rules and
regulations promulgated thereunder.

       “Senior Financing Agents” means the Pre-Petition Financing Agent and the DIP
Financing Agent.

      “Senior Financing Credit Agreements” means the Pre-Petition Financing Credit
Agreement and the DIP Financing Credit Agreement.

         “Senior Financing Debts” means the Pre-Petition Financing Debt and the DIP Financing
Debt.

       “Senior Financing Lenders” means the Pre-Petition Financing Lenders and the DIP
Financing Lenders.

       “Spin Stock Purchase Agreement” means that certain Stock Purchase Agreement dated
as of September 19, 2023 between Bird Global, Inc., a Delaware corporation, Bird Rides, Inc., a
Delaware corporation, Skinny Labs, Inc., a Delaware corporation (d/b/a “SPIN”) and Tier Mobility
SE.

        “Subordinated Indebtedness” means (a) with respect to the Issuer, any Indebtedness of
the Issuer which is, by its terms, expressly subordinated in right of payment to the Notes, and (b)
with respect to any Guarantor, any Indebtedness of such Guarantor which is, by its terms, expressly
subordinated in right of payment to its Guarantee.

         “Subsidiary” means, with respect to any Person, any Person (a) of which more than 50%
of the voting power of the Voting Stock or other Capital Stock is owned or controlled, directly or
indirectly, by such Person or through one or more intermediaries (b) of which shares of stock of
each class or other interests having ordinary voting power (other than stock or other interests
having such power only by reason of the happening of a contingency) to elect a majority of the
Board of Directors or other managers of such entity are at the time owned, or management of
which is otherwise controlled: (i) by such Person, (ii) by one or more Subsidiaries of such Person
or (iii) by such Person and one or more Subsidiaries of such Person. Where such term is used
without a referent Person, such term shall be deemed to mean a Subsidiary of the Issuer, unless
the context otherwise requires.

         “Termination Event” shall have the meaning set forth in the DIP Orders.

       “Transactions” means the issuance of Notes contemplated by this Agreement on the
Closing Date.

         “U.S. dollars” and    each mean lawful money of the United States.

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        “Voting Agreement” means that certain Voting Agreement, dated as of [December 30,
2022], among the Issuer, certain of the Purchasers and/or certain of their Affiliates, and the other
parties thereto, as the same may be amended, restated, supplemented, or otherwise modified from
time to time.

        “Voting Stock” means, with respect to any Person, such Person’s Capital Stock having the
right to vote for the election of directors of such Person under ordinary circumstances.

2.      NOTES AND TERMS OF PAYMENT

         2.1     Issuance of Notes.

                 (a)    Purchase and Sale of Notes.

                      (i)     Subject to the terms and conditions of this Agreement, on the
Closing Date, the Issuer shall issue and sell to each applicable DIP Note Purchaser, and each
applicable DIP Note Purchaser shall severally purchase and acquire from the Issuer, for the Cash
Consideration specified in Schedule 2,1-A, Notes in an aggregate principal amount of $5,600,000.

                         (ii)    The Issuer and each DIP Note Purchaser agrees that Schedule 2.1-A
hereto sets forth, with respect to each DIP Note Purchaser, the aggregate principal amount of Notes
to be issued and sold by the Issuer to such DIP Note Purchaser and the Cash Consideration to be
paid or delivered by such DIP Note Purchaser for the Notes. The closing of the purchase and sale
of the Notes to the Cash Consideration Purchasers (the “Closing”) shall occur on the Closing Date.

                        (iii)  On the Closing Date, (1) each applicable DIP Note Purchaser shall
cause a wire transfer to be made in same day funds to an account of the Issuer designated in writing
by the Issuer to the DIP Note Purchasers in an amount specified opposite such DIP Note Purchasers
name on Schedule 2,1-A hereto and (2) the Issuer shall deliver to each DIP Note Purchaser the
principal amount of Notes specified for Cash Consideration on Schedule 2,1-1 hereto.

               (b)     Repayment; Principal and Interest Adjustments. The Issuer shall make
monthly payments of interest only on each Interest Payment Date, commencing on January 31,
2024, and continuing on each Interest Payment Date thereafter to and including the Maturity Date.
All outstanding principal and accrued and unpaid interest with respect to the Notes shall be due
and payable in full on the Maturity Date.

                 (c)    Open-Market Purchases. The Issuer or its Affiliates may at any time and
         from time to time purchase Notes in the open market, through privately negotiated
         transactions with third parties, pursuant to one or more tender or exchange offers, or
         otherwise, upon such terms, and at such prices, as well as with such consideration, as the
         Issuer or any such Affiliates may determine or otherwise.

                 (d)    Priority of Payments.

                       (i)   Until the payment or redemption in full of the Notes and the Bridge
Notes, the payment of the Other Notes shall be postponed and subordinated to the payment or
redemption in full of the Notes and the Bridge Notes, and no payments of or other distributions

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whatsoever on account of the Other Notes shall be made by the Issuer or any other party until the
Notes and the Bridge Notes are paid or redeemed in full. So long as the Notes and the Bridge
Notes remain outstanding, interest payable in respect of the Other Notes and the Bridge Notes shall
accrue as PIK Interest.

                        (ii)   Until all of the Notes and the Bridge Notes are paid or redeemed in
full, the holders of any Other Notes shall not be entitled to receive cash payments or distributions
of any kind in respect of the Other Notes (including, without limitation, payments of principal,
interest other than PIK Interest, and dividends). Without limiting the foregoing, as between the
holders of the Notes and the Bridge Notes, on the one hand, and the holders of any Other Notes,
on the other hand, the holders of the Notes and the Bridge Notes shall be entitled to priority
payments of Net Cash Proceeds from any Disposition prior to payment of any Net Cash Proceeds
from any Disposition to the holders of any Other Notes; it being understood and agreed among the
Purchasers that no Net Cash Proceeds from any Disposition shall be paid to the holders of the
Other Notes unless and until all of the Notes and the Bridge Notes have been paid or redeemed in
full.

                       (iii)   No holder of an Other Note shall be entitled to require the Issuer to
purchase or redeem all or any part of such Other Notes prior to the payment or redemption in full
of all of the Notes and the Bridge Notes, and the Issuer shall not purchase or redeem any of such
Other Notes unless and until all of the Notes and the Bridge Notes have been paid or redeemed in
full.

                       (iv)    On the Closing Date, Issuer shall pay to each DIP Note Purchaser a
deferred fee equal to three percent (3.0%) of the Cash Consideration paid by each such DIP Note
Purchaser in respect of the Notes purchased by it, which fee shall be capitalized to the outstanding
principal amount of the Notes issued to such DIP Note Purchaser pursuant to this Agreement.

                 (e)   Rollup.

        Effective upon the occurrence of the Roll-Up Effective Time, without any further action
by any party to this Agreement, the Bankruptcy Court or any other Person, to the extent set forth
in the Final Order, all Pre-Petition Obligations owing to each Bridge Note Purchaser at the Roll­
Up Effective Time shall be rolled-up into and constitute Obligations hereunder and shall constitute
a portion of the outstanding amount of the Obligations owing to the DIP Note Purchasers
hereunder. At any time upon the occurrence of the Roll-Up Effective time, the Issuer shall, upon
request from any DIP Note Purchaser, deliver a replacement Note, substantially in the form of
Exhibit B hereof, to such DIP Note Purchaser evidencing the total outstanding principal amount
under the Notes and the Bridge Notes held by such DIP Note Purchaser.

         2.2     Payment of Interest on the Notes.

                (a)     Interest Rate. Subject to Section 2.2(b), the principal amount outstanding
under the Notes (including, for the avoidance of doubt, any PIK Interest paid with respect thereto)
shall accrue interest at a per annum rate equal to 18.0%, which interest shall be payable monthly
in arrears in accordance with Sections 2.1(b) and 2.2(d). Such interest shall accrue commencing
on, and including, the Closing Date and shall accrue on the principal amount outstanding under


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such Notes to, but excluding, the day on which such Notes are paid in full (or any payment is made
hereunder).

                 (b)    Default Rate. Immediately upon the occurrence and during the continuance
         of an Event of Default, all Obligations shall accrue interest at a per annum rate equal to
         24.0% (the “Default Rate”). Payment or acceptance of the increased interest rate provided
         in this Section 2.2(b) is not a permitted alternative to timely payment and shall not
         constitute a waiver of any Event of Default or otherwise prejudice or limit any rights or
         remedies of the Purchasers.

                 (c)   360-Day Year. Interest shall be computed on the basis of a 360-day year for
         the actual number of days elapsed.

                 (d)     Payments. Except as otherwise expressly provided herein, all payments by
         the Issuer under the Note Documents shall be made to the respective Purchaser to which
         such payments are owed in immediately available funds on the date specified herein.
         Unless otherwise provided, interest is payable on each Interest Payment Date. Payments of
         principal and/or interest received after 12:00 noon Eastern time are considered received at
         the opening of business on the next Business Day. When a payment is due on a day that is
         not a Business Day, the payment is due the next Business Day and additional fees or
         interest, as applicable, shall continue to accrue until paid. All payments to be made by
         Issuer hereunder or under any other Note Document, including payments of principal and
         interest, and all fees, expenses, indemnities and reimbursements, shall be made without
         set-off, recoupment or counterclaim, in lawful money of the United States and in
         immediately available funds. Notwithstanding the foregoing, all interest on the principal
         amount outstanding under the Notes payable pursuant to this Section 2,2 shall be paid as
         paid-in-kind interest, and shall be added to the aggregate principal amount of the Note on
         the date such interest would otherwise be due hereunder (the amount of any such paid-in­
         kind interest being “PIK Interest”).

        2.3   Purchasers’ Expenses. The Issuer shall pay to the Purchasers all Purchasers’
Expenses (including reasonable attorneys’ fees and expenses for documentation and negotiation
of this Agreement) incurred through and after the Closing Date, when due.

        2.4     Collateral Agent Fees. Issuer shall pay all fees payable to Collateral Agent as set
forth in the Fee Letter at the times and in the amounts specified therein (such fees being referred
to herein collectively as the “Collateral Agent Fees”). The Collateral Agent Fees are in addition
to reimbursement of the Collateral Agent Expenses in accordance with Exhibit C. The Collateral
Agent Fees shall be fully earned when due and shall not be refundable for any reason whatsoever.

       2.5     Taxes; Increased Costs. The Issuer, the Collateral Agent, and the Purchasers each
hereby agree to the terms and conditions set forth on Exhibit D attached hereto.

        2.6    Notes. The Notes shall be substantially in the form attached as Exhibit B hereto,
and the terms of this Agreement shall be incorporated by reference into the Notes as if set forth
therein; provided that, in the event of any conflict between the terms of this Agreement and the
Notes, the terms of this Agreement shall control. The Issuer irrevocably authorizes each Purchaser


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to make or cause to be made, on or about the Closing Date, or at the time of receipt of any payment
of principal on such Purchaser’s Note, an appropriate notation on such Purchaser’s Note (the
“Purchaser’s Note Record”) reflecting the purchase of such Notes or (as the case may be) the
receipt of such payment. The outstanding amount of the Notes set forth on such Purchaser’s Note
Record shall be, absent manifest error, prima facie evidence of the principal amount thereof owing
and unpaid to such Purchaser, but the failure to record, or any error in so recording, any such
amount on such Purchaser’s Note Record shall not limit or otherwise affect the obligations of
Issuer under any Note or any other Note Document to make payments of principal of or interest
on, any Note when due. Upon receipt of an affidavit of an officer of a Purchaser as to the loss,
theft, destruction, or mutilation of its Note, the Issuer shall issue, in lieu thereof, a replacement
Note in the same principal amount thereof and of like tenor.

3.      CONDITIONS OF NOTES

       3.1     Conditions Precedent to Closing. The effectiveness of this Agreement and
Closing are subject to the condition precedent that each Purchaser shall have received, in form and
substance satisfactory to such Purchaser, such documents, and completion of such other matters,
as each Purchaser may reasonably deem necessary or appropriate, including, without limitation:

                 (a)     all of the agreements, documents, instruments and other items set forth on
         the closing checklist attached hereto as Exhibit E other than those that are specified therein
         as permitted to be delivered after the Closing Date, each in form and substance reasonably
         satisfactory to such Purchaser;

                 (b)   to the extent requested by the Purchasers or Collateral Agent, a properly
         completed and duly executed IRS Form W-9 (or other applicable tax form) from Issuer and
         all other documentation and other information required by regulatory authorities under
         applicable “know your customer” and anti-money laundering rules and regulations;

                (c)     the representations and warranties in Section 5 hereof shall be true, accurate
         and complete in all material respects on the Closing Date; provided, however, that such
         materiality qualifier shall not be applicable to any representations and warranties that
         already are qualified or modified by materiality in the text thereof; provided, further that
         those representations and warranties expressly referring to a specific date shall be true,
         accurate and complete in all material respects as of such date;

                (d)    no Event of Default or an event that with the passage of time could result in
         an Event of Default shall exist;

                (e)    payment of the fees, Purchasers’ Expenses, Collateral Agent Expenses and
         Collateral Agent Fees then due as specified in Section 2,4 hereof;

                 (I)     substantially simultaneously with the effectiveness of this Agreement, the
         Issuer shall have executed the DIP Financing Credit Agreement;

                (g)    substantially simultaneously with the effectiveness of this Agreement, the
Issuer shall have executed the Restructuring Support Agreement in form and substance satisfactory
to the Purchasers;

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               (h)     there shall not exist any order, injunction or decree of any Governmental
Authority restraining or prohibiting the issuance of Notes hereunder;

              (i)    each of (i) Bird Global, Inc., (ii) Bird Rides, Inc., (iii) Bird US Holdco, LLC,
(iv) Bird US Opco, LLC, and (v) Skinny Labs, Inc. Chapter 11 of the Bankruptcy Code;

               (j)      the Bankruptcy Court shall have entered the Interim Order, and such Interim
Order shall be in full force and effect and shall not have been stayed, vacated, reversed, amended
or otherwise modified without the prior written consent of the Required Purchasers in their sole
discretion;

               (k)     no motion, pleading or application seeking relief affecting the provision of
the financing contemplated hereunder shall have been filed in the Bankruptcy Court by any Note
Party without the prior written consent of the Required Purchasers in their sole discretion;

                (l)     the Bankruptcy Court shall have entered a cash management order in form
and substance reasonably acceptable to the Required Purchasers no later than two (2) Business
Days after the Petition Date, and such order shall be in full force and effect and shall not have been
stayed, vacated, reversed, amended or otherwise modified without the prior written consent of the
Required Purchasers in their sole discretion;

                 (m)    the initial 13-week cash flow budget, attached as Exhibit A to the Interim
Order, setting forth, on a weekly and a line-item basis, in each case as required by the Interim
Order (i) projected cash receipts and (ii) projected disbursements and the amount of ordinary
course operating expenses, bankruptcy-related expenses under the Chapter 11 Cases (including
professional fees of the Note Parties with respect thereto), capital expenditures, asset sales, and
estimated fees and expenses of the Purchasers (including fees and expenses of its their counsel and
financial advisors), estimated fees and expenses of the members of any statutory committee and
any professionals engaged by any such statutory committee) and any other fees and expenses
relating to this Agreement or the other Note Documents), in each case for each week from the first
day of the week in which the Petition Date occurs through the last day of the week that is 13 weeks
thereafter, to be attached to the Interim Order which shall be in form and substance satisfactory to
the Agent and Required DIP Lenders (the “Initial Approved Budget”); and

               (n)     all other conditions to borrowing in the Interim Order shall have been
satisfied.

        3.2    Covenant to Deliver. The Issuer agrees to deliver to the Purchasers each item
required to be delivered to the Purchasers under this Agreement as a condition precedent to the
purchase of Notes. The Issuer expressly agrees that any purchase of Notes made prior to the receipt
by any Purchaser of any such item shall not constitute a waiver by any Purchaser of the Issuer’s
obligation to deliver such item, and any such Note in the absence of a required item shall be made
in each Purchaser’s sole discretion.

4.      CREATION OF SECURITY INTEREST

        4.1    Grant of Security Interest. The Issuer hereby grants to the Collateral Agent, for
the ratable benefit of the Secured Parties, to secure the payment and performance in full of all of

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the Obligations, a continuing security interest in, and pledges to the Collateral Agent, for the
ratable benefit of the Secured Parties, the Issuer Pledged Collateral. The Collateral Agent’s Lien
on the Issuer Pledged Collateral shall continue until the Obligations (other than inchoate indemnity
obligations) are repaid or converted in full.

       4.2    Representations, Warranties and Covenants. The Issuer represents, warrants
and covenants to and with the Collateral Agent, for the benefit of the Secured Parties, that:

                 (a)     Exhibit A hereto includes a true and complete list of all the Issuer Pledged
         Collateral and the percentage of the issued and outstanding units of each class of the Equity
         Interests of the issuer thereof represented by the Issuer Pledged Collateral owned by the
         Issuer;

                (b)     (i) the Issuer Pledged Collateral has been duly and validly authorized and
         issued by the issuer thereof and (ii) the Issuer Pledged Collateral (if applicable) is fully
         paid and nonassessable;

                  (c)     except for the security interests granted hereunder and under any other Note
         Documents, the Issuer (i) is and will continue to be the direct owner, beneficially and of
         record, of the Issuer Pledged Collateral, (ii) holds the same free and clear of all Liens, other
         than Permitted Liens, (hi) will make no further assignment, pledge, hypothecation or
         transfer of, or create or permit to exist any security interest in or other Lien on, the Issuer
         Pledged Collateral, other than Permitted Liens, and (iv) will use commercially reasonable
         efforts to defend its title or interest thereto or therein against any and all Liens (other than
         Permitted Liens), however arising, of all Persons whomsoever;

                 (d)     except for restrictions and limitations imposed or permitted by the Note
         Documents, contracts and agreements permitted by the Note Purchase Agreement, or
         securities laws generally, the Issuer Pledged Collateral is and will continue to be freely
         transferable and assignable, and none of the Issuer Pledged Collateral is or will be subject
         to any option, right of first refusal, shareholders agreement or organizational document
         provisions of any nature that would prohibit, impair, delay or otherwise affect the pledge
         of such Issuer Pledged Collateral hereunder, the sale or disposition thereof pursuant hereto
         or the exercise by the Collateral Agent of rights and remedies hereunder;

                (e)    the Issuer has the organizational power and authority to pledge the Issuer
         Pledged Collateral pledged by it hereunder in the manner hereby done or contemplated;

                 (f)     by virtue of the execution and delivery by the Issuer of this Agreement, and
         subject to the rights set forth in the Pre-Petition Intercreditor Agreement, when any Issuer
         Pledged Securities are delivered to the Collateral Agent in accordance with this Agreement,
         the Collateral Agent will obtain a legal, valid and perfected lien upon and security interest
         in such Issuer Pledged Securities, free of any adverse claims (except Permitted Liens),
         under the UCC to the extent such lien and security interest may be created and perfected
         under the UCC, as security for the payment and performance of the Obligations; and

               (g)    subject to the terms of this Agreement and the Pre-Petition Intercreditor
         Agreement, and to the extent permitted by applicable law, the Issuer hereby agrees that

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         upon the occurrence and during the continuance of an Event of Default, it will comply with
         the instructions of the Collateral Agent with respect to the Equity Interests that constitute
         Issuer Pledged Collateral hereunder that are not certificated without further consent by the
         applicable owner or holder of such Equity Interests.

        4.3     Registration in Nominee Name. If an Event of Default shall have occurred and is
continuing, the Collateral Agent (at the direction of the Required Purchasers), on behalf of the
Secured Parties, shall have the right (in its sole and absolute discretion) to hold and have the Issuer
Pledged Securities registered in the name of the Collateral Agent or in its own name as pledgee or
in the name of its nominee (as pledgee or as sub-agent), and the Issuer will promptly give to the
Collateral Agent copies of any notices or other written communications received by it with respect
to Issuer Pledged Securities registered in the name of the Issuer. Upon the occurrence and during
the continuance of an Event of Default notice to the Issuer, the Collateral Agent shall at all times
have the right to exchange the certificates representing Issuer Pledged Securities for certificates of
smaller or larger denominations for any reasonable purpose consistent with this Agreement.

         4.4     Voting Rights; Dividends and Interest.

                 (a)    Unless and until an Event of Default shall have occurred:

                      (i)   the Issuer shall be entitled to exercise any and all voting and/or other
                 consensual rights and powers inuring to an owner of Issuer Pledged Securities or
                 any part thereof for any purpose consistent with the terms of this Agreement and
                 the other Note Documents;

                     (ii)    the Collateral Agent shall promptly execute and deliver to the Issuer, or
                 cause to be promptly executed and delivered to the Issuer, all such proxies, powers
                 of attorney and other instruments as the Issuer may reasonably request for the
                 purpose of enabling the Issuer to exercise the voting and/or consensual rights and
                 powers it is entitled to exercise pursuant to clause (a)(i) of this Section 4,4; and

                     (iii)    the Issuer shall be entitled to receive and retain any and all dividends,
                 interest, principal and other distributions paid on or distributed in respect of the
                 Issuer Pledged Securities to the extent and only to the extent that such dividends,
                 interest, principal and other distributions are not prohibited by, and are otherwise
                 paid or distributed in accordance with, the terms and conditions of this Agreement
                 and the other Note Documents and Applicable Laws; provided that any non-cash
                 dividends, interest, principal or other distributions that would constitute Issuer
                 Pledged Collateral, whether resulting from a subdivision, combination or
                 reclassification of the outstanding Equity Interests in the issuer of any Issuer
                 Pledged Securities or received in exchange for Issuer Pledged Securities or any part
                 thereof, or in redemption thereof, or as a result of any merger, consolidation,
                 acquisition or other exchange of assets to which such issuer may be a party or
                 otherwise, shall be and become part of the Issuer Pledged Collateral and, if received
                 by the Issuer, shall be held for the benefit of the Collateral Agent and the other
                 Secured Parties.



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       4.5     Other Collateral. The Notes and related Guarantees will be secured from time to
time by other collateral, pledged by the Guarantors under the other Note Documents.

        4.6     Release of Issuer Pledged Collateral. Upon payment or conversion in full of the
Obligations (other than inchoate indemnity obligations), the Collateral Agent’s Lien on all the
Issuer Pledged Collateral shall terminate and be released automatically without further action of
any Person, and all rights therein shall revert to the Issuer. Upon any sale or other transfer of any
Issuer Pledged Collateral in a transaction permitted under and in accordance with the terms of this
Agreement, or upon the effectiveness of any written consent to the release of the Liens granted
hereby on any Issuer Pledged Collateral, the Collateral Agent’s Lien on such Issuer Pledged
Collateral shall be automatically released, and all rights therein shall revert to the Issuer. In
connection with any of the foregoing terminations or releases, at the request of the Issuer and at
the sole cost and expense of the Issuer, the Collateral Agent shall promptly execute and deliver to,
and authorize the filing by, the Issuer of all financing statement amendments or termination
statements and similar documents that the Issuer shall reasonably request to evidence such
termination or release, and the Collateral Agent shall promptly deliver to the Issuer all applicable
Issuer Pledged Collateral in its possession.

5.      REPRESENTATIONS AND WARRANTIES OF THE ISSUER

        The Issuer represent and warrant to the Purchasers and the Collateral Agent that, as of the
date hereof:

         5.1    Organization and Good Standing. The Issuer and each of its Subsidiaries is an
entity duly organized and validly existing and in good standing under the laws of the jurisdiction
of its organization and has full power and authority under its organizational documents and under
the laws of the jurisdiction of its organization to own its properties and to conduct its business as
such properties are currently owned and such business is presently conducted.

        5.2     Due Qualification. The Issuer and each of its Subsidiaries is duly qualified to do
business, and has obtained all necessary licenses and approvals, in all jurisdictions in which the
conduct of its business requires such qualification, licenses, or approvals, except where the failure
to do so would not reasonably be expected to have a Material Adverse Effect on the ability of the
Issuer or such Subsidiaries to perform its obligations (taken as a whole) under this Agreement or
any other Note Document to which it is a party or the validity or enforceability of this Agreement
or any other Note Document.

         5.3      Power and Authority; Due Authorization. The Issuer (a) has all necessary power
and authority to (i) execute and deliver this Agreement and the other Note Documents to which it
is a party, (ii) perform its obligations under this Agreement and the other Note Documents to which
it is a party, and (iii) grant a security interest in the Collateral to the Collateral Agent on the terms
and subject to the conditions herein provided, and (b) has duly authorized by all necessary
corporation action such grant and the execution, delivery, and performance of, and the
consummation of the transactions provided for in, this Agreement and the other Note Documents
to which it is a party. The shares of Common Stock issuable upon conversion of the Notes have
been duly and validly authorized and reserved by the Issuer and, when issued upon conversion of
the Notes in accordance with this Agreement, will be validly issued, fully paid, and non-assessable,

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and the issuance of any such shares of Common Stock shall not be subject to any preemptive or
similar rights.

        5.4     Binding Obligations. This Agreement and each of the other Note Documents to
which the Issuer is a party, when executed and delivered by the Issuer and each other party thereto
(and, with respect to the Notes, when issued against payment of the Cash Consideration therefor),
will constitute legal, valid, and binding obligations of the Issuer, enforceable against the Issuer in
accordance with their respective terms, except (i) as such enforceability may be limited by
applicable bankruptcy, insolvency, reorganization, moratorium, or other similar laws affecting the
enforcement of creditors’ rights generally and (ii) as such enforceability may be limited by general
principles of equity, regardless of whether such enforceability is considered in a proceeding in
equity or at law.

        5.5      No Conflict or Violation. The execution, delivery, and performance of, and the
consummation of the transactions contemplated by, this Agreement and the other Note Documents
to which the Issuer is a party, and the fulfillment of the terms hereof and thereof, will not (a)
conflict with, result in any breach of any of the terms or provisions of, or constitute (with or without
notice or lapse of time or both) a default under its organizational documents, any Government
Approval, or any indenture, sale agreement, credit agreement, loan agreement, security agreement,
mortgage, deed of trust, or other agreement or instrument to which the Issuer is a party or by which
it or any of its properties is bound, (b) result in the creation or imposition of any Lien upon any of
the Collateral pursuant to the terms of any such indenture, sale agreement, credit agreement, loan
agreement, security agreement, mortgage, deed of trust, or other agreement or instrument (other
than this Agreement and the other Note Documents), or (c) conflict with or violate any Applicable
Law, except, in the case of each of the foregoing clauses (a) through (c), to the extent that any such
conflict, breach, default, Lien, or violation, as applicable, would not reasonably be expected to
have a Material Adverse Effect.

        5.6     Litigation and Other Proceedings, (a) There is no action, suit, proceeding, or
investigation pending or, to the knowledge of the Issuer, threatened in writing, against the Issuer
or any of its Subsidiaries before any Governmental Authority and (b) the Issuer is not subject to
any order, judgment, decree, injunction, stipulation, or consent order of or with any Governmental
Authority that, in the case of either of the foregoing clauses (a) and (b), (i) asserts the invalidity or
unenforceability of this Agreement, any other Note Document or any Pre-Petition Note Document,
(ii) seeks to prevent the grant of a security interest in any of the Collateral by the Issuer to the
Collateral Agent or the consummation of any of the transactions contemplated by this Agreement,
any other Note Document or any Pre-Petition Note Document, (iii) seeks any determination or
ruling that could materially and adversely affect the performance by the Issuer of its obligations
under this Agreement, any other Note Document or any Pre-Petition Note Document, or (iv)
individually or in the aggregate for all such actions, suits, proceedings, and investigations would
reasonably be expected to have a Material Adverse Effect.

        5.7    Government Approvals. Except where the failure to obtain or make such
authorization, consent, order, approval, or action would not reasonably be expected to have a
Material Adverse Effect, all authorizations, consents, orders, and approvals of, or other actions by,
any Governmental Authority (including the entry by the Bankruptcy Court of the Interim Order
(or the Final Order) when applicable) that are required to be obtained by the Issuer in connection

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with the grant of a security interest to the Collateral Agent hereunder or the due execution, delivery,
and performance by the Issuer of this Agreement or any other Note Document to which it is a party
and the consummation by the Issuer of the transactions contemplated by this Agreement and the
other Note Documents to which it is a party have been obtained or made and are in full force and
effect, except for such authorizations, consents, orders, approvals, or actions (a) as have been
obtained or made, or (b) as may be required under applicable state securities laws in connection
with the issuance and sale of the Notes.

         5.8      [reserved].

       5.9    Offices; Legal Name. The Issuer’s sole jurisdiction of organization is the State of
Delaware and such jurisdiction has not changed within four months prior to the date of this
Agreement. The chief executive office of the Issuer is 392 NE 191st Street, #20388, Miami, Florida.
The legal name of the Issuer is Bird Global, Inc.

       5.10 Investment Company Act. The Issuer is not, and is not controlled by, an
“investment company” registered or required to be registered under the U.S. Investment Company
Act of 1940, as amended.

        5.11 Accuracy of Information. All written information (other than any projections,
forward-looking information, and information of a general economic nature or general industry
nature) furnished to the Purchasers by or on behalf of the Issuer pursuant to any provision of this
Agreement or any other Note Document, or in connection with or pursuant to any amendment or
modification of, or waiver under this Agreement or any other Note Document, is at the time the
same are so furnished (or as of any earlier date or later date specified therein),was, at the time the
same was so furnished (or as of any earlier date specified therein), when taken as a whole, true and
correct in all material respects on the date the same was furnished to the Purchasers, and does not
contain any material misstatement of fact or omit to state a material fact necessary to make the
statements contained therein not misleading in light of the circumstances in which such statements
were made.

        5.12 Anti-Money Laundering/International Trade Law Compliance. Neither the
Issuer nor, to the knowledge of the Issuer, any of its Affiliates, (a) is in violation of any Anti­
Terrorism Law, (b) engages in or conspires to engage in any transaction that violates or attempts
to violate any of the prohibitions set forth in any Anti-Terrorism Law, (c) is a Sanctioned Person,
or is controlled by a Sanctioned Person, (d) is acting for or on behalf of a Sanctioned Person, (e)
is associated with a Sanctioned Person, or (vi) is providing material, financial, or technical support
or other services to or in support of acts of terrorism of a Sanctioned Person. Neither the Issuer
nor, to the knowledge of the Issuer, any of its Affiliates or agents acting or benefiting in any
capacity in connection with the transactions contemplated by this Agreement, (i) conducts any
business or engages in making or receiving any contribution of funds, goods, or services to or for
the benefit of any Sanctioned Person or (ii) deals in, or otherwise engages in any transaction
relating to, any property or interest in property blocked pursuant to Executive Order No. 13224,
any similar executive order, or other Anti-Terrorism Law.

         5.13     Perfection Representations.



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                 (a)      This Agreement creates a valid and continuing security interest in the
         Issuer’s right, title, and interest in, to, and under the Issuer Pledged Collateral which, (i)
         upon the filing of any required financing statements, will constitute a perfected security
         interest and (ii) will be free of all Liens, other than Permitted Liens.

                (b)      The Issuer owns and has good and marketable title to the Issuer Pledged
         Collateral free and clear of any Lien, other than Permitted Liens.

                (c)     Other than the security interest granted to the Collateral Agent pursuant to
         this Agreement, the Issuer has not pledged, assigned, sold, granted a security interest in, or
         otherwise conveyed any of the Issuer Pledged Collateral except as permitted by this
         Agreement and the other Note Documents. The Issuer is not aware of any judgment lien,
         ERISA lien, or tax lien filings against the Issuer that are not permitted by this Agreement
         and the other Note Documents.

       5.14 Compliance with Applicable Laws. The Issuer has complied with all Applicable
Laws to which it may be subject, except where any such failure to comply with Applicable Laws
would not reasonably be expected to have a Material Adverse Effect.

        5.15 Taxes. Except as disclosed to the Purchasers prior to the Closing Date, the Issuer
has (a) timely filed all material tax returns (federal, state, and local) required to be filed by it, (b)
paid, or caused to be paid, all material taxes, assessments, and other governmental charges, if any,
other than taxes, assessments, and other governmental charges being contested in good faith, and
(c) paid all fees and expenses required to be paid by it in connection with the maintenance of its
existence, and its qualification as a foreign corporation authorized to do business in each state in
which it is required to so qualify, except with respect to this clause (c), where any such failure to
pay such fees and expenses would not reasonably be expected to have a Material Adverse Effect.

        5.16 No Broker’s Fees. Except as set forth in or contemplated by the Bird Canada Share
Purchase Agreement, the Issuer is not a party to any contract, agreement, or understanding with
any Person that would give rise to a valid claim against them or the Purchasers for a brokerage
commission, finder’s fee, or like payment in connection with the Note Documents and the
transactions contemplated thereby.

        5.17 No General Solicitation. Neither the Issuer nor any of its affiliates (as defined in
Rule 501(b) of Regulation D promulgated under the Securities Act), or any Person acting on its or
their behalf, has engaged directly or indirectly in any form of general solicitation or general
advertising (within the meaning of Rule 502(c) of Regulation D) in connection with the offering,
issuance, and sale of the Notes in any manner involving a public offering within the meaning of
Section 4(a)(2) of the Securities Act.

        5.18 No Default. No Default or Event of Default exists or would result from the incurring of
any Obligations by any Note Party or the grant or perfection of the Collateral Agent’s Liens on the
Collateral, except for Defaults and Events of Default occasioned by the filing of the Chapter 11 Cases and
Defaults and Events of Default resulting from obligations with respect to which the Bankruptcy Code
prohibits the Note Parties from complying or permits the Note Parties not to comply. No Note Party and
no Subsidiary of any Note Party is in default under or with respect to any Contractual Obligation in any
respect which, individually or together with all such defaults, would reasonably be expected to have a

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Material Adverse Effect, except for Defaults and Events of Default resulting from obligations with respect
to which the Bankruptcy Code prohibits the Note Parties from complying or permits the Note Parties not
to comply.

         5.19     Bankruptcy Matters.

       (a)      The Chapter 11 Cases were commenced on the Petition Date in accordance with
applicable law and proper notice thereof and the proper notice, to the extent given or required to
be given prior to the date hereof, was given for (x) the motions seeking approval of the Note
Documents and the Interim Order and Final Order, (y) the hearings for the approval of the Interim
Order, and (z) the hearings for the approval of the Final Order.

       (b)     From and after the entry of the Interim Order, and pursuant to and to the extent
permitted in the Interim Order and the Final Order, the Obligations will constitute allowed
administrative expenses in the Chapter 11 Cases having priority over all administrative expenses
and unsecured claims against the Note Parties as set forth in the DIP Orders.

        (c)     From and after the entry of the Interim Order and pursuant to and to the extent
provided in the Interim Order and the Final Order, the Obligations will be secured by a valid and
perfected first priority lien on all of the Collateral, subject, as to priority only, [to the Carve-Out
and the Prepetition Prior Liens], as set forth in the DIP Orders.

        (d)     The Interim Order (with respect to the period prior to entry of the Final Order) or
the Final Order (with respect to the period on and after entry of the Final Order), as the case may
be, is in full force and effect has not been reversed, stayed, modified or amended without the
Required Purchasers’ consent in their sole discretion.

6.      REPRESENTATIONS AND WARRANTIES OF THE PURCHASERS

       Each Purchaser, severally and not jointly, represents and warrants to the Issuer as of the
Closing Date and as of the date such Person becomes a Purchaser, as follows:

         6.1    Organization and Good Standing. Such Purchaser is an entity duly organized and
validly existing and in good standing under the laws of the jurisdiction of its organization and has
full power and authority under its organizational documents and under the laws of the jurisdiction
of its organization to enter into this Agreement and perform its obligations hereunder.

         6.2    Power and Authority; Due Authorization. Such Purchaser (a) has all necessary
power and authority to (i) execute and deliver this Agreement and the other Note Documents to
which it is a party and (ii) perform its obligations under this Agreement and the other Note
Documents to which it is a party and (b) has duly authorized by all necessary organizational action
the execution, delivery, and performance of, and the consummation of the transactions provided
for in, this Agreement and the other Note Documents to which it is a party.

        6.3    Binding Obligations. This Agreement and each of the other Note Documents to
which such Purchaser is a party, when executed and delivered by such Purchaser and each other
party thereto (and, with respect to the Notes, when issued against payment of the Purchase
Consideration therefor), will constitute legal, valid, and binding obligations of such Purchaser,

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enforceable against such Purchaser in accordance with their respective terms, except (i) as such
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium,
or other similar laws affecting the enforcement of creditors’ rights generally and (ii) as such
enforceability may be limited by general principles of equity, regardless of whether such
enforceability is considered in a proceeding in equity or at law.

         6.4     No Conflict or Violation. The execution, delivery, and performance of, and the
consummation of the transactions contemplated by, this Agreement and the other Note Documents
to which such Purchaser is a party will not (a) conflict with, result in any breach of any of the terms
or provisions of, or constitute (with or without notice or lapse of time or both) a default under its
organizational documents or any indenture, sale agreement, credit agreement, loan agreement,
security agreement, mortgage, deed of trust, or other agreement or instrument to which such
Purchaser is a party or by which it or any of its properties is bound, (b) result in the creation or
imposition of any Lien upon any of the Collateral pursuant to the terms of any such indenture, sale
agreement, credit agreement, loan agreement, security agreement, mortgage, deed of trust, or other
agreement or instrument (other than this Agreement and the other Note Documents), or (c) conflict
with or violate any Applicable Law, except, in the case of each of the foregoing clauses (a) through
(c), to the extent that any such conflict, breach, default, Lien, or violation, as applicable, would not
reasonably be expected to have a material adverse effect on the ability of such Purchaser to perform
its obligations (taken as a whole) under this Agreement or any other Note Document to which it is
a party or the validity or enforceability of this Agreement or any other Note Document.

        6.5      Litigation and Other Proceedings. Except for the Chapter 11 Cases, (a) there is
no action, suit, proceeding, or investigation pending or, to the knowledge of such Purchaser,
threatened in writing, against such Purchaser before any Governmental Authority and (b) such
Purchaser is not subject to any order, judgment, decree, injunction, stipulation, or consent order of
or with any Governmental Authority that, in the case of either of the foregoing clauses (a) and (b),
(i) asserts the invalidity or unenforceability of this Agreement or any other Note Document, (ii)
seeks to prevent the consummation of any of the transactions contemplated by this Agreement or
any other Note Document, (iii) seeks any determination or ruling that could materially and
adversely affect the performance by such Purchaser of its obligations under this Agreement or any
other Note Document, or (iv) individually or in the aggregate for all such actions, suits,
proceedings, and investigations would reasonably be expected to have a material adverse effect on
the ability of such Purchaser to perform its obligations (taken as a whole) under this Agreement or
any other Note Document to which it is a party or the validity or enforceability of this Agreement
or any other Note Document.

       6.6     Government Approvals. Except where the failure to obtain or make such
authorization, consent, order, approval, or action would not reasonably be expected to have a
material adverse effect on the ability of such Purchaser to perform its obligations (taken as a whole)
under this Agreement or any other Note Document to which it is a party or the validity or
enforceability of this Agreement or any other Note Document, all authorizations, consents, orders,
and approvals of, or other actions by, any Governmental Authority that are required to be obtained
by such Purchaser in connection with the due execution, delivery, and performance by such
Purchaser of this Agreement or any other Note Document to which it is a party and the
consummation by such Purchaser of the transactions contemplated by this Agreement and the other
Note Documents to which it is a party have been obtained or made and are in full force and effect,

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except for such authorizations, consents, orders, approvals, or actions (a) as have been obtained or
made, (b) as may be required under applicable state securities laws in connection with the issuance
and sale of the Notes, or (c) to perfect the Collateral Agent’s security interests granted hereby and
any financing statements related thereto.

        6.7     Evaluation of Risks. Such Purchaser has such knowledge and experience in
financial, tax, and business matters as to be capable of evaluating the merits and risks of, and
bearing the economic risks entailed by, an investment in the Notes and the underlying shares of
Common Stock and of protecting its interests in connection with the transactions contemplated
hereby. Such Purchaser acknowledges and agrees that its investment in the Issuer involves a high
degree of risk, and that such Purchaser may lose all or a part of its investment.

       6.8     No Legal, Investment, or Tax Advice from the Issuer. Such Purchaser
acknowledges that it had the opportunity to review the Note Documents and the transactions
contemplated by the Note Documents with its own legal counsel and investment and tax advisors.
Such Purchaser is relying solely on such counsel and advisors and not on any statements or
representations of the Issuer or any of the Issuer’s representatives or agents for legal, tax,
investment or other advice with respect to such Purchaser’s acquisition of the Notes hereunder or
any shares of Common Stock issuable upon conversion thereof, the transactions contemplated by
this Agreement and the other Note Documents, or the laws of any jurisdiction.

        6.9     Investment Purpose. Such Purchaser is acquiring the Notes and the shares of
Common Stock issuable upon conversion of the Notes for its own account, for investment
purposes, and not with a view towards, or for resale in connection with, the public sale or
distribution thereof, in violation of the Securities Act or any applicable state securities laws. Such
Purchaser agrees not to sell, hypothecate, or otherwise transfer the Notes or any shares of Common
Stock issuable upon conversion of the Notes except pursuant to a registration statement in which
the resale of such securities is registered under the Securities Act and in a manner in compliance
with all applicable federal and state securities laws, rules, and regulations, or unless, in the opinion
of counsel satisfactory to the Issuer, an exemption from such registration is available. Such
Purchaser does not presently have any agreement or understanding, directly or indirectly, with any
Person to sell or distribute any of the Notes or any shares of Common Stock issuable upon
conversion of the Notes. Such Purchaser is acquiring the Notes and the shares of Common Stock
issuable upon conversion of the Notes hereunder in the ordinary course of its business.

        6.10 Accredited Investor. Such Purchaser is an institutional “accredited investor” as
that term is defined in Rule 501(a) of Regulation D promulgated under the Securities Act.

        6.11 Reliance on Exemptions. Such Purchaser understands that the Notes and the
shares of Common Stock issuable upon conversion of the Notes are being offered and sold to it in
reliance on specific exemptions from the registration requirements of U.S. federal and state
securities laws and are characterized as “restricted securities” under the U.S. federal securities
laws. Such Purchaser is purchasing the Notes as principal for its own account, not for the benefit
of any other person, for investment only and not with a view to the resale or distribution of all or
any of the Notes or underlying Common Stock. If such Purchaser is resident in a jurisdiction of
Canada, it is an “accredited investor,” as such term is defined in National Instrument 45-106
Prospectus Exemptions (“NI 45-106”) or, where applicable, section 73.3 (1) of the Securities Act

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(Ontario), it was not created and is not being used solely to purchase or hold securities as an
accredited investor as described in paragraph (m) of the definition of “accredited investor” in NI
45-106 and has concurrently executed and delivered an accredited investor representation letter
certifying its status as an accredited investor (the “Representation Letter”) and specifically
represents and warrants that one or more of the categories set forth in the Representation Letter
correctly, and in all respects, describes such Purchaser, and will describe such Purchaser as at the
Closing Date and such Purchaser has so indicated by initialling next to the category in such
Representation Letter which so describes it. Such Purchaser understands that the Issuer is relying
in part upon the truth and accuracy of, and such Purchaser’s compliance with, the representations,
warranties, agreements, acknowledgments, and understandings of such Purchaser set forth herein
and in the other Note Documents in order to determine the availability of such exemptions and the
eligibility of such Purchaser to acquire the Notes and the shares of Common Stock issuable upon
conversion of the Notes.

         6.12 No Governmental Review. Such Purchaser understands that no U.S. federal or
state agency or any other Governmental Authority has passed on or made any recommendation or
endorsement of the Notes and the shares of Common Stock issuable upon conversion of the Notes
or the fairness or suitability of an investment in the Notes and the shares of Common Stock issuable
upon conversion of the Notes, nor have such authorities passed upon or endorsed the merits of the
offering of the Notes and the shares of Common Stock issuable upon conversion of the Notes. In
addition, such Purchaser acknowledges that: (a) there are restrictions on such Purchaser’s ability
to resell the Notes and the underlying shares of Common Stock and it is the responsibility of such
Purchaser to find out what those restrictions are and to comply with them before selling the Notes
or shares Common Stock; (b) if such Purchaser is located in Canada, the Issuer has advised such
Purchaser that the Issuer is relying on an exemption from the requirements to provide such
Purchaser with a prospectus under the Securities Act (Ontario) and other applicable securities laws
of each other province and territory of Canada, as applicable, and, as a consequence of acquiring
securities pursuant to this exemption, certain protections, rights and remedies provided by the
Securities Act (Ontario) and any other applicable securities laws of each other province and
territory of Canada, including statutory rights of rescission or damages, will not be available to
such Purchaser; and (c) any certificates representing the Notes and, if applicable, the shares of
Common Stock that are purchased by any Canadian Purchasers will be endorsed with a legend
stating that such securities will be subject to restrictions on resale in accordance with applicable
Canadian securities legislation.

        6.13 Information. Such Purchaser and its advisors (including its counsel), if any, have
been furnished with all materials relating to the business, finances, and operations of the Issuer
and information such Purchaser deemed material to making an informed investment decision. Such
Purchaser and its advisors (including its counsel), if any, have been afforded the opportunity to
ask questions of the Issuer and its management and have received answers to such questions and
conducted and completed their own independent due diligence. Based on the information such
Purchaser has deemed appropriate, it has independently made its own analysis and decision to
invest in the Notes and the shares of Common Stock issuable upon conversion of the Notes and to
enter into the Note Documents. Such Purchaser acknowledges and agrees that the Issuer has not
made to such Purchaser, and such Purchaser acknowledges and agrees it has not relied upon, any
representations and warranties of the Issuer, its employees, or any third party other than the
representations and warranties of the Issuer contained in this Agreement.

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        6.14 Not an Affiliate. Such Purchaser is not an officer, director, or a person that, directly
or indirectly through one or more intermediaries, controls or is controlled by, or is under common
control with, the Issuer or any “affiliate” of the Issuer (as that term is defined in Rule 405
promulgated under the Securities Act).

        6.15 No Prior Short Sales. At no time prior to the date of this Agreement has such
Purchaser, any of its Affiliates, or any of their respective directors, officers, or any entity managed
or controlled by such Purchaser or any of its Affiliates, engaged in or effected, in any manner
whatsoever, directly or indirectly, for its own principal account, any (i) “short sale” (as such term
is defined in Rule 200 of Regulation SHO of the Exchange Act) of the Common Stock or (ii)
hedging transaction, which establishes a net short position with respect to the Common Stock that
remains in effect as of the date of this Agreement.

        6.16 General Solicitation. Such Purchaser is not purchasing or acquiring the Notes or
the shares of Common Stock issuable upon conversion of the Notes as a result of, and neither such
Purchaser nor any of its Affiliates, nor any person acting on its or their behalf, has engaged or will
engage in, any form of general solicitation or general advertising (within the meaning of
Regulation D promulgated under the Securities Act) in connection with any offer or sale of the
Notes or the shares of Common Stock issuable upon conversion of the Notes.

        6.17 ERISA. Such Purchaser is not, and is not acquiring or holding the Notes for or on
behalf of, or with the assets of, an entity deemed to hold “plan assets” within the meaning of
Section 3(42) of ERISA and (b) neither the execution of this Agreement or any other Note
Document nor the undertaking of any of the transactions contemplated hereunder or thereunder
will give rise to a non-exempt prohibited transaction within the meaning of Section 406 of ERISA
or Section 4975 of the Internal Revenue Code or a violation of any applicable similar law.

7.      AFFIRMATIVE COVENANTS

       So long as any Obligations (other than inchoate indemnification obligations) remain
outstanding:

         7.1     Financial Reporting; Notices.

                 The Issuer shall deliver to the Purchasers:

                (a)     within three Business Days after delivering any reporting, notice, waiver,
         consent, modification, amendment or material information to the Senior Finance Agents or
         the Senior Financing Lenders, a copy of such document;

                (b)     within three (3) days after the same are sent or received) copies of all
         material correspondence, reports, documents and other filings with any Governmental
         Authority that could reasonably be expected to have a material adverse effect on any of the
         Governmental Approvals material to Issuer’s business or that otherwise could reasonably
         be expected to have a Material Adverse Change;

                 (c)    at least ten (10) days’ prior to Issuer’s creation of a new Subsidiary;


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                 (d)     at least twenty (20) days’ prior to Issuer’s or Subsidiaries (A) changing its
         respective jurisdiction of organization, (B) changing its organizational structure or type,
         (C) changing its respective legal name, or (D) changing any organizational number(s) (if
         any) assigned by its respective jurisdiction of organization;

                 (e)    promptly (and in any event within three (3) Business Days) upon Issuer
         becoming aware of the existence of any Default or Event of Default, notice of such
         occurrence, which such notice shall include a reasonably detailed description of such Event
         of Default or event which, with the giving of notice or passage of time, or both, would
         constitute an Event of Default, and Issuer’s proposal regarding how to cure such Event of
         Default or event;

               (f)    within one Business Day, the (x) occurrence of any Default or Event of
Default under the Pre-Petition Financing Debt Documents (each as defined therein), (y) notice of
any material amendment to any Pre-Petition Financing Debt Document and (z) any material notice,
waiver, consent, modification, amendment or other material information delivered to the Pre­
Petition Financing Agent or the Lenders (as defined in the Pre-Petition Financing Credit
Agreement);

                (g)     as soon as available, but not later than the date such reports or certificates
are required to be delivered pursuant to the terms of the DIP Orders, copies of all other reports and
certificates required to be delivered by the Note Parties pursuant to the terms of the DIP Orders;

                (h)     within one Business Day, the (x) occurrence of any Default or Event of
         Default under the DIP Financing Debt Documents (each as defined therein), (y) notice of
         any material amendment to any DIP Financing Debt Document and (z) any material notice,
         waiver, consent, modification, amendment or other material information delivered to the
         DIP Financing Agent or the Lenders (as defined in the DIP Financing Credit Agreement);
         and

                (i)    prompt written notice of any material litigation or governmental
         proceedings pending or threatened (in writing) against Issuer or any of its Subsidiaries.

        7.2     Security Interest, Etc. The Issuer shall take all action reasonably necessary to
establish and maintain a perfected security interest in the Collateral, in each case, free and clear of
any Lien except for Liens permitted to exist under this Agreement or the other Note Documents,
in favor of the Collateral Agent (on behalf of the Secured Parties), including taking such action to
perfect or more fully evidence the security interest of the Collateral Agent (on behalf of the Secured
Parties) as the Collateral Agent or any Secured Party may reasonably request, in each case,
consistent with the terms of this Agreement or the other Note Documents. In order to evidence the
security interests of the Collateral Agent under this Agreement, the Issuer shall, from time to time,
take such action or execute and deliver such instruments as may be reasonably necessary to
maintain and perfect, as a security interest, the Collateral Agent’s security interest in the Collateral.
The Collateral Agent’s approval of such instruments shall authorize the Issuer to make any
necessary filings under the Code without the signature of the Issuer or the Collateral Agent where
allowed by Applicable Law.



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        7.3     Taxes. The Issuer will timely file, and require each of its Subsidiaries to timely file
(or obtain timely extensions therefor), all required material tax returns, and timely pay, and require
each of its Subsidiaries to timely pay, all material foreign, federal, state, and local taxes,
assessments, and other governmental charges owed by Issuer or its Subsidiaries, except to the
extent failing to do so would not constitute a breach of the representation in Section 5,15 hereof;
deliver to the Purchasers, on reasonable demand, appropriate certificates attesting to such
payments; and pay all amounts necessary to fund all present pension, profit sharing and deferred
compensation plans in accordance with the terms of such plans.

         7.4    Insurance. The Issuer will keep the Issuer’s and its Subsidiaries’ business and the
Collateral insured for risks and in amounts standard for companies in Issuer’s and its Subsidiaries’
industry and location and as the Required Purchasers may reasonably request. Insurance policies
shall be in a form, with companies, and in amounts that are reasonably satisfactory to the
Purchasers. All property policies shall have a lender’s loss payable endorsement showing the
Collateral Agent (for the ratable benefit of the Secured Parties) as lender loss payee and shall waive
subrogation against the Collateral Agent, and all liability policies shall show, or have endorsements
showing, the Collateral Agent (for the ratable benefit of the Secured Parties), as additional insured.
Subject to Section 3,4, the Collateral Agent shall be named as lender loss payee and/or additional
insured with respect to any such insurance providing coverage in respect of any Collateral, and
each provider of any such insurance shall agree, by endorsement upon the policy or policies issued
by it or by independent instruments furnished to the Purchasers, that it will give the Collateral
Agent 30 days (and 10 days for nonpayment of premium) prior written notice before any such
policy or policies shall be canceled. At the reasonable request of the Required Purchasers, the
Issuer shall deliver to the Purchasers certified copies of policies and evidence of all premium
payments. Subject to the Pre-Petition Intercreditor Agreement, proceeds payable under any policy
shall, at the option of the Required Purchasers, be payable to the Collateral Agent, for the ratable
benefit of the Secured Parties, on account of the then-outstanding Obligations. If the Issuer or any
of its Subsidiaries fails to obtain insurance as required under this Section 7,4 or to pay any amount
or furnish any required proof of payment to third persons, the Collateral Agent may make (but has
no obligation to do so), at the Issuer’s expense, all or part of such payment or obtain such insurance
policies required in this Section 7,4, and take any action under the policies the Collateral Agent (at
the direction of the Required Purchasers) deems prudent.

        7.5    Use of Proceeds. The Issuer shall use the proceeds from the issuance of the Notes
solely in accordance with the Approved Budget and the DIP Orders.

         7.6     Budget Testing.

        Subject to the terms and conditions set forth below, no Note Party shall, nor shall it permit
any of its Subsidiaries to make any payment or otherwise disburse any funds or fail to collect
revenues or funds in an amount, in each case, in a manner such that the unrestricted cash and Cash
Equivalents of the Note Parties and their Subsidiaries is less than the amount set forth in each
Approved Budget for any Budget Testing Period, subject to the Permitted Variance; provided that
this provision shall disregard non-recurring one-time receipts and disbursements.

        The Purchasers (i) may assume that the Note Parties will comply with the Approved Budget
to the extent required by this clause (s) and shall have no duty to monitor such compliance and (ii)

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shall not be obligated to pay (directly or indirectly from the Collateral) any unpaid expenses
incurred or authorized to be incurred pursuant to the Approved Budget. The line items in the
Approved Budget for payment of interest, expenses and other amounts to the Secured Parties are
estimates only, and the Note Parties remain obligated to pay any and all Obligations in accordance
with the terms of the Note Documents. Nothing in the Approved Budget shall constitute an
amendment or other modification of this Agreement or any of such restrictions or other lending
limits set forth therein.

         7.7     Bankruptcy Court Filings.

        As soon as practicable in advance of filing with the Bankruptcy Court, the Note Parties
shall provide each Purchaser with copies of (i) the motion seeking approval of and proposed forms
of the Interim Order and the Final Order, which motion shall be in form and substance reasonably
satisfactory to the Purchasers’ Representative, and which orders shall be in form and substance
satisfactory to the Required Purchasers in their sole discretion, (ii) the Bid Procedures Motion,
which motion shall be in form and substance reasonably satisfactory to the Required Purchasers,
and the proposed form of the Bid Procedures Order, which order shall be in form and substance
satisfactory to Purchasers’ Representative in its sole discretion (and to the extent affecting the
rights, duties, benefits, privileges, protections, indemnities or immunities of the Collateral Agent,
the Collateral Agent), (iii) all other proposed orders and pleadings related to the financing
contemplated hereunder, which orders and pleadings shall be in form and substance satisfactory
to the Purchasers’ Representative, (iv) any plan of reorganization or liquidation, and/or any
disclosure statement related to such plan (which plan or disclosure statement shall comply with
the requirements set forth herein), which plan of reorganization or liquidation and any related
disclosure statement shall be in form and substance satisfactory to the Required Purchasers (and
to the extent affecting the rights, duties, benefits, privileges, protections, indemnities or immunities
of the Collateral Agent, the Collateral Agent), (v) any motion, and proposed form of order, seeking
to extend or otherwise modify the Note Parties’ exclusive periods set forth in section 1121 of the
Bankruptcy Code, which motion and proposed order shall be in form and substance satisfactory to
the Purchasers’ Representative, (vi) any motion, other than the Bid Procedures Motion, seeking
approval of any sale of any Note Party’s assets, which motion shall be in form and substance
acceptable to the Purchasers’ Representative and any proposed form of a bidding procedures order
and sale order, which orders shall be in form and substance satisfactory to the Required Purchasers
(and to the extent affecting the rights, duties, benefits, privileges, protections, indemnities or
immunities of the Collateral Agent, the Collateral Agent) in their respective sole discretion and
(vii) any motion and proposed form of order filed with the Bankruptcy Court relating to the
assumption, rejection, modification or amendment of any employment agreement, or the
assumption, rejection, modification or amendment of any material contract, each of which motions
and orders must be in form and substance satisfactory to the Purchasers’ Representative in its sole
respective sole discretion.

         7.8     Bankruptcy Covenants.

       Notwithstanding anything in the Note Documents to the contrary, the Note Parties shall
comply with all covenants, terms and conditions and otherwise perform all obligations set forth in
the DIP Orders.


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         7.9     Chapter 11 Cases.

         In connection with the Chapter 11 Cases, the Note Parties shall give the proper notice for
(i) the motions seeking approval of the Note Documents and the Interim Order and Final Order,
(ii) the hearings for the approval of the Interim Order, (iii) the hearings for the approval of the
Final Order, (iv) the motions seeking approval of the sale of all or substantially all of the assets or
the Equity Interests of the Note Parties and (v) the hearings for the approval of the sale of all or
substantially all of the assets or the Equity Interests of the Note Parties. The Note Parties shall
give, on a timely basis as specified in the Interim Order or the Final Order, as applicable, all notices
required to be given to all parties specified in the Interim Order or Final Order, as applicable.

         7.10     Sales Process Timeline.

        The Note Parties shall timely comply with the sale process milestones set forth in the DIP
Orders and shall incorporate such milestones into a bidding procedures motion and order, each of
which shall be in form and substance acceptable to the Purchasers’ Representative (the “Bid
Procedures Motion” and “Bid Procedures Order”, respectively). Promptly upon receipt by any
Note Party, such Note Party shall deliver to each Purchaser copies of all written indications of
interest in the sale (by proposal, letter of intent or otherwise), term sheets, asset purchase
agreements and other documents from prospective bidders, other interested parties or their
representatives, and such other information and documents as any Purchaser may from time to
time request.

         7.11     Payment of Borrower Obligations.

        To the extent permitted by the DIP Orders, each Note Party shall, and shall cause each of
its Subsidiaries to, pay or discharge before they become delinquent (a) all material Post-Petition
claims, taxes, assessments, charges and levies imposed by any Governmental Authority and (b) all
other lawful Post-Petition claims, in each case, that if unpaid would, by the operation of applicable
Requirements of Law, become a Lien upon any property of any Note Party, except, in each case,
for those whose amount or validity is being contested in good faith by proper proceedings
diligently conducted and for which adequate reserves are maintained on the books of the Note
Parties in accordance with GAAP.

8.      NEGATIVE COVENANTS

         So long as any principal of or interest on the Notes or any other Obligation (whether or
 not due) shall remain unpaid (other than Contingent Indemnity Obligations), each Note Party
 shall not, unless the Required Purchasers shall otherwise consent in writing:

         8.1      Fundamental Changes; Dispositions.

                 (a)    Wind-up, liquidate or dissolve, or merge, consolidate or amalgamate with
         any Person, including by means of a "plan of division" under the Delaware Limited
         Liability Company Act or any comparable transaction under any similar law, or permit any
         of its Subsidiaries to do any of the foregoing; provided, however, that, to the extent
         permitted by the DIP Orders and consistent with the Approved Budget, any wholly owned


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         Subsidiary of any Note Party may be merged into such Note Party or another wholly owned
         Subsidiary of such Note Party, or any Note Party may consolidate or amalgamate with
         another wholly owned Subsidiary of such Note Party, so long as (A) no other provision of
         this Agreement or the DIP Orders would be violated thereby, (B) such Note Party gives the
         Collateral Agent at least 30 days’ prior written notice of such merger, consolidation or
         amalgamation accompanied by true, correct and complete copies of all material
         agreements, documents and instruments relating to such merger, consolidation or
         amalgamation, including the certificate or certificates of merger or amalgamation or other
         documents to be filed with each appropriate Secretary of State or equivalent authority (with
         a copy as filed promptly after such filing), (C) no Default or Event of Default shall have
         occurred and be continuing either before or after giving effect to such transaction, (D) the
         Purchaser’s rights in any Collateral, including the existence, perfection and priority of any
         Lien thereon, are not adversely affected by such merger, consolidation or amalgamation
         and (E) the surviving or amalgamated Subsidiary, if any, if not already a Note Party,
         delivers a guaranty and a pledge and security agreement, in each case, satisfactory to the
         Collateral Agent (at the direction of the Required Purchasers), which is in full force and
         effect on the date of and immediately after giving effect to such merger, consolidation or
         amalgamation, and in the case of any amalgamation, together with (w) an officer's
         certificate from an authorized officer of the surviving or amalgamated Subsidiary, (x)
         resolutions of the board of directors (or equivalent governing body) of the surviving or
         amalgamated Subsidiary, (y) an opinion letter from counsel to such surviving or
         amalgamated Subsidiary opining as to such matters as the Collateral Agent (at the direction
         of the Required Purchasers) may reasonably request and (z) such lien filings as the
         Collateral Agents (at the direction of the Required Purchasers) may reasonably request,
         and (F) in the case of any such merger or consolidation involving the Issuer, the Issuer shall
         be the continuing or surviving entity.

                (b)    Make any Disposition, whether in one transaction or a series of related
        transactions, of all or any part of its business, property or assets, whether now owned or
        hereafter acquired (or agree to do any of the foregoing) (including issuances of Equity
        Interests by Subsidiaries that do not result in a Change of Control and Dispositions of
        interests in Subsidiaries), or permit any of its Subsidiaries to do any of the foregoing;
        provided, however, that any Note Party and its Subsidiaries may make Permitted
        Dispositions to the extent permitted by the DIP Orders and the Approved Budget.

        8.2     Mergers or Acquisitions. The Issuer shall not consolidate with or merge with or
into, or (directly, or indirectly through one or more of the Issuer’s Subsidiaries) sell, lease, or
otherwise transfer, in one transaction or a series of transactions, all or substantially all of the assets
of the Issuer and its Subsidiaries, taken as a whole, to another Person (a “Business Combination
Event”), unless: (a) the resulting, surviving, or transferee Person either (x) is the Issuer or (y) if
not the Issuer, is a corporation (the “Successor Corporation”) duly organized and existing under
the laws of the United States of America, any state thereof, or the District of Columbia that
expressly assumes all of the Issuer’s obligations under this Agreement and the other Note
Documents; (b) immediately after giving effect to such Business Combination Event, no Default
or Event of Default will have occurred and be continuing; and (c) such Business Combination
Event is permitted by the DIP Orders; provided that the Issuer and its Subsidiaries may undertake
any merger, consolidation, or other similar transaction involving any Subsidiaries of the Issuer for

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bona fide tax planning purposes so long as such merger, consolidation, or other transaction does
not have any adverse effect (other than de minimis adverse effects) on the Purchasers. At the
effective time of any Business Combination Event that complies with this Section 8,2, the
Successor Corporation (if not the Issuer) will succeed to, and may exercise every right and power
of, the Issuer under this Agreement and the other Note Documents with the same effect as if such
Successor Corporation had been named as the Issuer in this Agreement and the other Note
Documents, and, the predecessor Issuer will be discharged from its obligations under this
Agreement and the other Note Documents.

         8.3     Incurrence of Indebtedness and Issuance of Preferred Stock.The Issuer shall
not, and shall not permit any of its Subsidiaries to, create, incur, assume, guarantee or suffer to
exist, or otherwise become or remain liable with respect to, or permit any of its Subsidiaries to
create, incur, assume, guarantee or suffer to exist or otherwise become or remain liable with respect
to, any Indebtedness (including, for certainty, any Indebtedness incurred on a contingent basis)
other than Permitted Indebtedness to the extent permitted by the DIP Orders and consistent with
the Approved Budget.

       8.4      Incurrence of Liens. The Issuer shall not, and shall not permit any of the
Guarantors to, incur any Lien (other than Permitted Liens to the extent permitted by the DIP Orders
and consistent with the Approved Budget) on any asset or property of the Issuer or such Guarantor.

       8.5     Restricted Payments. The Issuer shall not, and shall not permit any of its
Subsidiaries to, make or effect or permit any of its Subsidiaries to make or effect any Restricted
Payment other than, to the extent permitted by the DIP Orders and consistent with the Approved
Budget, Permitted Restricted Payments.

        8.6      Transactions with Affiliates. The Issuer shall not, and shall not permit any of its
Subsidiaries to enter into, renew, extend or be a party to, or permit any of its Subsidiaries to enter
into, renew, extend or be a party to, any Affiliate Transaction, other than, to the extent permitted
by the DIP Orders and the Approved Budget, (i) any transactions solely between or among the
Issuer and/or any of its Subsidiaries (or an entity that becomes a Subsidiary as a result of such
transaction), (ii) any transactions with any Purchaser in such Purchaser’s position as a holder of
Notes, or (iii) any transactions in connection with the transactions contemplated by the Bird
Canada Share Purchase Agreement, unless such transaction is on terms that are no less favorable
to the Issuer or the relevant Subsidiary than those that could have been obtained in a comparable
transaction by the Issuer or such Subsidiary with an unrelated Person on an arm’s-length basis (as
determined in good faith by the Issuer) and, to the extent permitted by the DIP Orders and the
Approved Budget:

         (1)     with respect to any such transaction or series of related transactions involving
                 aggregate consideration in excess of $1.0 million, the transaction has been approved
                 by a resolution adopted by a majority of the disinterested members of the Board of
                 Directors.

        8.7    Anti-Layering. For so long as the Notes are secured by a Lien with a junior priority
to the Lien securing the Senior Financing Debts, the Issuer will not create, incur, assume, or suffer
to exist any Indebtedness that is contractually subordinated or junior in right of payment to the

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Senior Financing Debts and senior in right of payment to the Notes. No such Indebtedness will be
considered to be contractually subordinated or junior in right of payment to the Senior Financing
Debts by virtue of being unsecured or by virtue of being secured on a junior-priority basis.

        8.8     Hedging Agreements. The Issuer shall not, and shall not permit any of its
Subsidiaries to, enter into any Hedging Agreement other than, to the extent permitted by the DIP
Orders and the Approved Budget, Hedging Agreements entered into in the ordinary course of
business for hedging actual foreign exchange requirements in the following six months and actual
interest rate or foreign exchange exposure in connection with financing agreements and not for
speculative purposes.

         8.9      KEIP Plan.

       No Note Party shall, and no Note Party shall permit any of its Subsidiaries to, enter into
any key employee incentive or retention plan, or other similar plan or agreement (any such
agreement, a “KEIP”), unless such KEIP has been approved in writing by the Required
Purchasers.

         8.10     Chapter 11 Claims.

        None of the Note Parties will, and none will permit any of its Subsidiaries to, incur, create,
assume, suffer to exist or permit (other than those existing, and disclosed to the Purchasers, on the
date hereof) any administrative expense, unsecured claim, or other super-priority claim or lien
(except for the Carve-Out and Prepetition Prior Liens to the extent such liens had priority over the
liens granted under the [Pre-Petition Financing Credit Agreement]) that are pari passu with or
senior to the administrative expenses or the claims of the Secured Parties against the Note Parties
hereunder, or apply to the Bankruptcy Court for authority to do so.

         8.11     Critical Vendor and Other Payments.

        None of the Note Parties shall, and none will permit any of its Subsidiaries to, make (i) any
pre-petition “critical vendor” payments or other payments on account of any creditor’s pre-petition
unsecured claims, (ii) payments on account of claims or expenses arising under section 503(b)(9)
of the Bankruptcy Code, (hi) payments in respect of a reclamation program or (iv) payments under
any management incentive plan or on account of claims or expenses arising under Section 503(c)
of the Bankruptcy Code, except, in each case, in amounts and on terms and conditions that are
permitted by the Approved Budget and by the DIP Orders.

9.      EVENTS OF DEFAULT

       Any one of the following shall constitute an event of default (an “Event of Default”) under
this Agreement:

         9.1    Payment Default. The Issuer or any other Note Party shall fail to pay, when due
(whether by scheduled maturity, required prepayment, acceleration, demand or otherwise), (i) any
interest on, any Note or any fee, indemnity or other amount payable under this Agreement (other
than any portion thereof constituting principal of the Notes) or any other Note Document, or (ii)
all or any portion of the principal of the Notes.

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         9.2    [reserved].

        9.3     Other Default. The Issuer or any other Note Party fails to perform or comply with
any term, covenant or agreement contained in any Note Document to be performed or observed by
it and such failure, if capable of being remedied, shall remain unremedied for 5 days after the
earlier of actual knowledge by any Note Party of such failure and the date written notice of such
default shall have been given by any Purchaser to such Note Party.

        9.4     Cross-Default. Except for defaults occasioned by the filing of the Chapter 11 Cases
and defaults resulting from obligations with respect to which the Bankruptcy Code prohibits the
Note Parties from complying or permits the Note Parties not to comply, the Issuer or any of its
Subsidiaries shall fail to pay when due (whether by scheduled maturity, required prepayment,
acceleration, demand or otherwise) any principal, interest or other amount payable in respect of
any Material Indebtedness, and such failure shall continue after the applicable grace period, if any,
specified in the agreement or instrument relating to such Indebtedness, or any other default under
any agreement or instrument relating to any such Indebtedness, or any other event, shall occur and
shall continue after the applicable grace or cure period, if any, specified in such agreement or
instrument, if the effect of such default or event is to accelerate, or to permit the acceleration of,
the maturity of such Indebtedness; or any such Indebtedness shall be declared to be due and
payable, or required to be prepaid (other than by a regularly scheduled required prepayment),
redeemed, purchased or defeased or an offer to prepay, redeem, purchase or defease such
Indebtedness shall be required to be made, in each case, prior to the stated maturity thereof.

         9.5     [reserved].

        9.6      Note Documents. Any material provision of any Note Document shall at any time
for any reason (other than pursuant to the express terms thereof) cease to be valid and binding on
or enforceable against any Note Party intended to be a party thereto, or the validity or
enforceability thereof shall be contested by any party thereto, or a proceeding shall be commenced
by any Note Party or any Governmental Authority having jurisdiction over any of them, seeking
to establish the invalidity or unenforceability thereof, or any Note Party shall deny in writing that
it has any liability or obligation purported to be created under any material Note Document.

        9.7     Collateral. Any Note Document or Pre-Petition Note Document covering a
material portion of the Collateral for any reason (other than pursuant to the terms thereof) ceases
to create a valid and perfected Lien on, and security interest in, any material portion of the
Collateral covered thereby with respect to the Notes, subject to Permitted Liens, except to the
extent that any such perfection or priority is not required pursuant to the Note Documents or results
from the failure of the Collateral Agent to maintain possession of certificates actually delivered to
it representing securities pledged under the Note Documents.

        9.8     Judgments. One or more final, non-appealable Post-Petition monetary judgments,
orders or awards (or any settlement of any litigation or other proceeding that, if breached, could
result in a judgment, order or award) for the payment of money exceeding $1.0 million in the
aggregate (except to the extent fully covered (other than to the extent of customary deductibles)
by insurance pursuant to which the insurer has been notified and has not denied coverage) shall be
rendered against the Issuer or any of its Subsidiaries and remain unsatisfied and (i) enforcement

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proceedings shall have been commenced by any creditor upon any such judgment, order, award or
settlement or (ii) there shall be a period of 30 consecutive days after entry thereof during which
(A) a stay of enforcement thereof is not be in effect or (B) the same is not vacated, discharged,
stayed or bonded.

      9.9     Material Adverse Effect. A Material Adverse Effect shall occur with respect to
any Note Party.

      9.10 Change of Control. A “Change of Control” as defined in the Senior Finance
Agreements occurs.

         9.11     Certain Grants.

         The holders of all or any part of the Indebtedness arising under the Senior Financing Credit
Agreements shall be granted adequate protection other than as consented to by the Purchasers and
as set forth in the DIP Orders.

         9.13     Bankruptcy Defaults.

         The occurrence of any of the following in the Chapter 11 Cases:

       (a)     the payment by the Note Parties of expenses (A) in excess of the amounts permitted
by Section 7.6, or (B) otherwise in violation of the terms and conditions of Section 7.6;

        (ii)    obtaining after the Petition Date credit or incurring Indebtedness that is (i) secured
by a security interest, mortgage or other lien on all or any portion of Collateral which is equal or
senior to any security interest, mortgage or other lien of the Collateral Agent, or (ii) entitled to
priority administrative status which is equal or senior to that granted to the Collateral Agent in the
DIP Orders, unless used to indefeasibly repay the Obligations in full in cash;

        (iii)  the bringing of a motion, taking of any action or the filing of any plan of
reorganization or disclosure statement attendant thereto by the Note Parties in the Chapter 11
Cases, or the entry of an order (A) to obtain additional financing under Section 364(c) or Section
364(d) of the Bankruptcy Code from any Person other than the Purchasers not otherwise permitted
by this Agreement, or (B) to authorize any Person to recover from any portions of the Collateral
any costs or expenses of preserving or disposing of such Collateral under Section 506(c) of the
Bankruptcy Code, or (C) except as provided in the DIP Orders, to use Cash Collateral without the
Purchasers Representatives’ prior written consent under Section 363(c) of the Bankruptcy Code or
(D) except as provided in the DIP Orders, to grant any lien other than Permitted Liens upon or
affecting any Collateral;

       (iv)    the dismissal of any of the Chapter 11 Cases or the conversion of any of the Chapter
11 Cases to a case under chapter 7 of the Bankruptcy Code;

      (v)     any failure by the Note Parties to make adequate protection payments or other
payments to the Pre-Petition Collateral Agent or Pre-Petition Secured Parties as set forth in the
DIP Orders when due;


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       (vi)    any failure by the Credit Parties to perform, in any respect and subject to any
applicable cure periods, any of the terms, provisions, conditions, covenants, or obligations under
any DIP Order or a Termination Event under any DIP Order shall occur;

         (vii) the entry of an order which has not been withdrawn, dismissed or reversed (a)
appointing an interim or permanent trustee in the Chapter 11 Cases or the appointment of an
examiner or other responsible person with expanded powers in the Chapter 11 Cases, (b) granting
relief from or modifying the automatic stay of Section 362 of the Bankruptcy Code (x) to allow
any creditor to execute upon or enforce a lien on or security interest in any Collateral in excess of
$25,000 or (ii) with respect to any lien of or the granting of any lien on any Collateral to any state
or local environmental or regulatory agency or authority, (in each case with a value in excess of
$250,000), (c) amending, supplementing, staying, reversing, vacating or otherwise modifying any
of the Interim Order, the Final Order, this Agreement or any other Note Document, or any Secured
Party’s, Pre-Petition Collateral Agent’s or Pre-Petition Secured Parties’ rights, benefits, privileges
or remedies under the Interim Order, the Final Order, this Agreement, any other Note Document
or any Pre-Petition Note Document or (d) approving a sale of any assets of any Note Party pursuant
to section 363 of the Bankruptcy Code or approving bidding procedures therefor other than in each
case as required in the DIP Orders;

        (viii) Note Parties consolidating or combining with any other Person except pursuant to
a confirmed plan of reorganization with the prior written consent of the Required Purchasers;

         (ix)  reversal, vacatur, or modification (without the express prior written consent of the
Required Purchasers in their sole discretion) of any DIP Order or any provision thereof, or reversal,
vacatur, or modification (without the express prior written consent of the Required Purchasers
(under and as defined in the Pre-Petition Note Purchase Agreement) in their sole discretion) of any
provision of any DIP Order directly and adversely affecting the rights of the Pre-Petition Secured
Parties;

        (x)     the challenge by the Note Parties (or the support by the Note Parties of the challenge
by any other Person) to any Secured Party’s, or any Pre-Petition Secured Party’s, claim or the
validity, extent, perfection, priority or characterization of any obligations incurred or liens granted
under or in connection with the Pre-Petition Note Purchase Agreement;

        (xi)    the challenge by the Note Parties (or the support by the Note Parties of the challenge
by any other Person) to (a) disallow in whole or in part the claim of the Pre-Petition Secured Parties
under the Pre-Petition Note Purchase Agreement or the claim of any Secured Party in respect of
Obligations or to challenge the validity, perfection and enforceability of any of the liens in favor
of any of them, or (b) equitably subordinate or re-characterize in whole or in part the claim of any
Secured Party in respect of the Obligations or any Pre-Petition Secured Party in respect of the Pre­
Petition Indebtedness, or in each case the entry of an order by the Bankruptcy Court granting the
relief described above;

       (xii) the filing of a lawsuit, adversary proceeding, claim or counterclaim related to the
Note Parties or Collateral or pre-petition collateral against any Secured Party or any Pre-Petition
Secured Party by the Note Parties;



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       (xiii) the application by the Note Parties for authority to make any Pre-Petition Payment
not contemplated by the Approved Budget without the Required Purchasers’ prior written consent;

       (xiv) the entry of an order in the Chapter 11 Cases avoiding or requiring disgorgement
of any portion of the Pre-Petition Obligations;

       (xv) the use, remittance or the application of Collateral or proceeds of Collateral in
contravention of the terms of the Note Documents or the DIP Orders;

        (xvi) the entry of an order in the Chapter 11 Cases authorizing procedures for interim
compensation of professionals that is not in form and substance customary for the Southern District
of Florida or otherwise not in form and substance acceptable to the Purchasers’ Representative;

        (xvii) without the prior written consent of the Required Purchasers, the Note Parties incur,
create, assume, suffer to exist or permit any superpriority claim in the Chapter 11 Cases that is pari
passu with or senior to the claims of the Secured Parties, other than the Carve-Out;

        (xviii) the Bankruptcy Court enters an order (a) resulting in the marshaling of any
Collateral, or (b) precluding the attachment of liens to Post-Petition property based on the “equities
of the case” under Section 552(b) of the Bankruptcy Code;

         (xix) the Note Parties requesting or seeking authority for or entry of an order that
approves or provides authority to take any other action or actions adverse to any Secured Party or
its rights and remedies under the Note Documents or its interest in the Collateral;

        (xx) the termination or modification of the Issuer’s exclusivity as to the proposal of any
plan or reorganization or liquidation; or

       (xxi) the change of venue of any of the Chapter 11 Cases from the Bankruptcy Court to
any other court without the prior written consent of the Required Purchasers.

10.     RIGHTS AND REMEDIES

         10.1     Rights and Remedies.

                (a)     Upon the occurrence and during the continuance of any Event of Default,
upon written notice thereof by the Required Purchasers (which such notice shall be made to the
Issuer, the official committee(s) of creditors of the Note Parties and the United States Trustee for
the Southern District of Florida and shall be referred to herein as a “Termination Declaration” and
the date which is the earliest to occur of any such Termination Declaration (excluding the notice
period) being herein referred to as the “Termination Declaration Date”), the Required Purchasers
may, provided such Event(s) of Default are not cured by the Note Parties pursuant to the terms of
this Agreement:

                        (i)    [reserved];

                        (ii)    declare all or any portion of the unpaid principal amount of all
outstanding Notes, all interest accrued and unpaid thereon, and all other amounts owing or payable

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hereunder or under any other Note Document to be immediately due and payable; without
presentment, demand, protest or other notice of any kind, all of which are hereby expressly waived
by each Note Party; and/or

                       (iii)   subject to the terms of the Interim Order or Final Order, as
applicable, direct the Collateral Agent to exercise all rights and remedies available to it and the
Purchasers under the Notes Documents or applicable law; provided, however, the Collateral Agent
shall (or its designee) not credit bid any portion of the Obligations without the consent of the
Purchasers’ Representative.

In addition, five (5) Business Days following the Termination Declaration Date (such 5 Business
Day period, the “Remedies Notice Period”), absent the Note Parties curing all such existing
Events of Default during such Remedies Notice Period, the Collateral Agent shall have automatic
relief from the automatic stay and may foreclose on all or any portion of the Collateral, collect
accounts receivable and apply the proceeds thereof to the Obligations, occupy the Note Parties’
premises to sell or otherwise dispose of the Collateral or otherwise exercise remedies against the
Collateral permitted by applicable nonbankruptcy law. During the Remedies Notice Period, the
Note Parties and any statutory committee shall be entitled to an emergency hearing before the
Bankruptcy Court for the sole purpose of contesting whether an Event of Default has occurred.
Unless during such period the Bankruptcy Court determines that an Event of Default has not
occurred and/or is not continuing, the automatic stay, as to the Purchasers and the Collateral Agent,
shall automatically terminate at the end of the Remedies Notice Period, without further notice or
order. During the Remedies Notice Period, the Note Parties may not use the proceeds of Loans
hereunder, or other Collateral proceeds except to the limited extent permitted by the DIP Orders.

                (b)    Subj ect to Section 10.1(a) above and subj ect to the terms of the DIP Orders,
         upon the occurrence and during the continuance of an Event of Default, the Required
         Purchasers may, without notice or demand, do any or all of the following:

                        (i)    direct the Collateral Agent to foreclose upon and/or sell or otherwise
                liquidate the Collateral;

                      (ii)    direct the Collateral Agent to make a demand for payment upon any
                Guarantor pursuant to the Guarantee delivered by such Guarantor;

                        (iii)   direct Collateral Agent to apply to the Obligations any (A) balances
                and deposits of Issuer that Collateral Agent or any Purchaser holds or controls, (B)
                any amount held or controlled by Collateral Agent or any Purchaser owing to or for
                the credit or the account of Issuer; and/or

                        (iv)  commence and prosecute an Insolvency Proceeding or consent to
                the Issuer commencing any Insolvency Proceeding.

                 (c)     Subj ect to Sections 10.1(a) and subj ect to the terms of the DIP Orders, upon
         the occurrence and during the continuance of an Event of Default, the Collateral Agent
         shall have the right to, at the written direction of the Required Purchasers, without notice
         or demand, do any or all of the following:


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                       (i)    settle or adjust disputes and claims directly with Account Debtors
               for amounts on terms and in any order that Collateral Agent considers advisable,
               notify any Person owing Issuer money of Collateral Agent’s security interest in
               such funds, and verify the amount of such account;

                       (ii)    make any payments and do any acts it considers necessary or
               reasonable to protect the Collateral and/or its Liens in the Collateral (held for the
               ratable benefit of the Secured Parties). Issuer shall assemble the Collateral if
               Collateral Agent requests and make it available at such location as Collateral Agent
               reasonably designates. Collateral Agent (or its designee) may enter premises where
               the Collateral is located, take and maintain possession of any part of the Collateral,
               and pay, purchase, contest, or compromise any Lien which appears to be prior or
               superior to its security interest and pay all expenses incurred. Issuer grants
               Collateral Agent a license to enter and occupy any of its premises, without charge,
               to exercise any of Collateral Agent’s rights or remedies;

                       (iii)  ship, reclaim, recover, store, finish, maintain, repair, prepare for
               sale, and/or advertise for sale, any of the Collateral. Collateral Agent is hereby
               granted a non-exclusive, royalty-free license or other right to use, without charge,
               Issuer’s and each of its Subsidiaries’ labels, patents, copyrights, mask works, rights
               of use of any name, trade secrets, trade names, trademarks, service marks, and
               advertising matter, or any similar property as it pertains to the Collateral, in
               completing production of, advertising for sale, and selling any Collateral and, in
               connection with Collateral Agent’s exercise of its rights under this Section 10.1,
               Issuer’s and each of its Subsidiaries’ rights under all licenses and all franchise
               agreements inure to Collateral Agent, for the benefit of the Purchasers;

                       (iv)    place a “hold” on any Collateral Account maintained with Collateral
               Agent or any Purchaser or otherwise in respect of which a Control Agreement has
               been delivered in favor of Collateral Agent (for the ratable benefit of the Secured
               Parties) and/or deliver a notice of exclusive control, any entitlement order, or other
               directions or instructions pursuant to any Control Agreement or similar agreements
               providing control of any Collateral;

                      (v)     demand and receive possession or copies of the Issuer’s or any of its
               Subsidiaries’ books and records;

                       (vi)   appoint a receiver to seize, manage, and realize any of the Collateral,
               and such receiver shall have any right and authority as any competent court will
               grant or authorize in accordance with any Applicable Law, including any power or
               authority to manage the business of the Issuer or any Guarantor;

                       (vii) sell or otherwise dispose of all or any part of the Issuer Pledged
               Collateral at a public or private sale or at any broker’s board or on any securities
               exchange, for cash, upon credit or for future delivery as the Collateral Agent (at the
               direction of the Required Purchasers) shall deem appropriate; and



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                       (viii) subject to clauses (a) and (b) of this Section 10.1, exercise all rights
               and remedies available to the Collateral Agent and each Purchaser under the Note
               Documents or at law or equity, including all remedies provided under the Code
               (including disposal of the Collateral pursuant to the terms thereof).

         The Collateral Agent shall be authorized at any sale of securities (if it deems it advisable
to do so) to restrict the prospective bidders or purchasers to Persons who will represent and agree
that they are purchasing the Collateral for their own account for investment and not with a view to
the distribution or sale thereof, and upon consummation of any such sale the Collateral Agent shall
have the right to assign, transfer and deliver to the purchaser or purchasers thereof the Collateral
so sold. The Collateral Agent shall give the Issuer no less than ten (10) days’ prior written notice
of the Collateral Agent’s intention to make any sale of Collateral. Any such public sale shall be
held at such time or times within ordinary business hours and at such place or places as the
Collateral Agent may fix and state in the notice (if any) of such sale. At any such sale, the
Collateral, or portion thereof, to be sold may be sold in one lot as an entirety or in separate parcels,
as the Collateral Agent (at the direction of the Required Purchasers) may (in their sole and absolute
discretion) determine. The Collateral Agent shall not be obligated to make any sale of any
Collateral if it shall determine not to do so, regardless of the fact that notice of sale of such
Collateral shall have been given. The Collateral Agent may, without notice or publication, adjourn
any public or private sale or cause the same to be adjourned from time to time by announcement
at the time and place fixed for sale, and such sale may, without further notice, be made at the time
and place to which the same was so adjourned. In case any sale of all or any part of the Collateral
is made on credit or for future delivery, the Collateral so sold may be retained by the Collateral
Agent until the sale price is paid by the purchaser or purchasers thereof, but the Collateral Agent
and the other Secured Parties shall not incur any liability in case any such purchaser or purchasers
shall fail to take up and pay for the Collateral so sold and, in case of any such failure, such
Collateral may be sold again upon like notice. At any public (or, to the extent permitted by law,
private) sale made pursuant to this Agreement, any Secured Party may bid for or purchase, free (to
the extent permitted by law) from any right of redemption, stay, valuation or appraisal on the part
of the Issuer (all said rights being also hereby waived and released to the extent permitted by law),
the Collateral or any part thereof offered for sale and may make payment on account thereof by
using any claim then due and payable to such Secured Party from the Note Party as a credit against
the purchase price, and such Secured Party may, upon compliance with the terms of sale, hold,
retain and dispose of such property without further accountability to the Note Party therefor. As
an alternative to exercising the power of sale herein conferred upon it, the Collateral Agent (at the
direction of the Required Purchasers) may proceed by a suit or suits at law or in equity to foreclose
this Agreement and to sell the Collateral or any portion thereof pursuant to a judgment or decree
of a court or courts having competent jurisdiction or pursuant to a proceeding by a court-appointed
receiver. Any sale pursuant to the provisions of this Section 10,01 shall be deemed to in accordance
with any requirements under the Code.

        10.2 Power of Attorney. Issuer hereby irrevocably appoints Collateral Agent as its
lawful attorney-in-fact, exercisable upon the occurrence and during the continuance of an Event
of Default, to: (a) endorse Issuer’s or any of its Subsidiaries’ name on any checks or other forms
of payment or security; (b) sign Issuer’s or any of its Subsidiaries’ name on any invoice or bill of
lading for any Account or drafts against Account Debtors; (c) settle and adjust disputes and claims
about the Accounts of Issuer directly with the applicable Account Debtors, for amounts and on

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terms Collateral Agent determines reasonable; (d) make, settle, and adjust all claims under Issuer’s
insurance policies; (e) pay, contest or settle any Lien, charge, encumbrance, security interest, and
adverse claim in or to the Collateral, or any judgment based thereon, or otherwise take any action
to terminate or discharge the same; and (f) transfer the Collateral into the name of Collateral Agent
or a third party as the Code or any applicable law permits (including by filing assignment
agreements with the United States Patent and Trademark Office, United States Copyright Office
or equivalent in any jurisdiction outside of the United States). Issuer hereby appoints Collateral
Agent as its lawful attorney-in-fact to sign Issuer’s or any of its Subsidiaries’ name on any
documents necessary to perfect or continue the perfection of Collateral Agent’s security interest
in the Collateral regardless of whether an Event of Default has occurred until all Obligations (other
than inchoate indemnity obligations) have been satisfied in full and Purchasers are under no further
obligation to purchase Notes hereunder. Collateral Agent’s foregoing appointment as Issuer’s or
any of its Subsidiaries’ attorney in fact, and all of Collateral Agent’s rights and powers, coupled
with an interest, are irrevocable until all Obligations (other than inchoate indemnity obligations)
have been fully repaid and performed and the Purchasers’ obligation to purchase the Notes
terminates.

        10.3 Protective Payments. If Issuer or any of its Subsidiaries fail to obtain the insurance
called for by Section 7,4 or fails to pay any premium thereon or fails to pay any other amount
which Issuer or any of its Subsidiaries is obligated to pay under this Agreement or any other Note
Document, Collateral Agent may (but shall not be obligated to) obtain such insurance or make
such payment, and all amounts so paid by Collateral Agent are Purchasers’ Expenses and
immediately due and payable, bearing interest at the Default Rate, and secured by the Collateral.
Collateral Agent will make reasonable efforts to provide Issuer with notice of Collateral Agent
obtaining such insurance or making such payment at the time it is obtained or paid or within a
reasonable time thereafter. No such payments by Collateral Agent are deemed an agreement to
make similar payments in the future or Collateral Agent’s waiver of any Event of Default.

          10.4 Application of Payments and Proceeds. Notwithstanding anything to the contrary
 contained in this Agreement, upon the occurrence and during the continuance of an Event of
 Default, (a) the Issuer irrevocably waives the right to direct the application of any and all payments
 at any time or times thereafter received by the Collateral Agent or the Purchasers from or on behalf
 of the Issuer or any of its Subsidiaries of all or any part of the Obligations, and, as between the
 Issuer, on the one hand, and the Collateral Agent and Purchasers, on the other, the Collateral Agent
 and the Purchasers shall have the continuing and exclusive right to apply and to reapply any and
 all payments received against the Obligations in such manner as the Collateral Agent or the
 Purchasers may deem advisable notwithstanding any previous application by the Collateral Agent
 or the Purchasers, and (b) subject to the provisions of Section 2.1(f), the proceeds of any sale of,
 or other realization upon, all or any part of the Collateral shall be applied by the Collateral Agent:
first, to any Collateral Agent fees and expenses (including, any fees, expenses and disbursements
 of counsel); second, to accrued and unpaid interest on the Obligations (including any interest that,
 but for the provisions of the Bankruptcy Code, would have accrued on such amounts); third, to the
 principal amount of the Obligations outstanding; and fourth, to any other Obligations owing to the
 Collateral Agent or any Purchaser under the Note Documents. Any balance remaining shall be
 delivered to the Issuer or to whomever may be lawfully entitled to receive such balance or as a
 court of competent jurisdiction may direct. In carrying out the foregoing, (x) amounts received
 shall be applied in the numerical order provided until exhausted prior to the application to the next

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succeeding category, and (y) each of the Persons entitled to receive a payment in any particular
category shall receive an amount equal to its pro rata share of amounts available to be applied
pursuant thereto for such category. Any reference in this Agreement to an allocation between or
sharing by the Purchasers of any right, interest, or obligation “ratably,” “proportionally,” or in
similar terms shall refer to the Purchasers’ pro rata share unless expressly provided otherwise.
Each Purchaser shall promptly remit to the other Purchasers such sums as may be necessary to
ensure the ratable repayment of each Purchaser’s pro rata share of the Notes and the ratable
distribution of interest, fees, and reimbursements paid or made by the Issuer. Notwithstanding the
foregoing, a Purchaser receiving a scheduled payment shall not be responsible for determining
whether the other Purchasers also received their scheduled payment on such date; provided,
however, if it is later determined that a Purchaser received more than its pro rata share of scheduled
payments made on any date or dates, then such Purchaser shall remit to the other Purchasers such
sums as may be necessary to ensure the ratable payment of such scheduled payments. If any
payment or distribution of any kind or character, whether in cash, properties, or securities, shall be
received by a Purchaser in excess of its pro rata share, then the portion of such payment or
distribution in excess of such Purchaser’s pro rata share shall be received and held by such
Purchaser in trust for and shall be promptly paid over to the other Purchasers (in accordance with
their respective pro rata shares) for application to the payments of amounts due on such other
Purchasers’ claims. To the extent any payment for the account of the Issuer is required to be
returned as a voidable transfer or otherwise, the Purchasers shall contribute to one another as is
necessary to ensure that such return of payment is on a pro rata basis. If any Purchaser shall obtain
possession of any Collateral, it shall hold such Collateral for itself and as agent and bailee for the
Secured Parties for purposes of perfecting the Collateral Agent’s security interest therein (held for
the ratable benefit of the Secured Parties).

        10.5 Liability for Collateral. So long as the Collateral Agent complies with reasonable
practices regarding the safekeeping of the Collateral in the possession or under the control of the
Collateral Agent, the Collateral Agent shall not be liable or responsible for: (a) the safekeeping of
the Collateral; (b) any loss or damage to the Collateral; (c) any diminution in the value of the
Collateral; or (d) any act or default of any carrier, warehouseman, bailee, or other Person. The
Issuer bears all risk of loss, damage, or destruction of the Collateral.

        10.6 No Waiver; Remedies Cumulative. Failure by the Collateral Agent or any
Purchaser, at any time or times, to require strict performance by the Issuer of any provision of this
Agreement or any other Note Document shall not waive, affect, or diminish any right of the
Collateral Agent or any Purchaser thereafter to demand strict performance and compliance
herewith or therewith. No waiver hereunder shall be effective unless signed by the Collateral Agent
and the Required Purchasers, and then is only effective for the specific instance and purpose for
which it is given. The rights and remedies of the Collateral Agent and the Purchasers under this
Agreement and the other Note Documents are cumulative. The Collateral Agent and the Purchasers
have all rights and remedies provided under the Code, any Applicable Law, by law, or in equity.
The exercise by the Collateral Agent or any Purchaser of one right or remedy is not an election,
and any Purchaser’s waiver of any Event of Default is not a continuing waiver. The Collateral
Agent’s or any Purchaser’s delay in exercising any remedy is not a waiver, election, or
acquiescence.



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       10.7 Demand Waiver. Issuer waives, to the fullest extent permitted by law, demand,
notice of default or dishonor, notice of payment and nonpayment, notice of any default,
nonpayment at maturity, release, compromise, settlement, extension, or renewal of accounts,
documents, instruments, chattel paper, and guarantees held by Collateral Agent or any Purchaser
on which Issuer or any Subsidiary is liable.

        10.8 Setoff and Sharing of Payments. In addition to any rights now or hereafter granted
under any Applicable Law and not by way of limitation of any such rights, upon the occurrence
and during the continuance of any Event of Default, each Purchaser is hereby authorized at any
time or from time to time upon the direction of the Required Purchasers, without notice to Issuer
or any other Person, any such notice being hereby expressly waived, to setoff and to appropriate
and to apply any and all balances held by it at any of its offices for the account of Issuer (regardless
of whether such balances are then due to Issuer) and any other properties or assets at any time held
or owing by that Purchaser or that holder to or for the credit or for the account of Issuer against
and on account of any of the Obligations that are not paid when due. Any Purchaser exercising a
right of setoff or otherwise receiving any payment on account of the Obligations in excess of its
Pro Rata Share thereof shall purchase for cash (and the other Purchasers or holders shall sell) such
participations in each such other Purchaser’s or holder’s Pro Rata Share of the Obligations as
would be necessary to cause such Purchaser to share the amount so offset or otherwise received
with each other Purchaser or holder in accordance with their respective Pro Rata Shares of the
Obligations. Issuer agrees, to the fullest extent permitted by law, that (a) any Purchaser may
exercise its right to offset with respect to amounts in excess of its Pro Rata Share of the Obligations
and may purchase participations in accordance with the preceding sentence and (b) any Purchaser
so purchasing a participation in the Notes made or other Obligations held by other Purchasers or
holders may exercise all rights of offset, bankers’ liens, counterclaims or similar rights with respect
to such participation as fully as if such Purchaser or holder were a direct holder of the Notes and
the other Obligations in the amount of such participation. Notwithstanding the foregoing, if all or
any portion of the offset amount or payment otherwise received is thereafter recovered from the
Purchaser that has exercised the right of offset, the purchase of participations by that Purchaser
shall be rescinded and the purchase price restored without interest.

11.     NOTICES

        Other than as specifically provided herein, all notices, consents, approvals, requests,
demands, or other communication (collectively, “Communications”) by any party to this
Agreement or any other Note Document must be in writing and shall be deemed to have been
validly served, given, or delivered: (a) upon the earlier of actual receipt and three Business Days
after deposit in the U.S. mail, first class, registered or certified mail return receipt requested, with
proper postage prepaid; (b) upon transmission, when sent by email; (c) one Business Day after
deposit with a reputable overnight courier with all charges prepaid; or (d) when delivered, if hand-
delivered by messenger; all of which shall be addressed to the party to be notified and sent to the
address or email address indicated below (and, if delivered pursuant to clause (a), (c), or (d) above,
together with a copy of such Communications by email). Any of the Collateral Agent, any
Purchaser or the Issuer may change its mailing address or email address by giving the other party
written notice thereof in accordance with the terms of this Section 11.



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         If to the Issuer:              Bird Global, Inc.
                                        392 NE 191st Street #20388
                                        Miami, Florida 33179
                                        Attn: General Counsel; Chief Financial Officer
                                        Email: clint@bird.co; joe.prodan@bird.co



         with a copy (which shall
         not constitute notice) to:     Jordi Guso, Esq.
                                        Berger Singerman
                                        1450 Brickell Avenue
                                        Suite 1900
                                        Miami, FL 33131
                                        Email: juguso@bergersingerman.com


         If to the Collateral Agent:    U.S. Bank Trust Company, National Association
                                        EP-MN-WS3C
                                        West Side Flats St. Paul
                                        60 Livingston Ave.
                                        St. Paul, MN 55107
                                        Attn: Bird Global Notes Administrator
                                        Email: brandon.bonfig@usbank.com

         with a copy (which shall
         not constitute notice) to:     Covington & Burling LLP
                                        The New York Times Building
                                        620 Eighth Ave.
                                        New York, NY 10018
                                        Attn: Ronald A. Hewitt
                                        Email: rhewitt@cov.com

         If to any Purchaser, to it at its address or email address as set forth in Schedule 2,1-A,
         Schedule 2,1-B, or Schedule 2,1-C, as applicable.

12.     CHOICE OF LAW; VENUE; JURY TRIAL WAIVER

     12.1 Waiver of Jury Trial. EACH OF THE ISSUER, THE COLLATERAL AGENT,
AND EACH PURCHASER UNCONDITIONALLY WAIVES ANY AND ALL RIGHT TO A
JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT
OF THIS AGREEMENT, ANY OF THE OTHER NOTE DOCUMENTS, ANY OF THE
INDEBTEDNESS SECURED HEREBY, ANY DEALINGS AMONG THE ISSUER, THE
COLLATERAL AGENT, AND/OR ANY PURCHASER RELATING TO THE
TRANSACTIONS CONTEMPLATED HEREBY OR ANY RELATED TRANSACTIONS,
AND/OR THE RELATIONSHIP THAT IS BEING ESTABLISHED AMONG THE ISSUER,
THE COLLATERAL AGENT, AND/OR ANY PURCHASER. THE SCOPE OF THIS WAIVER

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IS INTENDED TO BE ALL ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY
BE FILED IN ANY COURT. THIS WAIVER IS IRREVOCABLE. THIS WAIVER MAY NOT
BE MODIFIED EITHER ORALLY OR IN WRITmG. THISWAIVER ALSO SH^L APPLY
TO ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS, OR
MODIFICATIONS TO THIS AGREEMENT, ANY OTHER NOTE DOCUMENTS, OR ANY
OTHER DOCUMENTS OR AGREEMENTS RELATING TO THE TRANSACTIONS
CONTEMPLATED HEREBY OR ANY RELATED TRANSACTION.

      12.2 Governing Law and Jurisdiction. THIS AGREEMENT, THE OTHER NOTE
DOCUMENTS, AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES HEREUNDER
AND THEREUNDER SHALL IN ALL RESPECTS BE GOVERNED BY AND CONSTRUED
IN ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF NEW YORK,
INCLUDING ALL MATTERS OF CONSTRUCTION, VALIDITY, AND PERFORMANCE,
REGARDLESS OF THE LOCATION OF THE COLLATERAL; PROVIDED, HOWEVER,
THAT IF THE LAWS OF ANY JURISDICTION OTHER THAN NEW YORK SHALL
GOVERN IN REGARD TO THE VALIDITY, PERFECTION, OR EFFECT OF PERFECTION
OF ANY LIEN OR IN REGARD TO PROCEDURAL MATTERS AFFECTING
ENFORCEMENT OF ANY LIENS IN COLLATERAL, SUCH LAWS OF SUCH OTHER
JURISDICTIONS SHALL CONTINUE TO APPLY TO THAT EXTENT.

        12.3 Submission to Jurisdiction. Each Party hereto hereby irrevocably submits to the
jurisdiction of the Bankruptcy Court or, if the Bankruptcy Court does not have or does not exercise
jurisdiction, then any legal action or proceeding with respect to the Note Documents shall be
brought exclusively in the courts of the State of New York located in the City of New York,
Borough of Manhattan, or of the United States of America for the Southern District of New York
and, by execution and delivery of this Agreement, the Issuer hereby accepts for itself and in respect
of its property, generally and unconditionally, the jurisdiction of the aforesaid courts.
Notwithstanding the foregoing, Collateral Agent and Purchasers shall have the right to bring any
action or proceeding against Issuer (or any property of Issuer) in the court of any other jurisdiction
Collateral Agent or Purchasers deem necessary or appropriate in order to realize on the Collateral
or other security for the Obligations. The parties hereto hereby irrevocably waive any objection,
including any objection to the laying of venue or based on the grounds offorum non conveniens,
that any of them may now or hereafter have to the bringing of any such action or proceeding in
such jurisdictions.

        12.4 Service of Process. The Issuer irrevocably waives personal service of any and all
legal process, summons, notices, and other documents and other service of process of any kind
and consents to such service in any suit, action or proceeding brought in the United States of
America with respect to or otherwise arising out of or in connection with any Note Document by
any means permitted by Applicable Law, including by the mailing thereof (by registered or
certified mail, postage prepaid) to the address of the Issuer specified herein (and shall be effective
when such mailing shall be effective, as provided therein). The Issuer agrees that a final judgment
in any such action or proceeding shall be conclusive and may be enforced in other jurisdictions by
suit on the judgment or in any other manner provided by law.

        12.5 Non-Exclusive Jurisdiction. Nothing contained in this Section 12 shall affect the
right of the Collateral Agent, or the Purchasers to serve process in any other manner permitted by

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Applicable Law or commence legal proceedings or otherwise proceed against the Issuer in any
other jurisdiction.

13.     GENERAL PROVISIONS

         13.1 Successors and Assigns. This Agreement binds and is for the benefit of the
successors and permitted assigns of each party. The Issuer may not transfer, pledge, or assign this
Agreement or any other Note Document or any of its rights or obligations hereunder or under any
other Note Document without the prior written consent of the Required Purchasers (which may be
granted or withheld in the Required Purchasers’ discretion, subject to Section 13,5). The
Purchasers may not sell, transfer, assign, or pledge any Notes or all or any part of the Purchasers’
obligations, rights, and benefits under this Agreement and the other Note Documents (any such
sale, transfer, assignment, or pledge, a “Purchaser Transfer”) [without the prior written consent of
the Issuer (such consent not to be unreasonably withheld, conditioned, or delayed)] [Purchasers to
confirm]; provided that such consent shall not be required for a Purchaser Transfer to (i) a Person
who at such time is an existing Purchaser, (ii) to an Affiliate of such transferring Purchaser, or (iii)
to any other Person at any time during which an Event of Default has occurred and is continuing.
The Issuer and the Collateral Agent shall be entitled to continue to deal solely and directly with
such Purchaser in connection with the interests so assigned until the Required Purchasers shall
have received and accepted an effective assignment agreement in form satisfactory to the Required
Purchasers executed, delivered and fully completed by the applicable parties thereto (with a copy
to the Collateral Agent), and shall have received such other information regarding such assignee
as the Required Purchasers reasonably shall require. Each transferee of Notes will be deemed to
have made the representations and warranties of a Purchaser hereunder, with effect as of the date
of transfer. The Issuer shall maintain at one of its offices in the United States a register for the
recordation of the names and addresses of the Purchasers and principal amounts (and stated
interest) of the Notes owing to each Purchaser pursuant to the terms hereof from time to time (the
“Register”). The entries in the Register shall be conclusive absent manifest error, and the Issuer,
the Collateral Agent, and the Purchasers shall treat each Person whose name is recorded in the
Register pursuant to the terms hereof as a Purchaser hereunder for all purposes of this Agreement
and the other Note Documents. The Register shall be available for inspection by any Purchaser
and the Collateral Agent at any reasonable time and from time to time upon reasonable prior notice.
Notwithstanding any other language to the contrary contained herein or in any other Note
Documents, as of any particular date, the Collateral Agent shall be entitled to rely conclusively
upon the Register (including without limitation in connection with any determination as to which
Purchasers constitute the Required Purchasers under this Agreement). For the avoidance of doubt,
the Collateral Agent (in its capacity as the Collateral Agent) shall have no responsibility for
maintaining the Register. If the Issuer fails to provide the Collateral Agent with the Register upon
the Collateral Agent’s request thereof, the Collateral Agent shall be entitled to rely conclusively
upon information provided by any Purchaser as to the unpaid principal, interest and other amounts
due and owing to such Purchaser.

         13.2     Indemnification; Waivers.

               (a)   Indemnification by the Issuer. The Issuer agrees to indemnify, reimburse,
defend, and hold the Collateral Agent and its directors, officers, employees, consultants, agents,
attorneys, or any other Person affiliated with or representing the Collateral Agent (each, an

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“Indemnified Person”) harmless against: (i) all liabilities, obligations, demands, and claims
asserted by any other party in connection with, related to, following, or arising from, out of, or
under the transactions contemplated by the Note Documents, whether in contract, tort, or otherwise
(collectively, “Claims”); and (ii) all Purchasers’ Expenses and other losses and expenses incurred,
or paid by Indemnified Person in connection with, related to, following, or arising from, out of, or
under, the transactions contemplated by the Note Documents (including reasonable attorneys’ fees
and expenses and, if necessary or appropriate, one local counsel in each reasonably necessary and
materially relevant jurisdiction for the Indemnified Persons as a whole), except, in each case, for
Claims and/or losses directly caused by such Indemnified Person’s gross negligence, fraud, or
willful misconduct, in each case, as determined by a court of competent jurisdiction by final and
non-appealable judgment. The Issuer hereby further agrees to indemnify, reimburse, defend, and
hold each Indemnified Person harmless from and against any and all liabilities, obligations,
demands, claims, losses, damages, penalties, actions, judgments, suits, costs, expenses, and
disbursements of any kind or nature whatsoever (including the fees and disbursements of one
counsel for and, if necessary or appropriate, one local counsel in each reasonably necessary and
materially relevant jurisdiction for the Indemnified Persons, taken as a whole) in connection with
any investigative, response, remedial, administrative, or judicial matter or proceeding, whether or
not such Indemnified Person shall be designated a party thereto and including any such proceeding
initiated by or on behalf of the Issuer or its stockholders, except for liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, claims, costs, expenses, and disbursements directly
caused by such Indemnified Person’s gross negligence, fraud, or willful misconduct, in each case,
as determined by a court of competent jurisdiction by final and non-appealable judgment. This
Section 13.2(a) shall not apply with respect to taxes, assessments, or other governmental charges
other than any taxes, assessments, and other governmental charges that represent Claims arising
from any non-tax claim.

                (b)    Waiver of Consequential Damages. To the fullest extent permitted by
Applicable Law, no party hereto shall assert, and each party hereto hereby waives, any claim
against any Indemnified Person or any other party hereto, on any theory of liability, for special,
indirect, consequential, or punitive damages (as opposed to direct or actual damages) arising out
of, in connection with, or as a result of, this Agreement, any other Note Document, or any
agreement or instrument contemplated hereby, the transactions contemplated hereby or thereby,
or the use of the proceeds thereof. No Indemnified Person shall be liable for any damages arising
from the use by unintended recipients of any information or other materials distributed by it
through telecommunications, electronic or other information transmission systems in connection
with this Agreement or the other Note Documents or the transactions contemplated hereby or
thereby.

       13.3 Severability of Provisions. Each provision of this Agreement is severable from
every other provision in determining the enforceability of any provision.

        13.4 Correction of Note Documents. The Required Purchasers may correct patent
errors and fill in any blanks in this Agreement and the other Note Documents consistent with the
agreement of the parties.

         13.5     Amendments in Writing; Integration.


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                 (a)     No amendment, waiver, modification, or termination of any provision of
         this Agreement or any other Note Document, no approval or consent hereunder or
         thereunder, or any consent to any departure by the Issuer or any of its Subsidiaries herefrom
         or therefrom, shall in any event be effective unless the same shall be in writing and signed
         by the Issuer, the Collateral Agent, and the Required Purchasers; provided that:

                        (i)     no such amendment, waiver, or other modification that would have
                the effect of increasing or reducing the amount outstanding under the Notes held
                by a Purchaser shall be effective as to such Purchaser without such Purchaser’s
                written consent;

                        (ii)    no such amendment, waiver, or modification that would affect the
                rights, duties, benefits, privileges, protections, indemnities or immunities of the
                Collateral Agent shall be effective without the Collateral Agent’s written consent
                or signature;

                         (iii)   no such amendment, waiver, or other modification shall, unless
                signed by all the Purchasers directly affected thereby and: (A) reduce the principal
                of, rate of interest on, or any fees with respect to the Notes or forgive any principal,
                or fees, or interest (other than default interest) with respect to the Notes; (B)
                postpone the date fixed for, or waive, any payment of principal of any Note or of
                interest on any Note (other than default interest); (C) change the definition of the
                term “Required Purchasers” or the percentage of Purchasers that shall be required
                for the Purchasers to take any action hereunder; (D) release all or substantially all
                of or any material portion of the Collateral, authorize the Issuer to sell or otherwise
                dispose of all or substantially all of or any material portion of the Collateral, or
                release any Guarantor of all or any portion of the Obligations or its Guarantee
                obligations with respect thereto, except, in each case with respect to this clause (D),
                as otherwise may be expressly permitted under this Agreement or the other Note
                Documents (including in connection with any disposition permitted hereunder); (E)
                amend, waive, or otherwise modify this Section 13,5 or the definitions of the terms
                used in this Section 13,5 insofar as the definitions affect the substance of this
                Section 13,5; (F) consent to the assignment, delegation, or other transfer by the
                Issuer of any of its rights and obligations under any Note Document or release the
                Issuer of its payment obligations under any Note Document, except, in each case
                with respect to this clause (F), pursuant to a merger or consolidation permitted
                pursuant to this Agreement; (G) amend any of the provisions of Section 10.4 that
                provide for the Purchasers to receive their pro rata share of any fees, payments,
                setoffs, or proceeds of Collateral hereunder; (H) subordinate the Liens granted in
                favor of Collateral Agent securing the Obligations; or (I) amend any of the
                provisions of Section 13.5 (J) make any change that materially adversely affects the
                conversion rights of any Note; and

                       (iv)   It is hereby understood and agreed that all Purchasers shall be
                deemed directly affected by an amendment, waiver or other modification of the
                type described in the preceding clauses (C), (D), (E), (F), (G) and (H) of the
                immediately preceding sentence

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                 (b)      Other than as expressly provided for in Section 13.5(a)(i)-('iii), the Required
         Purchasers may from time to time designate covenants or other terms in this Agreement
         less restrictive on the Issuer or its Subsidiaries by notification to a representative of the
         Issuer. The Required Purchasers (or the Purchasers’ Representative on their behalf) may
         from time to time consent to the creation and issuance of additional notes having the same
         terms and conditions as the Notes in all respects (or in all respects except for the issue date,
         issue price, the initial Interest Payment Date (if applicable) and the payment of interest
         accruing prior to the issue date of the additional notes), and any limitation on the aggregate
         principal amount of the Notes in this Indenture or any of the Notes shall, upon such consent,
         be deemed to be amended accordingly.

                 (c)    For so long as the Voting Agreement is in effect and the Investors (as
         defined in the Voting Agreement) have appointed any Investor Designees (as defined in
         the Voting Agreement) who are members of the Board of Directors, the approval of a
         written consent signed on behalf of each of the directors (including such Investor
         Designees) or the approval of a resolution of the Board of Directors including such Investor
         Designees at a properly constituted meeting of the Board of Directors shall be deemed to
         be an approval (or consent or waiver, as the case may be) of the Required Purchasers of
         any event, occurrence, transaction or state of affairs which would otherwise be in conflict
         or breach of any of the covenants in Section 7 or Section 8 of this Agreement, to the extent
         expressly approved by the Board of Directors in such resolution(s).

                (d)      Each of the Purchasers hereby irrevocably appoints John Bitove to act on
its behalf as representative (the “Purchasers’ Representative”) hereunder and under the other
Note Documents and authorizes the Purchasers’ Representative to take any actions on its behalf
and to exercise such powers as are delegated to the Required Purchasers by the terms hereof or
thereof from time to time, but shall not be obligated to exercise such discretion. The Person serving
as the Purchasers’ Representative hereunder shall have the same rights and powers in its capacity
as a Purchaser as any other Purchaser and may exercise the same as though it were not the
Purchasers’ Representative, and the term “Purchaser” or “Purchasers” shall, unless otherwise
expressly indicated or unless the context otherwise requires, include the Person serving as the
Purchasers’ Representative hereunder in its individual capacity. The Purchasers’ Representative
shall not have any duties or obligations except those expressly set forth herein, and its duties
hereunder shall be administrative in nature. The Purchasers’ Representative shall not be subject to
any fiduciary or other implied duties, regardless of whether a Default has occurred and is
continuing and shall not have any duty to take any discretionary action or exercise any
discretionary powers, except discretionary rights and powers expressly contemplated hereby. The
Purchasers’ Representative shall not be liable for any action taken or not taken by it with the
consent or at the request of the Required Purchasers. The Purchasers’ Representative may at any
time give notice of its resignation to the Purchasers and the Issuer. Upon receipt of any such notice
of resignation, the Required Purchasers shall have the right to appoint a successor.

                (e)     This Agreement and the Note Documents represent the entire agreement
         about this subject matter and supersede prior negotiations or agreements with respect to
         such subject matter. All prior agreements, understandings, representations, warranties, and
         negotiations between the parties about the subject matter of this Agreement and the Note
         Documents merge into this Agreement and the Note Documents.

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        13.6 Counterparts. This Agreement may be executed in any number of counterparts
and by different parties on separate counterparts, each of which, when executed and delivered, is
an original, and all taken together, constitute one Agreement. Delivery of an executed counterpart
of a signature page of this Agreement by facsimile, portable document format (.pdf), or other
electronic transmission will be as effective as delivery of a manually executed counterpart hereof.
Unless otherwise provided herein or in any other related document, the words “execute,”
“execution,” “signed,” and “signature” and words of similar import used in or related to any
document to be signed in connection with this Agreement, any other Note Document, any other
related document, or any of the transactions contemplated hereby (including amendments, waivers,
consents, and other modifications) shall be deemed to include electronic signatures and the keeping
of records in electronic form, each of which shall be of the same legal effect, validity, or
enforceability as a manually executed signature in ink or the use of a paper-based recordkeeping
system, as applicable, to the fullest extent and as provided for in any Applicable Law, including
the Federal Electronic Signatures in Global and National Commerce Act, the New York State
Electronic Signatures and Records Act, and any other similar state laws based on the Uniform
Electronic Transactions Act. Each party hereto shall be entitled to conclusively rely upon, and
shall have no liability with respect to, any faxed, scanned, or photocopied manual signature, or
other electronic signature, of any other party and shall have no duty to investigate, confirm, or
otherwise verify the validity or authenticity thereof.

        13.7 Survival. All covenants, representations, and warranties made in this Agreement
will continue in full force and effect until this Agreement has terminated pursuant to its terms and
all Obligations (other than inchoate indemnity obligations) have been satisfied. The obligation of
the Issuer in Section 13,2 to indemnify the Collateral Agent, the confidentiality provisions in
Section 13,8, and the provisions of Section 13,12 shall survive the termination of the Note
Documents and the payment in full of the Obligations hereunder.

        13.8 Confidentiality. In handling any confidential information of Issuer, each of the
Purchasers and Collateral Agent shall exercise the same degree of care that it exercises for their
own proprietary information, but disclosure of information may be made: (a) subject to the terms
and conditions of this Agreement, to the Purchasers’ and Collateral Agent’s Subsidiaries or
Affiliates, or in connection with a Purchaser’s own financing or securitization transactions and
upon the occurrence of a default, event of default or similar occurrence with respect to such
financing or securitization transaction; (b) to prospective transferees (other than those identified
in (a) above) or purchasers of any interest in the Notes (provided, however, the Purchasers and
Collateral Agent shall, except upon the occurrence and during the continuance of an Event of
Default, obtain such prospective transferee’s or purchaser’s agreement to the terms of this
provision or to similar confidentiality terms); (c) as required by law, rule, regulation, regulatory or
self-regulatory authority, subpoena, or other order; (d) to Purchasers’ or Collateral Agent’s
regulators or as otherwise required in connection with an examination or audit; (e) as Collateral
Agent or the Required Purchasers may reasonably considers appropriate in exercising remedies
under the Note Documents; and (I) to third party service providers of the Purchasers and/or
Collateral Agent so long as such service providers have executed a confidentiality agreement or
have agreed to similar confidentiality terms with the Purchasers and/or Collateral Agent, as
applicable, with terms no less restrictive than those contained herein. Confidential information
does not include information that either: (i) is in the public domain or in the Purchasers’ and/or
Collateral Agent’s possession when disclosed to the Purchasers and/or Collateral Agent, or

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becomes part of the public domain after disclosure to the Purchasers and/or Collateral Agent
through no breach of this provision by the Purchasers or the Collateral Agent; or (ii) is disclosed
to the Purchasers and/or Collateral Agent by a third party, if the Purchasers and/or Collateral Agent
does not know that the third party is prohibited from disclosing the information. Collateral Agent
and the Purchasers may use confidential information for any purpose, including, without
limitation, for the development of client databases, reporting purposes, and market analysis so long
as the Collateral Agent and the Purchasers do not disclose the identity of Issuer or the identity of
any person associated with Issuer. The provisions of the immediately preceding sentence shall
survive the termination of this Agreement. The agreements provided under this Section 13,8
supersede all prior agreements, understanding, representations, warranties, and negotiations
between the parties about the subject matter of this Section 13,8.

       13.9 Public Announcement. Issuer hereby agrees that Collateral Agent and each
Purchaser, after consultation with Issuer, may make a public announcement of the transactions
contemplated by this Agreement, and may publicize the same in marketing materials, newspapers
and other publications, and otherwise, and in connection therewith may use Issuer’s name,
tradenames and logos. Notwithstanding the foregoing, such consultation with Issuer shall not be
required for any disclosures by Collateral Agent and the Purchasers may also make disclosures to
the SEC or other governmental agency and any other public disclosure with investors, other
governmental agencies or other related persons.

        13.10 Collateral Agent and Purchaser Agreement. The Collateral Agent and the
Purchasers hereby agree to the terms and conditions set forth on Exhibit C attached hereto. The
Issuer acknowledges and agrees to the terms and conditions set forth on Exhibit C attached hereto.

       13.11 Time of Essence. Time is of the essence for the performance of Obligations under
this Agreement.

       13.12 Several Obligations. All of the obligations and liabilities of the Purchasers under
this Agreement are several and not joint or joint and several.

        13.13 Termination Prior to Maturity Date; Survival. All covenants, representations
and warranties made in this Agreement continue in full force until this Agreement has terminated
pursuant to its terms and all Obligations have been satisfied. So long as Issuer has satisfied the
Obligations (other than inchoate indemnity obligations and any other obligations which, by their
terms, are to survive the termination of this Agreement and for which no claim has been made) in
accordance with the terms of this Agreement, this Agreement may be terminated prior to the
Maturity Date by Issuer, effective five (5) Business Days after written notice of termination is
given to the Collateral Agent and the Purchasers.

        13.14 Withholding In the event that the Issuer is required to remit any amounts to a
taxing authority on account of taxes required to be deducted or withheld in respect of the Notes,
the Issuer shall be entitled to withhold from or offset any such amounts against any amounts or
value payable to such Purchaser (including any value deliverable to such Purchaser in connection
with a conversion of a Note). The provisions of this Section 13,14 shall survive the performance
or termination of this Agreement. For the avoidance of doubt, the provisions of this Section 13,14



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shall not limit any obligation of the Issuer with respect to Indemnified Taxes set forth in Exhibit
D

         13.15 Parties Including Trustees; Bankruptcy Court Proceedings.

        This Agreement, the other Note Documents, and all Liens and other rights and privileges
created hereby or pursuant hereto or to any other Note Document shall be binding upon the Note
Parties, the estate of each Note Party, and any trustee, other estate representative or any successor
in interest of each Note Party in the Chapter 11 Cases or any subsequent case commenced under
Chapter 7 of the Bankruptcy Code. This Agreement and the other Note Documents shall be
binding upon, and inure to the benefit of, the successors of the Secured Parties and their respective
assigns, transferees and endorsees. The Liens created by this Agreement and the other Note
Documents shall be and remain valid and perfected in the event of the substantive consolidation
or conversion of the Chapter 11 Cases or any other bankruptcy case of the Note Parties to a case
under Chapter 7 of the Bankruptcy Code or in the event of dismissal of the Chapter 11 Cases or
the release of any Collateral from the jurisdiction of the Bankruptcy Court for any reason, without
the necessity that the Collateral Agent file financing statements or otherwise perfect its Liens under
applicable law. The terms and provisions of this Agreement are for the purpose of defining the
relative rights and obligations of the Note Parties and Secured Parties with respect to the
transactions contemplated hereby and no Person shall be a third party beneficiary of any of the
terms and provisions of this Agreement or any of the other Note Documents.

         13.16 Inconsistency.

        In the event of any inconsistency between the terms and conditions of this Agreement and
of the DIP Orders, the provisions of the DIP Orders shall govern and control.

         13.17 Pre-Petition Purchaser Consent.

        Each Purchaser signatory hereto hereby irrevocably (x) consents, in their capacity as a
Purchaser under the Pre-Petition Note Purchase Agreement, to the terms of this Agreement and
the other Note Documents and the entry of the Interim Order and the Final Order, (y) authorizes
and directs the Purchasers’ Representative to, in a manner determined by the Purchasers’
Representative, credit bid all or any portion of the Pre-Petition Obligations in connection with any
proposed sale (including pursuant to the Asset Purchase Agreement) of all or any portion of the
assets of any or all of the Note Parties (a “Credit Bid Transaction”) and (z) in connection with
any Credit Bid Transaction, consents to the assignment and delegation to a Qualified Purchaser of
such rights and obligations under the Pre-Petition Note Purchase Agreement, the other Pre-Petition
Note Documents, this Agreement and the other Note Documents, in each case as the Purchasers’
Representative determines in order to consummate such Credit Bid Transaction (and each such
Purchaser shall execute and deliver such documents as the Purchasers’ Representative reasonably
requests to evidence such assignment and delegation).

         13.18 Consent to Credit Bid.

       Each Purchaser hereby irrevocably (x) authorizes and directs the Purchasers’
Representative to, in a manner determined by the Purchasers’ Representative, credit bid all or any
portion of the Obligations in connection with any Credit Bid Transaction and (y) in connection

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with any Credit Bid Transaction, consents to the assignment and delegation to a Qualified
Purchaser of such rights and obligations under this Agreement and the other Note Documents, in
each case as the Purchasers’ Representative determines in order to consummate such Credit Bid
Transaction (and each such Purchaser shall execute and deliver such documents as the Purchasers’
Representative reasonably requests to evidence such assignment and delegation).

                                   [Signature Pages Follow]




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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
as of the Closing Date.

ISSUER:

BIRD GLOBAL, INC.

By:
Name:
Title:




                       [Signature Page to Note Purchase Agreement]
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PURCHASER:

[•]

By:
Name:
Title:




                       [Signature Page to Note Purchase Agreement]
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COLLATERAL AGENT:

U.S. BANK TRUST COMPANY, NATIONAL ASSOCIATION



By:
Name:
Title:




                       [Signature Page to Note Purchase Agreement]
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                                                          EXHIBIT A

                                                   Description of Collateral



                                                                 Stock                    Percentage    Percentage of
                                                                               No. of
                               Issuer        Class of Stock    Certificate                 of Total     Issuer’s Stock
      Holder                                                                   Shares
                                                                  No.                       Owned          Pledged

Bird Global,             Bird Rides, Inc.    Common           N/A            One          100%         100%
Inc.1                                        Stock

Bird Global,             1393631 B.C.        Common           C-l            One          100%         100%
Inc.2                    Unlimited           Shares
                         Liability Company

Notes:
1. Second priority
2. Second priority




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                                     EXHIBIT B

                                 [FORM OF DIP NOTE]

      THE OFFER AND SALE OF THE NOTES REPRESENTED HEREBY HAVE NOT
BEEN REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED
(THE “SECURITIES ACT”), AND SUCH NOTES AND SHARES MAY NOT BE
OFFERED, SOLD, PLEDGED, HEDGED, OR OTHERWISE TRANSFERRED, EXCEPT
(X) PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT UNDER THE
SECURITIES ACT AND A CURRENT PROSPECTUS, (Y) IN ACCORDANCE WITH
RULE 144 UNDER THE SECURITIES ACT, OR (Z) PURSUANT TO ANOTHER
APPLICABLE EXEMPTION FROM REGISTRATION UNDER THE SECURITIES ACT.

       THE NOTES REPRESENTED HEREBY ARE GOVERNED BY THE
PROVISIONS OF A SUBORDINATED SECURED AND SUPER PRIORITY DEBTOR­
IN-POSSESSION NOTE PURCHASE AGREEMENT, DATED AS OF DECEMBER 19,
2023 (THE “AGREEMENT”), BY AND AMONG BIRD GLOBAL, INC., AS ISSUER, THE
PURCHASERS NAMED THEREIN, AND U.S. BANK TRUST COMPANY, NATIONAL
ASSOCIATION, AS COLLATERAL AGENT. BY ACCEPTING ANY NOTE
REPRESENTED HEREBY, THE HOLDER THEREOF WILL BE DEEMED TO AGREE
TO BE BOUND BY THE TERMS OF THE AGREEMENT AS A PURCHASER.

    THE INDEBTEDNESS EVIDENCED BY THIS NOTE IS SUBJECT TO THE
SUBORDINATION AND INTERCREDITOR PROVISIONS SET FORTH IN THE DIP
ORDERS (AS DEFINED IN THE AGREEMENT).

      THIS NOTE IS ISSUED WITH ORIGINAL ISSUE DISCOUNT (“OID”) FOR U.S.
FEDERAL INCOME TAX PURPOSES. THE ISSUE PRICE, AMOUNT OF OID, ISSUE
DATE, AND YIELD TO MATURITY WITH RESPECT TO THIS NOTE MAY BE
OBTAINED BY WRITING TO THE ISSUER AT THE FOLLOWING ADDRESS: 392 NE
191ST STREET #20388, MIAMI, FLORIDA 33179; ATTENTION: CHIEF FINANCIAL
OFFICER; EMAIL: BEN.LU@BIRD.CO.




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                                  Secured DIP Promissory Note

No. [ ]                                                                               U.S. $[       ]

       Bird Global, Inc., a Delaware corporation (herein called the “Issuer”), which term includes
any successor corporation under the Agreement referred to on the reverse hereof, for value
received, hereby promises to pay to [               ], or registered assigns, the principal sum of
[                                     ]     UNITED          STATES         DOLLARS           (U.S.
$[                    ]) (which amount may from time to time be increased or decreased by
adjustments made on the records of the Issuer in accordance with the Agreement) on the Maturity
Date (as defined in the Agreement). The Issuer will pay all outstanding principal of any Note and
accrued and unpaid interest thereon as provided in the Agreement.

        Reference is made to the further provisions of this Note set forth on the reverse hereof.
Such further provisions shall for all purposes have the same effect as though fully set forth at this
place. Capitalized terms used but not defined herein shall have such meanings as are ascribed to
such terms in the Agreement. In the case of any conflict between this Note and the Agreement, the
provisions of the Agreement shall control.

                                     [Signature Page Follows]




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         IN WITNESS WHEREOF, the Issuer has caused this instrument to be duly executed.

                                          BIRD GLOBAL, INC.


Dated:
                                               Name:
                                               Title:




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                               [FORM OF REVERSE OF NOTE]

                                      BIRD GLOBAL, INC.

                                  Secured DIP Promissory Note

        This Note is one of a duly authorized issue of Notes of the Issuer, designated as its Secured
Promissory Notes (the “Notes”), initially limited in aggregate principal amount to $[TBD], all
issued under and pursuant to a Note Purchase Agreement, dated as of December [ ], 2023
(including all exhibits and schedules hereto, as the same may be amended, restated, supplemented,
or otherwise modified from time to time, the “Agreement”), by and among the Issuer, the
Purchasers named therein, and U.S. Bank Trust Company, National Association, as Collateral
Agent, to which Agreement and all agreements supplemental thereto reference is hereby made for
a description of the rights, limitations of rights, obligations, duties, and immunities thereunder of
the Issuer and the Purchasers of the Notes.

        Except as provided for in the Agreement, the principal amount on this Note shall be
payable, when and if due, only against surrender therefor, while payments of interest on this Note
shall be made in accordance with the Agreement.

         1.     Interest. Interest will accrue on this Note at a rate of 18.0% per annum, payable as
                set forth in the Agreement.

         2.     Redemption. The Notes will be subject to Redemption as provided in the
                Agreement.

         3.     Acceleration of Maturity. The Agreement contains provisions for acceleration of
                the maturity of the unpaid principal amount of this Note upon the happening of
                certain stated events upon the terms and conditions specified therein.

         4.     Denominations. The Notes are issuable only in registered form in minimum
                denominations of $1,000 and any integral multiple of $1.00 in excess thereof, as
                provided in the Agreement and subject to certain limitations therein set forth.

         5.     Transfer. This Note is assignable or transferable, in whole or in part, solely to the
                extent such assignment or transfer is permitted pursuant to the terms of the
                Agreement.

     THIS NOTE, AND ANY CLAIM, CONTROVERSY, OR DISPUTE ARISING UNDER
OR RELATED TO THIS NOTE, SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.




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                                              EXHIBIT C

                                       Collateral Agent Terms

         1.     Appointment of Collateral Agent.
                 (a)       Each Purchaser hereby appoints U.S. Bank Trust Company, National
         Association (together with any successor Collateral Agent pursuant to Section 7 of this
         Exhibit C) as Collateral Agent under the Note Documents and authorizes the Collateral
         Agent to (i) take such action on its behalf and to exercise such rights, powers, and remedies
         and perform such duties as are expressly delegated to the Collateral Agent under the Note
         Documents and (ii) exercise such powers as are reasonably incidental thereto. Except for
         Section 8 and the first sentence of Section 7 of this Exhibit C, the provisions of this Exhibit
         C are solely for the benefit of the Collateral Agent and the Purchasers, and the Issuer shall
         not have rights as a third-party beneficiary of any of such provisions.
                  (b)      Without limiting the generality of clause (a) above, the Collateral Agent
         is hereby authorized to (i) hold security interests in the Collateral for the ratable benefit of
         the Purchasers and otherwise act as collateral agent for the Secured Parties for purposes
         of the perfection of all Liens created by the Note Documents and all other purposes stated
         therein, (ii) take, at the direction of the Required Purchasers, such action as is necessary
         or desirable to maintain the perfection and priority of the Liens created or purported to be
         created by the Note Documents, and (iii) except as may be otherwise specified in any Note
         Document, exercise, at the direction of the Required Purchasers, all remedies given to the
         Collateral Agent and the Purchasers with respect to the Issuer and/or the Collateral,
         whether under the Note Documents, Applicable Law, or otherwise. The Collateral Agent
         may, upon any term or condition it specifies, perform any and all of its duties and exercise
         its rights and powers hereunder or under any other Note Document by or through any one
         or more sub-agents appointed by the Collateral Agent. The Collateral Agent and any such
         sub-agent may perform any and all of its duties and exercise its rights and powers by or
         through their respective directors, officers, employees, agents, trustees, representatives,
         attorneys, accountants, or other advisors or consultants (each, a “Related Party”). The
         exculpatory, indemnification, and other provisions of this Exhibit C shall apply to any
         such sub-agent and to the Related Parties of the Collateral Agent and any such sub-agent.
         The Collateral Agent shall not be responsible for the negligence or misconduct of any sub­
         agents except to the extent that a court of competent jurisdiction determines in a final and
         non-appealable judgment that the Collateral Agent acted with gross negligence or willful
         misconduct in the selection of such sub-agents.
                 (c)      Each Purchaser hereby irrevocably appoints, designates, authorizes, and
         directs the Collateral Agent to enter into the Intercreditor Agreement on its behalf and to
         take action on its behalf pursuant to the provisions thereof as directed by the Required
         Purchasers. Each Purchaser further agrees to be bound by the terms and conditions of the
         Intercreditor Agreement.
                (d)    Under the Note Documents, the Collateral Agent (i) is acting solely on
         behalf of the Purchasers, with duties that are entirely administrative in nature,




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         notwithstanding the use of the defined term “Collateral Agent,” the terms “agent,”
         “Collateral Agent,” and “collateral agent” and similar terms in any Note Document to refer
         to the Collateral Agent, which terms are used for title purposes only, are not intended to
         connote any fiduciary or other implied (or express) obligations arising under any agency
         doctrine of any Applicable Law, and are intended to create or reflect only an administrative
         relationship between contracting parties, (ii) is not assuming any obligation under any
         Note Document other than as expressly set forth therein or any role as agent, fiduciary, or
         trustee of or for any Purchaser or any other Person, and (iii) shall have no implied
         functions, responsibilities, duties, obligations, or other liabilities under any Note
         Document, and each Purchaser, by accepting the benefits of the Note Documents, hereby
         waives and agrees not to assert any claim against the Collateral Agent based on the roles,
         duties, and legal relationships expressly disclaimed in clauses (i) through (iii) above.
         Except as expressly set forth in the Note Documents, the Collateral Agent shall not have
         any duty to disclose, and shall not be liable for failure to disclose, any information relating
         to the Issuer or any of its Subsidiaries that is communicated to or obtained by U.S. Bank
         Trust Company, National Association or any of its Affiliates in any capacity.
         2.      Binding Effect; Reliance on Instructions from Required Purchasers.
                  (a)      Each Purchaser, by accepting the benefits of the Note Documents, agrees
         that (i) any action taken by the Collateral Agent, the Required Purchasers (or, if expressly
         required in any Note Document, a greater proportion of the Purchasers) or the Purchasers’
         Representative in accordance with the provisions of the Note Documents, (ii) any action
         taken by the Collateral Agent in reliance upon the instructions of the Purchasers’
         Representative or the Required Purchasers (or, where so required, such greater
         proportion), and (iii) the exercise by the Collateral Agent, the Purchasers’ Representative
         or the Required Purchasers (or, where so required, such greater proportion) of the powers
         set forth herein or therein, together with such other powers as are reasonably incidental
         thereto, shall be authorized and binding upon all of the Purchasers.
                  (b)      If the Collateral Agent shall request instructions from the Required
         Purchasers or all affected Purchasers with respect to any act or action (including failure to
         act) in connection with any Note Document, then the Collateral Agent shall be entitled to
         refrain from such act or taking such action unless and until the Collateral Agent shall have
         received instructions from the Required Purchasers or all affected Purchasers, as the case
         may be, and the Collateral Agent shall not incur liability to any Person by reason of so
         refraining. The Collateral Agent shall be fully justified in failing or refusing to take any
         action under any Note Document (i) if such action would, in the opinion of the Collateral
         Agent, be contrary to any Applicable Law or any Note Document, (ii) if such action would,
         in the opinion of the Collateral Agent, expose the Collateral Agent to any potential liability
         under any Applicable Law, or (iii) if the Collateral Agent shall not first be indemnified to
         its satisfaction against any and all liability and expense that may be incurred by it by reason
         of taking or continuing to take any such action. Without limiting the foregoing, no
         Purchaser shall have any right of action whatsoever against the Collateral Agent as a result
         of the Collateral Agent acting or refraining from acting under any Note Document in
         accordance with the instructions of the Required Purchasers or all affected Purchasers, as
         applicable.
         3.      Collateral Agent’s Reliance, Etc. The Collateral Agent may, without incurring



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any liability hereunder, (a) consult with any of its Related Parties and, whether or not selected by
it, any other legal counsel, advisors, accountants, and other experts (including legal counsel and
advisors to, and accountants and experts engaged by, the Issuer), and take or omit to take any
action in accordance with the advice of any such legal counsel, advisors, accountants, and other
experts, and (b) rely and act upon any document and information (including those transmitted by
electronic transmission) and any telephone message or conversation or other oral statement, in
each case, believed by it to be genuine and to have been transmitted, signed, or otherwise
authenticated by the appropriate parties. None of the Collateral Agent or any of its Related Parties
shall be liable for any action taken or omitted to be taken by any of them under or in connection
with any Note Document, and each Purchaser and the Issuer hereby waives and shall not assert
(and the Issuer shall cause its Subsidiaries to waive and agree not to assert) any right, claim, or
cause of action based thereon, except to the extent of liabilities resulting from the gross negligence
or willful misconduct of the Collateral Agent or, as the case may be, such Related Party (in each
case, as determined in a final, non-appealable judgment of a court of competent jurisdiction) in
connection with the duties of the Collateral Agent expressly set forth herein. Without limiting the
foregoing, the Collateral Agent: (i) shall not be responsible or otherwise incur liability for any
action or omission taken in reliance upon the instructions of the Purchasers’ Representative or the
Required Purchasers or for the actions or omissions of any of its Related Parties, except to the
extent that a court of competent jurisdiction determines in a final non-appealable judgment that
the Collateral Agent acted with gross negligence or willful misconduct in the selection of such
Related Party; (ii) shall not be responsible to any Purchaser or other Person for the due execution,
legality, validity, enforceability, effectiveness, genuineness, sufficiency, or value of, or the
attachment, perfection, or priority of any Lien created or purported to be created under or in
connection with, any Note Document; (iii) makes no warranty or representation, and shall not be
responsible, to any Purchaser or other Person for any statement, document, information,
representation, or warranty made or furnished by or on behalf of the Issuer or any Related Party of
the Issuer in connection with any Note Document or any transaction contemplated therein or any
other document or information with respect to the Issuer, whether or not transmitted or (except for
documents expressly required under any Note Document to be transmitted to the Purchasers)
omitted to be transmitted by the Collateral Agent, including as to completeness, accuracy, scope,
or adequacy thereof, or for the scope, nature, or results of any due diligence performed by the
Collateral Agent in connection with the Note Documents; and (iv) shall not have any duty to
ascertain or to inquire as to the performance or observance of any provision of any Note Document,
whether any condition set forth in any Note Document is satisfied or waived, as to the financial
condition of the Issuer or as to the existence or continuation or possible occurrence or continuation
of any Event of Default, and shall not be deemed to have notice or knowledge of such occurrence
or continuation unless it has received a notice from either the Issuer, the Purchasers’
Representative or the Required Purchasers describing such Event of Default that is clearly labeled
“notice of default”; and, for each of the items set forth in clauses (i) through (iv) above, each
Purchaser and the Issuer hereby waives and agrees not to assert, and the Issuer shall cause its
Subsidiaries to waive and agree not to assert, any right, claim, or cause of action it might have
against the Collateral Agent based thereon.
       4.      Collateral Agent Individually. The Collateral Agent and its Affiliates may make
loans and other extensions of credit to, acquire stock and stock equivalents of, and engage in any
kind of business with the Issuer as though it were not acting as the Collateral Agent and may
receive separate fees and other payments therefor. To the extent the Collateral Agent or any of its




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Affiliates becomes a Purchaser hereunder, it shall have and may exercise the same rights and
powers hereunder and shall be subj ect to the same obligations and liabilities as any other Purchaser,
and the terms “Purchaser,” “Required Purchaser,” and any similar terms shall, except where
otherwise expressly provided in any Note Document, include, without limitation, the Collateral
Agent or such Affiliate, as the case may be, in its individual capacity as Purchaser, or as one of the
Required Purchasers.
         5.     Purchaser Credit Decision. Each Purchaser acknowledges that it has,
independently and without reliance upon the Collateral Agent, any other Purchaser, or any of their
Affiliates or upon any document solely or in part because such document was transmitted by the
Collateral Agent or any of its Related Parties, conducted its own independent investigation of the
financial condition and affairs of the Issuer and has made and will continue to make its own credit
decisions in connection with entering into, and taking or not taking any action under, any Note
Document or with respect to any transaction contemplated in any Note Document, in each case,
based on such documents and information as it shall deem appropriate. The Collateral Agent shall
not have any duty or responsibility to provide any Purchaser with any credit or other information
concerning the business, prospects, operations, financial and other condition, or creditworthiness
of the Issuer that may come into the possession of the Collateral Agent or any of its Related Parties.
         6.      Indemnification. Each Purchaser agrees to reimburse the Collateral Agent and
each of its Related Parties (to the extent not reimbursed by the Issuer as required under the Note
Documents (including pursuant to Section 13.2 of the Agreement)) promptly upon demand for its
pro rata share, based on the principal amount of the outstanding Notes held by each of the
Purchasers at such time (its “Pro Rata Share”), of any out-of-pocket costs and expenses
(including, without limitation, fees, charges, and disbursements of financial, legal, and other
advisors and any taxes or insurance paid in the name of, or on behalf of, the Issuer) incurred by
the Collateral Agent or any of its Related Parties in connection with the preparation, syndication,
execution, delivery, administration, modification, amendment, consent, waiver, or enforcement of,
or the taking of any other action (whether through negotiations, through any work-out, bankruptcy,
restructuring, or other legal or other proceeding (including, without limitation, preparation for
and/or response to any subpoena or request for document production relating thereto) or otherwise)
in respect of, or legal advice with respect to, its rights or responsibilities under, any Note Document
(such costs and expenses, collectively, “Collateral Agent Expenses”). Each Purchaser further
agrees to indemnify the Collateral Agent and each of its Related Parties (to the extent not
reimbursed by the Issuer as required under the Note Documents (including pursuant to Section
13.2 of the Agreement)), ratably according to its Pro Rata Share, from and against any and all
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
(including, without limitation, fees, charges, and disbursements of financial, legal, and other
advisors), or disbursements of any kind or nature whatsoever that may be imposed on, incurred
by, or asserted against the Collateral Agent or any of its Related Parties in any matter relating to
or arising out of, in connection with, or as a result of any Note Document or any other act, event,
or transaction related, contemplated in, or attendant to any such document, or, in each case, any
action taken or omitted to be taken by the Collateral Agent or any of its Related Parties under or
with respect to the foregoing; provided that no Purchaser shall be liable to the Collateral Agent or
any of its Related Parties under this Section 6 of this Exhibit C to the extent such liability has
resulted from the gross negligence or willful misconduct of the Collateral Agent or, as the case
may be, such Related Party, in each case, as determined by a final non-appealable judgment of a
court of competent jurisdiction. To the extent required by any Applicable Law, the Collateral



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Agent may withhold from any payment to any Purchaser under a Note Document an amount equal
to any applicable withholding tax. The Collateral Agent may offset against any payment to any
Purchaser under a Note Document any applicable withholding tax that was required to be withheld
from any prior payment to such Purchaser but which was not so withheld, as well as any other
amounts for which the Collateral Agent is entitled to indemnification from such Purchaser under
the immediately preceding sentence of this Section 6 of this Exhibit C.
        7.      Successor Collateral Agent. The Collateral Agent may resign at any time by
delivering notice of such resignation to the Purchasers and the Issuer, effective on the date set forth
in such notice or, if no such date is set forth therein, upon the date such notice shall be effective,
in accordance with the terms of this Section 7 of this Exhibit C. The Required Purchasers may
deliver notice of removal to the Collateral Agent, effective on the date set forth in such notice or,
if no such date is set forth therein, upon the date such notice shall be effective, in accordance with
the terms of this Section 7 of this Exhibit C. Upon receipt of any such notice of resignation or
removal, the Required Purchasers shall have the right to appoint a successor Collateral Agent. If,
after 30 days after the date of the retiring Collateral Agent’s notice of resignation, no successor
Collateral Agent has been appointed by the Required Purchasers and has accepted such
appointment, then the retiring Collateral Agent may, on behalf of the Purchasers, appoint a
successor Collateral Agent from among the Purchasers. If no such successor Collateral Agent shall
have been appointed by the Required Purchasers and shall have accepted such appointment within
30 days (or such earlier day as shall be agreed by the Required Purchasers) (the “Resignation
Effective Date”), then such resignation shall nonetheless become effective in accordance with
such notice on the Resignation Effective Date. Effective immediately upon its resignation, (a) the
retiring Collateral Agent shall be discharged from its duties and obligations under the Note
Documents (except that in the case of any collateral security held by the Collateral Agent on behalf
of the Purchasers under any of the Note Documents, the retiring Collateral Agent shall continue to
hold such collateral security, as bailee, until such time as a successor Collateral Agent is
appointed), (b) the Purchasers shall assume and perform all of the duties of the Collateral Agent
until a successor Collateral Agent shall have accepted a valid appointment hereunder, (c) the
retiring Collateral Agent and its Related Parties shall no longer have the benefit of any provision
of any Note Document other than with respect to any actions taken or omitted to be taken while
such retiring Collateral Agent was, or because such Collateral Agent had been, validly acting as
Collateral Agent under the Note Documents, and (d) subject to its rights under Section 2(b) of this
Exhibit C, the retiring Collateral Agent shall take such action as may be reasonably necessary to
assign to the successor Collateral Agent its rights as Collateral Agent under the Note Documents.
Effective immediately upon its acceptance of a valid appointment as Collateral Agent, a successor
Collateral Agent shall succeed to, and become vested with, all the rights, powers, privileges, and
duties of the retiring Collateral Agent under the Note Documents (other than any rights to
indemnity payments owed to the retiring Collateral Agent). After the retiring Collateral Agent’s
resignation or removal hereunder, the provisions of this Exhibit C and Article 12 and Section 13.2
of the Agreement shall continue in effect for the benefit of such retiring Collateral Agent, its sub­
agents and their respective Related Parties in respect of any actions taken or omitted to be taken
by any of them while the retiring Collateral Agent was acting as Collateral Agent.
         8.     Release of Collateral.
                (a)    Each Purchaser hereby consents to the release and hereby directs the
         Collateral Agent, at the sole cost and expense of the Issuer, to release (or in the case of




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         clause (ii) below, release or subordinate) the following:
                         (i)     any Guarantor if all of the stock of such Subsidiary owned directly
                or indirectly by the Issuer is sold or transferred in a transaction permitted under the
                Note Documents (including pursuant to a valid waiver or consent), to the extent
                that, after giving effect to such transaction, such Subsidiary would not be required
                to guaranty any Obligations pursuant to any Note Document; and
                        (ii)   any Lien held by the Collateral Agent for the benefit of the Secured
                Parties against any Collateral that is sold or otherwise disposed of by Issuer in a
                transaction permitted by the Note Documents (including pursuant to a valid waiver
                or consent);
        provided that the Issuer shall have provided to the Collateral Agent a certificate stating
        that such transaction is permitted under the Note Documents (and each Purchaser hereby
        authorizes and directs the Collateral Agent to conclusively rely on such certificate in
        performing its obligations under this clause (a)).

                 (b)    Each Purchaser hereby consents and directs the Collateral Agent, at the
         sole cost and expense of the Issuer, to enter into, and perform under, the Asset Purchase
         Agreement.
                 (c)     Upon request by the Collateral Agent at any time, the Required Purchasers
         will promptly confirm in writing (which shall not be unreasonably delayed) the Collateral
         Agent’s authority to release or subordinate its interest in particular types or items of
         property, or to release any Guarantor from its obligations under the Guarantee pursuant
         to this Section 8.
         9.    Exculpatory Provisions.
                (a)     The Collateral Agent shall not have any duties or obligations except those
         expressly set forth in the Agreement, including this Exhibit C, and in the other Note
         Documents, and its duties hereunder shall be administrative in nature. Without limiting
         the generality of the foregoing, the Collateral Agent shall not:
                      (i)     be subject to any fiduciary or other implied duties, regardless of
                whether a Default or Event of Default has occurred and is continuing;
                         (ii)    have any duty to take any discretionary action or exercise any
                discretionary powers, except discretionary rights and powers expressly
                contemplated by the Agreement, including this Exhibit C, or by the other Note
                Documents that the Collateral Agent is required to exercise as directed in writing
                by the Purchasers’ Representative or the Required Purchasers (or such other
                number or percentage of the Purchasers as shall be expressly provided for in this
                Agreement or in the other Note Documents), and in all cases the Collateral Agent
                shall be fully justified in failing or refusing to act hereunder or under any other
                Note Documents unless it shall (a) receive written instructions from the
                Purchasers’ Representative or the Required Purchasers (or such other number or
                percentage of the Purchasers as shall be expressly provided for herein or in the
                other Note Documents) specifying the action to be taken and (b) be indemnified to
                its satisfaction by the Purchasers against any and all liability and expenses that may




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                be incurred by it by reason of taking or continuing to take any such action; provided
                that the Collateral Agent shall not be required to take any action that, in its opinion
                or the opinion of its counsel, may expose it to liability or that is contrary to any
                applicable Note Document or Applicable Law;
                        (iii)  except as expressly set forth herein and in the other applicable Note
                Documents, (x) have any duty to disclose or (y) be liable for the failure to disclose,
                any information relating to the Issuer or any of its Affiliates that is communicated
                to or obtained by the Collateral Agent or any of its Affiliates in any capacity; or
                        (iv)   be liable for any apportionment or distribution of payments made
                by it in good faith and, if any such apportionment or distribution is subsequently
                determined to have been made in error, the sole recourse of any Purchaser to whom
                payment was due but not made shall be to recover from other Purchasers any
                payment in excess of the amount to which they are determined to be entitled (and
                such other Purchasers hereby agree to return to such Purchaser any such erroneous
                payments received by them).
                  (b)     The Collateral Agent shall not be liable for any action taken or not taken
         by it: (i) with the consent of, or at the request of, the Purchasers’ Representative or the
         Required Purchasers (or such other number or percentage of the Purchasers as shall be
         necessary, or as the Collateral Agent shall believe in good faith shall be necessary, under
         the circumstances, as provided for herein or in the other Note Documents); provided that
         no action, or any omission to act, taken by the Collateral Agent at the direction of the
         Purchasers’ Representative or the Required Purchasers (or such other number or
         percentage of the Purchasers as shall be expressly provided for herein or in the other Note
         Documents) shall constitute gross negligence or willful misconduct, including, without
         limitation, Section 6 of this Exhibit C; or (ii) in the absence of its own gross negligence
         or willful misconduct as determined by a court of competent jurisdiction by a final and
         non-appealable judgment. The Collateral Agent shall be entitled to request written
         instructions, or clarification of any instruction or request, from the Purchasers’
         Representative or the Required Purchasers (or, if the relevant Note Document stipulates
         the matter is a decision for any other Purchaser or group of Purchasers, from that
         Purchaser or group of Purchasers) as to whether, and in what manner, it should exercise
         or refrain from exercising any right, power, authority, or discretion, and the Collateral
         Agent may without any liability hereunder or under any other Note Document refrain
         from acting unless and until it receives those written instructions or that clarification. In
         the absence of such written instructions, the Collateral Agent may act (or refrain from
         acting) as it considers to be in the best interests of the Purchasers. The instructions as
         aforesaid and any action taken or failure to act pursuant thereto by the Collateral Agent
         shall be binding on all of the Purchasers.
                 (c)      The Collateral Agent shall not be responsible for or have any duty to
         ascertain or inquire into (i) any statement, warranty, or representation made in or in
         connection with the Agreement or any other Note Document, (ii) the contents of any
         certificate, report, or other document delivered hereunder or thereunder or in connection
         herewith or therewith, (iii) the performance or observance of any of the covenants,
         agreements, or other terms or conditions set forth herein or therein or the occurrence of
         any Default, (iv) the validity, enforceability, effectiveness, or genuineness of this



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         Agreement, any other Note Document or any other agreement, instrument, or document,
         (v) the satisfaction of any condition set forth herein, other than to confirm receipt of items
         expressly required to be delivered to the Collateral Agent, (vi) the existence, value,
         perfection, or priority of any collateral security or the financial or other condition of the
         Issuer, any Guarantor, or any other obligor or guarantor, or (vii) any failure by the Issuer
         or Guarantor or any other Person (other than itself) to perform any of its obligations
         hereunder or under any other Note Document or the performance or observance of any
         covenants, agreements, or other terms or conditions set forth herein or therein.
                 (d)     The Collateral Agent shall not be obliged to expend or risk its own funds
         or otherwise incur any financial liability in the performance of its duties, obligations, or
         responsibilities or the exercise of any right, power, authority, or discretion if it has
         grounds for believing the repayment of such funds or adequate indemnity against, or
         security for, such risk or liability is not reasonably assured to it.
                 (e)     The Collateral Agent shall not be responsible for any unsuitability,
         inadequacy, expiration, or unfitness of any security interest created hereunder or pursuant
         to any other Note Document, nor shall it be obligated to make any investigation into, and
         shall be entitled to assume, the adequacy and fitness of any security interest created
         hereunder or pursuant to any other Note Document.
                 (f)     The Collateral Agent shall not be responsible or liable for any failure or
         delay in the performance of its obligations hereunder or any other Note Document arising
         out of or caused by, directly or indirectly, forces beyond its control, including, without
         limitation, strikes, work stoppages, accidents, epidemics, pandemics, acts of war or
         terrorism, civil or military disturbances, nuclear or natural catastrophes or acts of God,
         and interruptions, loss, or malfunctions of utilities, communications, or computer
         (software and hardware) services or the unavailability of the Federal Reserve Bank wire
         or telex or other wire or communication facility.
                 (g)     The Collateral Agent shall not be responsible for or have a duty to ascertain
         or inquire into any representation or warranty regarding the existence, value, or
         collectability of the Collateral, the existence, priority, or perfection of the Collateral
         Agent’s Liens thereon, or any certificate prepared by any party in connection therewith,
         nor shall the Collateral Agent have any duty to, and shall not be responsible or liable to
         the Purchasers for any failure to, monitor, maintain, or preserve any portion of the
         Collateral, any security interests of the Collateral Agent therein, or any filings,
         registrations, or recordings made with respect thereto. The Collateral Agent shall not have
         any obligation whatsoever to any Purchaser or any other person to investigate, confirm,
         or assure that the Collateral exists or is owned by the Issuer or is insured or has been
         encumbered, or that the liens and security interests granted to the Collateral Agent
         pursuant hereto or any of the other Note Documents or otherwise have been properly or
         sufficiently or lawfully created, perfected, protected, or enforced or are entitled to any
         particular priority.




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                                             EXHIBIT D

                                        Taxes; Increased Costs

             1.      Defined Terms. For purposes of this Exhibit D:

                 (a)   “Connection Income Taxes” means Other Connection Taxes that are
 imposed on or measured by net income (however denominated) or that are franchise taxes or
 branch profits taxes.

                  (b)     “Excluded Taxes” means any of the following taxes imposed on or with
 respect to a Purchaser or required to be withheld or deducted from a payment to a Purchaser, (i)
 taxes imposed on or measured by net income (however denominated), franchise taxes, and
 branch profits taxes, in each case, (A) imposed as a result of such Purchaser being organized under
 the laws of, or having its principal office or, in the case of any Purchaser, its applicable lending
 office located in, the jurisdiction imposing such tax (or any political subdivision thereof) or (B)
 that are Other Connection Taxes, (ii) in the case of a Purchaser, U.S. federal withholding taxes
 imposed on amounts payable to or for the account of such Purchaser with respect to an applicable
 interest in a Note pursuant to a law in effect on the date on which (A) such Purchaser acquires
 such interest in the Note or (B) such Purchaser changes its lending office, except in each case to
 the extent that, pursuant to Section 2 or Section 4 of this Exhibit D, amounts with respect to such
 taxes were payable either to such Purchaser’s assignor immediately before such Purchaser
 became a party hereto or to such Purchaser immediately before it changed its lending office, (iii)
 taxes attributable to such Purchaser’s failure to comply with Section 6 of this Exhibit D and (iv)
 any taxes imposed under FATCA.

                  (c)     “FATCA” means Sections 1471 through 1474 of the Internal Revenue
 Code, as of the date of this Agreement (or any amended or successor version that is substantively
 comparable and not materially more onerous to comply with), any current or future regulations
 or official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1)
 of the Internal Revenue Code and any applicable fiscal or regulatory legislation, rules or practices
 adopted pursuant to any intergovernmental agreement, treaty or convention among
 Governmental Authorities and implementing such Sections of the Internal Revenue Code.

                     (d)    “Foreign Purchaser” means a Purchaser that is not a U.S. Person.

               (e)     “Indemnified Taxes” means (i) taxes, other than Excluded Taxes,
 imposed on or with respect to any payment made by or on account of any obligation of the Issuer
 under any Note Document and (ii) to the extent not otherwise described in clause (i), Other Taxes.

                (f)     “Other Connection Taxes” means, with respect to any Purchaser, taxes
 imposed as a result of a present or former connection between such Purchaser and the
 jurisdiction imposing such tax (other than connections arising from such Purchaser having
 executed, delivered, become a party to, performed its obligations under, received payments
 under, received or perfected a security interest under, engaged in any other transaction pursuant
 to or enforced any Note Document, or sold or assigned an interest in any Note or other Note
 Document).




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                 (g)     “Other Taxes” means all present or future stamp, court or documentary,
 intangible, recording, filing or similar taxes that arise from any payment made under, from the
 execution, delivery, performance, enforcement or registration of, from the receipt or perfection
 of a security interest under, or otherwise with respect to, any Note Document, except any such
 taxes that are Other Connection Taxes imposed with respect to an assignment.

                (h)    “U.S. Person” means any Person that is a “United States person” as
 defined in Section 7701(a)(30) of the Internal Revenue Code.

                  (i)   “Withholding Agent” means the Issuer and the Collateral Agent, as
 applicable.

             (j)    The term “applicable law” includes FATCA, and the term “Note
 Document” does not include the Voting Agreement or the Bird Canada Share Purchase
 Agreement.

         2.      Payments Free of Taxes. Any and all payments by or on account of any
 obligation of the Issuer under any Note Document shall be made without deduction or
 withholding for any taxes, except as required by applicable law. If any applicable law (as
 determined in the good faith discretion of an applicable Withholding Agent) requires the
 deduction or withholding of any tax from any such payment by a Withholding Agent, then the
 applicable Withholding Agent shall be entitled to make such deduction or withholding and shall
 timely pay the full amount deducted or withheld to the relevant Governmental Authority in
 accordance with applicable law and, if such tax is an Indemnified Tax, then the sum payable by
 the Issuer shall be increased as necessary so that after such deduction or withholding has been
 made (including such deductions and withholdings applicable to additional sums payable under
 this Section 2 or Section 4 of this Exhibit D) the applicable Purchaser receives an amount equal
 to the sum it would have received had no such deduction or withholding of Indemnified Taxes
 been made.

       3.     Payment of Other Taxes by Issuer. The Issuer shall timely pay to the relevant
 Governmental Authority in accordance with applicable law any Other Taxes.

         4.      Indemnification by Issuer. The Issuer shall indemnify each Purchaser for the
 full amount of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or
 attributable to amounts payable under Section 2 or this Section 4 of this Exhibit D) payable or
 paid by such Purchaser or required to be withheld or deducted from a payment to such Purchaser
 and any reasonable expenses arising therefrom or with respect thereto, whether or not such
 Indemnified Taxes were correctly or legally imposed or asserted by the relevant Governmental
 Authority. A certificate as to the amount of such payment or liability delivered to the Issuer by
 a Purchaser shall be conclusive absent manifest error.

         5.     Evidence of Payments. As soon as commercially practicable after any payment
 of taxes by the Issuer to a Governmental Authority pursuant to the provisions of this Exhibit D,
 the Issuer shall deliver to the applicable Purchaser the original or a certified copy of a receipt
 issued by such Governmental Authority evidencing such payment, a copy of the return reporting
 such payment or other evidence of such payment reasonably satisfactory to such Purchaser.



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             6.      Status of Purchasers.

                  (a)    Any Purchaser that is entitled to an exemption from or reduction of
 withholding tax with respect to payments made under any Note Document shall deliver to the
 Issuer, at the time or times reasonably requested by the Issuer, such properly completed and
 executed documentation reasonably requested by the Issuer as will permit such payments to be
 made without withholding or at a reduced rate of withholding. In addition, any Purchaser, if
 reasonably requested by the Issuer, shall deliver such other documentation prescribed by
 applicable law or reasonably requested by the Issuer as will enable the Issuer to determine
 whether or not such Purchaser is subject to backup withholding or information reporting
 requirements. Notwithstanding anything to the contrary in the preceding two sentences, the
 completion, execution and submission of such documentation (other than such documentation
 set forth in Sections 6(b)(i\ 6(b)(ii) and 6(b)(iv) of this Exhibit D) shall not be required if in the
 Purchaser’s reasonable judgment such completion, execution or submission would subject such
 Purchaser to any material unreimbursed cost or expense or would materially prejudice the legal
 or commercial position of such Purchaser.

                 (b)      Without limiting the generality of the foregoing, in the event that Issuer
 is a U.S. Person,

                        (i)   any Purchaser that is a U. S. Person shall deliver to the Issuer on or
 prior to the date on which such Purchaser becomes a Purchaser under this Agreement (and from
 time to time thereafter upon the reasonable request of the Issuer), executed copies of IRS Form
 W-9 certifying that such Purchaser is exempt from U.S. federal backup withholding tax;

                         (ii)    any Foreign Purchaser shall, to the extent it is legally entitled to
 do so, deliver to the Issuer (in such number of copies as shall be requested by the Issuer) on or
 prior to the date on which such Foreign Purchaser becomes a Purchaser under this Agreement
 (and from time to time thereafter upon the reasonable request of the Issuer), whichever of the
 following is applicable:

                                   A.        in the case of a Foreign Purchaser claiming the benefits of
                                             an income tax treaty to which the United States is a party,
                                             executed copies of IRS Form W-8BEN or IRS Form W-
                                             8BEN-E establishing an exemption from, or reduction of,
                                             U.S. federal withholding tax pursuant to the applicable
                                             article(s) of such tax treaty;

                                   B.        executed copies of IRS Form W-8ECI;

                                   C.        in the case of a Foreign Purchaser claiming the benefits of
                                             the exemption for portfolio interest under Section 881(c) of
                                             the Internal Revenue Code, (x) a certificate in form and
                                             substance reasonably acceptable to the Issuer, to the effect
                                             that such Foreign Purchaser is not a “bank” within the
                                             meaning of Section 881(c)(3)(A) of the Internal Revenue




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                                        Code, a “10 percent shareholder” of the Issuer within the
                                        meaning of Section 871(h)(3)(B) of the Internal Revenue
                                        Code, or a “controlled foreign corporation” related to the
                                        Issuer as described in Section 881(c)(3)(C) of the Internal
                                        Revenue Code (a “U.S. Tax Compliance Certificate”) and
                                        (y) executed copies of IRS Form W-8BEN or IRS Form W-
                                        8BEN-E; or

                                D.      totheextentaForeignPurchaserisnotthebeneficial owner,
                                        executed copies of IRS Form W- 8IMY, accompanied by
                                        IRS Form W-8ECI, IRS Form W-8BEN, IRS Form W-
                                        8BEN-E, a U.S. Tax Compliance Certificate in form and
                                        substance reasonably acceptable to the Issuer, IRS Form
                                        W-9, and/or other certification documents from each
                                        beneficial owner, as applicable; provided that if the Foreign
                                        Purchaser is a partnership and one or more direct or indirect
                                        partners of such Foreign Purchaser are claiming the
                                        portfolio interest exemption, such Foreign Purchaser may
                                        provide a U.S. Tax Compliance Certificate in form and
                                        substance reasonably acceptable to the Issuer on behalf of
                                        each such direct and indirect partner;

                         (iii)   any Foreign Purchaser shall, to the extent it is legally entitled to
 do so, deliver to the Issuer (in such number of copies as shall be requested by the Issuer) on or
 prior to the date on which such Foreign Purchaser becomes a Purchaser under this Agreement
 (and from time to time thereafter upon the reasonable request of the Issuer), executed copies of
 any other form prescribed by applicable law as a basis for claiming exemption from or a
 reduction in U.S. federal withholding tax, duly completed, together with such supplementary
 documentation as may be prescribed by applicable law to permit the Issuer to determine the
 withholding or deduction required to be made; and

                          (iv)   if a payment made to a Purchaser under any Note Document
 would be subject to U.S. federal withholding tax imposed by FATCA if such Purchaser were to
 fail to comply with the applicable reporting requirements of FATCA (including those contained
 in Section 1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such Purchaser shall
 deliver to the Issuer at the time or times prescribed by law and at such time or times reasonably
 requested by the Issuer such documentation prescribed by applicable law (including as
 prescribed by Section 1471(b)(3)(C)(i) of the Internal Revenue Code) and such additional
 documentation reasonably requested by the Issuer as may be necessary for the Issuer to comply
 with its obligations under FATCA and to determine that such Purchaser has complied with such
 Purchaser’s obligations under FATCA or to determine the amount, if any, to deduct and
 withhold from such payment. Solely for purposes of this clause (iv), “FATCA” shall include any
 amendments made to FATCA after the date of this Agreement.
                (c)      Each Purchaser agrees that if any form or certification it previously
 delivered to the Issuer expires or becomes obsolete or inaccurate in any respect, it shall update
 such form or certification or promptly notify the Issuer in writing of its legal inability to do so.




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          7.      Treatment of Certain Refunds. If any party determines, in its sole discretion
 exercised in good faith, that it has received a refund of any taxes as to which it has been
 indemnified pursuant to the provisions of this Exhibit D (including by the payment of additional
 amounts pursuant to the provisions of this Exhibit D), it shall pay to the indemnifying party an
 amount equal to such refund (but only to the extent of indemnity payments made under the
 provisions of this Exhibit D with respect to the taxes giving rise to such refund), net of all out-
 of-pocket expenses (including taxes) of such indemnified party and without interest (other than
 any interest paid by the relevant Governmental Authority with respect to such refund). Such
 indemnifying party, upon the request of such indemnified party, shall repay to such indemnified
 party the amount paid over pursuant to this Section 7 (plus any penalties, interest or other charges
 imposed by the relevant Governmental Authority) in the event that such indemnified party is
 required to repay such refund to such Governmental Authority. Notwithstanding anything to
 the contrary in this Section 7, in no event will the indemnified party be required to pay any
 amount to an indemnifying party pursuant to this Section 7 the payment of which would place
 the indemnified party in a less favorable net after-tax position than the indemnified party would
 have been in if the tax subject to indemnification and giving rise to such refund had not been
 deducted, withheld or otherwise imposed and the indemnification payments or additional
 amounts with respect to such tax had never been paid. This Section 7 shall not be construed to
 require any indemnified party to make available its tax returns (or any other information relating
 to its taxes that it deems confidential) to the indemnifying party or any other Person.

         8.     Survival. Each party’s obligations under the provisions of this Exhibit D shall
 survive the resignation or replacement of the Collateral Agent or any assignment of rights by,
 or the replacement of, a Purchaser and the repayment, satisfaction or discharge of all obligations
 under any Note Document.




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                                                                  SCHEDULE 2.1-A

                                                                 DIP Note Purchasers



Purchaser Name          Purchaser Notice Information        Aggregate Principal    Cash Consideration    Cash Consideration            Share
                                                             Amount of Notes                             (Bridge Conversion)   Consideration
Issued on the Closing Date
MKB Partners Fund      1 Place Ville Marie. Suite 3670,        $2,952,399.31         $ 2,952,399.31                                   N/A
II. LP                 Montreal, QC H3B 3P2
                      Attention: Antonio Occhionero
MKB Partners Fund      1 Place Ville Marie. Suite 3670,         $47,600.69             $47,600.69                                     N/A
II                     Montreal. QC H3B 3P2
International. LP     Attention: Antonio Occhionero

Maple Beach             TD Canada Trust Tower                   $400,000.00           $400,000.00                                     N/A
Investment LLC          Brookfield Place. 161 Bay
                        Street. Suite 2300, P.O. Box 222,
                        Toronto ON M5J 2S1
                        Attention: John Bitove
                        Email: bitove@obelysk.com

Relay Ventures          446 SpadinaRoad. Suite 303,            $1,900,000.00         $1,900,000.00                                    N/A
Compass II LP           Toronto. ON M5P 3M2

                        Kevin Talbot
                        Kevin@relayventures, com
                        Jeannette Wiltse
                        Jeannette@relayventures.com
Total                                                          $5,600,000.00         $5,600,000.00




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                                                               SCHEDULE 2.1-B

                                                            Bridge Note Purchasers



    Purchaser         Purchaser Notice Information      Aggregate Principal    Cash Consideration     Cash Consideration       Share
      Name                                               Amount of Notes                              (Bridge Conversion)   Consideration


MKB Partners Fund 1 Place Ville Marie, Suite 3670,          $1,968,266.20         $1,968,266.20              N/A                N/A
II, LP            Montreal, QC H3B 3P2
                  Attention: Antonio Occhionero


MKB Partners Fund 1 Place Ville Marie, Suite 3670,          $31,733.80             $31,733.80                N/A                N/A
II                Montreal, QC H3B 3P2
International, LP Attention: Antonio Occhionero


Maple Beach         TD Canada Trust Tower                   $200,000.00            $200,000.00                 N/A              N/A
Investment LLC      Brookfield Place, 161 Bay Street,
                    Suite 2300, P.O. Box 222, Toronto
                    ONM5J2S1
                    Attention: John Bitove
                    Email: bitove@obelysk.com

Relay Ventures      446 SpadinaRoad, Suite 303,             $1,800,000             $1,800,000                  N/A              N/A
Compass II LP       Toronto, ON M5P 3M2

                    Kevin Talbot
                    Kevin@relayventmes.com Jeannette
                    Wiltse
                    Jeannette@relayventures.com
 Total                                                      $4,000,000             $4,000,000                      -




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                                                              SCHEDULE 2.1-C

                                                           Other Note Purchasers




                                                       Aggregate Principal                          Cash Consideration           Share
Purchaser Name       Purchaser Notice Information                            Cash Consideration
                                                         Amount of Notes                            (Bridge Conversion)       Consideration
Maple Beach        TD Canada Trust Tower                   $4,100,000            $4,100,000                                       N/A
Compass LP         Brookfield Place. 161 Bay Street.
                   Suite 2300, P.O. Box 222, Toronto
                   ONM5J2S1

                   Attention: John Bitove
                   Email:     bitove@obelysk.com

Relay Ventures     446 SpadinaRoad. Suite 303,             $12,000,000          $12,000,000                                       N/A
Compass LP         Toronto. ON M5P 3M2

                   Kevin Talbot
                   Kevin@relayventmes. com
                   Jeannette Wiltse
                   Jeannette@relayventures.com

MKB Partners       1 Place Ville Marie. Suite 3670,        $15,219,989           $9,842,477             $671,808          •     2.826.674
Fund II LP         Montreal. QC H3B 3P2                                                                                         Series 2 Seed
                                                                                                                                Preferred
                   Attention: Antonio Occhionero                                                                                Shares

MKB Partners       1 Place Ville Marie. Suite 3670,         $243,587              $157,523               $10,752                  N/A
Fund II            Montreal. QC H3B 3P2
International LP
                   Attention: Antonio Occhionero




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Obelysk Transport    TD Canada Trust Tower               $12,757,050                                $1,658,720   1.666.667
I.P.                 Brookfield Place. 161 Bay Street.                                                           Coimnon Shares
                     Suite 2300, P.O. Box 222, Toronto                                                           4,000,000 Series
                     ONM5J2S1                                                                                    1 Seed Preferred
                                                                                                                 Shares
                     Attention: John Bitove                                                                      1.000,000 Series
                     Email:     bitove@obelysk.com                                                                  1 Preferred
                                                                                                                      Shares -
                                                                                                                     Uncalled
Relay Ventures       446 SpadinaRoad. Suite 303,         $10,106,134                                $1,314,038   1.320.333
Fund III L.P.        Toronto. ON M5P 3M2                                                                         Coimnon Shares
                                                                                                                 3.168.800 Series
                     Kevin Talbot                                                                                1 Seed Preferred
                     Kevin@relayventmes. com                                                                     Shares
                     Jeannette Wiltse                                                                            792.200 Series 1
                     Jeannette@relayventures.com                                                                 Preferred Shares -
                                                                                                                 Uncalled
Relay Ventures       446 SpadinaRoad, Suite 303,          $737,357                                   $95,874     96,333 Common
Parallel Fund III,   Toronto. ON M5P 3M2                                                                         Shares
L.P.                                                                                                             231.200 Series 1
                     Kevin Talbot                                                                                Seed     Preferred
                     Kevin@relayventures, com                                                                    Shares
                     Jeannette Wiltse                                                                            57.800 Series 1
                     Jeannette@relayventures.com                                                                 Preferred Shares -
                                                                                                                 Uncalled
Alate ILP            446 SpadinaRoad. Suite 303,         $1,913,557                                 $248,808     250,000 Common
                     Toronto. ON M5P 3M2                                                                         Shares
                                                                                                                 600,000 Series 1
                     Courtney Cooper                                                                             Seed     Preferred
                     courtnev@alateDartners.com                                                                  Shares
                     Jeannette Wiltse                                                                            150.000 Series 1
                     Jeannette@relayventures.com                                                                 Preferred Shares -
                                                                                                                 Uncalled
HVLKV, LLC           112 S Tryon Street. Suite 200       $1,000,000           $1,000,000                              N/A
                     Charlotte. NC 28284

                     Attention: Kerry Vickar
                     Email:
                     kvickar@thevickargroup.com



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Bennett Church      3670-1 Place Ville Marie           $1,500,000           $1,500,000                          N/A
Hill Capital Inc.   CP H3B 3P2
                    Montreal Quebec H3B3P2
                    Canada

                    Attention: Carl Bennett
                    Email: ccc.bcnnctt r/ bchci.com
Matthew Epp         107 Chevalier-de-Chaumont,          $150,000             $150,000                           N/A
                    Carignan, QC J3L 5S8
                    Canada

                    Attention: Matthew Epp
                    Email:
                    investments@matthewepp.com
Gestion Holdrob     414 Kindersley Ave.                 $100,000             $100,000                           N/A
Inc.                Mont-Royal, QC H3R 1S2
                    Canada

                    Attention: Benoit Robert
                    Phone : 514-915-0028
                    Email: benoit.robert@evovest.com
Total:                                                 $59,827,674          $28,850,000            $4,000,000




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